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                     22-349          In the
        United States Court of Appeals
              For the Second Circuit
                   O
                            DOUGLAS J. HORN,
                                                            Plaintiff-Appellant,
                                 - and -
                           CINDY HARP-HORN,
                                                                      Plaintiff,
                               – v. –
         MEDICAL MARIJUANA, INC., DIXIE HOLDINGS, LLC,
          AKA DIXIE ELIXIRS and RED DICE HOLDINGS, LLC,
                                              Defendants-Appellees,
                              - and -
                       DIXIE BOTANICALS,
                                                        Defendant.
       ON APPEAL FROM THE UNITED STATES DISTRICT COURT
       FOR THE WESTERN DISTRICT OF NEW YORK (BUFFALO)

                              APPENDIX

MURA LAW GROUP, PLLC                    THE LINDEN LAW GROUP, P.C.
Attorneys for Defendants-Appellees      Attorneys for Plaintiff-Appellant
   Medical Marijuana, Inc. and          5 Penn Plaza, 23rd Floor
   Red Dice Holdings, LLC               New York, New York 10001
930 Rand Building                       (212) 835-1532
14 Lafayette Square
Buffalo, New York 14203
(716) 855-2800                          MAZZOLA LINDSTROM LLP
                                          Attorneys for Defendant-Appellee
                                           Dixie Holdings, LLC,
                                           AKA Dixie Elixirs
                                        1350 Avenue of the Americas,
                                        2nd Floor
                                        New York, New York 10019
                                        (646) 250-6666


                         APPELLATE INNOVATIONS
                             (914) 948-2240                                 18019
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7/5/22,10:30 AM                                                  CM /ECF LIVE(C) - U.S. District Court:nywd


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                                                                                         APPEAL,CASREF,CONSENT,MEDIATION

                                            U.S. DISTRICT COURT
                           U.S. District Court, Western District of New York (Buffalo)
                              CIVIL DOCKET FOR CASE #: l:15-cv-00701-JWF


 Horn, et al v. Medical Marijuana, Inc., et al                                            Date Filed: 08/06/2015
 Assigned to: Retired Mag Jdg JRS Jonathan W Feldman                                      Jury Demand: Plaintiff
 Cause: 18:1962 Racketeering (RICO) Act                                                   Nature of Suit: 470 Racketeer/Corrupt
                                                                                          Organization
                                                                                          Jurisdiction: Federal Question
 Plaintiff
 Douglas J. Horn                                                     represented by Jeffrey M. Benjamin
                                                                                     Kupillas Unger & Benjamin LLP
                                                                                     1 Linden Place
                                                                                     Suite 410-A
                                                                                     Great Neck, NY 11021
                                                                                     212-655-9536
                                                                                     Fax: 718-425-0692
                                                                                     Email: jbenjamin@nyfraudlaw.com
                                                                                    LEAD ATTORNEY
                                                                                    ATTORNEY TO BE NOTICED

                                                                                          Frank T. Housh
                                                                                          70 Niagara Street
                                                                                          Buffalo, NY 14202
                                                                                          716-362-1128
                                                                                          Fax: 716-362-1150
                                                                                          Email: frank@houshlaw.com
                                                                                          TERMINATED: 06/26/2017
 Plaintiff
 Cindy Harp-Horn                                                      represented by Jeffrey M. Benjamin
                                                                                     (See above for address)
                                                                                     LEAD ATTORNEY
                                                                                     ATTORNEY TO BE NOTICED

                                                                                          Frank T. Housh
                                                                                          (See above for address)
                                                                                          TERMINATED: 06/26/2017


 V.
 Defendant
 Medical Marijuana, Inc.                                              represented by Roy A. Mura
                                                                                     Mura & Storm, PLLC
                                                                                     930 Rand Building
                                                                                     14 Lafayette Square
htlps://ecf.nywd.uscourts.gov/cgi-bin/DktRpt.pl?974268828190783-L_1_0-1                                                           1/28
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                                                                                          Buffalo, NY 14203
                                                                                          716-855-2800
                                                                                          Fax: 716-855-2816
                                                                                          Email: roy.mura@muralaw.com
                                                                                          LEAD ATTORNEY
                                                                                          ATTORNEY TO BE NOTICED

                                                                                           Daniel Solomon Gvertz
                                                                                           Mura & Storm, PLLC
                                                                                           930 Rand Building
                                                                                           14 Lafayette Square
                                                                                           Buffalo, NY 14203
                                                                                           716-855-2800
                                                                                           Fax: 716-855-2816
                                                                                           Email: daniel.gvertz@muralaw.com
                                                                                           TERMINATED: 01/08/2021

                                                                                           Eric T. Boron
                                                                                           Hurwitz Fine P.C.
                                                                                           1300 Liberty Building
                                                                                           Buffalo, NY 14202
                                                                                           716-849-8900
                                                                                           Fax: 716-855-0874
                                                                                           Email: eric.boron@muralaw.com
                                                                                           TERMINATED: 05/16/2018

                                                                                          Scott David Mancuso
                                                                                          Mura & Storm, PLLC
                                                                                          930 Rand Building
                                                                                          14 Lafayette Square
                                                                                          Buffalo, NY 14203
                                                                                          716 855-2800
                                                                                          Fax: 716 855-2816
                                                                                          Email: scott.mancuso@muralaw.com
                                                                                          ATTORNEY TO BE NOTICED
  Defendant
  Dixie Holdings, LLC                                                  represented by Jean-Claude Mazzola
  also known as                                                                       Mazzola Lindstrom, LLP
  Dixie Elixirs                                                                       1350 Avenue of the Americas
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                                                                                      New York, NY 10019
                                                                                      646-250-6666
                                                                                      Email: jeanclaude@mazzolalindstrom.com
                                                                                      LEAD ATTORNEY
                                                                                      ATTORNEY TO BE NOTICED

                                                                                           Wendy J. Lindstrom
                                                                                           Messner Reeves LLP
                                                                                           805 Third Ave
                                                                                           18th Floor
                                                                                           New York, NY 10022
                                                                                           646-663-1853
                                                                                           Fax: 646-663-1895
https://ecf.nywd .uscourts.gov/cgi-bin/DktRpt.pl7974268828190783-L_1_0-1                                                      2/28
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                                                                                                                           Email: wlindstrom@messner.com
                                                                                                                           LEAD ATTORNEY
                                                                                                                           ATTORNEY TO BE NOTICED

                                                                                                                           Hanoch Sheps
                                                                                                                           Mazzola Lindstrom LLP
                                                                                                                           1350 Avenue of the Americas, 2nd FI.
                                                                                                                           New York, NY 10019
                                                                                                                           201-696-6881
                                                                                                                           Email: hanoch@mazzolalindstrom.com
                                                                                                                           ATTORNEY TO BE NOTICED

                                                                                                                           Jean E. Smith-Gonnell
                                                                                                                           Messner Reeves LLP
                                                                                                                           1430 Wynkoop Street
                                                                                                                           Suite 300
                                                                                                                           Denver, CO 80202
                                                                                                                           303-623-1800
                                                                                                                           Fax: 303-623-0552
                                                                                                                           Email: jgonnell@messner.com
                                                                                                                           PRO HAC VICE
                                                                                                                           ATTORNEY TO BE NOTICED

                                                                                                                           Richard E. Lerner
                                                                                                                           Mazzola Lindstrom, LLP
                                                                                                                           1350 Avenue of the Americas
                                                                                                                           2nd Floor
                                                                                                                           New York, NY 10019
                                                                                                                           646-813-4345
                                                                                                                           Email: richardlemer@msn.com
                                                                                                                           ATTORNEY TO BE NOTICED
 Defendant
 Red Dice Holdings, LLC.                                                                               represented by Roy A. Mura
                                                                                                                      (See above for address)
                                                                                                                      LEAD ATTORNEY
                                                                                                                      ATTORNEY TO BE NOTICED

                                                                                                                           Daniel Solomon Gvertz
                                                                                                                           (See above for address)
                                                                                                                           TERMINATED: 01/08/2021

                                                                                                                           Eric T. Boron
                                                                                                                           (See above for address)
                                                                                                                           TERMINATED: 05/16/2018

                                                                                                                           Scott David Mancuso
                                                                                                                           (See above for address)
                                                                                                                           ATTORNEY TO BE NOTICED
 Defendant
 Dixie Botanicals

 i------------------------------ 1-----------1------------------------------------------------------------                                                        —   I

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7/5/22,10:30 AM                                                    CM /ECF LIVE(C) - U.S. District Court:nywd

  Date Filed              #    Docket Text
  08/06/2015               1 COMPLAINT against All Defendants ( Filing fee $ 400 receipt number 0209-2334467.),
                             filed by Douglas Horn, Cindy Harp-Horn. (Attachments: # 1 Exhibit Advertisement)
                             (Benjamin, Jeffrey) (Entered: 08/06/2015)
  08/06/2015               2 RICO STATEMENT by Cindy Harp-Horn, Douglas Horn. (Benjamin, Jeffrey) (Entered:
                             08/06/2015)
  08/06/2015               3 Original Summons Filed. (Benjamin, Jeffrey) (Entered: 08/06/2015)
  08/06/2015               4 Original Summons Filed. (Benjamin, Jeffrey) (Entered: 08/06/2015)
  08/06/2015               5 Original Summons Filed. (Benjamin, Jeffrey) (Entered: 08/06/2015)
  08/07/2015                   E-Filing Notification: Attorney is directed to e-file a civil cover sheet using the
                               continuation of exhibits event found under responses and replies re 1 COMPLAINT
                               (Benjamin, Jeffrey) (SG) (Entered: 08/07/2015)
  08/07/2015               6 CONTINUATION OF EXHIBITS by Cindy Harp-Horn, Douglas Horn, to 1 Complaint
                             Civil Action Sheet filed by Cindy Harp-Horn, Douglas Horn. (Beniamin, Jeffrey)
                             (Entered: 08/07/2015)
  08/11/2015                    Case Assigned to Hon. Frank P. Geraci, Jr.. (DLC) (Entered: 08/11/2015)
  08/11/2015                   Notice of Availability of Magistrate Judge: A United States Magistrate of this Court is
                               available to conduct all proceedings in this civil action in accordance with 28 U.S.C.
                               636c and FRCP 73. The Notice, Consent, and Reference of a Civil Action to a Magistrate
                               Judge form (AO-85) is available for download at http://www.uscourts.gov/services-
                               forms/forms. (DLC) (Entered: 08/11/2015)
  08/11/2015                   AUTOMATIC REFERRAL to Mediation The ADR Plan is available for download at
                               http://www.nywd.uscourts.gov/altemative-dispute-resolution (DLC) (Entered:
                               08/11/2015)
  08/11/2015               7 Summons Issued as to Dixie Elixirs and Edibles, Medical Marijuana, Inc., Red Dice
                             Holdings, LLC.. (Attachments: #(1) Summon II, #(2) Summon III.)(DLC) (Entered:
                             08/11/2015)
  08/11/2015                   E-Filing Notification: No summon submitted for Dixie Botanicals. (DLC) (Entered:
                               08/11/2015)
  09/25/2015               8 STIPULATION To Extend Time to Respond by Dixie Elixirs and Edibles. (Lindstrom,
                             Wendy) (Entered: 09/25/2015)
  09/29/2015                   ATTENTION CORPORATION PLAINTIFFS/DEFENDANTS: All Corporate
                               Disclosure Statements pursuant to Fed. R. Civ. P. 7.1 (b) are to be filed within seven (7)
                               days of this notice. (KLH) (Entered: 09/29/2015)
  10/23/2015               9 ANSWER to 1 Complaint by Dixie Elixirs and Edibles.(Lindstrom, Wendy) (Entered:
                             10/23/2015)
  10/23/2015             10 Corporate Disclosure Statement by Dixie Elixirs and Edibles. (Lindstrom, Wendy)
                            (Entered: 10/23/2015)
  02/19/2016              n    ANSWER to 1 Complaint by Medical Marijuana, Inc., Red Dice Holdings, LLC..
                               (Attachments: # 1 Certificate of Service)(Mura, Roy) (Entered: 02/19/2016)
  02/19/2016             12 Corporate Disclosure Statement by Medical Marijuana, Inc., Red Dice Holdings, LLC..
                            (Mura, Roy) (Entered: 02/19/2016)

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  02/22/2016                   ADR Plan electronically forwarded to attorneys. The ADR Plan is available for download
                               at http://www.nywd.uscourts.gov/altemative-dispute-resolution(SG) (Entered:
                               02/22/2016)
  02/25/2016             13 ORDER REFERRING CASE to Hon. Hugh B. Scott, United States Magistrate Judge, for
                            all pretrial matters excluding dispositive motions. The parties are encouraged to consider
                            consenting to jurisdiction by the Magistrate Judge pursuant to 28 U.S.C. § 636(c).
                            Consent forms are available from the chambers of the Magistrate Judge or the office of
                            the Clerk of the Court. SO ORDERED. Signed by Hon. Frank P. Geraci, Jr. on 2/25/2016.
                            (MC) (Entered: 02/25/2016)
  02/25/2016             14 ORDER TO SHOW CAUSE: Plaintiff is hereby Ordered to Show Cause, in writing and
                            before March 4,2016, why this case should not be dismissed as against Defendant Dixie
                            Botanicals under Fed. R. Civ. P. 4(m) for failure to effect service within 120 days. Failure
                            to comply with this Order will result in the dismissal of this action as against Dixie
                            Botanicals. SO ORDERED. Signed by Hon. Frank P. Geraci, Jr. on 2/25/16. (SCE)
                            (Entered: 02/25/2016)
  02/26/2016             15                       ORDER OF MAGISTRATE JUDGE HUGH B. SCOTT

                                                                          TEXT OF THE ORDER

                               This case has been referred to the undersigned for pretrial proceedings. A scheduling
                               conference will be held on 4/13/2016 at 10:30 AM, in the courtroom of the undersigned
                               at 2 Niagara Square, Buffalo, New York.

                               PRIOR TO THE SCHEDULING CONFERENCE, THE PARTIES ARE DIRECTED TO
                               COMPLY WITH THE REQUIREMENTS OF RULE 26 OF THE FEDERAL RULES
                               OF CIVIL PROCEDURE. This means that, at a minimum,

                               (1) the parties are to have exchanged initial disclosures as required by Rule 26(a)(1);

                               (2) the parties are to have met or conferred as required under Rule 26(f); and

                               (3) the parties are to have filed a proposed discovery plan at least seven (7) days prior to
                               the scheduling conference as also required by Rule 26(f).

                               Under 28 U.S.C. § 636(c), the Magistrate Judge is available to conduct any or all
                               proceedings in this case, including a jury or non-jury trial and entry of final judgment.
                               (See also Fed. R. Civ. P. 73.) The parties are encouraged to consider potential benefits of
                               a Rule 73 consent; however, there will be no adverse consequences at all should the
                               parties decline.

                               SO ORDERED. Issued by Hon. Hugh B. Scott on 2/26/2016. (GAI) (Entered:
                               02/26/2016)
  03/04/2016             16 RESPONSE TO ORDER TO SHOW CAUSE by Cindy Harp-Horn, Douglas J. Horn.
                            (Benjamin, Jeffrey) (Entered: 03/04/2016)
  03/08/2016             11 AFFIDAVIT of Service for Summ & Comp, RICO, CACC served on Dixie Botanicals on
                            March 1,2016, filed by Cindy Harp-Horn, Douglas J. Horn. (Benjamin, Jeffrey)
                            (Entered: 03/08/2016)
  04/01/2016                   ♦♦♦CALENDAR NOTICE: Due to the Court's calendar, the Scheduling Conference set
                               for 4/13/2016 will be delayed to 02:00 PM that day. Issued by Hon. Hugh B. Scott on
                               4/1/2016. (GAI) (Entered: 04/01/2016)
  04/05/2016             19 NOTICE of Appearance by Eric T. Boron on behalf of Medical Marijuana, Inc., Red Dice
htlps://ecf.nywd.uscourts.gov/cgi-bin/DktRpt.pl?974268828190783-L_1_0-1                                                       5/28
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                               Holdings, LLC. (Boron, Eric) (Entered: 04/05/2016)
  04/13/2016             20 Minute Entry for proceedings held before Hon. Hugh B. Scott: Scheduling Conference
                            held on 4/13/2016.

                               Court will adjust deadlines to fit expert discovery within overall discovery deadline, but
                               proposed timeframe is generally acceptable. Scheduling order will issue shortly.

                               APPEAR: Jeffrey M. Benjamin (Pltf) (by phone); Wendy J. Lindstrom (Deft Dixie
                               Elixirs and Edibles) (by phone); Eric T. Boron (other defts). (Court Reporter FTR Gold.)
                               (GAI) (Entered: 04/14/2016)
  04/14/2016             21 SCHEDULING/CASE MANAGEMENT ORDER (Please Note: This docket text does
                            not contain the entire contents of the attached Order. It is your responsibility to read the
                            attached Order and download it for future reference. Direct any questions to the
                            Chambers of the Judge who entered this Order.)

                               Discovery completed by 9/15/2017. Dispositive Motions due by 11/17/2017.

                                Signed by Hon. Hugh B. Scott on 4/14/2016. (GAI) (Entered: 04/14/2016)
  04/18/2016             22 REQUEST FOR CLERK'S ENTRY OF DEFAULT against Dixie Botanicals by Douglas
                            J. Horn, Cindy Harp-Hom.(Benjamin, Jeffrey) Modified on 8/5/2016 to correct title and
                            terminate as a motion(SG). (Entered: 04/18/2016)
  05/18/2016             23 Stipulation-Selection of Mediator by Cindy Harp-Horn, Douglas J. Horn. (Benjamin,
                            Jeffrey) (Entered: 05/18/2016)
  08/03/2016             24 NOTICE by Cindy Harp-Horn, Douglas J. Horn Consent Order Granting Substitution of
                            Attorney (Housh, Frank) (Entered: 08/03/2016)
  08/03/2016             25 NOTICE of Appearance by Frank T. Housh on behalf of All Plaintiffs (Housh, Frank)
                            (Entered: 08/03/2016)
  08/04/2016             26 -CLERK TO FOLLOW UP-

                               TEXT ORDER RE: 25 Notice of Appearance filed by Cindy Harp-Horn, Douglas J.
                               Horn.

                               The Court recuses itself from this case and asks the Clerk of the Court to arrange for
                               referral to another Magistrate Judge.

                                SO ORDERED. Issued by Hon. Hugh B. Scott on 8/4/2016. (GAI) (Entered: 08/04/2016)
  08/04/2016             27 TEXT ORDER REFERRING CASE: In light of Judge Scott's recusal, this case is now
                            referred to Hon. Michael J. Roemer, United States Magistrate Judge, for all pretrial
                            matters excluding dispositive motions. The parties are encouraged to consider consenting
                            to jurisdiction by the Magistrate Judge pursuant to 28 U.S.C. § 636(c). Consent forms are
                            available from the chambers of the Magistrate Judge or the office of the Clerk of the
                            Court. SO ORDERED. Signed by Hon. Frank P. Geraci, Jr. on 8/4/16.(SCE) (Entered:
                            08/04/2016)
  08/05/2016                   E-Filing Notification: Incorrect event used to electronically file document. For future
                               reference, use (Request for Clerk's Entry of Default) event. No action required. 22
                               REQUEST FOR CLERK'S ENTRY OF DEFAULT against Dixie Botanicals (SG)
                               (Entered: 08/05/2016)
  08/29/2016             28 Clerk's ENTRY OF DEFAULT as to Dixie Botanicals (SG) (Entered: 08/29/2016)

https://ecf.nywd .uscourts.gov/cgi-bin/DktRpt.pl7974268828190783-L_1_0-1                                                    6/28
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  09/12/2016                   SCHEDULING NOTICE. Status Conference set for 9/21/2016 11:00 AM before Hon.
                               Michael J. Roemer. Local counsel shall appear in person. Out of town counsel for
                               defendant Dixie Elixirs & Edibles may participate by teleconference and shall supply the
                               Court with a telephone number as the Court will initiate the call. (RAZ) (Entered:
                               09/12/2016)
  09/19/2016                   SCHEDULING NOTICE. Status Conference set for 9/21/2016 at 11:00 AM has been
                               RESCHEDULED to 9/26/2016 02:30 PM before Hon. Michael J. Roemer. Out of town
                               counsel for defendant Dixie Elixirs & Edibles may participate by teleconference and shall
                               supply the Court with a telephone number as the Court will initiate the call. (RAZ)
                               (Entered: 09/19/2016)
  09/26/2016             29 Minute Entry for proceedings held before Hon. Michael J. Roemer: Status Conference
                            held on 9/26/2016. Mr. Housh recently entered his appearance in place of Mr. Benjamin.
                            Parties previously selected a mediator, however, no mediation has been conducted. Court
                            to issue a new case management order. Parties to confer and submit joint proposed case
                            management deadlines within one week. APPEARANCES: Frank Housh, Esq. for
                            plaintiffs; Eric Boron, Esq. for defendants Medical Marijuana, Inc and Red Dice
                            Holdings, LLC; Wendy Lindstrom, Esq. and Hanoch Sheps, Esq. (via telephone) for
                            defendant Dixie Elixers and Edibles. (Court Reporter FTR Gold.) (JDK) (Entered:
                            09/26/2016)
  10/05/2016             30 Proposed Pretrial Order Amended Case Management Order by Cindy Harp-Horn,
                            Douglas J. Horn. (Attachments: # 1 Certificate of Service)(Housh, Frank) (Entered:
                            10/05/2016)
  10/07/2016             31 CASE MANAGEMENT ORDER (Please Note: This docket text does not contain the
                            entire contents of the attached Order. It is your responsibility to read the attached Order
                            and download it for future reference. Direct any questions to the Chambers of the Judge
                            who entered this Order.)

                               First Mediation Session due by 1/30/2017. Motions to Join Parties/Amend Pleadings due
                               by 3/21/2017. Motions to Compel Discovery due by 5/1/2017. Discovery completed by
                               6/1/2017. Plaintiff Expert Witness ID due by 9/1/2017. Defendant Expert Witness ID due
                               by 10/2/2017. Dispositive Motions due by 5/1/2018. Mediation To End by 5/1/2018.
                               Signed by Hon. Michael J. Roemer on 10/7/2016. (RAZ) (Entered: 10/07/2016)
  12/13/2016             32 NOTICE of Appearance by Hanoch Sheps on behalf of Dixie Elixirs and Edibles (Sheps,
                            Hanoch) (Entered: 12/13/2016)
  12/14/2016                   ADR Plan electronically forwarded to attorneys. The ADR Plan is available for download
                               at http://www.nywd.uscourts.gov/altemative-dispute-resolution.(NRE) (Entered:
                               12/14/2016)
  12/29/2016                   SCHEDULING NOTICE. Discovery Hearing set for 1/9/2017 02:00 PM before Hon.
                               Michael J. Roemer. (RAZ) (Entered: 12/29/2016)
  01/09/2017             33 Minute Entry for proceedings held before Hon. Michael J. Roemer. Discovery Hearing
                            held on 1/9/2017. Pltf to respond to discovery demands by 1/22/2017. As requested by
                            the parties, First Mediation Session due by 2/28/2017. Appearances: Frank T. Housh,
                            Esq. on behalf of pltfs; Eric T. Boron, Esq. on behalf of defts Medical Marijuana, Inc.,
                            Red Dice Holdings, LLC; Hanoch Sheps, Esq. via teleconference on behalf of deft Dixie
                            Elixirs and Edibles. (Court Reporter FTR Gold.) (RAZ) (Entered: 01/10/2017)
  02/14/2017             34 Mediation Certification by Michael Menard(Menard, Michael) (Entered: 02/14/2017)
  05/15/2017             35 MOTION to appear pro hac vice for Jean E. Smith-Gonnell ($150 fee paid; receipt
                            number BUF055382) by Dixie Elixirs and Edibles. (Attachments: # 1 Sponsoring
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                               Affidavit, # 2 Petition, # 3 Attorney's Oath, # 4 Civility Oath, # 5 Attorney Database, # 6
                               CM/ECF Registration)(NRE) (Entered: 05/17/2017)
  05/17/2017                   Verified admission to the Colorado State Bar for Attorney Jean E. Smith-Gonnell. (NRE)
                               (Entered: 05/17/2017)
  05/19/2017             36 TEXT ORDER granting 35 Motion for Jean E. Smith-Gonnell to appear pro hac vice on
                            behalf of Dixie Elixirs and Edibles. SO ORDERED. Issued by Hon. Michael J. Roemer
                            on 5/19/2017. (RAZ)

                                -CLERK TO FOLLOW UP- (Entered: 05/19/2017)
  06/21/2017             37 MOTION to Substitute Attorney Frank Housh, Esq. by Cindy Harp-Horn, Douglas J.
                            Hom.(Housh, Frank) (Entered: 06/21/2017)
  06/22/2017             38 First MOTION for Extension of Time to Complete Discovery by Cindy Harp-Horn,
                            Douglas J. Horn. (Attachments: # 1 Affidavit Declaration of Counsel)(Benjamin, Jeffrey)
                            (Entered: 06/22/2017)
  06/23/2017             39 TEXT ORDER granting 37 Motion to Substitute Attorney. SO ORDERED. Issued by
                            Hon. Michael J. Roemer on 6/23/2017. (RAZ)

                                -CLERK TO FOLLOW UP- (Entered: 06/23/2017)
  06/23/2017                   SCHEDULING NOTICE as to 38 First Motion for Extension of Time to Complete
                               Discovery . Responses due by 7/5/2017. Motion Hearing set for 7/10/2017 11:00 AM
                               before Hon. Michael J. Roemer. (RAZ) (Entered: 06/23/2017)
  07/05/2017             40 DECLARATION re 38 First MOTION for Extension of Time to Complete Discovery
                            filed by Medical Marijuana, Inc. and Red Dice Holdings, Inc. . (Attachments: # 1
                            Memorandum of Law in Opposition to Plaintiffs' Motion for Extension of Deadline Dates
                            in Case Management Order, # 2 Certificate of Service)(Boron, Eric) Modified on
                            7/6/2017 to add filer (SG). (Entered: 07/05/2017)
  07/06/2017                   E-Filing Notification: Red Dice Holdings, Inc. added as filer re 40 DECLARATION re
                               38 First MOTION for Extension of Time to Complete Discovery (SG) (Entered:
                               07/06/2017)
  07/10/2017             41 Minute Entry for proceedings held before Hon. Michael J. Roemer. Motion Hearing held
                            on 7/10/2017 re 38 First Motion for Extension of Time to Complete Discovery filed by
                            Cindy Harp-Horn, Douglas J. Horn.

                               Court denied pltf s motion for reasons stated on the record. Parties to follow the current
                               31 Case Management Order. Appearances: No appearance on behalf of pltfs; Eric T.
                               Boron, Esq. on behalf of defts Medical Marijuana, Inc., Red Dice Holdings, LLC; Wendy
                               J. Lindstrom, Esq. on behalf of deft Dixie Elixirs and Edibles. (Court Reporter FTR
                               Gold.) (RAZ) (Entered: 07/10/2017)
  07/13/2017             42 NOTICE OF FILING OF OFFICIAL TRANSCRIPT of Proceedings held on 7/10/2017,
                            before Judge Michael J. Roemer. Court Reporter/Transcriber Michelle McLaughlin,
                            Telephone number 716-332-3560. Transcript may be viewed at the court public terminal
                            or purchased through the Court Reporter/Transcriber before the deadline for Release of
                            Transcript Restriction. After that date it may be obtained through PACER.. Redaction
                            Request due 8/3/2017. Redacted Transcript Deadline set for 8/14/2017. Release of
                            Transcript Restriction set for 10/11/2017. (KM) (Entered: 07/13/2017)
  08/31/2017             43 Mediation Certification by Michael Menard(AGB) (Main Document 43 replaced on
                            10/26/2017) (AGB). (Entered: 08/31/2017)

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  11/28/2017             44 Mediation Certification by Michael Menard(AGB) (Entered: 11/28/2017)
  12/07/2017             45 Second MOTION for Extension of Time to Complete Discovery Letter o f Counsel by
                            Cindy Harp-Horn, Douglas J. Hom.(Benjamin, Jeffrey) (Entered: 12/07/2017)
  12/11/2017             46 RESPONSE to Motion re 45 Second MOTION for Extension of Time to Complete
                            Discovery Letter o f Counsel filed by Medical Marijuana, Inc., Red Dice Holdings, LLC..
                            (Boron, Eric) (Entered: 12/11/2017)
  12/11/2017                   SCHEDULING NOTICE as to 45 Second Motion for Extension of Time to Complete
                               Discovery Letter o f Counsel. Oral Argument set for 12/18/2017 11:00 AM before Hon.
                               Michael J. Roemer. (RAZ) (Entered: 12/11/2017)
  12/13/2017             47 Second MOTION for Extension of Time to Complete Discovery Plaintiffs' Reply by
                            Cindy Harp-Horn, Douglas J. Horn. (Attachments: # 1 Exhibit 10/19 Email, # 2 Exhibit
                            11/7 Email, # 3 Exhibit 11/15 Email)(Benjamin, Jeffrey) (Entered: 12/13/2017)
  12/14/2017             48 RESPONSE to Motion re 45 Second MOTION for Extension of Time to Complete
                            Discovery Letter o f Counsel filed by Dixie Elixirs and Edibles. (Sheps, Hanoch)
                            (Entered: 12/14/2017)
  12/18/2017             49 Minute Entry for proceedings held before Hon. Michael J. Roemer. Oral Argument re 45
                            Second Motion for Extension of Time to Complete Discovery held on 12/18/2017.

                               Court granted said motion and directed that the expert deposition be completed by the
                               end of February 2018. Pltf shall turn over all outstanding discovery records to defts no
                               later than 1/5/2018. Appearances: Jeffrey M. Benjamin, Esq. on behalf of pltfs via
                               teleconference; Eric T. Boron, Esq. on behalf of deft Medical Marijuana and Red Dice
                               Holdings; Hanoch Sheps, Esq. on behalf of deft Dixie Elixirs via teleconference. (Court
                               Reporter FTR Gold.) (RAZ) (Entered: 12/18/2017)
  02/13/2018             50 Mediation Certification by Michael Menard(AGB) (Entered: 02/13/2018)
  04/10/2018             51 Letter filed by Medical Marijuana, Inc., Red Dice Holdings, LLC. as to Dixie Botanicals,
                            Dixie Elixirs and Edibles, Medical Marijuana, Inc., Red Dice Holdings, LLC. . (Boron,
                            Eric) (Entered: 04/10/2018)
  04/11/2018             52 TEXT ORDER: Defendants' motion for an extension of time is granted. Dispositive
                            motions shall be filed on or before June 15,2018. If no dispositive motions are filed,
                            counsel shall contact Judge Geraci's chambers by June 17, 2018 to schedule a trial date.
                            Issued by Hon. Michael J. Roemer on April 11,2018. (MLM) (Entered: 04/11/2018)
  06/07/2018             53 Letter filed by Medical Marijuana, Inc., Red Dice Holdings, LLC. as to Dixie Botanicals,
                            Dixie Elixirs and Edibles, Medical Marijuana, Inc., Red Dice Holdings, LLC. Letter o f
                            Counsel. (Mura, Roy) (Entered: 06/07/2018)
  06/08/2018             54 TEXT ORDER re 53 Letter filed by Medical Marijuana, Inc., Red Dice Holdings, LLC.
                            Defendants' request for an extension of time to file dispositive motion is granted.
                            Dispositive motions shall be filed on or before 7/30/2018. If no dispositive motions are
                            filed, counsel shall contact Judge Geraci's chambers by 8/3/2018 to schedule a trial date.
                            SO ORDERED. Issued by Hon. Michael J. Roemer on 6/8/2018. (RAZ) (Entered:
                            06/08/2018)
  06/25/2018             55 NOTICE of Appearance by Hanoch Sheps on behalf of Dixie Elixirs and Edibles (Sheps,
                            Hanoch) (Entered: 06/25/2018)
  06/25/2018             56 NOTICE of Appearance by Jean-Claude Mazzola on behalf of Dixie Elixirs and Edibles
                            (Mazzola, Jean-Claude) (Entered: 06/25/2018)

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  06/28/2018             57 Letter filed by Dixie Elixirs and Edibles as to Dixie Botanicals, Dixie Elixirs and Edibles,
                            Medical Marijuana, Inc., Red Dice Holdings, LLC. . (Sheps, Hanoch) (Entered:
                            06/28/2018)
  07/06/2018             58 TEXT ORDER re 57 Letter filed by Dixie Elixirs and Edibles. Defendants' request for an
                            extension of time to file dispositive motions is granted. Dispositive motions shall be filed
                            on or before 8/30/2018. If no dispositive motions are filed, counsel shall contact Judge
                            Geraci's chambers by 9/4/2018 to schedule a trial date. SO ORDERED. Issued by Hon.
                            Michael J. Roemer on 7/6/2018. (RAZ) (Entered: 07/06/2018)
  08/08/2018             59 Mediation Certification by Michael Menard(AGW) (Entered: 08/08/2018)
  08/30/2018             60 MOTION for Summary Judgment by Plaintiffs by Cindy Harp-Horn, Douglas J. Horn.
                            (Attachments: # 1 Statement of Undisputed Facts L.R. 56(a)(1), # 2 Declaration, # 3
                            Exhibit A, # 4 Exhibit B, # 5 Exhibit C, # 6 Affidavit Plaintiffs, # 7 Exhibit 1, # 8 Exhibit
                            2, # 9 Exhibit 3, # lfl Exhibit 4, # U Exhibit 5, # 12 Exhibit 6, #13 Exhibit 7, # 14
                            Exhibit 8, # 15 Exhibit 9, # 16 Exhibit 10, # 17 Exhibit 11, # 18 Exhibit 12, # 19 Exhibit
                            13, # 20 Exhibit 14, # 21 Affidavit Expert, # 22 Exhibit I, # 23 Exhibit II, # 24 Exhibit
                            III, # 25 Memorandum in Support)(Benjamin, Jeffrey) (Entered: 08/30/2018)
  08/30/2018             61 MOTION for Summary Judgment and/orfor Judgment on the Pleadings by Medical
                            Marijuana, Inc., Red Dice Holdings, LLC.. (Attachments: # 1 Statement of Undisputed
                            Facts, # 2 Declaration Declaration of Roy A. Mura, Esq., # 3 Exhibit Exhibit A to
                            Declaration of Roy A. Mura —Complaint, # 4 Exhibit Exhibit B to Declaration of Roy A.
                            Mura —Answer of MMI and RDH, # 5 Exhibit Exhibit C to Declaration of Roy A. Mura
                            —EBT of Douglas Horn, # 6 Exhibit Exhibit D to Declaration of Roy A. Mura —EBT of
                            Cindy Harp-Horn, # 7 Exhibit Exhibit E to Declaration of Roy A. Mura —Fall 2012 High
                            Times Medical Marijuana Magazine, # 8 Exhibit Exhibit F to Declaration of Roy A.
                            Mura —EBT of Dr. Cindy Orser, # 9 Exhibit Exhibit G to Declaration of Roy A. Mura —
                            Expert Report of Dr. Cindy Orser, # 10 Exhibit Exhibit H to Declaration of Roy A. Mura
                            —CannLabs Testing Certificates, # H Declaration Declaration of Stuart W. Titus, PhD, #
                            12 Declaration Declaration of Michelle L. Sides, Esq., # 13 Exhibit Exhibit A to
                            Declaration of Michelle L. Sides, # 14 Memorandum in Support)(Mura, Roy)
                            (Attachment 8 replaced on 12/29/2020) (CGJ). (Entered: 08/30/2018)
  08/30/2018             62 MOTION for Summary Judgment by Dixie Elixirs and Edibles. (Attachments: # 1
                            Memorandum in Support, # 2 Affidavit, # 3 Affidavit, # 4 Statement of Undisputed Facts,
                            # 5 Exhibit, # 6 Exhibit, # 7 Exhibit, # 8 Exhibit, # 9 Exhibit, # 10 Exhibit, # H Exhibit,
                            # 12 Exhibit, # 13 Exhibit, # 14 Exhibit, # 15 Exhibit, # 16 Exhibit)(Mazzola, Jean-
                            Claude) (Entered: 08/30/2018)
  09/03/2018             63 TEXT ORDER: On 8/30/18, all parties filed motions for summary judgment. Responses
                            to these motions are due by 9/28/18, and replies may be filed by 10/12/18. SO
                            ORDERED. Signed by Hon. Frank P. Geraci, Jr. on 9/3/18. (JO) (Entered: 09/03/2018)
  09/20/2018             64 First MOTION for Extension of Time to File Response/Reply as to 63 Text Order re
                            Defts'Motions for Summ Judg by Cindy Harp-Horn, Douglas J. Hom.(Benjamin, Jeffrey)
                            (Entered: 09/20/2018)
  09/21/2018             65 TEXT ORDER GRANTING 64 Motion for Extension of Time to File Response/Reply.
                            All responses are now due 11/2/18, and parties may reply by 11/16/18. SO ORDERED.
                            Signed by Hon. Frank P. Geraci, Jr. on 9/21/18. (JO) (Entered: 09/21/2018)
  10/30/2018             66 Second MOTION for Extension of Time to File Response/Reply as to 62 MOTION for
                            Summary Judgment, 61 MOTION for Summary Judgment and/orfor Judgment on the
                            Pleadings Plaintiffs by Cindy Harp-Horn, Douglas J. Hom.(Benjamin, Jeffrey) (Entered:
                            10/30/2018)

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  10/31/2018             67 TEXT ORDER GRANTING 66 Second Motion for Extension of Time to File
                            Response/Reply. All responses are now due November 16,2018, and parties may reply
                            by November 30,2018. SO ORDERED. Signed by Hon. Frank R Geraci, Jr. on
                            10/31/2018. (SFR) Modified on 10/31/2018 (SFR). (Entered: 10/31/2018)
  11/16/2018             68 MOTION to Amend/Correct Proposed First Amended Complaint by Cindy Harp-Horn,
                            Douglas J. Horn. (Attachments: # 1 Declaration, # 2 Exhibit Operating Agreement, # 3
                            Exhibit Proposed Amended Complaint)(Benjamin, Jeffrey) (Entered: 11/16/2018)
  11/16/2018             69 RESPONSE in Opposition re 61 MOTION for Summary Judgment and/orfor Judgment
                            on the Pleadings filed by Cindy Harp-Horn, Douglas J. Horn. (Attachments: # 1
                            Declaration, # 2 Exhibit Op Agr, # 3 Exhibit Dixie v. MMI, # 4 Exhibit SEC Filing, # 5
                            Exhibit Magazine, # 6 Exhibit First FAQ, # 7 Exhibit Second FAQ, # 8 Exhibit Invoice, #
                            9 Exhibit CRL Test, # 10 Exhibit Lab Test, # H Exhibit Email, # 12 Exhibit Cert of
                            Analysis, # 13 Exhibit Bottle Label, # 14 Exhibit Launch, # 15 Exhibit Tamar Wise, # 16
                            Exhibit Deft Expert Dep, # 17 Exhibit Pltf Econ CV, # 18 Exhibit Expert Econ Report, #
                            19 Affidavit Plaintiffs' Affid, # 20 Affidavit Plaintiffs' Suppl Affid, # 21 Affidavit Affid
                            Ellen Voie, # 22 Affidavit Affid Dr. Graham, # 23 Exhibit Graham CV, # 24 Exhibit
                            Graham Report, # 25 Exhibit Graham Report 2, # 26 Memorandum in Support MOL -
                            MMI)(Benjamin, Jeffrey) (Entered: 11/16/2018)
  11/16/2018             70 RESPONSE in Opposition re 62 MOTION for Summary Judgment filed by Cindy Harp-
                            Horn, Douglas J. Horn. (Attachments: # 1 Declaration, # 2 Exhibit Magazine, # 3 Exhibit
                            First FAQ, # 4 Exhibit Second FAQ, # 5 Exhibit Invoice, # 6 Exhibit CRL Test, # 7
                            Exhibit Lab Test, # 8 Exhibit Email, # 9 Exhibit Cert of Analysis, # 10 Exhibit Bottle
                            Label, # H Exhibit Launch, # 12 Exhibit Tamar Wise, # 13 Exhibit Deft Expert Dep, # 14
                            Exhibit Pltf Expert CV, # 15 Exhibit Pltf Expert Econ Report, # 16 Affidavit Pltf
                            Affidavit, # 17 Affidavit Pltf Suppl Affid, # 18 Affidavit Affid Ellen Voie, # 19 Affidavit
                            Affid Dr Graham, # 20 Exhibit Graham CV, # 21 Exhibit Graham Report, # 22 Exhibit
                            Graham Report 2, # 23 Memorandum in Support MOL Dixie)(Benjamin, Jeffrey)
                            (Entered: 11/16/2018)
  11/16/2018             21 MOTION to Strike 60 MOTION for Summary Judgment by Plaintiffs by Dixie Elixirs
                            and Edibles.(Sheps, Hanoch) (Entered: 11/16/2018)
  11/16/2018             72 MEMORANDUM OF LAW in Support of 71 MOTION to Strike 60 MOTION for
                            Summary Judgment by Plaintiffs by Dixie Elixirs and Edibles. (Attachments: # 1
                            Declaration JC Declaration, # 2 Exhibit Dr. Orser excerpts, # 3 Exhibit Doug Horn
                            excerpts)(Sheps, Hanoch) Modified on 11/19/2018 to correct event and add correct link
                            (NRE). (Entered: 11/16/2018)
  11/16/2018             73 MEMORANDUM in Opposition re 60 MOTION for Summary Judgment by Plaintiffs
                            filed by Dixie Elixirs and Edibles. (Attachments: # 1 Declaration JC Declaration, # 2
                            Exhibit Counterstatement of Facts)(Sheps, Hanoch) (Entered: 11/16/2018)
  11/16/2018             74 First MOTION to Strike Plaintiffs' Summary Judgment Evidence by Medical Marijuana,
                            Inc., Red Dice Holdings, LLC.. (Attachments: # 1 Declaration Declaration of Daniel S.
                            Gvertz, Esq., # 2 Exhibit Exhibit A, # 3 Exhibit Exhibit B, # 4 Exhibit Exhibit C, # 5
                            Exhibit Exhibit D, # 6 Memorandum in Support Memorandum in Support)(Gvertz,
                            Daniel) (Entered: 11/16/2018)
  11/16/2018             75 RESPONSE in Opposition re 60 MOTION for Summary Judgment by Plaintiffs filed by
                            Medical Marijuana, Inc., Red Dice Holdings, LLC.. (Attachments: # 1 Exhibit Exhibit A,
                            # 2 Memorandum in Support Memorandum in opposition, # 3 Statement of Undisputed
                            Facts Response to plaintiffs' statement of facts)(Gvertz, Daniel) (Entered: 11/16/2018)
  11/17/2018             76 TEXT SCHEDULING ORDER: On 11/16/18, the Court received three motions: two

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                               motions to strike by Defendants, ECF Nos. 2 1 ,7 2 , and 74 (the motions at ECF Nos. 71
                               and 72 are documents in support of a single motion to strike), and a motion to amend the
                               Complaint by Plaintiffs, ECF No. 68 . Responses from the parties opposing these motions
                               are due by 11/30/18, and the moving parties may reply by 12/7/18. SO ORDERED.
                               Signed by Hon. Frank P. Geraci, Jr. on 11/17/18. (JO) (Entered: 11/17/2018)
  11/19/2018                   E-Filing Notification: regarding 72 MOTION to Strike 60 MOTION for Summary
                               Judgment by Plaintiffs . Document filed improperly as a motion. Court terminated motion
                               and modified docket text to correctly reflect filing event. No action required. (NRE)
                               (Entered: 11/19/2018)
  11/27/2018             77 First MOTION for Extension of Time to File Response/Reply as to 71 MOTION to
                            Strike 60 MOTION for Summary Judgment by Plaintiffs , 76 Text Order, 74 First
                            MOTION to Strike Plaintiffs' Summary Judgment Evidence andfor Replies as to MSJs
                            by Cindy Harp-Horn, Douglas J. Hom.(Benjamin, Jeffrey) (Entered: 11/27/2018)
  11/28/2018             78 Mediation Certification by Michael Menard(AGW) (Entered: 11/28/2018)
  11/28/2018             79 TEXT ORDER GRANTING Plaintiffs' unopposed 77 Motion for Extension of Time to
                            File Response/Reply. Responses from the parties opposing motions at ECF Nos. 6 8 .7 1 .
                            and 74 are now due by 12/7/18, and the moving parties may reply by 12/14/18. Replies
                            for the pending motions for summary judgment, ECF Nos. 6 0 ,6 1 , and 62 , are now also
                            due by 12/7/18. SO ORDERED. Signed by Hon. Frank P. Geraci, Jr. on 11/28/18.
                            Modified on 11/28/2018 to include new deadline for motions for summary judgment.
                            (JO) (Entered: 11/28/2018)
  12/07/2018             80 MEMORANDUM in Opposition re 72 MOTION to Strike 60 MOTION for Summary
                            Judgment by Plaintiffs filed by Cindy Harp-Horn, Douglas J. Horn. (Benjamin, Jeffrey)
                            (Entered: 12/07/2018)
  12/07/2018             81 MEMORANDUM in Opposition re 74 First MOTION to Strike Plaintiffs' Summary
                            Judgment Evidence filed by Cindy Harp-Horn, Douglas J. Horn. (Beniamin, Jeffrey)
                            (Entered: 12/07/2018)
  12/07/2018             82 MEMORANDUM in Opposition re 68 MOTION to Amend/Correct Proposed First
                            Amended Complaint filed by Dixie Elixirs and Edibles. (Sheps, Hanoch) (Entered:
                            12/07/2018)
  12/07/2018             83 REPLY to Response to Motion re 60 MOTION for Summary Judgment by Plaintiffs
                            Reply to Dixie Opposition filed by Cindy Harp-Horn, Douglas J. Horn. (Benjamin,
                            Jeffrey) (Entered: 12/07/2018)
  12/07/2018             M     REPLY to Response to Motion re 60 MOTION for Summary Judgment by Plaintiffs
                               Reply to MMI/RDH Opposition filed by Cindy Harp-Horn, Douglas J. Horn. (Benjamin,
                               Jeffrey) (Entered: 12/07/2018)
  12/07/2018             85 REPLY/RESPONSE to re 70 Response in Opposition to Motion,,, filed by Dixie Elixirs
                            and Edibles. (Sheps, Hanoch) (Entered: 12/07/2018)
  12/07/2018             86 MEMORANDUM in Support re 61 MOTION for Summary Judgment and/orfor
                            Judgment on the Pleadings filed by Medical Marijuana, Inc., Red Dice Holdings, LLC..
                            (Gvertz, Daniel) (Entered: 12/07/2018)
  12/07/2018             87 RESPONSE in Opposition re 68 MOTION to Amend/Correct Proposed First Amended
                            Complaint filed by Medical Marijuana, Inc., Red Dice Holdings, LLC.. (Attachments: # 1
                            Exhibit Scheduling Order)(Gvertz, Daniel) (Entered: 12/07/2018)
  04/17/2019             88 DECISION AND ORDER: Plaintiffs' motion to amend 68 is GRANTED IN PART and
                            DENIED IN PART. Defendants' motions to strike [71, 74] are DENIED. Plaintiffs'
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                               motion for partial summary judgment 60 is DENIED. Defendants' motions for summary
                               judgment 6162 are GRANTED IN PART and DENIED IN PART. As a result of these
                               rulings, the only surviving claims are Douglas's claims for fraudulent inducement and
                               civil RICO. All other claims against Defendants are dismissed. The Clerk of Court is
                               directed to amend the name of Defendant "Dixie Elixirs and Edibles" to "Dixie Holdings,
                               LLC a/k/a Dixie Elixirs." By separate order, the Court will schedule a status conference
                               to hear from the parties on the progress of this action. SO ORDERED. Signed by Hon.
                               Frank P. Geraci, Jr. on 4/17/2019. (MFM)

                                -CLERK TO FOLLOW UP- (Entered: 04/17/2019)
  04/19/2019             89 TEXT ORDER Status Conference set for 5/16/2019 10:00 AM in US Courthouse, 2
                            Niagara Square, Buffalo, NY 14202-3350 before Hon. Frank P. Geraci, Jr. IT IS SO
                            ORDERED. Signed by Hon. Frank P. Geraci, Jr. on 4/19/19. (PR) (Entered: 04/19/2019)
  04/25/2019             90 Letter MOTION to change the Status Conference date filed by Dixie Holdings, LLC as to
                            Dixie Botanicals, Dixie Holdings, LLC, Medical Marijuana, Inc., Red Dice Holdings,
                            LLC. . (Mazzola, Jean-Claude) Modified on 4/26/2019 to correct event(KLH). (Entered:
                            04/25/2019)
  04/26/2019                   E-Filing Notification regarding 90 Letter: This document contains a request for relief and
                               should be filed as a motion. No action required - Clerk corrected entry. (KLH) (Entered:
                               04/26/2019)
  05/02/2019             91 TEXT ORDER granting defendant Dixie Elixirs's 90 Letter request to adjourn the 5/16
                            status conference. The case is adjourned to 6/20/2019 at 09:30 AM in US Courthouse, 2
                            Niagara Square, Buffalo, NY 14202-3350 before Hon. Frank P. Geraci, Jr. The parties
                            shall notify the Court if they intend to mediate the case and wish to have the status
                            conference rescheduled for a later date. IT IS SO ORDERED. Signed by Hon. Frank P.
                            Geraci, Jr. on 5/2/19. (PR) (Entered: 05/02/2019)
  05/16/2019             92 NOTICE OF APPEAL as to 88 Order on Motion for Summary Judgment,,,,,,,,,,,, Order
                            on Motion to Amend/Correct,,,, Order on Motion to Strike,,,,,,, by Cindy Harp-Horn,
                            Douglas J. Horn. Filing fee $ 505, receipt number 0209-3454145. Appeal Record due by
                            9/13/2019. (Benjamin, Jeffrey) (Entered: 05/16/2019)
  06/17/2019             93 First MOTION for Leave to Appear by Phone for Conf 6/20/19 by Cindy Harp-Horn,
                            Douglas J. Hom.(Benjamin, Jeffrey) (Entered: 06/17/2019)
  06/18/2019             94 TEXT ORDER granting 93 Motion for Leave to Appear by telephone. The Court will
                            supply counsel in advance with the Court's conference center instructions. IT IS SO
                            ORERED. Signed by Hon. Frank P. Geraci, Jr. on 6/18/19. (PR) (Entered: 06/18/2019)
  06/20/2019             95 Minute Entry for proceedings held before Hon. Frank P. Geraci, Jr.: Status Conference
                            held on 6/20/2019. Plaintiffs filed 92 Interlocutory Appeal of 88 Decision and Order.
                            Second Circuit argument scheduled next month. A further mediation session has been
                            scheduled. Status Conference is scheduled for 8/15/2019 at 2:30 PM before Hon. Frank P.
                            Geraci, Jr., to be held in US Courthouse, 2 Niagara Square, Buffalo, NY 14202. Counsel
                            may appear by telephone. Appearances: For Pltf s - Jeffrey Benjamin, Esq., (by
                            telephone); For Deft's - Roy Mura, Esq., (Medical Marijuana, Inc., Red Dice Holdings,
                            LLC); Jean-Claude Mazzola, Esq., and Hanoch Sheps, Esq., (by telephone) (Dixie
                            Holdings, LLC). (Court Reporter Christi Macri.) (JDK) (Entered: 06/21/2019)
  06/25/2019             96 NOTICE of Appearance by Scott David Mancuso on behalf of Medical Marijuana, Inc.,
                            Red Dice Holdings, LLC. (Mancuso, Scott) (Entered: 06/25/2019)
  07/17/2019             97 MOTION for Reconsideration re 88 Order on Motion for Summary Judgment,,,,,,,,,,,,
                            Order on Motion to Amend/Correct,,,, Order on Motion to Strike,,,,,,, by Medical
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                               Marijuana, Inc., Red Dice Holdings, LLC.. (Attachments: # 1 Declaration Declaration of
                               Roy A. Mura, Esq., # 2 Declaration Declaration of Stuart W. Titus, PhD, # 3
                               Memorandum in Support Memorandum of Law in Support)(Mura, Roy) (Entered:
                               07/17/2019)
  07/18/2019             98 TEXT SCHEDULING ORDER: On July 17,2019, Defendants Medical Marijuana, Inc.
                            and Red Dice Holdings, LLC filed a motion for reconsideration 97 . Plaintiffs and
                            Defendant Dixie Holdings, LLC shall file responses by August 16,2019, and the moving
                            defendants shall file a reply within fifteen days of the responses. To the extent the parties
                            intend to challenge the moving defendants' factual assertions, they must do so in the
                            manner contemplated by Federal Rule of Civil Procedure 56(c)(1). In addition to the
                            merits, the parties shall address whether this court has jurisdiction to consider the motion
                            given the pending appeal. SO ORDERED. Signed by Hon. Frank P. Geraci, Jr. on
                            7/18/2019. (MFM) (Entered: 07/18/2019)
  08/06/2019                    TEXT SCHEDULING ORDER: In light of the ongoing briefing of Defendants' motion
                                97 , the Court reschedules the Status Conference set for 8/15/2019 to a future date.
                                Specifically, the Status Conference is now set for 9/20/2019 at 02:00 PM in US
                                Courthouse, 2 Niagara Square, Buffalo, NY 14202-3350 before Hon. Frank P. Geraci, Jr.
                                SO ORDERED. Signed by Hon. Frank P. Geraci, Jr. on 8/6/2019. (MFM) (Entered:
                                08/06/2019)
  08/07/2019             99 DESIGNATION of Record on Appeal by Douglas J. Horn re 92 Notice of Appeal,
                            CLERK TO FOLLOW UP (Benjamin, Jeffrey) (Entered: 08/07/2019)
  08/08/2019            100 CLERKS CERTIFICATE filed and electronically sent to Court of Appeals. 99 Index to
                            Record on Appeal. (KM) (Entered: 08/08/2019)
  08/08/2019            101 TEXT ORDER: Consistent with the Court's prior order, counsel may appear by telephone
                            at the 9/20/2019 status conference. SO ORDERED. Signed by Hon. Frank P. Geraci, Jr.
                            on 8/8/2019. (MFM) (Entered: 08/08/2019)
  08/09/2019            102 MOTION for Certificate of Appealability by Plaintiffs by Douglas J. Horn. (Attachments:
                            # 1 Declaration of Plaintiffs Counsel, # 2 Exhibit A - Voie Affidavit, # 3 Exhibit B -
                            Notice of Appeal)(Benjamin, Jeffrey) (Entered: 08/09/2019)
  08/12/2019            103 TEXT SCHEDULING ORDER: On 8/9/2019, Plaintiffs filed a motion under FRCP
                            54(b) as to Cindy Horn's claims. Defendants shall file responses to the motion by
                            9/2/2019, and Plaintiffs may file a reply by 9/16/2019. SO ORDERED. Signed by Hon.
                            Frank P. Geraci, Jr. on 8/12/2019. (MFM) (Entered: 08/12/2019)
  08/14/2019            104 Supplemental MOTION for Certificate of Appealability Decl as to Douglas Claims by
                            Douglas J. Hom.(Benjamin, Jeffrey) (Entered: 08/14/2019)
  08/15/2019            105 First MOTION for Extension of Time to File Response/Reply as to 98 Text Order,, 97
                            MOTION for Reconsideration re 88 Order on Motion for Summary Judgment,,,,,,,,,,,,
                            Order on Motion to Amend/Correct,,,, Order on Motion to Strike,,,,,,, by Douglas J. Horn.
                            (Benjamin, Jeffrey) (Entered: 08/15/2019)
  08/15/2019            106 MEMORANDUM in Support re 97 MOTION for Reconsideration re 88 Order on Motion
                            for Summary Judgment,,,,,,,,,,,, Order on Motion to Amend/Correct,,,, Order on Motion
                            to Strike,,,,,,, filed by Dixie Holdings, LLC. (Mazzola, Jean-Claude) (Entered:
                            08/15/2019)
  08/16/2019            107 TEXT ORDER granting 105 Plaintiffs' Motion for Extension of Time. Plaintiffs' response
                            to the Motion for Reconsideration is now due 9/13/2019, and the moving defendants may
                            file a reply within 15 days thereafter. SO ORDERED. Signed by Hon. Frank P. Geraci, Jr.
                            on 8/16/2019. (MFM) (Entered: 08/16/2019)
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  08/30/2019            108 MEMORANDUM in Opposition re 104 Supplemental MOTION for Certificate of
                            Appealability Decl as to Douglas Claims, 102 MOTION for Certificate of Appealability
                            by Plaintiffs filed by Medical Marijuana, Inc., Red Dice Holdings, LLC.. (Mura, Roy)
                            (Entered: 08/30/2019)
  09/02/2019            109 MEMORANDUM in Opposition re 104 Supplemental MOTION for Certificate of
                            Appealability Decl as to Douglas Claims, 102 MOTION for Certificate of Appealability
                            by Plaintiffs filed by Dixie Holdings, LLC. (Sheps, Hanoch) (Entered: 09/02/2019)
  09/03/2019            110 Letter filed by Medical Marijuana, Inc., Red Dice Holdings, LLC. as to Dixie Botanicals,
                            Dixie Holdings, LLC, Medical Marijuana, Inc., Red Dice Holdings, LLC. requesting
                            leave to appear at 9/20/2019 status conference by telephone. (Mura, Roy) (Entered:
                            09/03/2019)
  09/03/2019                   TEXT SCHEDULING ORDER: Because briefing on the pending motions remains
                               ongoing, the status conference set for 9/20/19 is CANCELLED. Rather than rescheduling
                               it at the present time, the Court will schedule a status conference once the pending
                               motions are resolved. SO ORDERED. Signed by Hon. Frank R Geraci, Jr. on 9/3/2019.
                               (MFM) (Entered: 09/03/2019)
  09/03/2019            111 TEXT ORDER: Defendants' letter request to appear by telephone 110 is DENIED AS
                            MOOT. SO ORDERED. Signed by Hon. Frank P. Geraci, Jr. on 9/3/2019. (MFM)
                            (Entered: 09/03/2019)
  09/13/2019            112 Cross MOTION for Reconsideration re 106 Memorandum in Support of Motion, 97
                            MOTION for Reconsideration re 88 Order on Motion for Summary Judgment,,,,,,,,,,,,
                            Order on Motion to Amend/Correct,,,, Order on Motion to Strike,,,,,,, for Revision o f
                            Decision by Douglas J. Horn. (Attachments: # 1 Affidavit Graham Affdiavit, # 2
                            Declaration Declaration of Counsel, # 3 Memorandum in Support MOL in Opp and Supp
                            of Cross)(Benjamin, Jeffrey) (Entered: 09/13/2019)
  09/16/2019            113 TEXT ORDER: On September 13,2019, Plaintiffs filed an omnibus Opposition to
                            Defendants' Motion for Reconsideration and Cross-Motion for Reconsideration 112 .
                            Defendants may file a reply/response by 10/7/2019. No further briefing on the motions
                            for reconsideration will be permitted without prior leave of court. SO ORDERED. Signed
                            by Hon. Frank P. Geraci, Jr. on 9/16/2019. (MFM) (Entered: 09/16/2019)
  09/16/2019            114 DECLARATION re 109 Memorandum in Opposition to Motion, 104 Supplemental
                            MOTION for Certificate of Appealability Decl as to Douglas Claims, 102 MOTION for
                            Certificate of Appealability by Plaintiffs, 108 Memorandum in Opposition to Motion,
                            filed by Douglas J. Horn Omnibus Reply filed by Douglas J. Horn. (Benjamin, Jeffrey)
                            (Entered: 09/16/2019)
  10/03/2019            115 DECISION AND ORDER denying 102 104 Plaintiffs' Motions for Partial Judgment
                            under Rule 54(b). SO ORDERED. Signed by Hon. Frank P. Geraci, Jr. on 10/2/2019.
                            (MFM) (Entered: 10/03/2019)
  10/07/2019            116 MEMORANDUM in Opposition re 112 Cross MOTION for Reconsideration re 106
                            Memorandum in Support of Motion, 97 MOTION for Reconsideration re 88 Order on
                            Motion for Summary Judgment,,,,,,,,,,,, Order on Motion to Amend/Correct,,,, Order on
                            Motion to Strike,,,,,,, filed by Dixie Holdings, LLC. (Sheps, Hanoch) (Entered:
                            10/07/2019)
  10/07/2019            117 REPLY to Response to Motion re 112 Cross MOTION for Reconsideration re 106
                            Memorandum in Support of Motion, 97 MOTION for Reconsideration re 88 Order on
                            Motion for Summary Judgment,,,,,,,,,,,, Order on Motion to Amend/Correct,,,, Order on
                            Motion to Strike,,,,,,,, 97 MOTION for Reconsideration re 88 Order on Motion for
                            Summary Judgment,,,,,,,,,,,, Order on Motion to Amend/Correct,,,, Order on Motion to
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                               Strike,,,,,,, and Opposition to Plaintiffs' Cross Motion filed by Medical Marijuana, Inc.,
                               Red Dice Holdings, LLC.. (Attachments: # 1 Memorandum in Support)(Mura, Roy)
                               (Entered: 10/07/2019)
  10/17/2019            118 MOTION for Extension of Time to File Response/Reply as to 117 Reply to Response to
                            Motion,, 116 Memorandum in Opposition to Motion, on Pltfs Cross-Motion FRCP 54(b)
                            by Douglas J. Hom.(Benjamin, Jeffrey) (Entered: 10/17/2019)
  10/18/2019            119 TEXT ORDER granting 118 Plaintiffs' Motion for Extension of Time. Plaintiffs may file
                            their reply re: cross-motion for reconsideration by November 1,2019. No further briefing
                            is permitted absent prior leave of Court. SO ORDERED. Signed by Hon. Frank P. Geraci,
                            Jr. on 10/18/2019. (MFM) (Entered: 10/18/2019)
  10/31/2019            120 AFFIDAVIT in Support re 112 Cross MOTION for Reconsideration re 106 Memorandum
                            in Support of Motion, 97 MOTION for Reconsideration re 88 Order on Motion for
                            Summary Judgment,,,,,,,,,,,, Order on Motion to Amend/Correct,,,, Order on Motion to
                            Strike,,,,,,, Reply Affid on Pltf Cross-Motion filed by Douglas J. Horn. (Benjamin, Jeffrey)
                            (Entered: 10/31/2019)
  11/01/2019            121 Letter filed by Medical Marijuana, Inc., Red Dice Holdings, LLC. as to Dixie Botanicals,
                            Dixie Holdings, LLC, Medical Marijuana, Inc., Red Dice Holdings, LLC. requesting
                            leave to file sur-reply memorandum o f law. (Mura, Roy) (Entered: 11/01/2019)
  11/04/2019            122 TEXT ORDER granting 121 Defendants MMI and RDH's Letter Request to File
                            Response to Plaintiffs' Reply 120 . Defendants may file a response by 11/8/2019. No
                            further briefing is permitted absent prior leave of Court. SO ORDERED. Signed by Hon.
                            Frank P. Geraci, Jr. on 11/4/2019. (MFM) (Entered: 11/04/2019)
  11/08/2019            123 MEMORANDUM in Support re 97 MOTION for Reconsideration re 88 Order on Motion
                            for Summary Judgment,,,,,,,,,,,, Order on Motion to Amend/Correct,,,, Order on Motion
                            to Strike,,,,,,, Sur-Reply Memorandum o f Law in Further Support o f Motion for
                            Reconsideration filed by Medical Marijuana, Inc., Red Dice Holdings, LLC.. (Mura,
                            Roy) (Entered: 11/08/2019)
  11/22/2019            124 DECISION AND ORDER: Defendants' motions for reconsideration 97 106 are
                            GRANTED IN PART and DENIED IN PART, and Plaintiffs' cross-motion for
                            reconsideration 112 is DENIED. The Court's prior order is modified insofar as Douglas
                            Horn may now proceed with his RICO claim only to the extent it is premised on predicate
                            acts of wire and mail fraud. He may not proceed with his claim on the theory that Dixie X
                            is a controlled substance. By separate order, the Court will schedule a status conference
                            to hear from the parties on the progress of this action. SO ORDERED. Signed by Hon.
                            Frank P. Geraci, Jr. on 11/21/2019. (MFM) (Entered: 11/22/2019)
  11/22/2019                   TEXT SCHEDULING ORDER: Status Conference set for 12/13/2019 at 10:00 AM in
                               US Courthouse, 100 State Street, Rochester NY 14614 before Hon. Frank P. Geraci, Jr.
                               The parties may appear by phone. Prior to the hearing, the parties should contact
                               chambers to receive instructions on how to call in to the hearing. SO ORDERED. Signed
                               by Hon. Frank P. Geraci, Jr. on 11/22/2019. (MFM) (Entered: 11/22/2019)
  12/13/2019            125 SCHEDULING ORDER: Final Pretrial Conference set for 9/3/2020 at 10:00 AM in US
                            Courthouse, 100 State Street, Rochester NY 14614 before Hon. Frank P. Geraci, Jr. Jury
                            Trial rescheduled for 10/19/2020 at 08:30 AM in US Courthouse, 2 Niagara Square,
                            Buffalo, NY 14202-3350 before Hon. Frank P. Geraci, Jr. See Order for further details
                            and deadlines regarding submissions. SO ORDERED. Signed by Hon. Frank P. Geraci,
                            Jr. on 12/13/2019. (MFM) (Entered: 12/13/2019)
  12/13/2019            126 Minute Entry for proceedings held before Hon. Frank P. Geraci, Jr.: Status Conference
                            held on 12/13/2019. The Court sets a trial date of 9/21/20 at 8:30 a.m. The Court will
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                               issue its pretrial order setting the pretrial conference date. By telephone: Jeffrey
                               Benjamin, Esq.; Jean Claude Mazzola, Esq.; Hanoch Sheps, Esq.; Scott Mancuso, Esq.
                               (Court Reporter Christi Macri.) (PR) (Entered: 12/16/2019)
  12/30/2019            127 MANDATE of USCA as to 92 Notice of Appeal. It is hereby ordered that pursuant to
                            Local Rule 31.2(a)(1)(A), Appellant's brief must be filed on or before October 22,2019.
                            The appeal will be dismissed effective October 22,2019 if brief is not filed by the date.
                            (KM) (Entered: 12/30/2019)
  08/18/2020            128 TEXT ORDER: the parties' joint stipulation for an extension of the pretrial-order
                            deadlines is GRANTED. The Final Pretrial Conference is now scheduled for 10/2/2020 at
                            10:00 AM in US Courthouse, 100 State Street, Rochester NY 14614 before Hon. Frank P.
                            Geraci, Jr. All submission deadlines are adjourned to the same extent, except that the
                            parties need not submit voir dire information and jury instructions until 30 days prior to
                            the new trial date. SO ORDERED. Signed by Hon. Frank P. Geraci, Jr. on 8/18/2020.
                            (MFM) (Entered: 08/18/2020)
  09/15/2020            129 First MOTION to Vacate 124 Order on Motion for Reconsideration,,,,, and in Limine by
                            Douglas J. Horn. (Attachments: # 1 Declaration Counsel Declaration, # 2 Supplement
                            CSA Decision Tree, # 3 Exhibit Williams Case, # 4 Exhibit DEA Drug Code, # 5 Exhibit
                            DOT Compliance Notice, # 6 Exhibit Subject Order, # 7 Exhibit Prior Order on MSJ, # 8
                            Affidavit Affidavit, # 9 Memorandum in Support MOL in Support)(Beniamin, Jeffrey)
                            (Entered: 09/15/2020)
  09/15/2020            130 Letter filed by Medical Marijuana, Inc., Red Dice Holdings, LLC. as to Dixie Botanicals,
                            Dixie Holdings, LLC, Medical Marijuana, Inc., Red Dice Holdings, LLC. . (Mura, Roy)
                            (Entered: 09/15/2020)
  09/16/2020            1.31 REPLY/RESPONSE to re 130 Letter to Deft Letter o f 9/15/20 filed by Douglas J. Horn.
                             (Benjamin, Jeffrey) (Entered: 09/16/2020)
  09/17/2020            132 DECISION AND ORDER: Plaintiffs' Rule 60(b) motion (ECF No. 129 ) is DENIED.
                            The pretrial conference will go forward as scheduled, and all associated deadlines remain
                            in place. SO ORDERED. Signed by Hon. Frank P. Geraci, Jr. on 9/16/2020. (MFM)
                            (Entered: 09/17/2020)
  09/17/2020            133 Exhibit List by Douglas J. Horn.. (Benjamin, Jeffrey) (Main Document 133 replaced on
                            12/16/2020) (CGJ). (Entered: 09/17/2020)
  09/17/2020            1.34 Witness List by Douglas J. Horn. (Benjamin, Jeffrey) (Main Document 134 replaced on
                             12/16/2020) (CGJ). (Entered: 09/17/2020)
  09/17/2020            135 Trial Document by Douglas J. Horn as to Dixie Botanicals, Dixie Holdings, LLC,
                            Medical Marijuana, Inc., Red Dice Holdings, LLC. Combined Pre-Trial Statement.
                            (Benjamin, Jeffrey) (Entered: 09/17/2020)
  09/18/2020            136 PRETRIAL STATEMENT by Medical Marijuana, Inc., Red Dice Holdings, LLC.. (Mura,
                            Roy) (Entered: 09/18/2020)
  09/18/2020            137 PRETRIAL STATEMENT by Dixie Botanicals and Dixie Elixirs and Edibles.
                            (Attachments: # 1 Exhibit)(Mazzola, Jean-Claude) Modified on 9/21/2020 (TF).
                            (Entered: 09/18/2020)
  09/21/2020                   E-Filing Notification: RE 137 PRETRIAL STATEMENT, refiled amended/corrected
                               Pretrial Statement as 138 Amended/Corrected Pretrial Statement. Modified entries on
                               9/21/2020 and 9/22/2020 (TF). (Entered: 09/21/2020)
  09/21/2020            138 AMENDED/CORRECTED PRETRIAL STATEMENT by Dixie Holdings, LLC.
                            (Attachments: # 1 Exhibit Pretrial Exhibits)(Sheps, Hanoch) Modified on 9/22/2020 (TF).
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                                (Entered: 09/21/2020)
  09/23/2020            139 MOTION for Leave to Appear Video or Phonefor PT Confby Douglas J. Horn.
                            (Benjamin, Jeffrey) (Entered: 09/23/2020)
  09/23/2020            140 TEXT ORDER granting Plaintiffs request for leave to appear by phone or video. The
                            Court will prepare a Zoom videoconference for the pretrial conference. All of the parties
                            are free to attend the pretrial conference in person or by video. Chambers will send
                            instructions via email prior to the pretrial conference. SO ORDERED. Signed by Hon.
                            Frank P. Geraci, Jr. on 9/23/2020. (MFM) (Entered: 09/23/2020)
  09/25/2020            141 First MOTION in Limine by Dixie Holdings, LLC. (Attachments: # 1 Declaration of
                            Jean-Claude Mazzola, # 2 Exhibit Dixie Request for Production, # 3 Exhibit Graham
                            Depo Excerpts, # 4 Exhibit Declaration of Dr. Cindy Orser, # 5 Memorandum in Support)
                            (Sheps, Hanoch) (Entered: 09/25/2020)
  09/25/2020            142 MOTION in Limine by Medical Marijuana, Inc., Red Dice Holdings, LLC..
                            (Attachments: # 1 Declaration, # 2 Exhibit A, # 3 Exhibit B, # 4 Exhibit C, # 5
                            Memorandum in Support)(Mura, Roy) (Entered: 09/25/2020)
  09/29/2020            143 First MOTION for Extension of Time to File Response/Reply as to 141 First MOTION in
                            Limine , 142 MOTION in Limine o f Defendants by Douglas J. Horn. (Beniamin, Jeffrey)
                            (Entered: 09/29/2020)
  09/29/2020            144 RESPONSE to Motion re 143 First MOTION for Extension of Time to File
                            Response/Reply as to 141 First MOTION in Limine , 142 MOTION in Limine o f
                            Defendants filed by Medical Marijuana, Inc., Red Dice Holdings, LLC.. (Mura, Roy)
                            (Entered: 09/29/2020)
  09/30/2020            145 TEXT ORDER: Plaintiffs request an extension of time - to October 23,2020 - to respond
                            to Defendants' motions in limine. ECF No. 143 . Defendants, in turn, ask that they be
                            given an opportunity to reply if Plaintiffs' request is granted, and they also argue that the
                            final pretrial conference should be rescheduled in light of the briefing.

                               Plaintiffs' request for an extension of time is GRANTED, in that they may respond to the
                               motions in limine by October 23,2020. Likewise, all of the defendants may file replies
                               by November 30,2020. The Court will then take the motions under advisement.

                               Nevertheless, the Court will not reschedule the final pretrial conference. The primary
                               purpose of the pretrial conference is to determine the date, length, and schedule for the
                               trial. Defendants' motions in limine may alter the extent of the evidence and therefore
                               change the length of the trial, but the Court is confident the parties will be able to select a
                               trial date and reasonably estimate the length of the trial in either scenario. Moreover,
                               insofar as the Court will allow the parties to frilly brief the issues presented in the motions
                               in limine, it will not be necessary to conduct oral argument on the motions at the
                               conference.

                                SO ORDERED. Signed by Hon. Frank P. Geraci, Jr. on 9/30/2020. (MFM) (Entered:
                                09/30/2020)
  10/02/2020            146 Minute Entry for proceedings held before Hon. Frank P. Geraci, Jr.: Appearances via
                            Zoomgov.com: Jeffrey Benjamin, Esq./pl.; Roy Mura, Esq/def Medical Marijuana and
                            Red Dice Holdings LLC; Jean-Claude Mazzola, Esq./def. Dixie Holdings, LLC; Hanoch
                            Sheps, Esq./Dixie Holdings, LLC. Matter on for Final Pretrial Conference. Final Pretrial
                            Conference not held. Trial Date Status Conference held on 10/2/2020. Jury Trial reset
                            from 10/19/2020 to 5/10/2021 in 2 Niagara Square, Buffalo, NY 14202 before Hon.

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                               Frank P. Geraci, Jr. A new pretrial order will be issued with the new trial date. (Court
                               Reporter Christi Macri.) (LMD) (Entered: 10/02/2020)
  10/05/2020            147 AMENDED PRETRIAL ORDER: The Final Pretrial Conference is now set for 4/2/2021
                            at 03:00 PM in US Courthouse, 2 Niagara Square, Buffalo, NY 14202-3350 before Hon.
                            Frank P. Geraci, Jr. The conference will be conducted by Zoom videoconference, and all
                            parties are to appear by videoconference. The Jury Trial is set to begin on 5/10/2021 at
                            08:30 AM in US Courthouse, 2 Niagara Square, Buffalo, NY 14202-3350.

                               As discussed at the pretrial conference held on 10/2/2020, it may be possible to
                               reschedule the trial for an earlier date if the parties consent to magistrate judge
                               jurisdiction. The Court will notify the parties in the coming weeks if this option will be
                               available, and, if so, the parties are encouraged to consider it. In addition, given the
                               lengthy period before trial, the parties are encouraged to reconnect with the mediator and
                               continue settlement discussions.

                                See Order for further details and deadlines. SO ORDERED. Signed by Hon. Frank P.
                                Geraci, Jr. on 10/5/2020. (MFM) (Entered: 10/05/2020)
  10/06/2020            148 First MOTION to Adjourn Trial by Douglas J. Hom.(Benjamin, Jeffrey) (Entered:
                            10/06/2020)
  10/06/2020            149 RESPONSE in Opposition re 148 First MOTION to Adjourn Trial filed by Medical
                            Marijuana, Inc., Red Dice Holdings, LLC.. (Mura, Roy) (Entered: 10/06/2020)
  10/07/2020            150 TEXT ORDER resolving 148 Plaintiffs' Motion to Adjourn. The parties shall meet and
                            confer to determine mutually agreeable dates to schedule the trial, except that the trial
                            will not be scheduled beyond August 2021. Once the parties have decided on such dates,
                            they shall file a joint report identifying any mutually agreeable dates. At that time, the
                            Court will determine whether and when to adjourn the trial. SO ORDERED. Signed by
                            Hon. Frank P. Geraci, Jr. on 10/7/2020. (MFM) (Entered: 10/07/2020)
  10/23/2020            151 DECLARATION re H I First MOTION in Limine , 142 MOTION in Limine filed by
                            Douglas J. Horn Plaintiffs Opposition filed by Douglas J. Horn. (Attachments: # 1
                            Affidavit Plaintiffs Affidavit, # 2 Affidavit Wayback Affidavit, # 3 Affidavit Berryhill
                            Affidavit, # 4 Affidavit Graham Affidavit, # 5 Affidavit WMSL Affidavit, # 6
                            Memorandum in Support Memo of Law in Opp)(Benjamin, Jeffrey) (Entered:
                            10/23/2020)
  11/25/2020            152 First MOTION for Extension of Time to File Response/Reply as to 141 First MOTION in
                            Limine by Dixie Holdings, LLC.(Sheps, Hanoch) (Entered: 11/25/2020)
  11/25/2020            153 TEXT ORDER granting 152 First MOTION for Extension of Time. Defendant Dixie
                            Elixirs may file a reply by 12/14/2020. SO ORDERED. Signed by Hon. Frank P. Geraci,
                            Jr. on 11/25/2020. (MFM) (Entered: 11/25/2020)
  12/14/2020            154 REPLY/RESPONSE to re 144 Response to Motion, 142 MOTION in Limine filed by
                            Medical Marijuana, Inc., Red Dice Holdings, LLC.. (Mura, Roy) (Entered: 12/14/2020)
  12/14/2020            155 First MOTION for Leave to File Sur-Reply by Douglas J. Hom.(Beniamin, Jeffrey)
                            (Entered: 12/14/2020)
  12/14/2020            156 REPLY to Response to Motion re 141 First MOTION in Limine filed by Dixie Holdings,
                            LLC. (Attachments: # 1 Declaration of Jean-Claude Mazzola)(Sheps, Hanoch) (Entered:
                            12/14/2020)
  12/15/2020            157 TEXT ORDER resolving 155 Motion for Relief filed by Plaintiffs.


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                                The Court grants Plaintiffs' request to file a sur-reply. The sur-reply is due by 1/15/2021.

                               Plaintiffs also seek further guidance on trial/mediation. The Court concludes that a short
                               status conference on trial/mediation is appropriate. The status conference is set for
                               1/22/2021 01:30 PM in US Courthouse, 100 State Street, Rochester NY 14614. The
                               conference will be conducted by Zoom videoconference, and all parties are to appear by
                               videoconference. Instructions will be sent to counsel prior to the conference. If the public
                               wishes to participate (by telephone only), the particulars can be obtained by contacting
                               chambers at 585-613-4090.

                                In order to ensure that there will be no scheduling conflicts, and consistent with the
                                Court's prior order (ECF No. 150), the parties are hereby ordered to meet and confer
                                regarding possible trial dates no later than one week before the status conference.

                                SO ORDERED. Signed by Hon. Frank P. Geraci, Jr. on 12/15/2020. (MFM) (Entered:
                                12/15/2020)
  12/15/2020                    Set/Reset Hearings: Status Conference set for 1/22/2021 01:30 PM in US Courthouse,
                                100 State Street, Rochester NY 14614 before Hon. Frank P. Geraci, Jr. via Zoom. (MFM)
                                (Entered: 12/15/2020)
  12/15/2020            158 NOTICE of Appearance by Richard E. Lemer on behalf of Dixie Holdings, LLC (Lemer,
                            Richard) (Entered: 12/15/2020)
  01/15/2021            159 REPLY/RESPONSE to re 154 Reply/Response, 156 Reply to Response to Motion
                            Combined Sur-Reply ofPlaintiff filed by Douglas J. Horn. (Attachments: # 1 Exhibit Exh
                            1 - Google Response)(Benjamin, Jeffrey) (Entered: 01/15/2021)
  01/22/2021            160 Minute Entry for proceedings held before Hon. Frank P. Geraci, Jr.: Status Conference
                            held on 1/22/2021. The Court may be required to move the present trial date to October
                            and requests that the parties discuss consenting to try the case before a magistrate judge if
                            they want a trial sooner than October. The Court sets a further Status Conference on
                            2/5/2021 03:00 PM before Hon. Frank P. Geraci, Jr. Jeffrey Benjamin, Esq., Roy Mura,
                            Esq.; Jean Claude Mazzola, Esq.; Hanoch Sheps, Esq., by Zoom (Court Reporter Christi
                            Macri.) (PR) (Entered: 01/24/2021)
  01/26/2021            161 TEXT ORDER: On January 24,2021, the Court received a letter from MMI and RDH,
                            indicating that Attorney Daniel Gvertz no longer practices at counsel's firm and does not
                            represent those defendants. Accordingly, the Clerk of Court is directed to terminate
                            Attorney Gvertz's appearance. SO ORDERED. Signed by Hon. Frank P. Geraci, Jr. on
                            1/26/2021. (MFM)-CLERK TO FOLLOW UP- (Entered: 01/26/2021)
  02/03/2021            162 TEXT ORDER: The parties have notified the Court that they intend to consent to
                            magistrate-judge jurisdiction before Judge Feldman. In accordance with Local Rule 73,
                            the parties are directed to submit the required paperwork to the Clerk of Court by
                            February 5, 2021, after which Judge Feldman will set a status conference. The status
                            conference scheduled for February 5,2021 before this Court is CANCELLED. SO
                            ORDERED. Signed by Hon. Frank P. Geraci, Jr. on 2/3/2021. (MFM) (Entered:
                            02/03/2021)
  02/04/2021            163 Disregard as filed in Error - STIPULATION to Magistrate Judge by Dixie Holdings,
                            LLC. (Sheps, Hanoch) Modified on 2/5/2021 (TF). (Entered: 02/04/2021)
  02/04/2021            164 TEXT ORDER REFERRING CASE to Magistrate Judge Jonathan W. Feldman pursuant
                            to 28 U.S.C. Section 636(b)(1)(A) and (B). IT IS SO ORDERED. Signed by Hon. Frank
                            P. Geraci, Jr. on 2/4/2021. (MFM) (Entered: 02/04/2021)

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  02/04/2021            165 CONSENT to Jurisdiction by US Magistrate Judge by Dixie Botanicals, Dixie Holdings,
                            LLC, Cindy Harp-Horn, Douglas J. Horn, Medical Marijuana, Inc., Red Dice Holdings,
                            LLC. Case reassigned to Magistrate Judge Jonathan W. Feldman. Signed by Hon. Frank
                            P. Geraci, Jr. on 2/4/2021. (CGJ) (Entered: 02/04/2021)
  02/05/2021                   E-Filing Notification: 163 STIPULATION to Magistrate Judge, should not be efiled,
                               document removed, No action required. (TF) (Entered: 02/05/2021)
  02/08/2021            166 TEXT ORDER: The Court would like to hold a virtual status conference on Tuesday
                            February 16, 2021 at 11:00 a.m. The Court requests that lead counsel he present and
                            prepared to discuss the following:

                                1. Scheduling oral argument on the pending motions in limine.

                               2. Establishing a day certain trial date.

                                3. Scheduling a Final Pretrial Conference.

                               4. Status report on any settlement efforts engaged in by the parties.

                               The Court requests that any communication with the Court he conducted through or
                               facilitated by Matthew Meyers, Esq., the law clerk who will he assisting this Court in the
                               trial management of this case. Status Conference set for 2/16/2021 11:00 AM before
                               Magistrate Judge Jonathan W. Feldman via Zoom for Government. Parties will he
                               emailed the Zoom for Government link for this conference. Signed by Magistrate Judge
                               Jonathan W. Feldman on 2/8/2021. (LMD) (Entered: 02/08/2021)
  02/10/2021            167 TEXT ORDER. The Status Conference set for 2/16/2021 is reset to 2/11/2021 03:00 PM
                            before Magistrate Judge Jonathan W. Feldman. The Parties will receive a cancellation of
                            the 2/16/2021 Zoom for Government invite and new invite for 2/11/2021 at 3:00 PM. The
                            conference is to discuss the issues as mentioned in the 166 Text Order. Signed by
                            Magistrate Judge Jonathan W. Feldman on 2/10/2021. (LMD) (Entered: 02/10/2021)
  02/11/2021            168 Minute Entry for proceedings held before Magistrate Judge Jonathan W. Feldman: Status
                            Conference held via zoomgov.com on 2/11/2021. Appearances via video conference:
                            Jeffrey Benjamin, Esq./plaintiffs, Roy Mura, Esq. for Def. Medical Marijuana, Inc.; Jean
                            Claude-Mazzola, Esq. for Def. Dixie Holdings and Hanoch Sheps, Esq. for Def. Dixie
                            Holdings and Hon. Jonathan w. Feldman. Jury trial date set for 7/26/2021 for 2 weeks at
                            2 Niagara Square, Buffalo, NY 14202 for 2 weeks. Final Pretrial Conference set for
                            6/29/2021 at 10 AM at 100 State Street, Rochester, NY 14614. Motion Hearing re:
                            Motions in Limine set for 3/4/2021 10:00 AM via Zoomgov.com before Magistrate Judge
                            Jonathan W. Feldman. Pretrial Order to he issued. Zoom invites will he sent for the
                            argument on the in limine motions. (Court Reporter Zoomgov.com recording.) (LMD)
                            (Entered: 02/12/2021)
  03/04/2021            169 TEXT ORDER: The supplemental briefing as ordered by the Court at the March 4,2021
                            hearing is due by March 18, 2021. SO ORDERED. Signed by Magistrate Judge Jonathan
                            W. Feldman on 3/4/2021. (MFM) (Entered: 03/04/2021)
  03/04/2021            170 Minute Entry for proceedings held before Magistrate Judge Jonathan W. Feldman:
                            Appearances via Zoom for government: Jeffrey Benjamin, Esq./plaintiff; Roy Mura, Esq.
                            for Medical Marijuana, Inc. and Red Dice Holdings; Scott Mancuso, Esq./Medical
                            Marijuana Inc. and Red Dice Holdings; Jean Claude Mazzola, Esq./Dixie Defendants;
                            Hanoch Sheps, Esq./Dixie Defendants: Motion Hearing held on 3/4/2021 re 141 First
                            MOTION in Limine filed by Dixie Holdings, LLC, 142 MOTION in Limine filed by
                            Medical Marijuana, Inc., Red Dice Holdings, LLC. Court Reserves decision and

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                               supplemental letter briefs due 3/18/2021. (Court Reporter Zoom for Government
                               Recording.) (LMD) (Entered: 03/10/2021)
  03/18/2021            171 Letter filed by Dixie Holdings, LLC as to Dixie Botanicals, Dixie Holdings, LLC,
                            Medical Marijuana, Inc., Red Dice Holdings, LLC. Supplemental Letter Brief. (Sheps,
                            Hanoch) (Entered: 03/18/2021)
  03/18/2021            172 RESPONSE in Opposition re 141 First MOTION in Limine , 142 MOTION in Limine
                            Supplemental Letter Brief filed by Douglas J. Horn. (Benjamin, Jeffrey) (Entered:
                            03/18/2021)
  03/18/2021            173 Letter filed by Medical Marijuana, Inc., Red Dice Holdings, LLC. as to Dixie Botanicals,
                            Dixie Holdings, LLC, Medical Marijuana, Inc., Red Dice Holdings, LLC. Supplemental
                            Letter Brief in Further Support ofDefendants' Motion in Limine. (Mura, Roy) (Entered:
                            03/18/2021)
  04/29/2021            174 FINAL PRETRIAL ORDER & DECISION AND ORDER granting in part and
                            denying in part Defendants' Motions in Limine.

                               For the reasons stated herein, the Court grants in part and denies in part Defendants'
                               motions in limine. Docket ## 141,142. In addition, this Order contains the Court's Final
                               Pretrial Order, which sets forth the relevant dates, deadlines, and responsibilities of the
                               parties related to the upcoming jury trial. SO ORDERED. Signed by Magistrate Judge
                               Jonathan W. Feldman on 4/29/2021. (MFM) (Entered: 04/29/2021)
  05/13/2021                   SCHEDULING ORDER *TIME CHANGE ONLY*: The Final Pretrial Conference is
                               now set for 6/29/2021 at 1:30 PM in US Courthouse, 100 State Street, Rochester NY
                               14614 before Magistrate Judge Jonathan W. Feldman. SO ORDERED. Signed by
                               Magistrate Judge Jonathan W. Feldman on 5/13/2021. (MFM) (Entered: 05/13/2021)
  06/15/2021            175 TEXT ORDER: The parties have contacted chambers, jointly requesting a brief extension
                            to the June 15,2021 deadline for the submission of pretrial materials. That request is
                            GRANTED, and all such materials are now due by June 18,2021 at 5:00 p.m. SO
                            ORDERED. Signed by Magistrate Judge Jonathan W. Feldman on 6/15/2021. (MFM)
                            (Entered: 06/15/2021)
  06/18/2021            176 Proposed Voir Dire by Dixie Holdings, LLC. (Sheps, Hanoch) (Entered: 06/18/2021)
  06/18/2021            177 Trial Document by Douglas J. Horn as to Dixie Botanicals, Dixie Holdings, LLC,
                            Medical Marijuana, Inc., Red Dice Holdings, LLC. Pre-Trial Stmt. (Benjamin, Jeffrey)
                            (Entered: 06/18/2021)
  06/18/2021            178 Proposed Voir Dire by Medical Marijuana, Inc., Red Dice Holdings, LLC.. (Mura, Roy)
                            (Entered: 06/18/2021)
  06/28/2021            179 Trial Document by Douglas J. Horn as to Dixie Botanicals, Dixie Holdings, LLC,
                            Medical Marijuana, Inc., Red Dice Holdings, LLC. P ltf Amended PT Stmt. (Benjamin,
                            Jeffrey) (Entered: 06/28/2021)
  06/29/2021            180 Minute Entry for proceedings held before Magistrate Judge Jonathan W. Feldman:
                            Appearances in person: Jeffrey Benjamin, Esq. and Frank Housh, Esq./plaintiffs, Roy
                            Mura, Esq. and Scott David Manucso for Def. Medical Marijuana, Inc. and Def. Red
                            Dice Holdings LLC, Richard Lemer, Esq., Jean-Claude Mazzola, Esq. and Hanoch
                            Sheps, Esq. for Def. Dixie Holdings. Final Pretrial Conference held on 6/29/2021. (LMD)
                            Modified on 6/30/2021 (LMD). (Entered: 06/30/2021)
  06/30/2021                   E-Filing Notification: The following minute entry was modified to correct the
                               appearances: 180 Minute Entry for proceedings held before Magistrate Judge Jonathan
                               W. Feldman: Appearances in person: Jeffrey Benjamin, Esq. and Frank Housh,
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                               Esq./plaintiffs, Roy Mura, Esq. and Scott David Manucso for Def. Medical Marijuana,
                               Inc. and Def. Red Dice Holdings LLC, Richard Lemer, Esq., Jean-Claude Mazzola, Esq.
                               and Hanoch Sheps, Esq. for Def. Dixie Holdings. Final Pretrial Conference held on
                               6/29/2021. (LMD) Modified on 6/30/2021 (LMD). (LMD) (Entered: 06/30/2021)
  07/05/2021            181 MOTION Trial Testimony by Video o f Party Officers by Douglas J. Horn. (Attachments:
                            # 1 Declaration Decl of Pltf Counsel, # 2 Exhibit A - Subp Keber, # 3 Exhibit B - Subp
                            Smith, # 4 Exhibit C - Subp Sides, # 5 Exhibit D - Affidavit of Smith, # 6 Exhibit E -
                            Affidavit of Sides)(Benjamin, Jeffrey) (Entered: 07/05/2021)
  07/06/2021            182 TEXT ORDER: Plaintiff has filed a Motion for Trial Testimony by Video and Service of
                            Subpoenas by Other Means. Docket # 181 . Expedited briefing is required due to the
                            upcoming trial date. Therefore, responses are due by 5:00 p.m. on July 12,2021. Reply
                            papers are due by 5:00 p.m. on July 13, 2021. Oral Argument is set for July 14,2021 at
                            11:00 AM in Courtroom 2 before Magistrate Judge Jonathan W. Feldman. SO
                            ORDERED. Signed by Magistrate Judge Jonathan W. Feldman on 7/6/21. (BJJ) (Entered:
                            07/06/2021)
  07/08/2021            183 MOTION to Quash Plaintiffs Subpoena o f Michelle Sides, Esq. by Medical Marijuana,
                            Inc., Red Dice Holdings, LLC.. (Attachments: # 1 Declaration of Roy A. Mura, Esq. in
                            Support of Motion to Quash Subpoena, # 2 Exhibit A to Declaration of Roy A. Mura,
                            Esq.)(Mura, Roy) (Entered: 07/08/2021)
  07/09/2021            184 TEXT ORDER: Defendants have filed a Motion to Quash Plaintiffs Subpoena of
                            Michelle Sides, Esq. Docket # 183 . Expedited briefing is required due to the upcoming
                            trial date. Therefore, Plaintiffs response is due by 5:00 p.m. on July 13,2021. Oral
                            Argument for this Motion and the Motion for Trial Testimony and Subpoenas, Docket #
                            181, is set for July 14, 2021 at 11:00 AM in Courtroom 2 before Magistrate Judge
                            Jonathan W. Feldman.

                               If any party wishes to appear at the oral argument by Zoom, it shall request the Zoom link
                               by emailing feldman@nywd.uscourts.gov no later than Monday, July 12,2021 at noon.

                                SO ORDERED. Signed by Magistrate Judge Jonathan W. Feldman on 7/9/21. (BJJ)
                                (Entered: 07/09/2021)
  07/12/2021            185 TEXT ORDER re 184 : Oral Argument on motions rescheduled for 7/14/2021 03:00 PM
                            before Magistrate Judge Jonathan W. Feldman. The Zoom link has been sent to the
                            parties. Note the time change onlv. SO ORDERED. Signed hv Magistrate Judge Jonathan
                            W. Feldman on 7/12/21. (BJJ) (Entered: 07/12/2021)
  07/12/2021           186 RESPONSE to Motion re 181 MOTION Trial Testimony by Video o f Party Officers filed
                           by Dixie Holdings, LLC. (Attachments: # 1 Exhibit Dixie Rule 26)(Sheps, Hanoch)
                           (Entered: 07/12/2021)
  07/12/2021            187 OBJECTIONS filed by Defendant Dixie Holdings, LLC.. (Sheps, Hanoch) (Entered:
                            07/12/2021)
  07/12/2021            188 OBJECTIONS to Plaintiffs Proposed Substantive Jury Instructions filed by Defendants
                            Medical Marijuana, Inc., Red Dice Holdings, LLC... (Mura, Roy) (Entered: 07/12/2021)
  07/13/2021           189 LETTER MOTION submitted by Plaintiffs to chambers via email on July 12,2021.
                           (Attachments: # 1 Rosenberg Affidavit) (MFM) (Entered: 07/13/2021)
  07/13/2021            190 DECLARATION re 183 MOTION to Quash Plaintiffs Subpoena o f Michelle Sides, Esq.,
                            181 MOTION Trial Testimony by Video o f Party Officers filed by Douglas J. Horn In
                            Opp and Reply filed by Douglas J. Horn. (Attachments: # 1 Exhibit Keber POS, # 2

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                               Exhibit Sides POS, # 3 Exhibit Keber POS2, # 4 Exhibit Smith POS)(Benjamin, Jeffrey)
                               (Entered: 07/13/2021)
  07/14/2021            191 Minute Entry for proceedings held before Magistrate Judge Jonathan W. Feldman:
                            Appearances via Zoom for Government: Jeffrey Benjamin, Esq./pls; Roy A. Mura, Esq.
                            and Scott Mancuso, Esq./def. Medical Marijuana Inc. and Red Dice Holdings, LLC, Jean-
                            Claude Mazzola, Esq., Hanoch Sheps, Esq. and Richard Lemer, Esq./def. Dixie Holdings
                            LLC. Motion Hearing held on 7/14/2021 re 189 LETTER MOTION submitted by
                            Plaintiffs to chambers via email on July 12,2021, re 183 MOTION to Quash Plaintiff's
                            Subpoena o f Michelle Sides, Esq. filed by Medical Marijuana, Inc., Red Dice Holdings,
                            LLC., 181 MOTION Trial Testimony by Video o f Party Officers filed by Douglas J.
                            Horn. Judge Feldman resolved the parties' motions as stated on the record. (Court
                            Reporter Diane Martens.) (LMD) Modified on 7/15/2021 (LMD). (Entered: 07/15/2021)
  07/15/2021                   E-Filing Notification: The following entry was modified to include the letter motion 189
                               in the entry. 191 Minute Entry for proceedings held before Magistrate Judge Jonathan W.
                               Feldman: Appearances via Zoom for Government: Jeffrey Benjamin, Esq./pls; Roy A.
                               Mura, Esq. and Scott Mancuso, Esq./def. Medical Marijuana Inc. and Red Dice Holdings,
                               LLC, Jean-Claude Mazzola, Esq., Hanoch Sheps, Esq. and Richard Lemer, Esq./def.
                               Dixie Holdings LLC. Motion Hearing held on 7/14/2021 re 189 LETTER MOTION
                               submitted by Plaintiffs to chambers via email on July 12, 2021, re 183 MOTION to
                               Quash Plaintiffs Subpoena o f Michelle Sides, Esq. filed by Medical Marijuana, Inc., Red
                               Dice Holdings, LLC., 181 MOTION Trial Testimony by Video o f Party Officers filed by
                               Douglas J. Horn. Judge Feldman resolved the parties' motions as stated on the record.
                               (Court Reporter Diane Martens.) (LMD) Modified on 7/15/2021 (LMD). (Entered:
                               07/15/2021)
  07/20/2021            192 TEXT ORDER: Counsel for the three defendants have notified the Court that they will
                            stipulate that the August 23,2012 audio recording of Mr. Keber meets the authentication
                            requirements of authenticating the exhibit under Federal Rule of Evidence 901.
                            Accordingly, the recording will he deemed to satisfy the requirement of authentication
                            without additional proof by plaintiff. Defendants' Stipulation as to authentication is
                            without prejudice to all other evidentiary objections, including relevance. In light of the
                            stipulation, the Court agrees with defendants that the telephonic deposition of Mr. Keber
                            is no longer necessary, and the Court's previous oral ruling is hereby VACATED in that
                            respect. SO ORDERED. Signed by Magistrate Judge Jonathan W. Feldman on 7/20/2021.
                            (MFM) (Entered: 07/20/2021)
  07/22/2021            193 Proposed Jury Instructions submitted by Cindy Harp-Horn, Douglas J. Horn at the final
                            pretrial conference.(MFM) (Entered: 07/22/2021)
  07/22/2021            194 MOTION in Limine to Preclude Testimony of Mark P. Zaporowski, Ph.D. by Dixie
                            Holdings, LLC. (Attachments: # 1 Exhibit Plaintiffs Final Pre-Trial Order Compliance)
                            (Sheps, Hanoch) (Entered: 07/22/2021)
  07/23/2021            195 TEXT SCHEDULING ORDER: As discussed at today's hearing, Plaintiffs may respond
                            to Dixie Holdings, LLC's motion in limine (Docket # 194) by 5 P.M. on July 29, 2021.
                            Plaintiffs may file any cross-motions for relief by that same date. Defendants may file a
                            reply to the motion in limine by 5 P.M. on August 2,2021, and may also respond to any
                            cross-motion by that same date. Oral argument on all motions is presently scheduled for
                            10:30 A.M. on August 5,2021, to he held via videoconference. SO ORDERED. Signed
                            by Magistrate Judge Jonathan W. Feldman on 7/23/2021. (MFM) (Entered: 07/23/2021)
  07/23/2021            196 Minute Entry for proceedings held before Magistrate Judge Jonathan W. Feldman: Status
                            Conference held on 7/23/2021. Appearances via Zoom for Government: Jeffrey
                            Benjamin, Esq./pls; Roy A. Mura, Esq. and Scott Mancuso, Esq./def. Medical Marijuana
                            Inc. and Red Dice Holdings, LLC, Jean-Claude Mazzola, Esq., Hanoch Sheps, Esq. and
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                               Richard Lemer, Esq./def. Dixie Holdings LLC. Status Conference held. Trial date
                               adjourned. Text Scheduling Order issued. (Court Reporter Zoom for Government
                               Recording.) (LMD) (Entered: 07/25/2021)
  07/26/2021                   TEXT SCHEDULING ORDER *TIME CHANGE ONLY*: Oral Argument reset for
                               August 5,2021 at 2:30 PM before Magistrate Judge Jonathan W. Feldman via
                               videoconference. SO ORDERED. Signed by Magistrate Judge Jonathan W. Feldman on
                               7/26/2021. (MFM) (Entered: 07/26/2021)
  07/26/2021            197 Letter filed by Douglas J. Horn as to Dixie Botanicals, Dixie Holdings, LLC, Medical
                            Marijuana, Inc., Red Dice Holdings, LLC. re: Trial Scheduling. (Benjamin, Jeffrey)
                            (Entered: 07/26/2021)
  07/29/2021            198 MEMORANDUM in Opposition re 194 MOTION in Limine to Preclude Testimony of
                            MarkP. Zaporowski, Ph.D. filed by Douglas J. Horn. (Attachments: # 1 Exhibit Zap
                            Report)(Benjamin, Jeffrey) (Entered: 07/29/2021)
  07/29/2021            199 TEXT ORDER: All counsel have communicated with the Court about setting a new trial
                            date. The Court will try to accommodate counsel's schedules, recognizing that all counsel
                            have various dates when they are and are not available. Defendant Dixie has moved to
                            dismiss plaintiffs entire case, but, if it is unsuccessful, represents that it is ready to
                            proceed to trial immediately. Defendants MMI/RDH take no position with respect to the
                            dismissal motion, but request that the trial not occur between August 11 and August 18.
                            Plaintiff opposes the dismissal motion and requests that the trial not commence on
                            August 9th or any time prior to October 11.

                               Based on the foregoing, the trial will not be proceeding on August 9. The Court will
                               discuss with counsel possible trial dates at the conclusion of the hearing on Dixie's
                               dispositive motion on August 5, 2021. SO ORDERED. Signed by Magistrate Judge
                               Jonathan W. Feldman on 7/29/2021. (MFM) (Entered: 07/29/2021)
  08/02/2021            200 REPLY to Response to Motion re 194 MOTION in Limine to Preclude Testimony o f
                            MarkP Zaporowski, Ph.D. filed by Medical Marijuana, Inc., Red Dice Holdings, LLC..
                            (Mancuso, Scott) (Entered: 08/02/2021)
  08/02/2021            201    REPLY/RESPONSE to re 194 MOTION in Limine to Preclude Testimony o f MarkP.
                               Zaporowski, Ph.D. filed by Dixie Holdings, LLC. (Sheps, Hanoch) (Entered: 08/02/2021)
  08/03/2021           202 TEXT ORDER: The Court has reviewed (1) Plaintiffs Memorandum of Law in
                           Opposition to Defendant Dixie's Motion in Limine to Preclude the Testimony of Expert
                           Mark P. Zaporowski (Docket # 198); (2) Defendants MMI and RDH's Memorandum of
                           Law in Reply to Defendant Dixie's Motion in Limine (Docket #200); and (3) Defendant
                           Dixie's Reply Memorandum in Response to Plaintiffs Opposition to Motion to Preclude
                           (Docket #201).

                               After careful consideration of these thorough submissions and the arguments made
                               therein, the Court does not believe additional oral argument is necessary for the Court to
                               resolve the motion. Based on the briefing, the Court has determined that plaintiffs Civil
                               RICO claim must be dismissed as a matter of law. See Fed. R. Civ. P. 56(f)(l)-(3). The
                               Court will issue a Decision and Order setting forth the legal and factual basis for this
                               determination. Before doing so, however, the Court directs the parties to brief the issue of
                               whether the Court should exercise supplemental jurisdiction over Plaintiffs sole
                               remaining cause of action: a state law claim for fraudulent inducement. See Catzin v.
                               Thank You and Good Luck Corp., 899 F.3d 77 (2d Cir. 2018).

                                The Court directs that the parties simultaneously file briefs on the supplemental

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                               jurisdiction question on or before August 10,2021. SO ORDERED. Signed by
                               Magistrate Judge Jonathan W. Feldman on 8/3/2021. (MFM) (Entered: 08/03/2021)
  08/10/2021            203 MEMORANDUM/BRIEF re 202 Text Order,,,,, by Medical Marijuana, Inc., Red Dice
                            Holdings, LLC.. (Mancuso, Scott) (Entered: 08/10/2021)
  08/10/2021           204 MEMORANDUM/BRIEF re 202 Text Order,,,,, by Dixie Holdings, LLC. (Sheps,
                           Hanoch) (Entered: 08/10/2021)
  08/10/2021            205 Letter filed by Douglas J. Horn as to Dixie Botanicals, Dixie Holdings, LLC, Medical
                            Marijuana, Inc., Red Dice Holdings, LLC. re: jurisdiction and certification. (Benjamin,
                            Jeffrey) (Entered: 08/10/2021)
  09/14/2021           206 DECISION AND ORDER: Defendants' motion in limine (Docket ## 194, 200) is
                           GRANTED IN PART and DENIED IN PART. The civil RICO claim is dismissed
                           pursuant to the Court's authority under Rule 56(f), but the motion is otherwise denied. By
                           separate order, the Court will set a status conference for the purpose of rescheduling the
                           trial. SO ORDERED. Signed by Magistrate Judge Jonathan W. Feldman on 9/14/2021.
                           (MFM) (Entered: 09/14/2021)
  09/15/2021                   TEXT SCHEDULING ORDER: A status conference to set a trial date is scheduled for
                               9/21/2021 at 3:30 PM via videoconference before Magistrate Judge Jonathan W.
                               Feldman. Invites will be sent by email to the parties. SO ORDERED. Signed by
                               Magistrate Judge Jonathan W. Feldman on 9/15/2021. (MFM) (Entered: 09/15/2021)
  09/16/2021                   TEXT SCHEDULING ORDER *DATE & TIME CHANGE*: Status Conference reset
                               for 9/24/2021 at 11:30 AM via videoconference before Magistrate Judge Jonathan W.
                               Feldman. Invites to be sent by email. SO ORDERED. Signed by Magistrate Judge
                               Jonathan W. Feldman on 9/16/2021. (MFM) (Entered: 09/16/2021)
  09/24/2021           207 Minute Entry for proceedings held before Magistrate Judge Jonathan W. Feldman:
                           Appearances: Appearances via Zoom for Government: Jeffrey Benjamin, Esq./pls; Roy
                           A. Mura, Esq. and Scott Mancuso, Esq./def. Medical Marijuana Inc. and Red Dice
                           Holdings, LLC, Jean-Claude Mazzola, Esq., Hanoch Sheps, Esq. and Richard Lemer,
                           Esq./def. Dixie Holdings. Status Conference held on 9/24/2021. Proposed trial dates
                           discussed. Plaintiffs counsel will check with his clients and let the court and counsel
                           know which dates are selected. (Zoom for Government Recording.) (LMD) (Entered:
                           09/24/2021)
  10/12/2021                   TEXT SCHEDULING ORDER: The Jury Trial is now set to begin on 1/18/2022 at 09:00
                               AM in US Courthouse, 2 Niagara Square, Buffalo, NY 14202-3350, for one week. The
                               Final Pretrial Conference is now set for 12/2/2021 at 11:00 AM, to be held by
                               videoconference. No more than one week before the pretrial conference, the parties shall
                               submit revised proposed jury instructions and revised witness/exhibit lists, and may
                               submit any other materials listed in the Court's Final Pretrial Order. Docket # 174. All
                               submissions should conform to the Court's Final Pretrial Order. SO ORDERED. Signed
                               by Magistrate Judge Jonathan W. Feldman on 10/12/2021. (MFM) (Entered: 10/12/2021)
  11/19/2021           208 MOTION for Certificate of Appealability by Plaintiffby Douglas J. Horn. (Attachments:
                           # 1 Memorandum in Support Memo of Law)(Benjamin, Jeffrey) (Entered: 11/19/2021)
  11/19/2021           209 TEXT ORDER: On 11/19/2021, Plaintiff filed 208 MOTION for Certificate of
                           Appealability. Defendants shall respond to the motion by 11/29/2021, and Plaintiff may
                           file a reply by 12/1/2021. Notwithstanding Plaintiffs motion, the parties shall submit
                           their trial materials in accordance with the Court's prior scheduling order dated
                           10/12/2021. SO ORDERED. Signed by Magistrate Judge Jonathan W. Feldman on
                           11/19/2021. (MFM) (Entered: 11/19/2021)

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  11/25/2021            210 Proposed Jury Instructions by Douglas J. Horn. (Benjamin, Jeffrey) (Entered:
                            11/25/2021)
  11/25/2021            211 Witness List by Douglas J. Horn. (Benjamin, Jeffrey) (Entered: 11/25/2021)
  11/25/2021            212 Exhibit List Plaintiffby Douglas J. Horn.. (Benjamin, Jeffrey) (Entered: 11/25/2021)
  11/29/2021            213 RESPONSE to Motion re 208 MOTION for Certificate of Appealability by Plaintiff
                            memorandum o f law in response to Plaintiffs two-part motion filed by Medical
                            Marijuana, Inc.. (Mancuso, Scott) (Entered: 11/29/2021)
  11/29/2021            214 Letter filed by Dixie Holdings, LLC as to Dixie Botanicals, Dixie Holdings, LLC,
                            Medical Marijuana, Inc., Red Dice Holdings, LLC. . (Attachments: # 1 Exhibit Dkt 137,
                            Exhibit C, Defense exhibit list, # 2 Exhibit Dkt 176, Defense Witness List, # 3 Exhibit
                            Dkt 187, Opposition to Jury Instructions)(Sheps, Hanoch) (Entered: 11/29/2021)
  11/29/2021           215 OBJECTIONS to Plaintiffs Proposed Substantive Jury Instructions filed by Defendants
                           Medical Marijuana, Inc., Red Dice Holdings, LLC... (Mura, Roy) (Entered: 11/29/2021)
  12/02/2021            216 Minute Entry for proceedings held before Magistrate Judge Jonathan W. Feldman:
                            Appearances via Zoom for Government:: Jeffrey Benjamin, Esq./pl; Roy Mura, Esq. and
                            Scott Mancuso, Esq./defs Medical Marijuana, Inc. and Red Dice Holdings, LLC, Jean-
                            Claude Mazzola, Esq., Hanoch Sheps, Esq.; and Richard Lemer, Esq for Defendant Dixie
                            Holdings, LLC. Matter on for Final Pretrial Conference. Final Pretrial Conference not
                            held. Motion Hearing held on 12/2/2021 re 208 MOTION for Certificate of Appealability
                            by Plaintiff filed by Douglas J. Horn to be granted with consent of defendants, except that
                            court will decide whether it will request additional briefing. Jury Trial set for 1/18/2022
                            in Buffalo is cancelled. (Court Reporter Diane Martens.) (LMD) (Entered: 12/03/2021)
  01/24/2022            217 DECISION AND ORDER granting 208 Motion for Certificate of Appealability. The
                            Clerk of Court is directed to enter partial final judgment on Douglas J. Horn's civil RICO
                            claim predicated on mail and wire fraud, which the Court dismissed in its September 14,
                            2021 Decision & Order. See Docket # 206. SO ORDERED. Signed by Magistrate Judge
                            Jonathan W. Feldman on 1/20/2022. (MFM)

                                -CLERK TO FOLLOW UP- (Entered: 01/24/2022)
  01/25/2022            218 INTERIM JUDGMENT in favor of Dixie Holdings, LLC, Medical Marijuana, Inc., Red
                            Dice Holdings, LLC. against Cindy Harp-Horn, Douglas J. Horn. Signed by Mary C.
                            Loewenguth, Clerk of Court on 1/25/2022. (CGJ) (Entered: 01/25/2022)
  02/15/2022            219 Letter filed by Plaintiffs Cindy Harp-Horn, Douglas J. Horn, (submitted to chambers via
                            email on 2/15/2022) (MFM) (Entered: 02/15/2022)
  02/15/2022            220 TEXT ORDER: On 2/15/2022, Plaintiffs filed a letter requesting that the Court modify its
                            January 20, 2022 Decision & Order so as to allow immediate appeal of "those other
                            narrow and dispositive issues previously dismissed [and denied certification as final] by
                            Judge Geraci," specifically, "Plaintiffs primary claims under RICO predicated on
                            Controlled Substances, and under NY GBL §§349 and 350." Docket # 219 at 1.

                               Plaintiffs' request is DENIED. The Court engaged in a careful balancing of the judicial
                               administrative interests and equities involved before deciding to grant partial final
                               judgment pursuant to Federal Rule of Civil Procedure 54(b). The Court's analysis was in
                               part premised on the discreteness of the issue to be appealed and the unusual
                               circumstances surrounding the dismissal of Plaintiffs' last remaining civil RICO theory.
                               See Docket # 217 at 5-7, 8-12. While there is some intuitive appeal to Plaintiffs' request
                               for a single, "unified appeal on all issues," Docket # 219 at 1, permitting a massively
                               expanded appeal would not only be inconsistent with District Judge Geraci's prior order
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                               on the matter, see Docket # 115, it would also undermine the very reasons the Court
                               articulated for granting Rule 54(b) relief. Accordingly, the Court denies Plaintiffs' letter
                               request. SO ORDERED. Signed by Magistrate Judge Jonathan W. Feldman on 2/15/2022.
                               (MFM) (Entered: 02/15/2022)
  02/16/2022            221 NOTICE OF APPEAL as to 217 Order on Motion for Certificate of Appealability, 206
                            Order on Motion in Limine, 218 Judgment by Douglas J. Horn. Filing fee $ 505, receipt
                            number ANYWDC-4504453. Appeal Record due by 5/17/2022. (Benjamin, Jeffrey)
                            (Entered: 02/16/2022)
  02/17/2022                   Pursuant to Local Rule 12.1 of the US Court of Appeals for the Second Circuit, Forms C
                               and D must be completed within 14 days after the filing of a notice of appeal. Forms C
                               and D can be obtained at www.ca2.uscourts.gov. (CGJ) (Entered: 02/17/2022)
  02/17/2022                   Within 14 days of filing the Notice of Appeal, the appellant is required to electronically
                               file with the District Court an index of filed documents it wishes the Court of Appeals to
                               consider, called Designation of Record on Appeal. After receipt, the Clerks Office will
                               certify and transmit the index to the Circuit. (CGJ) (Entered: 02/17/2022)
  03/02/2022            222 DESIGNATION of Record on Appeal by Douglas J. Horn re 221 Notice of Appeal,
                            CLERK TO FOLLOW UP (Benjamin, Jeffrey) (Entered: 03/02/2022)
  03/03/2022            223 CLERKS CERTIFICATE filed and electronically sent to Court of Appeals re 222
                            DESIGNATION of Record on Appeal. (CGJ) (Entered: 03/03/2022)



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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK
............................................................................................................X
DOUGLAS J. HORN and CINDY HARP-HORN,                                                                            Civ. Action No.:

                                     Plaintiffs,

                                     -against-                                                                  COM PLAINT and
                                                                                                                JURY DEMAND
MEDICAL MARIJUANA, INC.,
DIXIE ELIXIRS AND EDIBLES,
RED DICE HOLDINGS, LLC, and
DIXIE BOTANICALS,

                                    Defendants.
.................................................................................................... X

            Plaintiffs, DOUGLAS J. HORN and CINDY HORN (collectively “Plaintiff’) by their

attorneys, JEFFREY BENJAMIN, P.C. as and for their complaint against the Defendants

MEDICAL MARIJUANA, INC., DIXIE ELIXIRS AND EDIBLES, RED DICE HOLDINGS,

LLC, and DIXIE BOTANICALS, (collectively the “Defendants”), alleges as follows:


                                                    PRELIM INARY STATEMENT

1.          This is an action for damages for inter alia, deceptive business practices and violations o f

            the New York General Business Law Art 22-A, §349 (“Deceptive Practices Act” or GBL

             §349”), GBL §350 for false advertising, the federal Racketeer Influenced and Corrupt

            Organizations Act (“RICO”) 18 U.S.C. §1962(a)-(d), violations o f New York State

            Uniform Commercial Code (UCC) § 2-313 for negligence in products manufacture and

            sales, UCC § 2-318, strict products liability, as well as numerous common law causes o f

            action. The Complaint also seeks statutory attorneys’ fees and costs pursuant to the

            statutory violations and the New York General Obligations Law (“GOL”) §5-327, and

            punitive damages.
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                            JURISDICTION AND PARTIES

2.   This Court has subject matter jurisdiction over the action pursuant to 28 U.S.C. §1332,

     because the matter in controversy exceeds the sum o f $75,000 and the parties are citizens

     o f different states. This Court also has subject matter jurisdiction over certain claims

     herein pursuant to RICO, 18 U.S.C. §1964, and 28 U.S.C. §1331, because they arise

     under the laws o f the United States, and over other claims herein pursuant to

     supplementaljurisdiction, 28 U.S.C. §1367.

3.   The venue o f this action is proper in this judicial district pursuant to 18 U.S.C. §1965,

     because the plaintiffs live within this District, and a substantial part o f the events or

     omissions giving rise to the claim occurred within the Western District o f New York, 28

     U.S.C. §1391.

4.   Plaintiffs are natural persons over eighteen years o f age and maintain their residence in

     Lockwood, New York.

5.   Upon information and belief, the defendant MEDICAL MARIJUANA, INC. is a

     California business corporation which maintains its principal place o f business at 4901

     Morena Blvd., Suite 701, San Diego, California 92117.

6.   Upon information and belief, the defendant, MEDICAL MARIJUANA, INC. is engaged

     in the business o f inter alia, the promotion, manufacture and distribution o f hemp-based

     and cannabis products throughout the United States.

7.   Upon information and belief, the defendant DIXIE ELIXIRS AND EDIBLES is a

     Colorado corporation who maintains its principal place o f business at 4990 Oakland

     Street Denver, Colorado 80239.

8.   On information and belief, the Defendants, DIXIE ELIXIRS AND EDIBLES is engaged

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      in the business of, inter alia, the promotion, manufacture and distribution o f hemp-based

      and cannabis products throughout the United States.

9.    Upon information and belief, the defendant RED DICE HOLDINGS LLC d/b/a DIXIE

      BOTANICALS is a Colorado limited liability company who maintains its principal place

      o f business at 1610 Wynkoop Street, Suite 400, Denver, Colorado 80202.

10.   On information and belief, the defendant, RED DICE HOLDINGS LLC d/b/a DIXIE

      BOTANICALS is engaged in the business of, inter alia, the promotion, manufacture and

      distribution o f hemp-based and cannabis products throughout the United States

11.   All o f the above named Defendants aggressively market and sell their products and

      services nationwide generally, and within the State o f New York specifically, and the

      causes o f action alleged have a direct and harmful impact on the people o f the State of

      New York.

                           SPECIFIC FACTS as to PLAINTIFFS

12.   On or around February 24, 2012, plaintiff, Douglas J. Horn, suffered bodily injuries from

      a vehicle accident. He sustained said injuries to his hip and right shoulder as a result o f

      the accident. Subsequent to the accident, under treatment by his doctor, he took anti­

      inflammatory and other medication.       Some months after the accident, he investigated

      natural medicines as an alternative to his other prescriptions.

13.   In or around September, 2012, plaintiff answered a magazine advertisement from

      defendant DIXIE BOTANICALS for an industrial hemp product called “Dixie X” which

      stated it had “0.00 THC” (delta-9 tetrahydrocannabinol) in it. Annexed hereto as Exhibit

      “A” is a copy o f such advertisement.          The product had a compound known as

      Cannabidiol (“CBD”). The advertisement claimed that the product treated inflammation

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      and pain.

14.   The advertising by defendant also stated that they imported the hemp product with .3%

      THC, but that they process it down to 0% THC. On or around October 1, 2012, plaintiff

      purchased the “elixir” product, the Dixie X CBD Dew Drops 500 mg Tincture, with 500

      mg o f CBD.

15.   In October, 2012, plaintiff was a professional over-the-road hazmat commercial truck

      driver who, prior to 2012, worked for the same company for ten (10) years and drove

      professionally for twenty-nine (29) years.     Plaintiff s employment as a professional

      commercial driver required that he be and remain free o f all illegal and impairing

      substances.

16.   On October 9, 2012, plaintiff submitted to a random urinalysis screening required by his

      employer Enterprise Transportation Company, and as required by the U.S. Department of

      Transportation (“DOT”) .

17.   On October 11, 2012, Plaintiff was informed by his employer that he had tested positive

      for a high level o f THC.    Thereafter, Plaintiff was required to submit to additional

      toxicology screenings which also were positive to an unacceptable high level o f THC.

      Plaintiff was then terminated from his employment with Enterprise o f approximately 10

      years.

18.   Subsequent to his termination, plaintiff ordered additional quantities o f the Dixie X CBD

      tincture to have a laboratory independently test the product to determine if it did indeed

      contain THC.    He sent an unopened bottle o f the Dixie X CBD tincture to EMSL

      Analytical, Inc. (“EMSL”) for independent testing. That laboratory informed plaintiff

      that it could not return the sample o f the Dixie X product that was taking to plaintiff as

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      the substance was illegal and contained levels well over the federal limit as per the U.S.

      DEA regulations. Plaintiff understood that the mere return o f the very sample he sent to

      EMSL was itself a violation o f law, as defendants’ product was an illegal substance, and

      would have subjected that company to criminal and/or civil liability.

19.   In reliance on the numerous claims, assertions, allegations, false advertising and

      misleading press releases o f the defendants, claiming the product contains “0% THC”

      and which does “not conflict with any federal law”, plaintiff purchased and consumed

      from said defendants the product DIXIE X, an elixir marketed to be a natural, safe way to

      relieve pain, nausea, anxiety and convulsions. Plaintiff purchased and consumed said

      product DIXIE X, relying upon the Defendants’ numerous claims that the products were

      legal, safe and did not contain any narcotic or controlled substances, or derivatives.

20.   As a direct and proximate result o f consuming this product, plaintiff was summarily

      dismissed from his employment. In addition, he was caused to lose his accumulated

      benefits and suffer substantial current and future economic losses and non-economic

      losses inclusive o f emotional pain and anguish, humiliation, and degradation. He was

      fired from his long-term employment and, consequently, lost his livelihood, benefits,

      insurance, pension and job security.

21.   Plaintiff s damages are ongoing. He is unable to secure employment at his former level

      o f expertise and cannot continue in commercial trucking for at least seven years.

      Reputable trucking companies will not hire him based upon his positive toxicology test.

       GENERAL FACTS and ALLEGATIONS as to ALL CAUSES of ACTION

22.   Defendants promote through advertising, distribute and sell “hemp”-based products to be

      used for medicinal purposes.        According to hemp.com. Hemp is a variety o f the

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      “Cannabis” plant that is grown for the fiber and seeds it produces.          According to

      drugs.com.    Cannabis     contains    the    chemical    compound       “THC”     (delta-9

      tetrahydrocannabinol), which is believed to be responsible for most o f the characteristic

      psychoactive effects o f cannabis. The dried leaves and flowers o f the Cannabis plant are

      known as marijuana.

23.   Under §812 o f the federal Controlled Substances Act (“CSA”, 21 U.S.C. 812), marijuana

      is considered a “Schedule 1 drug” because o f its THC content.        It is defined as such

      because THC has high potential for abuse, it has no currently accepted medical treatment

      use in the U.S.; and there is a lack o f accepted safety for use o f the drug under medical

      supervision. The cultivation and distribution o f marijuana are felonies; and possession for

      personal use is a misdemeanor. In fact, there are examples o f consumers o f THC oil in

      the U.S. being subjected to serious criminal felonies for the mere possession o f such oil:

      http://www.washingtonpost.com/news/local/wp/2015/06/Q8/mom-who-uses-medical-

      mariiuana-faces-up-to-30-vears-in-prison/.

24.   Throughout their advertising media, defendants unequivocally and continually represent

      on their websites, press releases and advertising media that their products contain no

      illegal tetrahydrocannabinol (“THC”), and that they conduct testing multiple times and

      that the products will not produce a positive toxicology test for illegal substances. The

      defendants claim that their products can treat a plethora o f medical conditions.

      Defendants further represent that they do not grow, sell or distribute and products which

      violate United States Uaws and/or the federal “Controlled Substance Act.”

25.   The hemp-based industry is a bourgeoning market, wherein, companies such as

      defendants are manufacturing, selling and distributing products that are hemp-based and

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      claim that, although marijuana and hemp are similar substances, the content and ratio of

      the chemical components commonly known as cannabidiol (“CBD”) and THC, found in

      varying degrees, determine whether a substance is illegal to consume or distribute in the

      United States.    Defendants assert among other things that THC, the clearly illegal

      chemical compound found in marijuana, is absent in the industrial hemp products that

      they sell to their respective consumers and end-users.

26.   The defendants, in concert and/or on their own account, undertook affirmative efforts to

      capitalize on the manufacture, production, processing, importation and distribution o f

      illegal substances without regard to the consequences, mental or physical harm levied on

      the public such as plaintiff.

27.   The defendants’ CBD health and wellness industry is estimated to be an over five billion

      dollar ($5,000,000,000) market currently.

28.   Defendants market their products as “THC free” and “non-THC,” thereby misleading the

      public at large through their misrepresentation o f the true chemical compound make-up

      o f products like DIXIE X.

29.   As is widely known, the cultivation and distribution o f marijuana is illegal in the United

      States. Defendants circumvent the federal prohibition by extracting CBD from industrial

      hemp grown outside the United States in “secret” locations which MEDICAL

      MARIJUANA, INC. refuses to disclose.

30.   Defendants collective advertising and marketing materials represent that their respective

      products can be used to treat a variety o f conditions such as pain, anxiety, nausea and

      seizures.   In support o f its false advertising and marketing, defendants specifically

      represent and assert unequivocally that THC is undetectable in its products.

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31.   As further inducement for consumers to buy its products, support for its large scale sales

      expansion agenda, and in an effort to attract investors, defendants have collectively and

      on their own account, published numerous press releases and other materials all claiming

      that the collective and/or respective products complained o f are non-THC, legal, safe and

      can treat a variety o f ailments and diseases. Certain public statements have gone so far as

      to claim CBD can fight metastatic cancers.

32.   Defendants claim that their products are tested multiple times during the manufacturing

      process, that they are legal to consume in the United States, and that they do not grow,

      sell or distribute any substances that violate the law.

                                           COUNT I
                         Deceptive Business Practices/False Advertising

33.   Plaintiffs repeat and reallege each and every allegation above and incorporate same

      herein.

34.   This Cause o f Action is asserted against the Defendants that Plaintiffs suffered damages

      as a result o f the defendant’s deceptive business practices and false advertising in

      violation o f GBL §349 and §350.

35.   In the course o f the within transaction, Defendants committed and/or engaged in one or

      more o f the following acts or conduct and/or made the following misrepresentations:

      a.        misrepresenting in advertising that the Dixie Products were safe and legal for
                consumers;

      b.        misrepresenting in advertising that Defendants had adequately tested their
                products;

      c.        misrepresenting that the products complied New York State and the federal laws
                and regulations;

      d.        misrepresenting that their products contained no THC;

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      e.       misrepresenting that the ingestion o f its products would not cause a positive
               toxicology result;

      f.       misrepresenting that their products had beneficial health, wellness and medical
               uses.

36.   All o f the above misrepresentations, acts and/or conduct by express statement on

      Defendants involved material elements o f the transaction between the parties and were

      unfair, illegal, false, deceptive and/or misleading.

37.   Additionally, such representations were likely to, and in fact did, harm, deceive or

      mislead the Plaintiffs who were acting reasonably and in reliance thereon.

38.   The conduct and actions described herein are directed at the general public and have a

      broad impact on consumers at large and are not isolated or unique to this transaction

      between the parties.

39.   The aforementioned conduct constitutes deceptive business practices and false

      advertising, in violation o f General Business Law Art. 22-A, §349 and §350.

40.   As a result o f the defendants’ conduct, Plaintiffs have sustained damages for which they

      are entitled to recover from Defendants.

41.   The Plaintiffs are entitled to recover costs and attorney’s fees from the defendant

      pursuant to GBL §349(h) and §350-e(3).

                              COUNT II - RICO VIOLATION

42.   Plaintiffs repeat and re-allege each and every allegation made in the paragraphs above

      and incorporate same herein as if fully set forth.

43.   At all times relevant to this complaint, all o f the defendant entities were and are

      enterprises as defined by 18 U.S.C. §1961(4) that are engaged in, and whose activities


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      affect, interstate and foreign commerce. Their primary purpose and function was and is to

      profit from the marketing, distribution, promotion, advertising and/or sale o f the Dixie X

      Elixir product sold to Plaintiff. Upon information and belief, in addition to defendants’

      legitimate activities, however, they were used in a pattern o f racketeering activity in

      violation o f 18 U.S.C. §1962(a), (b), (c), (d).

44.   The defendants herein are “persons” pursuant to 18 U.S.C. §1961(3).

45.   The patterns o f racketeering activity engaged in by the defendants involved separate but

      related schemes, carried out from the original sale to plaintiff o f the product to the

      present, and directed at the plaintiffs and other individuals in violation o f 18 U.S.C.

      §1961(1) and §1962:

      a) Selling and/or distributing a product through the U.S. mail that was known or should

          have been known to be a controlled substance or otherwise illegal or otherwise in

          violation o f federal or state law;

      b) Inducing the sale o f an illegal product through promises o f curing medical conditions

          o f consumer purchasers o f said product;

      c) Misrepresenting in advertising that the Dixie Products were safe and legal for

          consumers;

      d) Misrepresenting that the products complied New York State and the federal laws and

          regulations;

      e) Purposefully failing to disclose material facts regarding the product to induce the

          purchase o f an illegal product;




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      f) Concealing the true chemical content from consumers in its advertising and labelling

          in order to avoid inquiry into the legality o f same.

46.   The pattern o f racketeering activity engaged in by the defendants named herein involved

      fraudulent acts in support o f the above schemes constituted mail and wire fraud (18

      U.S.C. §1341 and §1343), engaged in monetary transactions in property derived from

      specific unlawful activity (18 U.S.C. §1957), all o f which is “racketeering activity,” as

      defined in 18 U.S.C. §1961(1) and §102 ofthe Controlled Substances Act.

47.   The above described are numerous predicate acts o f wire fraud, interstate transportation

      o f controlled substance(s) and unlawful activity involving monetary transactions relating

      to the plaintiffs and other consumers. The predicate acts include advertisements in

      multiple media, telephone calls containing misrepresentations or omissions made in

      furtherance o f the schemes, containing misrepresentations or omissions in furtherance o f

      the schemes, derived from specified unlawful activity. The plaintiffs herein relied upon

      the misrepresentations and omissions directed at the plaintiffs herein by the defendants as

      part o f their pattern o f racketeering activity, and as a result suffered monetary and

      property damages.

                                         COUNT I I I
                                    Fraudulent Inducem ent

48.   Plaintiffs repeat and reallege each and every allegation above and incorporate same

      herein.

49.   This Cause o f Action is asserted against Defendants for actual, compensatory and

      punitive damages based upon common law fraud and/or fraud in the inducement.

50.   The conduct referred to above constitute numerous intentional misrepresentations,


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      concealments and/or omissions o f fact by Defendants through media, advertising and

      websites.

51.   The material misstatements, concealments and/or omissions as to the ingredients,

      toxicology, and effects o f Defendants’ products, are all material inducements to

      Plaintiff s acquisition and use o f same, were made with full knowledge o f their falsity

      and/or with reckless disregard o f the truth.

52.   On information and belief, Defendants intended that the Plaintiffs rely upon the

      aforementioned misrepresentations, concealments and/or omissions to induce them to

      acquire and consume said products.

53.   Plaintiffs reasonably relied on Defendants’ intentional misrepresentations, concealments

      or omissions inducing them purchase and consume their products.

54.   As a result o f the aforementioned conduct o f Defendants, Plaintiffs were injured for

      which they are entitled to recover actual, compensatory and punitive damages.

55.   On information and belief, the above-mentioned acts were committed by Defendants

      willfully, wantonly and with reckless disregard ofthe rights ofthe Plaintiffs.

                                          COUNT IV
                         Violations o f UCC § 2-318 Products Liability

56.   Plaintiffs repeat and reallege each and every allegation above and incorporate same

      herein.

57.   Defendants knowingly did sell, market and distribute the product known to be defective,

      illegal and/or unreasonably dangerous.

58.   There was no substantial change in the condition o f the Dixie X Botanical product and it

      remained in original manufactured condition prior to Plaintiffs’ acquisition and


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      consumption.

59.   Said product(s) contained illegal and harmful substances which caused harm to Plaintiff

      to which he is entitled to recover.

                                          COUNT V
                                      Breach o f Contract

60.   Plaintiffs repeat and reallege each and every allegation above and incorporate same

      herein.

61.   The parties entered into a written agreement for the Plaintiffs to purchase the product and

      the Defendants agreed to provide the product (the “Contract”) .

62.   Consideration was paid by Plaintiffs to Defendants as set forth in the Contract.

63.   By reason o f all o f the foregoing, Defendants breached the Contract between the parties

      by refusing or failing to perform thereon.

64.   Plaintiffs have suffered actual and compensatory damages as a result o f Defendants’

      breach.

                                          COUNT VI
                                 Breach o f Express Warranty
                                  Violations o f UCC § 2-313

65.   Plaintiffs repeat and reallege each and every allegation above and incorporate same

      herein.

66.   Defendants made certain specific representations and express warranties in connection

      with the sale o f the Dixie X product, as described above, regarding the nature o f the

      product including the condition or chemical composition o f its product.

67.   Such representations were expressed as statements o f fact.

68.   Such representations were false by Defendants.


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69.   Defendants breached such express warranties in that they failed to perform the terms of

      such warranty to the detriment o f Plaintiff.

70.   As a result o f the defendant’s breach, Plaintiffs have sustained damages for which they

      are entitled to recover from Defendants.

                                         COUNT VII
                                       Unjust Enrichment

71.   Plaintiffs repeat and reallege each and every allegation above and incorporate same

      herein.

72.   This Cause o f Action is asserted for restitution o f Plaintiff based upon common law

      unjust enrichment.

73.   Plaintiffs conferred their full payment price on Defendants.

74.   By unjustly retaining all o f Plaintiff s funds, defendants were unjustly enriched.

75.   Defendant continues to retain the benefit conferred by Plaintiff.

                                          COUNT VIII
                                           Negligence

76.   Plaintiffs repeat and reallege each and every allegation above and incorporate same

      herein.

77.   Defendants did not exercise due care in the processing o f its product at issue and/or

      distribution o f the same in order to ensure its safety for human consumption, and to

      ensure its legality in and throughoutthe United States.

78.   Defendants did not exercise due care in the product testing, reporting o f the results o f the

      toxicity levels o f the products, and the sale, marketing and/or distribution complained o f

      herein.

79.   Defendants did not exercise due care to ensure that its products complied with all relevant

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      state and federal laws and regulations.

80.   Plaintiffs’ harm was the natural and foreseeable consequence o f the Defendants’ breach

      o f its duty to act in a reasonable manner.

81.   By reason o f the foregoing breach, Plaintiffs consequently suffered significant monetary

      damages and are entitled to recovery.

                                           COUNT I X
                                Negligent Infliction o f Emotional Harm

82.   Plaintiffs repeat and reallege each and every allegation above and incorporate same

      herein.

83.   Defendants’ respective acts o f will and wonton disregard for the safety o f consumers is

      extreme, outrageous and shocking.

84.   Defendants’ respective reckless and/or negligent behavior has caused Plaintiffs physical

      harm in the ingestion o f caustic, toxic, and/or an illegal substance.

85.   Defendants’ respective reckless and/or negligent behavior has caused Plaintiff mental

      anguish, harm and injury, loss o f sleep, loss o f appetite, anxiety, anger and depression.

86.   By reason o f the foregoing, Plaintiffs have suffered humiliation, economic harm, loss o f

      employment, loss o f social and professional stature, actual present and future financial

      insecurity and loss o f reputation.

87.   Plaintiffs are entitled to damages in an amount to be determined at trial which is greater

      than the jurisdictional amount required.




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       W H EREFO RE, Plaintiffs demand judgment against the defendants, for actual,

consequential, incidental, statutory and punitive damages as follows:

       i.       On all causes o f action, actual and compensatory damages in a sum o f money

                having a present value which exceeds the jurisdictional limits o f this Court;

      ii.       Punitive damages based on defendants’ knowing and willful misrepresentations

                pursuant to Plaintiffs RICO and Fraud claims;

     iii.       Statutory damages pursuant to those causes o f action;

     iv.        Interest, costs, disbursements and attorneys’ fees pursuant to statutory causes o f

                action;

      v.        Such other relief as the court may deem just proper.


Dated: Forest Hills, New York
       August 5, 2015



                                               IEFFREY BENIAMIN, P C.




                                               By:    leffrey Benjamin, Esq.
                                               Attorney for Plaintiffs
                                               DOUGLAS J. HORN and CINDY HORN
                                               118-21 Queens Boulevard, Suite 501
                                               Forest Hills, New York 11375
                                               (718) 263-1111




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                              DEMAND FOR A TRIAL BY JURY

Pursuant to the Federal Rules o f Civil Procedure, plaintiffs demand a trial by jury in this action.


Dated: Forest Hills, New York
       August 5, 2015




                                                              Jeffrey Benjamin
                                                               Jeffrey Benjamin, Esq.




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                                 D ISTRIBU TIO N L IS T

MEDICAL MARIJUANA, INC
4901 MorenaBlvd., Suite 701
San Diego, California 92117

DIXIE ELIXIRS AND EDIBLES
4990 Oakland Street
Denver, Colorado 80239

RED DICE HOLDINGS LLC
d/b/a DIXIE BOTANICALS
1610 Wynkoop Street, Suite 400
Denver, Colorado 80202




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                         U s in g a p r o p r i e t a r y e x t r a c t i o n
                         process a n d a s tra in of high-CBD hemp
                         grown in a secret, foreign location,
                         Colorado’s Dixie E lixirs and Edibles now
                         offers a new product line called Dixie X,
                        w hich contains o% THC and up to 500 m g
                         of CBD. T his hew CBD-rich m edicine will
                        be available in several forms, including a
                        tin ctu re, a topical and in capsules.
                                                Prom oted as “a
                                               revolution in m edicinal
                                                  hemp-powered
                                                   wellness,” th e non­
                                                   psychoactive products
                                                   will firs t roll out
                                                   in Colorado MMCs
                                                   (medical m arijuana
                                                 . centers), w ith
                                                       plans to quickly
                                                           expand outside
                                                          th e medical-
                                                           m arijuana
                                                          m arket.
                                                              “I t h a s tak en
                                                          a trem endous
                                                          am ount o f tim e,
                                                          money and
                                                          effort, b u t finally
                                                          p atien ts h e re in
                                                          Colorado-and
                                                         ultim ately all
                                                         individuals who
                                                         are interested
                                                        in u tilizin g CBD
                                                     fo r m edicinal
                                             b e n e fit-w ill he able to
                       have access to it." says Tripp Keber, Dixie’s
                       m anaging director. “We are im p o rtin g
                       in d u stria l hem p from ou tsid e th e US u sin g
                       a n FDA im p o rt lic e n se -it’s below federal
                       guidelines fo r THC, w hich is 0.3 %—and we
                       are ta k in g th a t hem p and ex tractin g the
                       CBD. We have m eticulously reviewed sta te
                       and federal sta tu re s, and we do n o t believe
                       th a t we're operating in conflict w ith any
                       federal law as it’s related to th e Dixie X
                       [hemp-derived] products.”
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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK
...................................................................................... X
DOUGLAS J. HORN and CINDY HARP-HORN,                                                       Civ. Action No.:

                                                Plaintiffs,
                                                                                           PLAINTIFF CIVIL
                                                                                           RICO STATEMENT
                                    -against-

MEDICAL MARIJUANA, INC.
DIXIE ELIXIRS AND EDIBLES,
RED DICE HOLDINGS, LLC, and
DIXIE BOTANICALS,

                                                 Defendants.
                            .......................................................... X

                             PLAINTIFFS’ CIVIL RICO CASE STATEMENT

            Plaintiffs file this Civil RICO Case Statement pursuant to Local Rule 9 and allege on

information and belief as follows.

1.          STATE W HETHER THE ALLEGED UNLAWFUL CONDUCT IS IN
            VIOLATION OF 18 U.S.C. SECTIONS 1962(a), (b), (c), AND/OR (d). IF YOU
            ALLEGE VIOLATIONS OF MORE THAN ONE SECTION 1962 SUBSECTION,
            TREAT EACH AS SEPARATE RICO CLAIM.

            Plaintiffs assert violations of 18 U.S.C. § 1962(a), (b), (c) and (d).

2.           LIST EACH DEFENDANT, AND SEPARATELY STATE THE MISCONDUCT
             AND BASIS OF LIABILITY OF EACH DEFENDANT.

            On information and belief, each of the corporate entity defendants are related through

acquisition or merger though they carry out separate functions toward the common goal of profit

from the racketeering activity alleged:

            MEDICAL MARIJUANA. INC.

            a) Defendant MEDICAL MARIJUANA, INC. is engaged in the business of inter alia,

                  the promotion, manufacture and distribution of hemp-based and cannabis products

                  throughout the United States. Their primary purpose and function was and is to profit

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   from the marketing, distribution, promotion, advertising and/or sale of in ter alia the

   Dixie X Elixir product sold to Plaintiff. Defendant was further responsible for the

   misrepresentations in advertising that the Dixie Products were safe and legal for all

   consumers to consume.

DIXIE ELIXIRS AND EDIBLES.

b) DIXIE ELIXIRS AND EDIBLES is a Colorado Corporation who is engaged in the

   business of, in ter alia, the promotion, manufacture and distribution of hemp-based

   and cannabis products throughout the United States.       On information and belief,

   Medical Marijuana, Inc. is the parent company of Dixie Elixers and does business

   under that corporate name.

RED DICE HOLDINGS. LLC


c) Red Dice Holdings LLC is a Colorado Corporation who is engaged in the business of,

   in ter alia, the promotion, manufacture and distribution of hemp-based and cannabis

   products throughout the United States. On information and belief, it was formed as a

   joint venture between Dixie Holdings and Medical Marijuana, Inc. to hold the

   intellectual property of the Dixie Brand of products, Dixie Elixirs and Dixie

   Botanicals.


DIXIE BOTANICALS


d) Dixie Botanicals is a California Corporation who is engaged in the business of, inter

   alia, the promotion, manufacture and distribution of hemp-based and cannabis

   products throughout the United States. On information and belief, in 2014, Dixie

   Botanicals was acquired by Medical Marijuana Inc.


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3)     LIST THE ALLEGED WRONGDOERS, OTHER THAN THE DEFENDANTS
       LISTED ABOVE, AND STATE THE ALLEGED MISCONDUCT OF EACH
       WRONGDOER.

       Additional wrongdoers not named as Defendants include: (1) unknown employees of

defendants who were responsible for inter alia marketing, manufacturing and distributing the

product which brought about plaintiffs’ damages; and (2) other wrongdoers, co-conspirators and

aiders and abettors may be identified during the course of discovery.


4)     LIST THE VICTIMS, AND STATE WHEN AND HOW EACH VICTIM WAS
       ALLEGEDLY INJURED.

       Plaintiffs, a husband and wife, worked as a team in the commercial trucking business for

the same employer for the last ten (10) years. Cindy Harp-Horn assisted and drove alongside her

husband on almost all of their work trips.      On or around October 9, 2015, Plaintiffs were

immediately terminated upon their employer Enterprise Transportation’s discovery of a legally

unacceptable level of THC in Douglas Horn’s toxicology tests. Plaintiffs subsequently lost his

accumulated benefits, his current and hope for future lucrative employment. Plaintiff s believe

that they may never replace the successful employment track they were on before taking

defendants’ Dixie product.    As such, plaintiffs each suffer also from non-economic losses

inclusive of emotional pain and anguish, humiliation, and degradation.

5)     DESCRIBE IN DETAIL THE PATTERN OF RACKETEERING ACTIVITY OR
       COLLECTION OF AN UNLAWFUL DEBT FOR EACH RICO CLAIM. A
       DESCRIPTION OF THE PATTERN OF RACKETEERING ACTIVITY SHALL
       INCLUDE THE FOLLOWING INFORMATION:

       a)      List the predicate acts/incidents and the specific statutes allegedly violated;

       There exist numerous predicate acts of mail and wire fraud by the sending through

interstate commerce the product manufactured, promoted, advertised, distributed and sold by

defendants. Most prominently, defendants each individually and to advance their common goal



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acted in violation o f 18 U.S.C. §1961(1)(A) dealing in a controlled substance or listed chemical

(as defined in section 102 ofthe Controlled Substances Act), and (D) the felonious manufacture,

importation, receiving, concealment, buying, selling, or otherwise dealing in a controlled

substance or listed chemical (as defined in section 102 of the Controlled Substances Act),

punishable under any law of the United States. Defendants violated 18 U.S.C. § 1341 and 18

U.S.C. § 1343 by sending their illegal product through U.S. mail and correspondence and billing

through wire or electronic transfers.     And in violation of 18 U.S.C. §1957(a) in knowingly

engages or attempts to engage in a monetary transaction in criminally derived property.

       b)      Provide the dates of the predicate acts/incidents, the participants in the

               predicate acts and a description of the facts surrounding each predicate

               act/incident.


       The date of defendants’ predicate acts of racketeering activity with respect to plaintiffs

was October 1, 2012 when he received and started to consume the product. On information and

belief, defendants manufactured and advertised the product and only started to offer the product

months earlier in or around February, 2012.


       c)      If the RICO claim is based upon the predicate offenses of wire fraud, mail
               fraud, fraud in the sale of securities, or fraud in connection with a case under
               U.S.C. Title 11, the “circumstances constituting fraud or mistake shall be
               stated with particularity,” Fed. R. Civ. P. 9(b) (Identifying the time, place and
               contents o f the misrepresentations or omissions, and the identity o f the persons
               to whom and by whom the misrepresentations were made);

       Defendants used both U.S. mail and electronic mail and money transfers to promote,

distribute and sell the illegal product to plaintiffs in violation of 18 U.S.C. § 1341 and 1343.


       d)      State whether there has been a criminal conviction for any of the predicate
               acts/incidents of criminal activity;


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        Plaintiffs are unaware of any criminal conviction(s) related to the allegations in the

instant action.


    6) DESCRIBE IN DETAIL THE ENTERPRISE FOR EACH RICO CLAIM. A
       DESCRIPTION OF THE ENTERPRISE SHALL INCLUDE THE FOLLOWING
       INFORMATION:

        a)        State the names of the individuals, partnerships, corporations, associations,
                  or other entities constituting the enterprise.

        At present, plaintiffs are aware only ofthe listed Defendants as those persons constituting

the Enterprise.


        b)        Describe the structure, purpose, roles, function and course of conduct of the
                  enterprise.

        Plaintiffs are currently unaware before discovery ofthe structure, purpose, roles, function

and course of conduct of the enterprise.


        c)        State whether any defendants are employees, officers, or directors of the
                  enterprise.

        Plaintiffs have initially alleged liability only as against corporate entities and have not as

yet identified individuals.


        d)        State whether any defendants are associated with the enterprise, and if so,
                  how.

        Reference is respectfully made to response c) above.


        e)        State whether you allege (i) that the defendants are individuals or entities
                  separate from the enterprise, or (ii) that the defendants are the enterprise
                  itself; or (iii) that the defendants are members of the enterprise.

        Plaintiffs allege that defendants are the enterprise itself.


        f)        If you allege any defendants to be the enterprise itself, or members of the
                  enterprise, explain whether such defendants are perpetrators, passive

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                instruments, or victims of the racketeering activity.

        Plaintiffs allege that the defendants are perpetrators and active participants in the alleged

racketeering activity.


    7) STATE W HETHER YOU ALLEGE, AND DESCRIBE IN DETAIL, HOW THE
       PATTERN OF RACKETEERING / CRIMINAL ACTIVITY AND THE
       ENTERPRISE ARE SEPARATE OR HAVE THEY MERGED INTO ONE
       ENTITY.

        On information and belief, the enterprise is an association of the defendants which has an

ascertainable structure stemming from the leadership of a common principal, merged into one

common entity but with separate functions in the promotion, manufacture, distribution and sale

of the product which brought about plaintiff s damages.


    8) DESCRIBE THE RELATIONSHIP BETWEEN THE ACTIVITIES AND THE
       PATTERN OF RACKETEERING/CRIMINAL ACTIVITY. DISCUSS HOW THE
       RACKETERERING/CRIMINAL ACTIVITY DIFFERS FROM THE USUAL
       AND DAILY ACTIVITIES OF THE ENTERPRISE, IF AT ALL.

        Plaintiffs believe the pattern or racketeering activity does not differ from any legitimate

activities of the Enterprise..


    9) DESCRIBE WHAT BENEFITS, IF ANY, THE ENTERPRISE AND EACH
       DEFENDANT RECEIVED FROM THE PATTERN OF RACKETEERING/
       CRIMINAL ACTIVITY.

        Benefits received by the defendants appear to be the profit from ostensibly to an extent of

an over $5,000,000,000 market.


    10) DESCRIBE THE EFFECT OF THE ENTERPRISE’S ACTIVITIES                                        ON
       INTERSTATE OR FOREIGN COMMERCE.

        Defendants distribute and sell a product which is a Controlled Substance through

interstate commerce to the extent of a multi-billion dollar market



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    11) IF THE COMPLAINT ALLEGES A VIOLATION OF 18 U.S.C. § 1962(a)
        PROVIDE THE FOLLOWING INFORMATION:

        a)      State who received the income derived from the pattern of racketeering activity or
                through the collection of an unlawful debt; and

       At present, plaintiff believes that all defendants received income from the national sale of

       the product alleged herein.


        b)      Describe the use or investment of such income.

        Plaintiffs’ are unaware as to how defendants used such income other than to further the

racketeering activity.


    12) IF THE COMPLAINT ALLEGES A VIOLATION OF 18 U.S.C. § 1962(b),
        PROVIDE THE FOLLOWING INFORMATION:

         a)      Describe in detail the acquisition of maintenance of any interest in or
                 control of the alleged enterprise; and

         On information and belief, the defendants named herein started the illicit business

alleged in the Complaint. Plaintiffs believe that defendant Medical Marijuana, Inc. is the parent

company who acquired or otherwise have a stake in the other entities named herein.

         b)      State whether the same entity is both the liable “person” and the

                 “enterprise” under § 1962(b


        Yes.


    13) IF THE COMPLAINT ALLEGES A VIOLATION OF 18 U.S.C. § 1962 (c),

        PROVIDE THE FOLLIWING INFORMATION:


         a) State who is employed by or associated with the enterprise;

        Plaintiff does not have access to and is unaware of specific individuals employed by the

    corporate defendants before discovery.

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        b) State whether the same entity is both the liable “person” and the “enterprise”
           under § 1962 (c)

       Yes.


    14) IF THE COMPLAINT ALLEGES A VIOLATION OF 18 U.S.C. § 1962(d),
        DESCRIBE IN DETAIL THE CONSPIRACY, INCLUDING THE IDENTITY OF
        THE CO-CONSPIRATORS, THE OBJECT OF THE CONSPIRACY, AND THE
        DATE AND SUBSTANCE OF THE CONSPIRATORIAL AGREEMENT.

       In order to successfully perpetrate the enterprise, defendants worked together to

manufacture an innovative product which would bring about untold profit from its marketing,

distribution and sale. Each of the entities named herein played its own part in bringing the

subject product to market and benefitting therefrom. Plaintiffs believe the defendants created

this market in or around February, 2012 when advertising for it began.


   15) DESCRIBE THE ALLEGED INJURY TO BUSINESS OR PROPERTY.


       As more fully stated in plaintiffs’ Complaint, plaintiffs lost their substantial livelihood

from the use of the product. They were immediately terminated from anticipated lifelong and

substantial employment and lost other benefits flowing therefrom. The injury from the use of the

product began on approximately October 9, 2012 and continues unabated to date.


   16) DESCRIBE THE RELATIONSHIP BETWEEN THE ALLEGED INJURY AND
       VIOLATION OF THE RICO STATUTE.

       If plaintiff Douglas Horn did not consume the Dixie X product, he would not have had a

positive toxicology test and lost his and his wife’s employment then and into the future.
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    17) LIST THE DAMAGES SUSTAINED BY REASON OF THE VIOLATION OF §
       1962, INDICATING THE AMOUNT FOR WHICH EACH DEFENDANT
       ALLEGEDLY IS LIABLE.

       Plaintiffs lost employment at the company at a minimum salary of $100,000 each. The

total lost salary for both plaintiffs yearly was a minimum of $200,000. In addition to their

salaries, plaintiffs lost 401 k contributions, life insurance and other benefits for amounts that are

ongoing.


    18) LIST ALL OTHER FEDERAL CAUSES OF ACTION, IF ANY, AND PROVIDE
       THE RELEVAMT STATUTE NUMBERS.

   None.

    19) LIST ALL PENDENT STATES CLAIM, IF ANY.

   None.

   20) PROVIDE ANY ADDITIONAL INFORMATION YOU FEEL WOULD BE
       HELPFUL TO THE COURT IN PROCESSING YOUR RICO CLAIM.

   None.


                                               JEFFREY BENJAMIN, P.C.



                                               Jeffrey Benjamin
                                               By:    Jeffrey Benjamin, Esq.
                                               Attorney for Plaintiffs
                                               DOUGLAS J. HORN and CINDY HORN
                                               118-21 Queens Boulevard, Suite 501
                                               Forest Hills, New York 11375
                                               (718) 263-1111




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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK

 DOUGLAS J. HORN and CINDY HARP-HORN,
                                                         CivilActionNo. 15-cv-701-G
                               P la in tiffs ,

        -against-

 MEDICAL MARIJUANA, INC., DIXIE ELIXIRS
 AND EDIBLES, RED DICE HOLDINGS, LLC,                   ANSWER AND AFFIRMATIVE
 and DIXIE BOTANICALS,                                         DEFENSES

                               D efendants.




       Defendant Dixie Elixirs (“Dixie”), by their respective undersigned counsel, state as

follows, upon information and belief:

                               PRELIMINARY STATEMENT

1.     Defendant denies all of the allegations contained within Paragraph 1 of the Plaintiffs’

Complaint.

                              JURISDICTION AND PARTIES

2.     Defendant denies all of the allegations contained within Paragraph 2 of the Plaintiffs’

Complaint.

3.     Defendant denies all of the allegations contained within Paragraph 3 of the Plaintiffs’

Complaint.

4.     Defendant is without knowledge or information sufficient to form a belief as to the

allegations in Paragraph 4 of the Complaint.

5.     Defendant is without knowledge or information sufficient to form a belief as to the

allegations in Paragraph 5 of the Complaint.




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6.     Defendant is without knowledge or information sufficient to form a belief as to the

allegations in Paragraph 6 of the Complaint.

7.     Defendant denies the allegations contained within Paragraph 7 of the Plaintiffs’ Complaint,

except admits that Defendant is a Colorado Limited Liability Company with a principal place of

business located at 4990 Oakland Street, Denver, CO 80209, United States.

8.     Defendant denies all of the allegations contained within Paragraph 10 of the Plaintiffs’

Complaint.

9.     Defendant is without knowledge or information sufficient to form a belief as to the

allegations in Paragraph 9 of the Complaint.

10.    Defendant is without knowledge or information sufficient to form a belief as to the

allegations in Paragraph 10 ofthe Complaint.

11.    Defendant denies all of the allegations contained within Paragraph 11 of the Plaintiffs’

Complaint.

                          SPECIFIC FACTS AS TO PLAINTIFFS

12.    Defendant is without knowledge or information sufficient to form a belief as to the

allegations in Paragraph 12 ofthe Complaint.

13.    Defendant is without knowledge or information sufficient to form a belief as to the

allegations in Paragraph 13 ofthe Complaint.

14.    Defendant denies all of the allegations contained within Paragraph 14 of the Plaintiffs’

Complaint.

15.    Defendant is without knowledge or information sufficient to form a belief as to the

allegations in Paragraph 15 ofthe Complaint.




       { 01737937 / 1 }                         2
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16.    Defendant is without knowledge or information sufficient to form a belief as to the

allegations in Paragraph 16 ofthe Complaint.

17.    Defendant is without knowledge or information sufficient to form a belief as to the

allegations in Paragraph 17 ofthe Complaint.

18.    Defendant is without knowledge or information sufficient to form a belief as to the

allegations in Paragraph 18of the Complaint.

19.    Defendant is without knowledge or information sufficient to form a belief as to the

allegations in Paragraph 19 ofthe Complaint.

20.    Defendant is without knowledge or information sufficient to form a belief as to the

allegations in Paragraph 20 of the Complaint.

21.    Defendant is without knowledge or information sufficient to form a belief as to the

allegations in Paragraph 21 ofthe Complaint.

      GENERAL FACTS AND ALLEGATIONS AS TO ALL CAUSES OF ACTION

22.    Defendant is without knowledge or information sufficient to form a belief as to the

allegations in Paragraph 22 of the Complaint.

23.    Defendant denies all of the allegations contained within Paragraph 23 of the Plaintiffs’

Complaint.

24.    Defendant is without knowledge or information sufficient to form a belief as to the

allegations in Paragraph 24 of the Complaint.

25.    Defendant denies all of the allegations contained within Paragraph 25 of the Plaintiffs’

Complaint.

26.    Defendant denies all of the allegations contained within Paragraph 26 of the Plaintiffs’

Complaint.




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27.    Defendant is without knowledge or information sufficient to form a belief as to the

allegations in Paragraph 27 of the Complaint.

28.    Defendant denies all of the allegations contained within Paragraph 28 of the Plaintiffs’

Complaint.

29.    Defendant denies all of the allegations contained within Paragraph 29 of the Plaintiffs’

Complaint.

30.    Defendant denies all of the allegations contained within Paragraph 30 of the Plaintiffs’

Complaint.

31.    Defendant denies all of the allegations contained within Paragraph 31 of the Plaintiffs’

Complaint.

32.    Defendant denies all of the allegations contained within Paragraph 32 of the Plaintiffs’

Complaint.

                                             COUNT I

33.    Defendant repeats and realleges each and every allegation, response, denial and denial of

information and knowledge as set forth in its Answer to the Plaintiffs’ Complaint contained in the

prior Paragraphs of this Answer as if heretofore set out at length.

34.    Defendant denies all of the allegations contained within Paragraph 34 of the Plaintiffs’

Complaint.

35.    Defendant denies all of the allegations contained within Paragraph 35 of the Plaintiffs’

Complaint.

36.    Defendant denies all of the allegations contained within Paragraph 36 of the Plaintiffs’

Complaint.




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37.    Defendant denies all of the allegations contained within Paragraph 37 of the Plaintiffs’

Complaint.

38.    Defendant denies all of the allegations contained within Paragraph 38 of the Plaintiffs’

Complaint.

39.    Defendant denies all of the allegations contained within Paragraph 39 of the Plaintiffs’

Complaint.

40.    Defendant denies all of the allegations contained within Paragraph 40 of the Plaintiffs’

Complaint.

41.    Defendant denies all of the allegations contained within Paragraph 41 of the Plaintiffs’

Complaint.

                                            COUNT II

42.    Defendant repeats and realleges each and every allegation, response, denial and denial of

information and knowledge as set forth in its Answer to the Plaintiffs’ Complaint contained in the

prior Paragraphs of this Answer as if heretofore set out at length.

43.    Defendant denies all of the allegations contained within Paragraph 43 of the Plaintiffs’

Complaint.

44.    Defendant is without knowledge or information sufficient to form a belief as to the

allegations in Paragraph 44 of the Complaint.

45.    Defendant denies all of the allegations contained within Paragraph 45 of the Plaintiffs’

Complaint.

46.    Defendant denies all of the allegations contained within Paragraph 46 of the Plaintiffs’

Complaint.




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47.    Defendant denies all of the allegations contained within Paragraph 47 of the Plaintiffs’

Complaint.

                                            COUNT III

48.    Defendant repeats and realleges each and every allegation, response, denial and denial of

information and knowledge as set forth in its Answer to the Plaintiffs’ Complaint contained in the

prior Paragraphs of this Answer as if heretofore set out at length.

49.    Paragraph 49 of the Complaint makes no allegations to which a response is required. To

the extent that allegations are presented in Paragraph 49, Defendant denies them in their entirety.

50.    Defendant denies all of the allegations contained within Paragraph 50 of the Plaintiffs’

Complaint.

51.    Defendant denies all of the allegations contained within Paragraph 51 of the Plaintiffs’

Complaint.

52.    Defendant denies all of the allegations contained within Paragraph 52 of the Plaintiffs’

Complaint.

53.    Defendant denies all of the allegations contained within Paragraph 53 of the Plaintiffs’

Complaint.

54.    Defendant denies all of the allegations contained within Paragraph 54 of the Plaintiffs’

Complaint.

55.    Defendant denies all of the allegations contained within Paragraph 55 of the Plaintiffs’

Complaint.

                                            COUNT IV




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56.    Defendant repeats and realleges each and every allegation, response, denial and denial of

information and knowledge as set forth in its Answer to the Plaintiffs’ Complaint contained in the

prior Paragraphs of this Answer as if heretofore set out at length.

57.    Defendant denies all of the allegations contained within Paragraph 57 of the Plaintiffs’

Complaint.

58.    Defendant is without knowledge or information sufficient to form a belief as to the

allegations in Paragraph 58 ofthe Complaint.

59.    Defendant denies all of the allegations contained within Paragraph 59 of the Plaintiffs’

Complaint.

                                            COUNT V

60.    Defendant repeats and realleges each and every allegation, response, denial and denial of

information and knowledge as set forth in its Answer to the Plaintiffs’ Complaint contained in the

prior Paragraphs of this Answer as if heretofore set out at length.

61.    Defendant denies all of the allegations contained within Paragraph 61 of the Plaintiffs’

Complaint.

62.    Defendant denies all of the allegations contained within Paragraph 62 of the Plaintiffs’

Complaint.

63.    Defendant denies all of the allegations contained within Paragraph 63 of the Plaintiffs’

Complaint.

64.    Defendant denies all of the allegations contained within Paragraph 64 of the Plaintiffs’

Complaint.

                                            COUNT VI




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65.    Defendant repeats and realleges each and every allegation, response, denial and denial of

information and knowledge as set forth in its Answer to the Plaintiffs’ Complaint contained in the

prior Paragraphs of this Answer as if heretofore set out at length.

66.    Defendant denies all of the allegations contained within Paragraph 66 of the Plaintiffs’

Complaint.

67.    Defendant denies all of the allegations contained within Paragraph 67 of the Plaintiffs’

Complaint.

68.    Defendant denies all of the allegations contained within Paragraph 68 of the Plaintiffs’

Complaint.

69.    Defendant denies all of the allegations contained within Paragraph 69 of the Plaintiffs’

Complaint.

70.    Defendant denies all of the allegations contained within Paragraph 70 of the Plaintiffs’

Complaint.

                                           COUNT V II

71.    Defendant repeats and realleges each and every allegation, response, denial and denial of

information and knowledge as set forth in its Answer to the Plaintiffs’ Complaint contained in the

prior Paragraphs of this Answer as if heretofore set out at length.

72.    Paragraph 72 of the Complaint makes no allegations to which a response is required. To

the extent that allegations are presented in Paragraph 72, Defendant denies them in their entirety.

73.    Defendant denies all of the allegations contained within Paragraph 73 of the Plaintiffs’

Complaint.

74.    Defendant denies all of the allegations contained within Paragraph 74 of the Plaintiffs’

Complaint.




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75.    Defendant denies all of the allegations contained within Paragraph 75 of the Plaintiffs’

Complaint.

                                           COUNT V III

76.    Defendant repeats and realleges each and every allegation, response, denial and denial of

information and knowledge as set forth in its Answer to the Plaintiffs’ Complaint contained in the

prior Paragraphs of this Answer as if heretofore set out at length.

77.    Defendant denies all of the allegations contained within Paragraph 77 of the Plaintiffs’

Complaint.

78.    Defendant denies all of the allegations contained within Paragraph 78 of the Plaintiffs’

Complaint.

79.    Defendant denies all of the allegations contained within Paragraph 79 of the Plaintiffs’

Complaint.

80.    Defendant denies all of the allegations contained within Paragraph 80 of the Plaintiffs’

Complaint.

81.    Defendant denies all of the allegations contained within Paragraph 81 of the Plaintiffs’

Complaint.

                                            COUNT IX

82.    Defendant repeats and realleges each and every allegation, response, denial and denial of

information and knowledge as set forth in its Answer to the Plaintiffs’ Complaint contained in the

prior Paragraphs of this Answer as if heretofore set out at length.

83.    Defendant denies all of the allegations contained within Paragraph 83 of the Plaintiffs’

Complaint.




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84.    Defendant denies all of the allegations contained within Paragraph 84 of the Plaintiffs’

Complaint.

85.    Defendant denies all of the allegations contained within Paragraph 85 of the Plaintiffs’

Complaint.

86.    Defendant denies all of the allegations contained within Paragraph 86 of the Plaintiffs’

Complaint.

87.    Defendant denies all of the allegations contained within Paragraph 87 of the Plaintiffs’

Complaint.

                                  AFFIRMATIVE DEFENSES

                             As and for a First Affirmative Defense:

88.    Plaintiff failed to initiate suit within the applicable statute of limitations period.

                           As and for a Second Affirmative Defense:

89.    This court lacks personal jurisdiction over answering Defendant.

                            As and for a Third Affirmative Defense:

90.    This court lacks subject matterjurisdiction over this dispute.

                           As and for a Fourth Affirmative Defense:

91.    The Complaint fails to state a claim against answering Defendant on which relief can be

granted.

                            As and for a Fifth Affirmative Defense:

92.    Plaintiff failed to mitigate the damages alleged in the Complaint, even though Plaintiff had

the opportunity and means of doing so. In asserting this affirmative defense, Defendant does not

admit liability for damages due to the Plaintiff’s injury alleged in the Complaint, nor does

Defendant admit that such damages exist.




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                            As and for a Sixth Affirmative Defense:

93.    Plaintiff’s culpable conduct contributed to the alleged damages, which are denied, by

knowing and intentional assumption of the risks inherent in the activities described in the

Complaint, and as such Plaintiff is barred from recovery in this action.

                           As and for a Seventh Affirmative Defense:

94.    Any injuries that may have been sustained by Plaintiff, as alleged in its Complaint,

occurred as a direct result of Plaintiff s own negligent conduct, and not by any conduct of

answering Defendant, and as such Plaintiff is barred from recovery in this action.

                           As and for an Eighth Affirmative Defense

95.    Any damages sustained by Plaintiff, as alleged in the Complaint, were proximately,

directly, and solely caused by the negligent acts of third persons over whom answering

Defendant had and have no direction or control.

                            As and for a Ninth Affirmative Defense

96.    Any contract in this matter is void because it was devised to achieve a purpose that is

illegal under statute or common law.

                           As and for an Tenth Affirmative Defense

97.    Each cause of action in the Complaint is barred to the extent that Plaintiff consented to

any of the alleged activity or conduct.

                          As and for an Eleventh Affirmative Defense

98.    Plaintiff s injuries do not arise out of any of the predicate acts that may give rise to

liability under the Racketeer Influenced and Corrupt Organizations Act as defined by 18U.S.C.

§1961(1), and Plaintiff is therefore without standing.




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                            As and for a Twelfth Affirmative Defense

99.    Plaintiff s Complaint contains injuries that are speculative and therefore not actionable

under the Racketeer Influenced and Corrupt Organizations Act.

                          As and for a Thirteenth Affirmative Defense

100.   Any alleged conduct on the part of answering Defendant was undertaken in good faith for

legitimate business purposes.

                          As and for a Fourteenth Affirmative Defense

101.   Plaintiff s recovery is limited or barred by express or implied warranties.

                           As and for a Fifteenth Affirmative Defense

102.   Plaintiff and answering Defendant were not parties to the contract for the purchase of the

product at issue and therefore had no contractual relationship.

                           As and for a Sixteenth Affirmative Defense

103.   Answering Defendant performed all contractual obligations other than those which were

prevented or excused, if any, and therefore did not breach the agreement.

                          As and for a Seventeenth Affirmative Defense

104.   Any written agreement between the parties was intended to be the full agreement

between the parties, and the Plaintiff cannot present any evidence not in writing to establish or

alter the terms of the agreement.

WHEREFORE, Defendants respectfully demandjudgment denying all relief sought by Plaintiff

and dismissing the Complaint in its entirety, awarding Defendant costs, disbursements, and

reasonable attorney’s fees incurred in this action, and granting such other and further relief as the

Court deemsjust and proper.




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Dated: New York, New York
October 23,2015
                                           Respectfully submitted,
                                           M essner Reeves LLP


                                    By:      /s/___________________________
                                           Wendy J. Lindstrom
                                           Attorneys fo r D efendant Dixie Elixirs LLC
                                           805 Third Avenue, 18th Floor
                                           New York, NY 10022
                                           Tel: 646-663-1860
                                           Fax: 646-663-1895
                                           Email: wlindstrom@messner.com




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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK


DOUGLAS J. HORN and CINDY HARP-HORN,

                                            Plaintiffs,                  ANSWER AND
                                                                         AFFIRMATIVE DEFENSES
       -against-
                                                                         Civil Action No. 15-CV-701-FPG
MEDICAL MARIJUANA, INC., DIXIE ELIXIRS
AND EDIBLES, RED DICE HOLDINGS, LLC,
and DIXIE BOTANICALS,

                                            Defendants.



               Defendants MEDICAL MARIJUANA, INC. and RED DICE HOLDINGS, LLC

(“these answering defendants”), by their undersigned counsel, state as follows, upon

information and belief:


                                     PRELIMINARY STATEMENT

               1.        Paragraph 1 of the plaintiffs’ complaint makes no specific factual

allegations as to which a response is required. To the extent that factual allegations are

presented in Paragraph 1 ofthe complaint, these answering defendants deny them.

                                   JURISDICTION AND PARTIES

               2.       These answering defendants deny all of the allegations contained

within Paragraph 2 of the complaint.

               3.       These answering defendants deny all of the allegations contained

within Paragraph 3 of the complaint.
                                                        -   1-
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               4.       These answering defendants are without knowledge or information

sufficient to form a belief as to the allegations in Paragraph 4 ofthe complaint.

               5.       These answering defendants deny all ofthe allegations in Paragraph

5 of the complaint.

               6.       These answering defendants deny all of the allegations contained in

Paragraph 6 of the complaint, except admit the defendant Medical Marijuana, Inc., is

engaged in business involving hemp-based products.

               7.       These answering defendants are without knowledge or information

sufficient to form a belief as to the allegations in Paragraph 7 of the complaint.

               8.       These answering defendants are without knowledge or information

sufficient to form a belief as to the allegations in Paragraph 8 of the complaint.

               9.       These answering defendants deny the allegations in Paragraph 9 of

the complaint.

               10.      These answering defendants deny the allegations in Paragraph 10

of the complaint.

               11.      These answering defendants deny the allegations in Paragraph 11

of the complaint.

                              SPECIFIC FACTS AS TO PLAINTIFFS

               12.      These answering defendants are without knowledge or information

sufficients form a belief as to the allegations in Paragraph 12 ofthe complaint.




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               13.      These answering defendants deny that Exhibit A to the complaint

sets forth any claim that the product treated inflammation and pain, and otherwise state

they are without knowledge or information sufficient to form a belief as to the allegations

in Paragraph 13 ofthe complaint.

               14.      These answering defendants deny the allegations contained within

Paragraph 14 of the complaint as to alleged advertising, and otherwise state they are

without knowledge or information sufficient to form a belief as to the remaining allegations

of that paragraph of the complaint.

               15.      These answering defendants are without knowledge or information

sufficient to form a belief as to the allegations in Paragraph 15 ofthe complaint.

               16.      These answering defendants are without knowledge or information

sufficient to form a belief as to the allegations in Paragraph 16 ofthe complaint.

               17.      These answering defendants are without knowledge or information

sufficient to form a belief as to the allegations in Paragraph 17 ofthe complaint.

               18.      These answering defendants are without knowledge or information

sufficient to form a belief as to the allegationsin Paragraph 18 of thecomplaint.

               19.      These answering defendants deny the allegations of “false

advertising” and “misleading press releases” as to the answering defendants and

otherwise are without knowledge or information sufficient to form a belief as to the

remaining allegations in Paragraph 19 ofthe complaint.




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               20.      These answering defendants are without knowledge or information

sufficient to form a belief as to the allegations in Paragraph 20 ofthe complaint.

               21.      These answering defendants are without knowledge or information

sufficient to form a belief as to the allegationsin Paragraph 21 of thecomplaint.

     GENERAL FACTS AND ALLEGATIONS AS TO ALL CAUSES OF ACTION

               22.      These answering defendants are without knowledge or information

sufficient to form a belief as to the allegations in Paragraph 22 ofthe complaint.

               23.      These answering defendants are without knowledge or information

sufficient to form a belief as to the allegations in Paragraph 23 of the complaint.

               24.      These answering defendants deny all of the allegations contained

within Paragraph 24 ofthe complaint.

               25.      These answering defendants deny all of the allegations contained

within Paragraph 25 of the complaint.

               26.      These answering defendants deny all of the allegations contained

within Paragraph 26 of the complaint.

               27.      These answering defendants are without knowledge or information

sufficientto form a belief as to the allegations in Paragraph 27 ofthe complaint.

               28.      These answering defendants deny all of the allegations contained

within Paragraph 28 of the complaint.

               29.      These answering defendants deny all of the allegations contained

within Paragraph 29 of the complaint.


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               30.      These answering defendants deny all of the allegations contained

within Paragraph 30 of the complaint.

               31.      These answering defendants deny all of the allegations contained

within Paragraph 31 of the complaint.

               32.      These answering defendants deny all of the allegations contained

within Paragraph 32 of the complaint.

                                                    COUNT I

               33.      These answering defendants repeat and reallege each and every

allegation, response, denial and denial of information and knowledge as set forth in their

Answer to the complaint contained in the prior paragraphs of this Answer as if heretofore

set out at length.

               34.      These answering defendants deny all of the allegations contained

within Paragraph 34 of the complaint.

               35.      These answering defendants deny all of the allegations contained

within Paragraph 35 of the complaint.

               36.      These answering defendants deny all of the allegations contained

within Paragraph 36 of the complaint.

               37.      These answering defendants deny all of the allegations contained

within Paragraph 37 of the complaint.

               38.      These answering defendants deny all of the allegations contained

within Paragraph 38 of the complaint.


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               39.      These answering defendants deny all of the allegations contained

within Paragraph 39 of the complaint.

               40.      These answering defendants deny all of the allegations contained

within Paragraph 40 of the complaint.

               41.      These answering defendants deny all of the allegations contained

within Paragraph 41 of the complaint.

                                                   COUNT II

               42.      These answering defendants repeat and reallege each and every

allegation, response, denial and denial ofinformation and knowledge as set forth in their

Answer to the complaint contained in the prior paragraphs of this Answer as if heretofore

set out at length.

               43.      These answering defendants deny all of the allegations contained

within Paragraph 43 of the complaint.

               44.      These answering defendants are without knowledge or information

sufficientto form a belief as to the allegations in Paragraph 44 ofthe complaint.

               45.      These answering defendants deny all of the allegations contained

within Paragraph 45 of the complaint.

               46.      These answering defendants deny all of the allegations contained

within Paragraph 46 of the complaint.

               47.      These answering defendants deny all of the allegations contained

within Paragraph 47 of the complaint.


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                                                   COUNT III

               48.      These answering defendants repeat and reallege each and every

allegation, response, denial and denial of information and knowledge as set forth in their

Answer to the complaint contained in the prior paragraphs of this Answer as if heretofore

set out at length.

               49.       Paragraph 49 of the complaint makes no allegations to which a

response is required. To the extent that allegations are presented in Paragraph 49, these

answering defendants deny them in their entirety.

               50.      These answering defendants deny all of the allegations contained

within Paragraph 50 of the complaint.

               51.      These answering defendants deny all of the allegations contained

within Paragraph 51 of the complaint.

               52.      These answering defendants deny all of the allegations contained

within Paragraph 52 of the complaint.

               53.      These answering defendants deny all of the allegations contained

within Paragraph 53 of the complaint.

               54.      These answering defendants deny all of the allegations contained

within Paragraph 54 of the complaint.

               55.      These answering defendants deny all of the allegations contained

within Paragraph 55 of the complaint.



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                                                   COUNT IV

               56.      These answering defendants repeat and reallege each and every

allegation, response, denial and denial of information and knowledge as set forth in their

Answer to the complaint contained in the prior paragraphs of this Answer as if heretofore

set out at length.

               57.      These answering defendants deny all of the allegations contained

within Paragraph 57 of the complaint.

               58.      These answering defendants are without knowledge or information

sufficientto form a belief as to the allegations in Paragraph 58 ofthe complaint.

               59.      These answering defendants deny all of the allegations contained

within Paragraph 59 of the Plaintiffs’ Complaint.

                                                   COUNTV

               60.      These answering defendants repeat and reallege each and every

allegation, response, denial and denial ofinformation and knowledge as set forth in their

Answer to the complaint contained in the prior paragraphs of this Answer as if heretofore

set out at length.

               61.      These answering defendants deny all of the allegations contained

within Paragraph 61 of the complaint.

               62.      These answering defendants deny all of the allegations contained

within Paragraph 62 of the complaint.




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               63.      These answering defendants deny all of the allegations contained

within Paragraph 63 of the complaint.

               64.      These answering defendants deny all of the allegations contained

within Paragraph 64 of the complaint.

                                                   COUNT VI

               65.      These answering defendants repeat and reallege each and every

allegation, response, denial and denial ofinformation and knowledge as set forth in their

Answer to the complaint contained in the prior paragraphs of this Answer as if heretofore

set out at length.

               66.      These answering defendants deny all of the allegations contained

within Paragraph 66 of the complaint.

               67.      These answering defendants deny all of the allegations contained

within Paragraph 67 of the complaint.

               68.      These answering defendants deny all of the allegations contained

within Paragraph 68 of the complaint.

               69.      These answering defendants deny all of the allegations contained

within Paragraph 69 of the complaint.

               70.      These answering defendants deny all of the allegations contained

within Paragraph 70 of the complaint.




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                                                  COUNT VII

               71.      These answering defendants repeat and reallege each and every

allegation, response, denial and denial of information and knowledge as set forth in their

Answer to the complaint contained in the prior paragraphs of this Answer as if heretofore

set out at length.

               72.       Paragraph 72 of the complaint makes no allegations to which a

response is required. To the extent that allegations are presented in Paragraph 72, these

answering defendants deny them in their entirety.

               73.      These answering defendants deny all of the allegations contained

within Paragraph 73 of the complaint.

               74.      These answering defendants deny all of the allegations contained

within Paragraph 74 of the complaint.

               75.      These answering defendants deny all of the allegations contained

within Paragraph 75 of the complaint.

                                                  COUNT VIII

               76.      These answering defendants repeat and reallege each and every

allegation, response, denial and denial of information and knowledge as set forth in its

Answer to the complaint contained in the prior paragraphs of this Answer as if heretofore

set out at length.

               77.      These answering defendants deny all of the allegations contained

within Paragraph 77 of the complaint.


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               78.      These answering defendants deny all of the allegations contained

within Paragraph 78 of the complaint.

               79.      These answering defendants deny all of the allegations contained

within Paragraph 79 of the complaint.

               80.      These answering defendants deny all of the allegations contained

within Paragraph 80 of the complaint.

               81.      These answering defendants deny all of the allegations contained

within Paragraph 81 of the complaint.

                                                   COUNT IX

               82.      These answering defendants repeat and reallege each and every

allegation, response, denial and denial ofinformation and knowledge as set forth in their

Answer to the complaint contained in the prior paragraphs of this Answer as if heretofore

set out at length.

               83.      These answering defendants deny all of the allegations contained

within Paragraph 83 of the complaint.

               84.      These answering defendants deny all of the allegations contained

within Paragraph 84 of the complaint.

               85.      These answering defendants deny all of the allegations contained

within Paragraph 85 of the complaint.

               86.      These answering defendants deny all of the allegations contained

within Paragraph 86 of the complaint.


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               87.      These answering defendants deny all of the allegations contained

within Paragraph 87 of the complaint.


                                      AFFIRMATIVE DEFENSES

                                  FIRST AFFIRMATIVE DEFENSE

               88.       Plaintiffs failed to initiate suit as to one or more of their Counts set

forth in the complaint within the applicable statute of limitations period.

                                SECOND AFFIRMATIVE DEFENSE

               89.      This Court lacks personal jurisdiction over one or both of these

answering defendants.

                                  THIRD AFFIRMATIVE DEFENSE

               90.      This Court lacks subject matterjurisdiction over this dispute.

                                FOURTH AFFIRMATIVE DEFENSE

               91.       One or more of the Counts set forth in the complaint fails to state

a claim against these answering defendants upon which relief can be granted.

                                   FIFTH AFFIRMATIVE DEFENSE

               92.       Plaintiffs failed to mitigate the damages alleged in the Complaint,

even though Plaintiffs had the opportunity and means of doing so.                                In asserting this

affirmative defense, these answering defendants do not admit liability for damages due

to the Plaintiffs’ injuries alleged in the complaint, nor do these answering defendants

admit that such damages exist.



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                                   SIXTH AFFIRMATIVE DEFENSE

                93.       Plaintiffs’ culpable conduct contributed to the alleged damages,

which are denied, by knowing and intentional assumption of the risks inherent in the

activities described in the complaint, and as such plaintiffs are barred from recovery in

this action.

                                SEVENTH AFFIRMATIVE DEFENSE

                94.      Any injuries that may have been sustained by plaintiffs, as alleged in

their complaint, occurred as a direct result of plaintiffs’ own intentional or negligent

conduct, and not by any conduct of these answering defendants, and as such plaintiffs

are barred from recovery in this action.

                                  EIGHTH AFFIRMATIVE DEFENSE

                95.      Any damages sustained by plaintiffs, as alleged in the complaint,

were proximately, directly, and solely caused by the intentional or negligent acts of third

persons overwhom these answering defendants had no direction orcontrol.

                                   NINTH AFFIRMATIVE DEFENSE

                96.      Any contract in this matter is void because it was devised to achieve

a purpose that is illegal under statute or common law.

                                   TENTH AFFIRMATIVE DEFENSE

                97.       Each cause of action in the complaint is barred to the extent that

plaintiffs consented to any ofthe alleged activity or conduct.




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                              ELEVENTH AFFIRMATIVE DEFENSE

                98.      Plaintiffs’ injuries do not arise out of any of the predicate acts that

may give rise to liability under the Racketeer Influenced and Corrupt Organizations Act

as defined by 18 U.S.C. §1961(1), and plaintiffs are therefore without standing.

                               TWELFTH AFFIRMATIVE DEFENSE

                99.      Plaintiffs’ complaint contains injuries that are speculative and

therefore not actionable under the Racketeer Influenced and Corrupt Organizations Act.

                             THIRTEENTH AFFIRMATIVE DEFENSE

                100.    Any alleged conduct on the part of these answering defendants was

undertaken in good faith for legitimate business purposes.

                            FOURTEENTH AFFIRMATIVE DEFENSE

                101.     Plaintiffs’ recovery is limited or barred by express or implied

warranties.

                              FIFTEENTH AFFIRMATIVE DEFENSE

                102.     Plaintiffs and these answering defendants were not parties to the

contract for the purchase of the product at issue and therefore had no contractual

relationship.

                              SIXTEENTH AFFIRMATIVE DEFENSE

                103.    These answering defendants performed all contractual obligations

other than those which were prevented or excused, if any, and therefore did not breach

the agreement.


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                           SEVENTEENTH AFFIRMATIVE DEFENSE

               104.                         Plaintiffs cannot obtain restitution through unjust enrichment if there

was an express written agreement between the parties.

                             EIGHTEENTH AFFIRMATIVE DEFENSE

               105.                         Upon information and belief, the doctrine of spoliation applies in this

matterto preclude plaintiffs from any recovery against these answering defendants.



              WHEREFORE, these answering defendants respectfully demand judgment

denying all relief sought by plaintiffs and dismissing the complaint in its entirety, awarding

these answering defendants costs, disbursements, and reasonable attorney’s fees

incurred in this action, and granting such other and further relief as the Court deems just

and proper.

 DATED:        Buffalo.NewYork
               February 19, 2016

                                                     si Roy A. Mura

                                                      Roy A. Mura, Esq.
                                                      MURA & STORM, PLLC
                                                     Attorneys fo r Defendants M edical Marijuana,
                                                     Inc. and Red Dice Holdings, LLC
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                                                     14 Lafayette Square
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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK


DOUGLAS J. HORN and CINDY HARP-HORN,

                                           Plaintiffs,

               -against-
                                                                       Civil Action No. 15-CV-701-FPG
MEDICAL MARIJUANA, INC., DIXIE ELIXIRS
AND EDIBLES, RED DICE HOLDINGS, LLC,
and DIXIE BOTANICALS,

                                           Defendants.



                              CERTIFICATE OF FILING & SERVICE

               Roy A. Mura, Esq. hereby certifies and affirms that on the 19th day of

February 2016, the Answer of defendants Medical Marijuana, Inc. and Red Dice

Holdings, LLC dated February 19, 2016 was filed with the Clerk of the United States

District Court for the Western District of New York via electronic filing and served on

Jeffrey Benjamin, Esq., Attorney for Plaintiffs.




                                                              s/Rov A. Mura, Esq.
                                                              Roy A. Mura, Esq.




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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK

DOUGLAS J. HORN, et al.,

                                                Plaintiffs,
                                                                           Case # 15-CV-701-FPG
v.
                                                                           DECISION AND ORDER

MEDICAL MARIJUANA, INC., et al.,


                                                Defendants.*


                                          INTRODUCTION

        Plaintiffs Douglas J. Horn and Cindy Harp-Horn bring suit against Defendants Medical

Marijuana, Inc. (“MMI”), Dixie Elixirs and Edibles (“Dixie LLC”), Red Dice Holdings, LLC

(“RDH”), and Dixie Botanicals.1 ECF No. 1. Plaintiffs allege that Defendants engaged in fraud,

negligence, and unlawful conduct with respect to the sale and marketing of their hemp-based

consumable oil—“Dixie X Dew Drops.” Before the Court are six motions: (1) Plaintiffs’ motion

for partial summaryjudgment (ECF No. 60); (2) Defendants MMI and RDH’s motion for summary

judgment (ECF No. 61); (3) Defendant Dixie LLC’s motion for summaryjudgment (ECF No. 62);

(4) Plaintiffs’ motion to amend (ECF No. 68); (5) Dixie LLC’s motion to strike (ECF No. 71); and

(6) Defendants MMI and RDH’s motion to strike (ECF No. 74). The Court resolves all of these

motions in this omnibus order.

                                        LEGAL STANDARD

        Summaryjudgment is appropriate when the record shows that there is “no genuine dispute

as to any material fact and the movant is entitled tojudgment as a matter of law.” Fed. R. Civ. P.


1 In August 2016, the Clerk of Court filed an entry of default against Dixie Botanicals after it failed to
appear. See ECF Nos. 22, 28.
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56(a); see also Celotex Corp. v. Catrett, 477 U.S. 317, 322 (1986). Disputes concerning material

facts are genuine where the evidence is such that a reasonable jury could return a verdict for the

non-moving party. Anderson v. Liberty Lobby, In c., 477 U.S. 242, 248 (1986). In deciding

whether genuine issues of material fact exist, the court construes all facts in a light most favorable

to the non-moving party and draws all reasonable inferences in the non-moving party’s favor. See

Jeffreys v. City o f N ew York, 426 F.3d 549, 553 (2d Cir. 2005). However, the non-moving party

“may not rely on conclusory allegations or unsubstantiated speculation.” F.D.I.C. v. Great Am.

Ins. C o., 607 F.3d 288, 292 (2d Cir. 2010) (quotation omitted).

                                          BACKGROUND2

        This case concerns a product called CBD oil. CBD is short for “cannabidiol,” and it is one

of the “unique molecules” found in the Cannabis sativa plant. ECF No. 61-8 at 18. The Cannabis

sativa plant is better known as the plant from which marijuana is derived. But it is also the species

of plant from which industrial hemp is derived. The Eighth Circuit provides a helpful description:

        Both industrial hemp and the drug commonly known as marijuana derive from the
        plant designated Cannabis sativa L. In general, drug-use cannabis is produced from
        the flowers and leaves of certain strains of the plant, while industrial-use cannabis
        is typically produced from the stalks and seeds of other strains of the plant. All
        cannabis plants contain tetrahydrocannabinol (THC), the substance that gives
        marijuana its psychoactive properties, but strains of the plant grown for drug use
        contain a higher THC concentration than those typically grown for industrial use.

M onson v. D rug Enforcem ent A dm in., 589 F.3d 952, 955 (8th Cir. 2009) (emphasis added). In

other words, the distinction is one of degree—while “the marijuana plant and industrial hemp plant

come from the same botanical species,” the “hemp plant has been crossbred to have low



2 Generally, when cross-motions for summary judgment are filed, the court “must consider each motion
independently of the other and, when evaluating each, the court must consider the facts in the light most
favorable to the non-moving party.” Physicians Comm. fo r Responsible Medicine v. Leavitt, 331 F. Supp.
2d 204, 206 (S.D.N.Y. 2004). However, for purposes of describing the background of the case, the Court
describes the facts as taken in the light most favorable to Plaintiffs, unless otherwise noted.
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concentrations of THC.” Shelly B. DeAdder, The Legal Status o f Cannabidiol Oil and the N eed

fo r Congressional A ction, 9 BIOPLR 68, 72 (2015).       CBD can be extracted from both the

marijuana and hemp varieties of Cannabis sativa. See id. at 72 & n.34.

       Products containing CBD have become hot commodities in recent years, and sales are

“projected to grow tremendously.” W. Michael Schuster & Jack Wroldsen, Entrepreneurship and

Legal Uncertainty: U nexpected Federal Trademark Registrations fo r M arijuana D erivatives, 55

AMBLJ 117, 135 (2018).        Advocates claim that CBD provides numerous health benefits,

particularly in the area of pain management. See id. at 128-29; see also ECF No. 61-8 at 19.

       The product at issue here is a hemp-derived CBD oil called “Dixie X Dew Drops”

(hereinafter “Dixie X”). Cindy Orser, Defendants’ scientific expert, explains how these products

are generally created. There is an initial “extraction step,” where hemp is combined with a solvent

like ethanol, butane, pressurized C02, or propane. ECF No. 61-8 at 79-80. This process yields a

CBD extract, which is then distilled to remove plant compounds, solvents, THC, and other

materials. Id. at 83. The intended end-product is a pure CBD concentrate that can then be infused

into a consumable final product.

       Like other CBD oil products, Dixie X contains CBD that is “isolate[d] and extract[ed]”

from hemp plants. ECF No. 60-8 at 1; see also ECF No. 69-4 at 12-13. The resulting CBD is then

“infuse[d] . . . into [a] line of hemp products.” ECF No. 60-8 at 1. The label on Dixie X indicates

that it contains “[p]ure glycerin, hemp whole plant extract, CBD extract derived from medicinal

hemp, [and] cinnamon extract.” ECF No. 60-15 at 1 (asterisk omitted). Importantly, despite the

extraction and distillation process, Dixie X contains a detectible, albeit small, amount of THC.

See, e.g., ECF No. 60-14.
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        All three defendants played a role in the sale of Dixie X. MMI and Dixie LLC entered into

ajoint venture to produce, distribute, and sell Dixie X. See ECF No. 69-2 at 1. They formed RDH

for that purpose in April 2012. Id. MMI would hold a 60% ownership stake in RDH, while Dixie

LLC would hold a 40% stake. See ECF No. 68-2 at 106. Tripp Keber, who was also Dixie LLC’s

managing member, would act as the manager ofRDH.3 Id. at 2. In practice, it appears that MMI

provided financial support for the venture, Dixie LLC manufactured Dixie X, and RDH was

responsible for selling the product. See ECF No. 61-1 ^ 3-5. There is also a question of fact as

to whether Keber acted as a director of MMI, though the exact dates of his tenure are unclear from

the record. Compare ECF No. 61-11^12, with ECF No. 68-2 at 79.

        In September 2012, Plaintiffs purchased a 500 mg bottle of Dixie X. They had researched

the product from various sources, and they hoped it would relieve the pain and inflammation

Douglas was then suffering from as a result of a motor vehicle accident.4 Plaintiffs claimed to

have relied on four sources in deciding to purchase Dixie X.

        Plaintiffs first learned about Dixie X in an issue of “High Times” magazine—a periodical

dedicated to marijuana culture and news.              In an article titled “High & Healthy” by Elise

McDonough, there was the following writeup:

        CBD for Everyone!

        Using a proprietary extraction process and a strain of high-CBD hemp grown in a
        secret, foreign location, Colorado’s Dixie Elixirs and Edibles now offers a new
        product line called Dixie X, which contains 0% THC and up to 500 mg of CBD.
        This new CBD-rich medicine will be available in several forms, including a
        tincture, a topical and in capsules. Promoted as “a revolution in medical hemp-
        powered wellness,” the non-psychoactive products will first roll out in Colorado

3 “Tripp” appears to be the nickname of Vincent M. Keber, III. See ECF No. 69-2 at 2 (stating that “Vincent
M. Keber, III” acted as manager ofRDH); ECF No. 69-4 at 25 (stating that “Tripp Keber” is “President”
ofRDH).

4 For ease of reference, the Court refers to Plaintiffs by their first names.
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        MMCs (medical marijuana centers), with plans to quickly expand outside the
        medical marijuana market. “It has taken a tremendous amount of time, money and
        effort, but finally patients here in Colorado—and ultimately all individuals who are
        interested in utilizing CBD for medicinal benefit—will be able to have access to
        it,” says Tripp Keber, Dixie’s managing director. “We are importing industrial
        hemp from outside the US using an FDA import license—it’s below federal
        guidelines for THC, which is 0.3%—and we are taking that hemp and extracting
        the CBD. We have meticulously reviewed state and federal statutes, and we do not
        believe that we’re operating in conflict with any federal law as it’s related to the
        Dixie X [hemp-derived] products.”

ECF No. 61-7at42.

        After reviewing the article, Plaintiffs decided to conduct further research. They watched

two YouTube videos of interviews between podcasters and a person who identifies himself as

Tripp Keber (the “YouTube interviews”).5 In these videos, Keber stated that Dixie X did not

contain THC.6

        Plaintiffs also reviewed an FAQ on the Dixie X website, which provided further

information on the product:

        Is CBD from hemp legal?

        Our revolutionary Hemp oil cannabidiol (CBD) wellness products are legal to
        consume both here in the U.S. and in many countries abroad. The United States
        currently considers industrial hemp products to be legal as long as they are derived
        from industrial hemp and not from any part of the plants categorized . . . as
        marijuana. Dixie x’s parent company Medical Marijuana, Inc., is a publicly traded
        company ... that does not grow, sell or distribute any substances that violate United
        States Law or the controlled substance act........

        What is the difference between CBD from hemp and CBD from medical
        cannabis?


5 Plaintiffs cite a third YouTube video in their materials, but it appears that this video was posted on
YouTube after Plaintiffs purchased Dixie X. See ECF No. 60-1 17(c). The Court therefore disregards that
video.

6 Plaintiffs failed to identify with specificity the times at which Keber made the relevant statements in the
YouTube videos. The Court did not exhaustively review the YouTube videos, but only reviewed them in
part to verify that Keber made the alleged statements. Cf. Fed. R. Civ. P. 56(c)(1)(A) (requiring a party to
cite “particular parts of materials in the record” when supporting factual positions).
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       While the two plants are botanically related, our hemp contains no THC . . . .
       Medical cannabis contains THC and may provide relief from various ailments,
       however, with a psychotropic effect.

ECF No. 60-8 at 1-2.

       Finally, Cindy called a “1-800” number associated with Dixie X and spoke to a customer

service representative. ECF No. 61-6 at 88-89. The representative confirmed that Dixie X

contained “zero percent THC.” Id. at 91.

       After reviewing all of this information, Plaintiffs decided to purchase Dixie X. On

September 17, 2012, Cindy ordered a 500mg tincture of Dixie X through the Dixie X website and

had it delivered to Plaintiffs’ home in Fockwood, NY. Shortly thereafter, Douglas consumed the

product.

       In October 2012, as part of its normal practice, Douglas’s employer, Enterprise Trucking,

required that he submit to a random drug test. A few days after the drug test, Enterprise notified

Douglas that he had tested positive for THC. At 29 ng/mE, Douglas’s sample contained almost

double the “cutoff’ concentration of THC.          Enterprise thereafter terminated Douglas’s

employment.     Cindy, who worked with Douglas at Enterprise Trucking, resigned from the

company because she believed it would be unsafe to work alone.

       Soon thereafter, Plaintiffs purchased a second bottle of Dixie X to determine whether it

had caused the positive test result. They sent the bottle to EMSL Analytical, Inc., for testing.

Testing confirmed that Dixie X contained THC.

       In August 2015, Plaintiffs brought this action, alleging that Dixie X caused Douglas’s

positive drug test and thereby caused him to lose his employment. Plaintiffs raise nine claims

against Defendants:
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    1. Deceptive business practices and false advertising under New York General Business Law

        §§ 349, 350;

    2. Fraudulent inducement;

    3. Violations of the Racketeer Influenced and Corrupt Organizations Act (“RICO”);

    4. Strict Products Liability;

    5. Breach of Contract;

    6. Breach of Express Warranty;

    7. Unjust Enrichment;

    8. Negligence; and

    9. Negligent Infliction of Emotional Distress.

ECF No. 1.

        Before turning to the motions, the Court discusses a legal issue that is foundational to this

litigation: whether, in 2012, Dixie X constituted a controlled substance under the federal

Controlled Substances Act (“CSA”). See 21 U.S.C. § 801 et seq. Plaintiffs argue that Dixie X is

a controlled substance because it contains THC. Defendants counter that Dixie X is not a

controlled substance because it is derived from lawfully imported hemp and contains less than .3%

THC. This percentage is allegedly the maximum amount of THC that an imported industrial hemp

plant can lawfully contain.

        Taking the facts in the light most favorable to Plaintiffs, the Court agrees that, in 2012,

Dixie X constituted a controlled substance under the CSA. But it reaches this conclusion for

reasons different than those articulated by Plaintiffs.
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        Marijuana is a controlled substance under the CSA, and therefore, as a general matter, it is

unlawful to distribute or dispense it. See 21 U.S.C. §§ 802(16), 841(a)(1). In 2012, the CSA

defined marijuana as follows:

        The term “marihuana” means all parts of the plant Cannabis sativa L., whether
        growing or not; the seeds thereof; the resin extracted from any part of such plant;
        and every compound, manufacture, salt, derivative, mixture, or preparation of such
        plant, its seeds or resin. Such term does not include the mature stalks of such plant,
        fiber produced from such stalks, oil or cake made from the seeds of such plant, any
        other compound, manufacture, salt, derivative, mixture, or preparation of such
        mature stalks (except the resin extracted therefrom), fiber, oil, or cake, or the
        sterilized seed of such plant which is incapable of germination.

21 U.S.C. § 802(16) (2012). Breaking this definition down, the Court notes that marijuana was

broadly defined to include “all parts” of the Cannabis sativa plant. The industrial hemp plant fell

within this definition because it is a variety of the Cannabis sativa plant. See, e.g., M onson, 589

F.3d at 961-62; H em p Indus. A s s ’n v. D rug Enforcem ent A dm in., 333 F.3d 1082, 1085 n.2 (9th

Cir. 2003) [hereinafter “H em p / ”].

        As the statute made clear, however, the definition of marijuana contained several

exceptions. Excluded from the definition of marijuana were certain parts of the plant that are

incapable of germination: (1) the mature stalks of the Cannabis sativa plant, (2) fiber produced

from the stalks of the Cannabis sativa plant, (3) oil or cake made from the seeds of the Cannabis

sativa plant, (4) any compound, manufacture, salt, derivative, mixture, or preparation of the mature

stalks, fiber, oil, or cake (excluding resin extracts), and (5) the sterilized seed of the Cannabis

sativa plant. 21 U.S.C. § 802(16) (2012).

        It bears emphasizing that resin extracted from mature hemp stalks was not excepted from

the definition of marijuana. See H em p Indus. A s s ’n v. D rug Enforcem ent A dm in., 357 F.3d 1012,

1018 (9th Cir. 2004) (internal quotation marks omitted) [hereinafter “H em p IF] ,          Congress

apparently included this “exception to the exception” for resin extract “out of concern that the
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‘active principle’ in marijuana, later understood to be THC, might be derived from

nonpsychoactive hemp and so be used for psychoactive purposes.” Id. at 1018 n.5.

       A few conclusions may be drawn from the definition of marijuana as it stood in 2012. First,

the industrial hemp plant came within the statutory definition of marijuana despite its low THC

concentration. At the time, the CSA made no distinction on the basis of THC concentration. See

M onson, 589 F.3d at 961 (“[Mjarijuana is defined to include all Cannabis sativa L. plants,

regardless of THC concentration.”); N.H. H em p Council, Inc. v. M arshall, 203 F.3d 1, 7-8 (1st

Cir. 2000).

        Second, and perhaps counterintuitively, certain derivatives of the industrial hemp plant

were not included in the definition of marijuana—and therefore were not unlawful under the

CSA—even i f they contained trace amounts of THC. The Ninth Circuit reached this conclusion

in a pair of cases from the early 2000s. See H em p I , 33 F.3d at 1091; H em p I I , 357 F.3d at 1018.

At issue in those cases were the validity of DEA rules that would have banned the possession and

sale of products made from sterilized hemp seed, hemp-seed oil, and hemp-seed cake. See H em p

I , 333 F.3d at 1085; H em p I I , 357 F.3d at 1013-14. These products contain “minuscule trace

amounts of THC” but do not have psychoactive effects. H em p I , 333 F.3d at 1085. The Ninth

Circuit observed that these products fit “within the plainly stated exception[s] to the CSA

definition of marijuana.” H em p I I , 357 F.3d at 1017. The legislative history also indicated that

Congress was aware that “hemp seed and oil contain small amounts of the active marijuana

ingredient in marijuana, but that the active ingredient was not present in sufficient proportion to

be harmful.” H em p I , 333 F.3d at 1089. Thus, Congress “knew what it was doing” when it chose

to exempt certain derivatives from the definition of marijuana notwithstanding the presence of

trace amounts ofTHC. H em p I I , 357 F.3d at 1018.
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       Third, the exemption for certain hemp-based products containing naturally-occurring THC

did not extend to resin extracted from the plant. As discussed above, there was an explicit

“exception to the exception” for such resins. See id. at 1018 n.5. In practical effect, this means

that the legality of a hemp-based product turned on the manner in which it is produced: an oil made

from hemp seeds was exempt and lawful, while a resin extracted from hemp stalks was not exempt

and was unlawful. See 21 U.S.C. § 802(16) (2012).

       The legal landscape has since shifted. In 2014, Congress passed the Agricultural Act of

2014. See 7 U.S.C. 5940. This legislation legalized industrial hemp cultivation under restricted

conditions relating to research. Then, in 2018, as part of a more extensive legalization of industrial

hemp production, the CSA was amended to exclude hemp from the definition of marijuana. See

21 U.S.C. § 802(16)(B)(i). Hemp is defined as the “Cannabis sativa L. and any part of that plant,

including the seeds thereof and all derivatives, extracts, cannabinoids, isomers, acids, salts, and

salts of isomers, whether growing or not, with a [THC] concentration of not more than 0.3 percent

on a dry weight basis.” 7 U.S.C. § 1639o(l). Thus, it appears that the CSA now excludes from

the definition of marijuana any part, derivative, or extract of the Cannabis sativa plant if its THC

concentration falls below that threshold level.

       For purposes of this litigation, however, the question is whether Dixie X constituted a

controlled substance in 2012. Based on the plain language of the statute, and taking the facts in

the light most favorable to Plaintiffs, the Court answers that question in the affirmative. Dixie X

is a mixture that contains extract from the Cannabis sativa plant. Defendants do not contend that

the CBD byproduct from the extraction process can be described as anything other than a “resin

extracted from” the Cannabis sativa plant. 21 U.S.C. 802(16) (2012) (defining marijuana to

include “the resin extracted from any part” of the Cannabis sativa plant, as well as “every
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compound” or “mixture” of the resin). And Dixie X cannot come within any exception because

resin extracts are explicitly excluded. See id.; H e m p II, 357 F.3d at 1018 n.5. In 2012, the CSA

granted no exceptions to hemp derivatives on the basis of low THC concentration. Accordingly,

Dixie X constituted a controlled substance under the CSA, and it was therefore unlawful to

“knowingly or intentionally . . . manufacture, distribute, or dispense” it. 21 U.S.C. § 841(a)(1).

                                             DISCUSSION

        Before the Court are six motions. Substantively, Defendants move for summaryjudgment

on all claims,7 and Plaintiffs move for partial summary judgment on the issue of liability on the

New York General Business Law claims and the RICO violation. Procedurally, Plaintiffs have

filed a motion to amend, and Defendants have filed two motions to strike certain evidence Plaintiffs

submitted in connection with the motions for summary judgment. The Court will address the

motion to amend and motions to strike before proceeding to the merits.

  I.    Motion to Amend

        Plaintiffs move to amend their complaint in three respects. First, they argue that Defendant

“Dixie Elixirs and Edibles” is misnamed and should be corrected to “Dixie Holdings, LLC a/k/a

Dixie Elixirs.” ECF No. 68-1 at 2. Second, Plaintiffs seek leave to withdraw three of their




7 Defendants MMI and RDH also move for judgment on the pleadings under Rule 12(c). The Court finds
such motion untimely and declines to address it. Under Rule 12(c), a motion for judgment on the pleadings
must be made after pleadings are closed but “early enough not to delay trial.” Fed R. Civ. P. 12(c). Here,
Defendants filed their answer in February 2016, and the deadline to amend pleadings was in March 2017.
Defendants therefore had an extensive period in which to challenge Plaintiffs’ complaint, but they waited
more than one year after the later deadline, when discovery had already been completed, to raise their
arguments. Under these circumstances, the Court concludes that consideration of Defendants’ motion
would delay trial—even though a trial date has not been set—insofar as it would require further litigation
on issues tangential to the merits and would prevent timely resolution of those claims for which summary
judgment is inappropriate. See Grajales v. Puerto Rico Ports Auth., 682 F.3d 40, 46 (1st Cir. 2012)
(“[Ojnce the parties have invested substantial resources in discovery, a district court should hesitate to
entertain a Rule 12(c) motion that asserts a complaint’s failure to satisfy the plausibility requirement.”).
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claims—breach of contract, breach of express warranty, and unjust enrichment. Third, Plaintiffs

request to add a claim for false advertising under the Lanham Act. See 15 U.S.C. 1125(a).

       As Defendants note, Judge Roemer issued a scheduling order in this case. Under the order,

the parties had until March 21, 2017 to file motions to amend the pleadings. See ECF No. 31 at 1.

Plaintiffs did not file their motion to amend until November 16,2018—more than a year and a half

after the deadline. See ECF No. 68. Consequently, the more onerous “good cause” standard set

forth in Rule 16(b), rather than the “liberal standard of Rule 15(a),” governs. Guadagno v. M.A.

M ortenson Co., No. 15-CV-482, 2018 WL 4870693, at *4 (W.D.N.Y. Oct. 2, 2018). “To show

good cause, a movant must demonstrate diligence before filing her motion, such that despite the

movant’s effort, the deadline to amend the pleadings could not have been reasonably met.” Scott

v. Chipotle M exican Grill, In c., 300 F.R.D. 193, 197 (S.D.N.Y. 2014). Diligence is the primary

consideration in deciding whether to permit an amended complaint, but a court may also consider

“other relevant factors including ... whether allowing the amendment of the pleading at this stage

of the litigation will prejudice defendants.” K assner v. 2ndA ve. Delicatessen In c., 496 F.3d 229,

244 (2d Cir. 2007).

       Plaintiffs waited a substantial period of time after the deadline to amend their complaint.

Furthermore, they did not file their motion until more than two months after the parties filed

motions for summaryjudgment. Plaintiffs do not argue that they acted diligently or that they have

otherwise satisfied the “good cause” standard; they merely claim that the new Fanham Act claim

satisfies the Twom bly pleading standard. Given these circumstances and the absence of developed

argument, the Court denies the motion to the extent that Plaintiffs seek to add the Fanham Act

claim. See M ohegan Lake Motors, Inc. v. M a oli, No. 16CV6717, 2018 WF 4278352, at *5

(S.D.N.Y. June 8, 2018) (“The burden of showing diligence rests on the moving party.”).
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        Nevertheless, the Court will grant the motion so as to correct the defendant’s name and to

permit Plaintiffs to withdraw three of their claims. Defendants identify no prejudice with respect

to these amendments, and Defendant “Dixie Elixirs and Edibles” appears to concede that they were

named incorrectly. See ECF No. 82 at 4. Despite Plaintiffs’ delay and the pending summary

judgment motions, the Court finds the technical correction of one party’s name and the withdrawal

of some claims appropriate and permissible.

        Accordingly, Plaintiffs’ motion is granted in part and denied in part. The name of

Defendant “Dixie Elixirs and Edibles” is corrected to “Dixie Holdings, LLC a/k/a Dixie Elixirs.”

The Clerk of Court is directed to amend the caption to reflect this change. In addition, the Court

permits Plaintiffs to withdraw their claims for breach of contract, breach of express warranty, and

unjust enrichment.

 II.    Motions to Strike

        Defendants have filed motions to strike certain materials on which Plaintiffs rely for

summaryjudgment, arguing that they are inadmissible. Plaintiffs oppose the motions.

        “[0]nly admissible evidence need be considered by the trial court in ruling on a motion for

summaryjudgment.” Porter v. Q uarantillo, 722 F.3d 94, 97 (2d Cir. 2013). Under Rule 56(c)(2),

a party “may object that the material cited to support or dispute a fact cannot be presented in a

form that would be admissible in evidence.” Fed. R. Civ. P. 56(c)(2). The 2010 Committee Notes

“make clear,” however, “that there is no need to make a separate motion to strike such inadmissible

evidence.” Codename Enters., Inc. v. Frem antlem edia N. Am., In c., No. 16 Civ. 1267, 2018 WL

3407709, at *4 (S.D.N.Y. Jan. 12, 2018) (internal quotation marks and brackets omitted). Instead,

a court may consider arguments relating to the admissibility of evidence when it evaluates the

merits of the summary judgment motion. See id. (“Because evidence inadmissible at trial is
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insufficient to create a genuine dispute of material fact, the Court need not engage in separate

analysis of the motion to strike.”).

        Consistent with this authority, the Court considers it more practical to evaluate Defendants’

evidentiary objections in the course of analyzing the parties’ summary judgment motions, as

opposed to assessing those objections separately within the context of a motion to strike.

Defendants’ motions to strike are therefore denied.

III.    Motions for Summary Judgment

        Defendants move for summaryjudgment on all claims, while Plaintiffs move for summary

judgment as to liability on the General Business Law and RICO claims. The Court examines each

claim in turn.

            a. Deceptive Business Practices and False Advertising

        Plaintiffs allege that Defendants violated Sections 349 and 350 of New York General

Business Law. Section 349 makes unlawful “[deceptive acts or practices in the conduct of any

business, trade or commerce ... in this state.” N.Y. Gen. Bus. Law § 349(a). Section 350 renders

false advertising unlawful under similar terms. See id. § 350. “To assert a claim under either

section, a plaintiff must establish that the defendant engaged in consumer oriented conduct that is

materially misleading, and [that] plaintiff was injured as a result of the deceptive act or practice.”

Bow ring v. Sapporo U.S.A., In c ., 234 F. Supp. 3d 386, 390 (E.D.N.Y. 2017). “The only difference

between the two is that Section 350 more narrowly targets deceptive or misleading advertisements,

while Section 349 polices a wider range of business practices.” Cline v. TouchTunes M usic Corp.,

211 F. Supp. 3d 628, 635 (S.D.N.Y. 2016).

        Defendants argue, among other things, that the statutes do not apply because the deceptive

transaction did not take place in New York. The Court agrees.
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       In Goshen v. Mut. Life Ins. Co. o f N. Y., 774 N.E.2d 1190 (N.Y. 2002), the New York Court

of Appeals held that Sections 349 and 350 are limited in their territorial reach. “[T]o qualify as a

prohibited act under the statute, the deception of a consumer must occur in New York.” Goshen,

774 N.E.2d at 1195. The court reasoned that the purpose of the provisions was to “address

commercial misconduct occurring within New York.” Id. Absent a clear territorial limitation, the

provisions could be applied “nationwide, if not globally],” which would induce a “tidal wave of

litigation” againstNew York businesses and interfere with other states’ abilities to “regulate their

own markets and enforce their own consumer protection laws.” Id. atll9 6 .

       Goshen has not been interpreted uniformly. In Cruz v. FXDirectDealer, L LC , 720 F.3d

115 (2d Cir. 2013), the Second Circuit recognized that there are “two divergent lines of decisions

. . . regarding the proper territorial analysis.” Cruz, 720 F.3d at 123. “The first line of decisions

. . . . focus[es] on where the deception of the plaintiff occurs and require[s] . . . that a plaintiff

actually view a deceptive statement while in New York.” Id. “The second line of cases . . . .

focus[es] on where the underlying deceptive ‘transaction’ takes place, regardless of the plaintiff s

location or where the plaintiff is deceived.” Id.

       The Second Circuit has adopted the second approach, stating that a court should “focus on

the location of the transaction, and in particular the strength of New York’s connection to the

allegedly deceptive transaction.” Id. at 122. A plaintiff has statutory standing under Sections 349

and 340 if “some part of the underlying transaction ... occurred in New York.” Id. at 124 (internal

brackets omitted).

       Using this standard, the Cruz court held that the plaintiff, a Virginia resident, had statutory

standing to sue the defendant, an online currency trading platform based in New York. See id. at

118-19. The court found standing because: (1) the defendant received payment in New York; (2)
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the defendant only disbursed funds from customer accounts when the correct form was sent to its

New York office; (3) the defendant required that all communications be directed to its New York

office; and (4) the customer agreement provided that New York law governs all disputes and all

suits must be brought in New York courts. See id. at 123-24. On these grounds, the court

concluded that “the case . . . clearly involves a series of allegedly deceptive transactions that

occurred in New York and implicate the interests ofNew York.” Id. at 123.

       Since Cruz, courts have examined the quantity and quality of the connections to New York

in deciding whether a plaintiff has statutory standing for purposes of Sections 349 and 350. And

as Cruz demonstrates, in the case of online transactions, that analysis can become highly granular.

For example, in Cline v. TouchTunesM usic Corp., 211 F. Supp. 3d 628 (S.D.N.Y. 2016), the court

found sufficient connections to permit a Section 349 claim. There, the plaintiff challenged a

company’s deceptive practices with respect to its “digital jukebox” application, which allowed

smartphone users to purchase and play songs at bars and other venues. See Cline v. TouchTunes

M usic Corp., No. 14-CV-4744, 2015 WL 127843, at *1 (S.D.N.Y. Jan. 7, 2015). Even though the

plaintiff was not a New York resident and had only used the application outside ofNew York, the

court allowed the claim to proceed because: (1) the company processed payments in New York;

(2) the company’s music servers were in New York; (3) the user agreement required that all suits

be brought in New York and would be governed by New York law; and (4) users’ music selections

were transmitted to the company’s New York servers. TouchTunes, 211F. Supp. 3d at 633.

       Here, Plaintiffs argue that there are sufficient connections to New York to implicate

Sections 349 and 350 because: (1) they are New York residents; (2) Defendants shipped Dixie X

to Plaintiffs’ New York address; (3) Douglas consumed at least a portion of the product in New
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York; and (4) Defendants’ marketing and advertising were available to consumers in New York.

See ECF No. 70-23 at 23-24. The Court is not persuaded.

       Plaintiffs do not appear to dispute that they viewed Defendants’ marketing—and thus were

deceived—outside ofNew York. See id. Under the stricter reading of Goshen, Plaintiffs’ claim

fails. See Cruz, 720 F.3d at 123. Even under the broader approach endorsed by the Cruz court,

the connections to New York are too attenuated tojustify application of Sections 349 and 350. If

any bright-line principle can be discerned from Goshen and Cruz, it is that Sections 349 and 350

are not intended to regulate New York businesses or protect New York residents solely on the

basis of their residency; they are intended to police consumer transactions that “take place in New

York State,” regardless of the residency of the parties. Goshen, 774 N.E.2d at 1196 (stating that

the analysis does not turn “on the residency of the parties”); see also Cruz, 720 F.3d at 122.

       In this case, unlike in Cruz and Cline, Defendants were not located in New York and

Plaintiffs do not allege that any part of the online transaction took place in New York. In the

Court’s view, the only relevant link is that Defendants shipped Dixie X into the state. But at that

point, Plaintiffs had already been deceived by, and purchased the product from, the out-of-state

Defendants. Application of Sections 349 and 350 would thus be based more on Plaintiffs’

residency than on the location of the transaction itself. And as a matter of policy, the Court is not

convinced that New York’s interests are more strongly implicated in the transaction than those of

other states. See G oshen, 774 N.E.2d at 1196.

       Accordingly, the Court concludes that Plaintiffs do not have statutory standing to bring

these claims against Defendants based on their purchase of Dixie X. Defendants are entitled to

summary judgment on the General Business Eaw claims.
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           b. Fraudulent Inducement

       Plaintiffs premise their fraudulent inducement claim on the alleged misrepresentations

contained in the “High Times” article, the FAQ on the Dixie X website, the YouTube interviews

of Tripp Keber, and the customer-service phone call. Plaintiffs argue that Defendants falsely

claimed that (1) Dixie X did not contain THC; (2) Dixie X was a legal product; (3) Dixie X was

safe to consume; (4) Dixie X had health and wellness benefits; (5) Dixie X was adequately tested;

and (6) Dixie X would not cause a positive drug test. Defendants challenge whether Plaintiffs can

satisfy any of the necessary elements for a fraudulent inducement claim.

       “Proof of fraudulent inducement under New York law requires a showing that (1) the

defendant made a material false representation, (2) the defendant intended to defraud the plaintiff

thereby, (3) the plaintiff reasonably relied upon the representation, and (4) the plaintiff suffered

damage as a result of such reliance.” Baker-Rhett v. Aspiro A B , 324 F. Supp. 3d 407, 418-19

(S.D.N.Y. 2018) (internal quotation marks omitted). With respect to intent, the plaintiff must

demonstrate that the defendant made a knowing or reckless misrepresentation and intended to

defraud the plaintiff thereby. Turner v. Temptu In c., No. 11 Civ. 4144, 2013 WL 4083234, at *11

(S.D.N.Y. Aug. 13, 2013).

       All of these elements must be proven by clear and convincing evidence. See Aguirre v.

B est Care Agency, In c ., 961 F. Supp. 2d 427, 447 (E.D.N.Y. 2013). Therefore, “[a]t the summary

judgment stage, a party must proffer enough proof to allow a reasonablejury to find by clear and

convincing evidence the existence of each of the elements necessary to make out a claim for fraud

in the inducement.” Waran v. C hristie’s In c., 315 F. Supp. 3d 713, 718 (S.D.N.Y. 2018). “Clear

and convincing proof is highly probable and leaves no doubt....... [The] standard demands a high

order of proof and forbids the awarding of relief whenever the evidence is loose, equivocal, or
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contradictory because fraud will not be assumed on doubtful evidence or circumstances of mere

suspicion.” Id.

       At the outset, the Court concludes that that Plaintiffs’ claim may not proceed based on the

following representations: that Dixie X was a legal product; that Dixie X was safe to consume;

that Dixie X had health and wellness benefits; that Dixie X was adequately tested; and that Dixie

X would not cause a positive drug test. This is because Plaintiffs have provided insufficient

evidence to establish that, at the time those statements were made, Defendants knew they were

false and intended to defraud consumers. See U.S. ex rel. O ’Donnell v. Countrywide H om e Loans,

In c ., 822 F.3d 650, 658 (2d Cir. 2016) (“[A] representation is fraudulent only if made with the

contemporaneous intent to defraud—i.e., the statement was knowingly or recklessly false and

made with the intent to induce harmful reliance.”). The difficulty is that Plaintiffs offer little in

the way of evidence that illuminates the intent, state of mind, or beliefs of Defendants or their

agents when the statements were made. For example, Plaintiffs point to no deposition testimony,

company emails or documents, or other evidence that suggests that when the website FAQs were

posted, Defendants knew their product was an unlawful controlled substance, was unsafe, and did

not provide the purported wellness benefits. Given the absence of evidence related to the beliefs

and knowledge of Defendants, their employees, and their agents, Plaintiffs’ fraud claim fails as a

matter oflaw as to the above statements.

       The only actionable statement is Defendants’ misrepresentation that Dixie X did not

contain THC. First, there is evidence that this statement is false—indeed, Defendants’ own testing

revealed that the product contained detectible amounts ofTHC.

       Second, there is evidence that Douglas reasonably relied on the misrepresentation.

Plaintiffs carefully researched the product to ensure that it did not contain THC. It is reasonable
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to conclude that the explicit representations in the FAQs and in the YouTube videos regarding the

absence of THC would allay consumers’ concerns about ingesting a product associated with

marijuana.

        Third, there is evidence that Douglas lost hisjob because he consumed Dixie X.

        Fourth, there is evidence that Defendants made the false statements with the requisite

knowledge and intent. In August 2012, Tripp Keber stated in the YouTube videos that Dixie X

did not contain THC. But there is evidence that Defendants had been testing Dixie X “during its

development and manufacturing” and had found the presence of THC. ECF No. 61-1^6 (stating

that testing “showed levels of THC well within legal limits”); ECF No. 61-13.            Given Keber’s

high position within all three defendant companies, ajury could reasonably infer that he knew the

results of such testing. And in light of his varying roles, ajury could attribute Keber’s August

2012 statements to all three defendants. Similarly, because RDH represented on its website FAQs

and through its customer service that Dixie X did not contain THC, despite having test results

showing the presence of THC in its products, a jury could find that RDH knew that such

representations were false.8 Furthermore, all three defendants had a motive to defraud consumers.

A jury could reasonably conclude that, to sell their products, Defendants needed to distinguish

Dixie X from its unlawful counterparts; misrepresenting the THC content in the product would go

a long way to dispelling consumers’ concerns, as it did in Plaintiffs’ case.

        Thus, Plaintiffs’ fraudulent inducement claim is viable, at least in part. The Court also

notes three other considerations that further limit Plaintiffs’ claim.


8 The record suggests that RDH operated the Dixie X website: RDH was the entity tasked with selling Dixie
X; RDH identifies itself as the seller in the FAQ; and RDH’s parent company—MMI—is identified as the
“parent company” in the FAQ. ECF No. 69-6 at 1. Plaintiffs do not explain how the statements in the FAQ
may be attributed to Dixie LLC or Medical Marijuana. See Mouawad N at’l Co. v. Lazare Kaplan In t’l Inc.,
476 F. Supp. 2d 414, 421 (S.D.N.Y. 2007) (discussing circumstances in which corporate parent is liable for
acts of subsidiary).
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        First, Plaintiffs may not proceed with their claim based on the alleged misrepresentations

contained in the “High Times” article. As Defendants point out, the article is not an advertisement

but a writeup about Dixie X by a third party. The only arguable connection between the article’s

contents and Defendants is that the article quotes Tripp Keber. However, the article would be

inadmissible to the extent that Plaintiffs intend to rely on it to prove that Tripp Keber actually

made those statements. See Larez v. City o f Los A ngeles, 946 F.2d 630, 642 (9th Cir. 1991)

(quotations of party opponent which are recited in newspaper article present hearsay problems

insofar as they are “offered for the truth of the matter asserted: that [the party opponent] did in fact

make the quoted statement”). Plaintiffs offer nothing but speculation to argue that Defendants had

a role in publishing the article.

        Second, Cindy’s lost wages are not recoverable. A fraudulent inducement claim requires

“a showing of proximate causation,” i.e., that the injury “is the natural and probable consequence

of the defrauder’s misrepresentation or . . . the defrauder ought reasonably to have foreseen that

the injury was a probable consequence of his fraud.” B ank o f Am. Corp. v. Lem gruber, 385 F.

Supp. 2d 200, 218 (S.D.N.Y. 2005). Cindy’s lost wages were not the direct result ofDefendants’

alleged fraud; rather, they were derivative of Douglas’s injury and too attenuated from Defendants’

wrongful conduct to be actionable. See Kregos v. Assoc. P ress, 3 F.3d 656, 665 (2d Cir. 1993)

(stating that the losses for a fraud claim must be the “direct, immediate, and proximate result of

the misrepresentation”).

        Third, Defendants argue that the website FAQs and YouTube videos are inadmissible

insofar as they are not authenticated and contain hearsay. Further, Defendants contend that

Plaintiffs did not produce the YouTube videos during discovery. Although these are colorable

issues, both sides have failed to sufficiently develop them. The Court would benefit from further
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briefing on whether the printouts of the website FAQs can be authenticated.                 See, e.g., United

States v. G asperini, 894 F.3d 482, 489-90 (2d Cir. 2018) (discussing issue); Universal Church,

Inc. v. Universal Life Church/ULC M onastery, No. 14 Civ. 5213, 2017 WL 3669625, at *3 n.7

(S.D.N.Y. Aug. 8, 2017) (same). Likewise, while Defendants argue that Plaintiffs failed to

disclose the YouTube videos in discovery, they do not cite any specific discovery request that

Plaintiffs did not adequately answer or supplement. Consequently, the Court concludes that these

issues are better raised in the context of pretrial motions than on summaryjudgment. To the extent

Defendants prevail on their arguments, the Court may revisit whether the fraudulent inducement

claim may proceed to trial.

        In sum, Plaintiffs’ fraudulent inducement claim is viable as to Douglas’s claim for damages

resulting from Defendants’ misrepresentation that Dixie X did not contain THC. Defendants are

otherwise entitled to summary judgment on the claim,

             c. RICO

        Plaintiffs and Defendants move for summaryjudgment on the RICO claim. Plaintiffs argue

that all of the elements are satisfied as a matter of law based on the record evidence. Defendants

counter that there is insufficient evidence to prove that they engaged in a pattern of racketeering

activity. The Court concludes that there are genuine issues of material facts that preclude summary

judgment in either side’s favor.

        Plaintiffs bring their RICO claim under 18 U.S.C. § 1962(c).9 That provision “makes it

unlawful for any person employed by or associated with any enterprise engaged in, or the activities



9 In their Civil Rico Statement, Plaintiffs asserted violations of subsections (a), (b), (c), and (d) of Section
1962. Plaintiffs do not argue in their summary judgment briefing that they have viable claims under any
subsection besides subsection (c). See ECF No. 60-25 at 5-7. The Court limits its analysis accordingly.
See Gaston v. City ofNew York, 851 F. Supp. 2d 780, 796 (S.D.N.Y. 2012).
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of which affect, interstate or foreign commerce, to conduct or participate, directly or indirectly, in

the conduct of such enterprise’s affairs through a pattern of racketeering activity.” Ferri v.

Berkow itz, 678 F. Supp. 2d 66, 72-73 (E.D.N.Y. 2009) (internal quotation marks omitted). “To

establish a civil RICO claim ... a plaintiff must allege (1) conduct, (2) of an enterprise, (3) through

a pattern (4) of racketeering activity, as well as injury to business or property as a result of the

RICO violation.” Flexborrow L L C v. TD A uto Fin. LLC , 255 F. Supp. 3d 406, 414 (E.D.N.Y.

2017) (internal quotation marks omitted).

        “The pattern of racketeering activity must consist of two or more predicate acts of

racketeering,” id., which must be “related” and must “pose a threat of continued criminal activity.”

D eFalco v. B ernas, 244 F.3d 286, 320 (2d Cir. 2001). Racketeering activity is defined to include

“any offense involving . . . the felonious manufacture, importation, receiving, concealment,

buying, selling, or otherwise dealing in a controlled substance .. . punishable under any law of the

United States.” 18 U.S.C. § 1961(1)(D). This definition extends to the cultivation, manufacture,

and sale of marijuana. See, e.g., Safe Streets Alliance v. Hickenlooper, 859 F.3d 865, 882 (10th

Cir. 2017) (operation of marijuana cultivation facility “necessarily would involve some

racketeering activity”).

        In this case, Plaintiffs have provided sufficient evidence to show a pattern of racketeering

activity. Specifically, Douglas avers that he purchased two bottles of Dixie X—a controlled

substance constituting marijuana under the CSA—from Defendants. These two transactions

constitute two predicate acts of racketeering activity.10 See 18 U.S.C. § 1961(1)(D). This is so

even if Defendants subjectively believed that Dixie X was not a controlled substance, as such belief



10 To be sure, each defendant played a different role in the venture, and it appears that RDH had the
responsibility of selling and distributing Dixie X to consumers. Nevertheless, liability under RICO also
extends to those who have “some part in directing” the affairs of the enterprise. DeFalco, 244 F.3d at 309.
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would not preclude a finding that they violated the CSA. It is unlawful “for any person knowingly

or intentionally” to distribute or dispense a controlled substance. 21 U.S.C. § 841(a)(1). A

defendant satisfies the knowledge requirement if he “knew he possessed a substance listed on the

schedules” or, alternatively, if he “knew the identity of the substance he possessed” whether or not

he knew it was listed on the schedules. M cFadden v. United States, 135 S. Ct. 2298, 2304 (2015).

Here, there are sufficient facts from which it can be inferred that Defendants knew the identity of

the substance they possessed—a mixture containing a resin extract derived from the Cannabis

sativa plant. In 2012, that substance fell within the definition of marijuana under the CSA. 21

U.S.C. § 802(16) (2012); see also M cF adden,\3 5 S. Ct. at 2304 (“[Ijgnorance of the law is

typically no defense to criminal prosecution.”).

       These transactions also meet the relatedness and continuity requirements. See D eFalco,

244 F.3d at 320. The transactions are related, in that the sale of these controlled substances was

the business of Defendants’ venture. See R eich v. L opez, 858 F.3d 55, 61-62 (2d Cir. 2017).

Defendants’ activities also presented a threat of continued criminal activity. The sale of hemp-

based CBD products was no mere aberration of unlawful conduct: it was the raison d ’etre of

Defendants’ venture. See id. at 60 (stating that criminal activity poses a continuous threat when

the “predicate acts were the regular way of operating that business”). Indeed, in a June 2012 SEC

filing, MMI indicated that it intended to invest heavily in RDH to “expand[] its operations state by

state” and to “rais[e] additional capital to expand the operations of the company.” ECF No. 69-4

at 32. Given the inherent illegality of the product and Defendants’ intent to continue and expand

those operations, Plaintiffs have provided sufficient evidence to prove a pattern of racketeering
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activity.11 Therefore, Defendants are not entitled to summary judgment based on the arguments

they raise.

         But Plaintiffs are not entitled to summary judgment either. There is a genuine issue of

material fact on one necessary element: whether Defendants’ conduct proximately caused

Douglas’s injuries. “[A] plaintiff suing under RICO must establish that the RICO offense was the

‘proximate cause’ of the plaintiff’s injuries.” Empire M erchs., LLC v. Reliable Churchill LLLP ,

902 F.3d 132, 141 (2d Cir. 2018). “Proximate cause requires some direct relation between the

injury asserted and the injurious conduct alleged, and a link that is too remote, purely contingent,

or indirect is insufficient.” Id. (internal quotation marks, ellipses, brackets omitted).

         Here, there is a genuine dispute of material fact as to whether Dixie X caused Douglas’s

positive drug test and thereby caused him to lose hisjob. Plaintiffs aver that Douglas had not used

marijuana “for the 14 years [he] was a trucker,” ECF No. 60-6 U 18, and Plaintiffs’ expert opines

that Douglas’s positive drug test resulted from his “daily use of Dixie X” in the days leading up to

the test. ECF No. 60-21 at 5.

        Defendants dispute this conclusion. Although Defendants do not contend that Douglas

smoked marijuana or otherwise consumed a THC-laden product besides Dixie X, Defendants’

expert asserts there is insufficient evidence to make a scientifically valid connection between

Douglas’s consumption of Dixie X and his positive drug test. The expert notes that there are many

variables that affect whether and to what extent THC will stay in one’s system, including dosage,

frequency of use, individual rates of absorption and metabolism, etc. ECF No. 61-9 at 4. The

expert opines that the absence of evidence on two relevant variables—the amount of THC

contained in the specific bottle of Dixie X which Douglas consumed, and the exact amount of


11 In light of this conclusion, the Court need not assess whether, as Plaintiffs claim, Defendants also engaged
in other predicate acts of racketeering, including mail and wire fraud. See ECF No. 2 at 3-4.
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Dixie X that Douglas consumed prior to his drug test—renders it “impractical to calculate . . . a

range of expected contaminating THC metabolite” in Douglas’s urine sample at the time of his

test. Id. at 4-5. And, as a result, “no one can opine with any degree of scientific confidence that

it was the Dixie product used by [Douglas] that caused him to fail his” drug test. Id. at 5. The

Court may not resolve this factual dispute on summary judgment. See Scanner Techs. Corp. v.

Ico s Vision Sys. Corp., N .V ., 253 F. Supp. 2d 624, 634 (S.D.N.Y. 2003) (“The credibility of

competing expert witnesses is a matter for the jury, and not a matter to be decided on summary

judgment.”).

       The Court does conclude that Plaintiffs are not entitled to recover under RICO for any

damages Cindy sustained.        The link between Cindy’s pecuniary losses and Defendants’

racketeering activity is “too remote” and “indirect” to satisfy the requirement of proximate

causation. Em pire M erchs., L L C , 902 F.3d at 141. Defendants’ conduct did not directly cause

Cindy to terminate her employment; it was only because Douglas was terminated that Cindy

suffered any harm as a result of Defendants’ conduct. See id. (stating that a court should “rarely

go beyond the first step when assessing causation under civil RICO” (internal quotation marks

omitted)).   Such indirect, derivative injuries are not cognizable under civil RICO. See id. at 141­

44.

       Because genuine issues of material facts exist as to Plaintiffs’ RICO claim, summary

judgment is inappropriate in their favor. Defendants are entitled to summary judgment on the

RICO claim only as to Cindy’s claim for damages.

             d. Strict Products Liability, Negligence, and Negligent Infliction of Emotional
                Distress Claims

       Plaintiffs argue that Defendants are liable under theories of strict products liability,

negligence, and negligent infliction of emotional distress. The first two of these claims fail because
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Plaintiffs have not provided evidence that they suffered cognizable injuries. “The general rule

under New York law is that economic loss is not recoverable under a theory of negligence or strict

products liability.” Am. Tel. & Tel. Co. v. N ew York City H um an Res. A dm in., 833 F. Supp. 962,

982 (S.D.N.Y. 1993); see alsoLabajo v. B est Buy Stores, L.P ., 478 F. Supp. 2d 523, 532 (S.D.N.Y.

2007) (consumer who was allegedly deceived by store’s free-magazine promotion could not bring

negligence claim because “she does not allege any personal injury or property damage”). Plaintiffs

seek damages for their economic losses, but they do not claim that they suffered any personal

injury or injury to property as a result of Defendants’ conduct. Their negligence and strict products

liability claims therefore fail.

        Granted, Plaintiffs allege that they suffered emotional distress due to Defendants’ conduct.

A claim for negligent infliction of emotional distress is cognizable in New York, and some courts

have suggested that such a cause of action might be viable under a products liability theory. See

Luna v. Am. A irlines, 676 F. Supp. 2d 192,206 (S.D.N.Y. 2009); O ’Sullivan v. D uaneReade, In c.,

No. 108570/05, 2010 WL 1726079, at *7 n.4 (N.Y. Sup. Ct. Apr. 20, 2010). Nonetheless, under

New York law, a claim for negligent infliction of emotional distress must possess “some guarantee

of genuineness.” J.H. v. Bratton, 248 F. Supp. 3d 401, 416 (E.D.N.Y. 2017). This requires “a

specific, recognized type of negligence that obviously has the propensity to cause extreme

emotional distress, such as the mishandling of a corpse or the transmission of false information

that a parent or child had died.” Id. (internal quotation marks and bracket omitted). The element

may also be satisfied where there is a “breach of the duty owed directly to the injured party [which]

endangered the plaintiff s physical safety or caused the plaintiff to fear for his or her own physical

safety.” Id. (internal quotation marks omitted). “In the absence of such special circumstances,

psychiatric testimony may suffice for such a guarantee of genuineness, but a plaintiff’s
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uncorroborated testimony of upsetness will not.” Vumbaca v. Terminal One Grp. A s s ’n L.P ., 859

F. Supp. 2d 343, 376 (E.D.N.Y. 2012) (internal brackets and quotation marks omitted).

       In this case, Plaintiffs’ situation does not fall into any of the special circumstances for

which a claim is recognized. See Vaughn v. Am. M ulti Cinema, Inc.,No. 09 Civ. 8911,2010 WL

3835191, at *5 (S.D.N.Y. Sept. 13, 2010) (termination of employment not a special circumstance

giving rise to claim for negligent infliction of emotional distress). Furthermore, Plaintiffs offer no

evidence to otherwise establish a guarantee of genuineness: they do not even provide evidence

from Douglas concerning the degree to which he suffered psychological trauma because of these

events, let alone evidence from a medical or valid corroborating source. See Luna, 676 F. Supp.

2d at 208 (plaintiff, who had been served chicken dinner with “part of a lizard” in it, had viable

claim for emotional distress, where plaintiff proffered medical testimony to support claim of

psychological injury). Under these circumstances, Plaintiffs do not have a viable claim for

negligent infliction of emotional distress.

       Accordingly, without cognizable personal, property, or psychological injury, Plaintiffs’

claims for negligence, strict products liability, and negligent infliction of emotional distress fail.

Defendants are entitled to summaryjudgment on these claims.

                                          CONCLUSION

       For the reasons discussed above, Plaintiffs’ motion to amend (ECF No. 68) is GRANTED

IN PART and DENIED IN PART. Defendants’ motions to strike (ECF Nos. 71, 74) are DENIED.

Plaintiffs’ motion for partial summaryjudgment (ECF No. 60) is DENIED. Defendants’ motions

for summaryjudgment (ECF No. 61, 62) are GRANTED IN PART and DENIED IN PART.

       As a result of these rulings, the only surviving claims are Douglas’s claims for fraudulent

inducement and civil RICO. All other claims against Defendants are dismissed. The Clerk of
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Court is directed to amend the name of Defendant “Dixie Elixirs and Edibles” to “Dixie Holdings,

LLC a/k/a Dixie Elixirs.” By separate order, the Court will schedule a status conference to hear

from the parties on the progress of this action.

       IT IS SO ORDERED.

Dated: April 17,2019
       Rochester, New York

                                                   HONS|£ANKP. GERAC/JR.
                                                   Chief Judge
                                                   United States District Court
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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK

DOUGLAS J. HORN, et al.,

                                               Plaintiffs,
                                                                          Case # 15-CV-701-FPG
v.
                                                                         DECISION AND ORDER

MEDICAL MARIJUANA, INC., et al.,


                                               Defendants.


                                         INTRODUCTION

        Plaintiffs Douglas J. Horn and Cindy Harp-Horn bring suit against Defendants Medical

Marijuana, Inc. (“MMI”), Dixie Elixirs and Edibles (“Dixie LLC”), Red Dice Holdings, LLC

(“RDH”), and Dixie Botanicals. ECF No. 1. On April 17, 2019, the Court granted in part and

denied in part MMI’s, Dixie LLC’s, and RDH’s motions for summary judgment. ECF No. 88.

Specifically, the Court dismissed all but two claims: Douglas’s claims for fraudulent inducement

and civil RICO. See id. at 28-29. On May 16, 2019, Plaintiffs filed a notice of appeal. ECF No.

92. They now move under Federal Rule of Civil Procedure 54(b) for entry of partial finaljudgment

as to Cindy’s claims and Douglas’s claims under Sections 349 and 350 ofNew York General

Business Law. ECF Nos. 102, 104. Defendantsobject. ECF Nos. 108, 109. Forthereasonsthat

follow, Plaintiffs’ motions are DENIED.

                                           DISCUSSION

       Under Rule 54(b), an order that “adjudicates fewer than all the claims or the rights and

liabilities of fewer than all the parties does not end the action as to any of the claims or parties and

may be revised at any time before the entry of a judgment adjudicating all the claims and all the
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parties’ rights and liabilities.” The rule is grounded in the “historic federal policy against

piecemeal appeals.” Curtiss-W right Corp. v. Gen. Elec. Co., 446 U.S. 1, 8 (1980). But the rule

also provides an exception: if the court “expressly determines that there is nojust reason for delay,”

it may “direct entry of a final judgment as to one or more, but fewer than all, claims or parties.”

Fed. R. Civ. P. 54(b). This rule is to be “exercised sparingly” and only where the “interests of

soundjudicial administration and efficiency will be served.” Cupersmith v. Piaker & L yons P.C .,

No. 14-CV-1303, 2017 WL 4535938, at *2 (N.D.N.Y. Oct. 10, 2017) (internal quotation marks

omitted).

       “In deciding whether there are no just reasons to delay the appeal of individual final

judgments a district court should consider such factors as whether the claims under review are

separable from the others remaining to be adjudicated and whether the nature of the claims already

determined is such that no appellate court would have to decide the same issues more than once

even if there were subsequent appeals.” Id. (internal quotation marks and brackets omitted); see

also N ovick v. AXA Network, L L C , 642 F.3d304, 311 (2d Cir. 2011) (“[W]e have repeatedly noted

that the district court generally should not grant a Rule 54(b) certification if the same or closely

related issues remain to be litigated.” (internal quotation marks omitted)). “Claims are generally

treated as separable within the meaning of Rule 54(b) if they involve at least some different

questions of fact and law and could be separately enforced, or if different sorts of relief are sought.”

Verizon N.Y. Inc. v. Vill. o f Westhampton Beach, No. CV 11-252, 2014 WL 12843520, at *9

(E.D.N.Y. Dec. 22, 2014).

       The Court declines to grant Plaintiffs’ motions under Rule 54(b). Both the surviving claims

and the failed claims arise from the same underlying set of facts: Plaintiffs’ purchase and use of

Defendants’ product and Douglas’s subsequent failed drug test. Thus, if Plaintiffs were permitted
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to appeal some of their claims, the Second Circuit would be “forced to review identical facts” in

any subsequent appeal after trial. N a t’l Asbestos Workers M ed. F und v. Philip M orris, In c., 71 F.

Supp. 2d 139, 154 (E.D.N.Y. 1999). This is likely here because Cindy’s claims are not merely

related to, but derivative of, Douglas’s claims. See, e.g., Pierce v. City o fN e w York, No. 16-CV-

5703, 2018 WL 679459, at *2 (E.D.N.Y. Feb. 1, 2018) (declining to enter partial judgment on

failure-to-intervene claim because it was “derivative o f’ surviving excessive-force claim); Ortiz v.

Goord, No. 99-CV-1202, 2006 WL 8448449, at *4 (N.D.N.Y. Jan. 23, 2006) (same).                      The

interconnection is even stronger with respect to Douglas’s surviving and failed claims. In short, it

would not “advance the interests of soundjudicial administration of efficiency to have piecemeal

appeals that require two . . . three-judge panels to familiarize themselves with [the] . . . case in

successive appeals.” In re Vivendi Universal, S.A., Secs. Litig., No. 02 Civ. 5571, 2012 WL

362028, at *3 (S.D.N.Y. Feb. 6, 2012).

          Furthermore, there are no countervailing equities that would justify partial judgment

notwithstanding the relatedness of the claims at issue. Contrary to Plaintiffs’ argument, the mere

risk that Plaintiffs could incur additional expenses if a second trial is required is not enough to

justify partialjudgment under these circumstances. See, e.g., Spiegel v. Tr. o f Tufts Coll., 843 F.2d

38, 46 (1st Cir. 1988) (“Virtually any interlocutory appeal from a dispositive ruling said to be

erroneous contains the potential for requiring a retrial.”). Indeed, that risk is less salient given that

at least some of Plaintiffs’ causes of action provide for an award of attorney’s fees. See 18 U.S.C.

§ 1964(c); N.Y. Gen. Bus. Law § 349(h). The Court also does not find convincing Plaintiffs’

concern that Cindy would be placed in a prejudicial position if she were to testify at Douglas’s

trial.
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                                      CONCLUSION

      For the reasons discussed above, Plaintiffs’ motions for partialjudgment under Rule 54(b)

(ECF Nos. 102, 104) are DENIED.

      IT IS SO ORDERED.

Dated: October 2,2019
       Rochester, New York

                                                  hoh I^A n k p . geraci,4R.
                                                  Chief Judge
                                                  United States District Court
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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK

DOUGLAS J. HORN, et al.,

                                                  Plaintiffs,
                                                                              Case # 15-CV-701-FPG
v.
                                                                              DECISION AND ORDER

MEDICAL MARIJUANA, INC., et al.,


                                                  Defendants.


                                           INTRODUCTION

        Presently before the Court are the parties’ cross-motions for reconsideration of the Court’s

April 17, 2019 Decision and Order, which resolved the parties’ motions for summaryjudgment.*1

For the reasons that follow, Defendants’ motions for reconsideration (ECF Nos. 97, 106) are

GRANTED IN PART and DENIED IN PART, and Plaintiffs’ cross-motion for reconsideration

(ECF No. 112) is DENIED.

                                          LEGAL STANDARD

        Both sides cite Federal Rule of Civil Procedure 54(b) as the basis for their motions. Rule

54(b) provides:

        [A]ny order or other decision, however designated, that adjudicates fewer than all
        the claims or the rights and liabilities of fewer than all the parties does not end the
        action as to any of the claims or parties and may be revised at any time before the
        entry of a judgment adjudicating all the claims and all the parties’ rights and
        liabilities.



 1Plaintiffs initially filed a notice of appeal after the Court issued its Decision and Order. See ECF No. 92.
That appeal has since been dismissed, and the Second Circuit issued its mandate on November 12, 2019.
See Horn v. Medical Marijuana, Inc., No. 19-1437, ECF No. 45 (dated Nov. 12, 2019); see also Bedasie v.
Mr. Z Towing, Inc., No. 13-CV-5453, 2017 WL 6816331, at *3 (E.D.N.Y. Dec. 21, 2017) (stating that
jurisdiction returns to the district court after appeal once a mandate is issued).
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“A district court has the inherent power to reconsider and modify its interlocutory orders prior to

the entry ofjudgment. . .      United States v. LoRusso, 695 F.2d 45, 53 (2d Cir. 1982).

           A litigant seeking reconsideration must set forth “controlling decisions or data that the

court overlooked—matters, in other words, that might reasonably be expected to alter the

conclusion reached by the court.” R ichard v. D ignean, 126F. Supp.3d 334, 337 (W.D.N.Y. 2015);

see a lso M ico lo v. F uller, No. 6:15-CV-06374, 2017 WL 2297026, at *2 (W.D.N.Y. May 25,

2017) (“To merit reconsideration under Rule 54(b), a party must show ‘an intervening change of

controlling law, the availability of new evidence, or the need to correct a clear error or prevent a

manifest injustice.’”).

                                          BACKGROUND

           In their motions, both sides take issue with the Court’s ruling on whether “Dixie X Dew

Drops”—the product at issue—constituted a controlled substance under the federal Controlled

Substances Act (“CSA”). See ECF No. 97-3 at 4; ECF No. 112-3 at 3. Some background may be

helpful.

           Dixie X is a CBD oil. “CBD is short for ‘cannabidiol,’ and it is one of the ‘unique

molecules’ found in the Cannabis sativa plant.” H orn v. M ed. M arijuana, Inc., 383 F. Supp. 3d

114, 119 (W.D.N.Y. 2019) (internal citation omitted). The Cannabis sativa plant is the plant from

which marijuana and hemp are derived. Id. The difference between the two is that “drug-use

cannabis is produced from the flowers and leaves of certain strains of the plant, while industrial-

use [hemp] is typically produced from the stalks and seeds of other strains of the plant.” Id. This

leads to differences in the concentration of tetrahydrocannabinol (“THC”) in each variety. THC

is “the substance that gives marijuana its psychoactive properties.” Id.
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       In 2012, the time of the relevant events, the general rule was that all parts and derivatives

of the Cannabis sativa plant were defined as “marijuana” and prohibited under the CSA.2 See id.

at 123 (citing 21 U.S.C. §§ 802(16), 841(a)(1)). Despite its low THC content and lack of

psychoactive effect, the industrial hemp plant and any derivatives fell within this definition

because hemp “is a variety of the Cannabis sativa plant.” Id .; U nited States v. White Plum e, 447

F.3d 1067,1073 (8th Cir. 2006) (noting that “the CSA does not distinguish between marijuana and

hemp”).

       But the CSA carved out several exceptions to this general rule. Specifically, “[ejxcluded

from the definition of marijuana were certain parts of the plant that are incapable of germination:

(1) the mature stalks of the Cannabis sativa plant, (2) fiber produced from the stalks of the

Cannabis sativa plant, (3) oil or cake made from the seeds of the Cannabis sativa plant, (4) any

compound, manufacture, salt, derivative, mixture, or preparation of the mature stalks, fiber, oil, or

cake[], and (5) the sterilized seed of the Cannabis sativa plant.” H orn, 383 F. Supp. 3d at 123.

Importantly, however, “resin extracted from mature hemp stalks was not excepted from the

definition of marijuana.” Id. ', see also 21 U.S.C. § 802(16) (2012). As a result, hemp-based

products could only be lawfully manufactured and sold in the United States to the extent they were

derived from excepted parts of the Cannabis sativa plant (and thus were not considered marijuana

under the CSA).

       But there was another wrinkle: the CSA also separately prohibited THC, see 21 U.S.C. §

812(c)(17), and many hemp-based products contain “trace amounts ofTHC.” H em p Indus. A s s ’n

v. D rug Enforcem ent A dm in., 333 F.3d 1082, 1085 (9th Cir. 2003) [hereinafter “H em p T”]. This




2 The CSA has since been amended to legalize industrial hemp production. See Horn, 383 F. Supp. 3d at
124 (discussing legislative history).
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raised a question: were products made from excepted parts of the Cannabis sativa plant

nonetheless unlawful because they contained miniscule, non-psychoactive amounts ofTHC?

        In a pair of cases from the early 2000s, the Ninth Circuit answered that question in the

negative. See H em p I , 333 F.3d at 1089-90; H em p Indus. A s s ’n v. D rug Enforcem ent A dm in., 357

F.3d 1012 (9th Cir. 2004) [hereinafter “H em p IF ’]. First, it held that the prohibition against THC

referred to synthetic, not naturally occurring, THC. See H em p I , 333 F.3d at 1089-90; H em p I I ,

357 F.3d at 1017. Second, it held that products made from excepted parts of the Cannabis sativa

plant “were not included in the definition of marijuana—and therefore were not unlawful under

the CSA—even i f they contained trace amounts of [naturally occurring] THC.” H orn, 383 F. Supp.

3d at 123. The Ninth Circuit reviewed the legislative history and concluded that “Congress ‘knew

what it was doing’ when it chose to exempt certain derivatives from the definition of marijuana

notwithstanding the presence of trace amounts ofTHC.” Id. at 124.

        Based on these conclusions, the Ninth Circuit invalidated new DEA regulations to the

extent they purported to ban hemp-based products that contained trace amounts of naturally

occurring THC. See H em p I I , 357 F.3d at 1018-19. But products containing synthetic THC or

marijuana were still prohibited under the CSA. See H orn, 383 F. Supp. 3d at 124.

        This Court relied on the above authority to conclude that, in 2012, Dixie X was a controlled

substance. See H orn, 383 F. Supp. 3d at 124. Given the apparent absence of dispute, the Court

proceeded on the assumption that Dixie X’s CBD byproduct constituted a resin extracted from the

mature stalk. See id. at 124. This led the Court to conclude that Plaintiffs had a sufficient claim

under the Racketeer Influenced and Corrupt Organizations Act (“RICO”), as a RICO claim may

be predicated on the distribution and sale of a controlled substance like marijuana. Id. at 131-32.
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                                           DISCUSSION

       Both sides now move for reconsideration of this aspect of the Court’s prior order.

Defendants argue that the Court erred insofar as it assumed that Dixie X contained “resin extract

derived from the Cannabis sativa plant” and thus constituted marijuana. ECF No. 97-1 at 5; see

also ECF No. 106. Defendants dispute that fact and contend there is no evidence in the record to

support that conclusion.

       Plaintiffs, on the other hand, dispute the Court’s reasoning but not its conclusion. They

contend that “any product that contains any amount ofTHC was a Schedule I controlled substance

in 2012.” ECF No. 112-3 at3.

       The Court takes up Plaintiffs’ argument first and rejects it. Plaintiffs assert that Dixie X

was a controlled substance because it contained THC, which was a Schedule I controlled substance

in 2012. See 21 C.F.R. § 1308.11(d)(31). They also assert that Dixie X remained a controlled

substance under 21 C.F.R. § 1308.35 because it was intended for human consumption. See 21

C.F.R. § 1308.35(a) (exempting certain cannabis-based products from the CSA so long as they are

not intended for human consumption).

       The problem with Plaintiffs’ argument is that it runs headlong into the H em p cases, where

the Ninth Circuit invalidated the very regulations on which Plaintiffs rely. See H em p I I , 357 F.3d

at 1019 (permanently enjoining enforcement of the regulations). The court stated in no uncertain

terms that those regulations “may not be enforced with respect to THC that is found within the

parts of Cannabis plants that are excluded from the CSA’s definition of ‘marijuana’ or that is not

synthetic.” Id. at 1018. Accordingly, the mere presence of naturally occurring THC in a product

does not render it a controlled substance so long as it is derived from an excepted part of the
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Cannabis sativa plant. See id. at 1018-19. Therefore, the Court denies Plaintiffs’ motion for

reconsideration.

        Defendants’ argument is persuasive, however. Defendants clarify that they dispute that

Dixie X contains a resin extracted from a mature hemp stalk. They submit the affidavit of Stuart

Titus, CEO of Medical Marijuana, Inc., who avers that the CBD extract was not produced from

the resin of any mature stalks. ECF No. 97-2 at 2.

        Despite having an opportunity to do so, Plaintiffs do not proffer any evidence to show that

Dixie X contains synthetic THC or is derived from a non-excepted part of the Cannabis sativa

plant. Instead, Plaintiffs proffer supplemental affidavits of Kenneth D. Graham, their toxicology

expert, who merely reiterates his opinions about the legality of hemp-based products. See ECF

Nos. 112-1, 120. Those affidavits fail to create a genuine issue of material fact. See SLSJ, L LC v.

K leban, 277 F. Supp. 3d 258, 268 (D. Conn. 2017) (“As a general rule an expert’s testimony on

issues oflaw is inadmissible.”).

        Accordingly, because Plaintiffs have not presented any evidence to show that Dixie X

contains either synthetic THC or natural THC derived from marijuana—as the CSA defines that

term—Plaintiffs cannot prove their RICO claim to the extent it is premised on the allegation that

Dixie X is a controlled substance. See H orn, 383 F. Supp. 3d at 131-32 (discussing RICO

standards).

        Nevertheless, the Court disagrees with Defendants that the RICO claim should be

dismissed. Plaintiffs premise their RICO claim not only on Defendants’ alleged distribution of a

controlled substance, but also on Defendants’ alleged mail and wire fraud.3 See ECF No. la t 10­


3 Initially, Plaintiffs also alleged that Defendants violated 18 U.S.C. § 1957, but they did not present that
theory in their summary judgment materials. Compare ECF No. 1 at 11, with ECF No. 60-25, and ECF
No. 69-26. Accordingly, that theory has been abandoned. See Camarda v. Selover, 673 F. App’x 26, 30
(2d Cir. 2016) (summary order).
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11; ECF No. 2 at 4. Because the Court concluded that the RICO claim survived summaryjudgment

on the controlled-substance theory, it previously declined to address whether “Defendants also

engaged in other predicate acts of racketeering, including mail and wire fraud.” H orn, 383 F.

Supp. 3d at 132 n .ll. The Court must now address those issues.4

        Plaintiffs bring their RICO claim under 18 U.S.C. § 1962(c), which “makes it unlawful

for any person employed by or associated with any enterprise engaged in, or the activities of which

affect, interstate or foreign commerce, to conduct or participate, directly or indirectly, in the

conduct of such enterprise’s affairs through a pattern of racketeering activity.” Ferri v. Berkowitz,

678 F. Supp. 2d 66, 72-73 (E.D.N.Y. 2009) (internal quotation marks omitted). “To establish a

civil RICO claim . . . a plaintiff must allege (1) conduct, (2) of an enterprise, (3) through a pattern

(4) of racketeering activity, as well as injury to business or property as a result of the RICO

violation.” Flexborrow LLC v. TD A uto Fin. LLC , 255 F. Supp. 3d 406, 414 (E.D.N.Y. 2017)

(internal quotation marks omitted).

        “The pattern of racketeering activity must consist of two or more predicate acts of

racketeering,” id., which must be “related” and must “pose a threat of continued criminal activity.”

D eFalco v. B ernas, 244 F.3d 286, 320 (2d Cir. 2001). Mail and wire fraud constitute racketeering

activity. 18 U.S.C. § 1961(1)(B). “The mail and wire fraud statutes prohibit the use of those

means of communication in furtherance of ‘any scheme or artifice to defraud, or for obtaining

money or property by means of false or fraudulent pretenses, representations, or promises.’” Ideal

Steel Supply Corp. v. A nza, 373 F.3d 251, 256 (2d Cir. 2004), r e v ’d in p a rt and vacated in p a rt on

other grounds by A nza v. Ideal Steel Supply Corp., 547 U.S. 451 (2006). False advertising can

constitute mail or wire fraud. See, e.g., 4 K & D Corp. v. Concierge Auctions, L LC , 2 F. Supp. 3d


4 The Court confines its analysis to those arguments that the parties raised in their summary-judgment and
reconsideration briefing.
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525, 539 (S.D.N.Y. 2014) (allegedly false marketing materials could constitute predicate

racketeering activities based on mail and wire fraud statutes); Diamonds Plus, Inc. v. K olber, 960

F.2d 765 (8th Cir. 1992) (predicate acts of mail and wire fraud existed for civil RICO claim, where

defendant falsely advertised his ability to provide commercial financing to prospective customers);

U nited States v. A ndreadis, 366 F.2d 423 (2d Cir. 1966) (affirming mail and wire fraud convictions

of defendant who fraudulently marketed “miracle weight-reducing drug”).

        The threat of continued criminal activity can be “closed-ended” or “open-ended.” Reich v.

L opez, 858 F.3d 55, 60 (2d Cir. 2017). “Criminal activity that occurred over a long period of time

in the past has closed-ended continuity, regardless of whether it may extend into the future. As

such, closed-ended continuity is ‘primarily a temporal concept,’ and it requires that the predicate

crimes extend ‘over a substantial period of time.’” Id. (internal citations omitted). “[T]his Circuit

generally requires that the crimes extend over at least two years.” Id.

        Open-ended continuity requires “criminal activity that by its nature projects into the future

with a threat of repetition.” Id. (internal quotation marks omitted). “Some crimes may by their

very nature include a future threat, such as in a protection racket.” Id. “When the business of an

enterprise is primarily unlawful, the continuity of the enterprise itself projects criminal activity

into the future. And similarly, criminal activity is continuous when the predicate acts were the

regular way of operating that business, even if the business itself is primarily lawful.” Id. (internal

quotation marks and citations omitted).

        For substantially the same reasons that Douglas Horn’s fraudulent inducement claim

survived summary judgment, the Court concludes that Douglas Horn may proceed with his RICO

claim based on predicate acts of mail and wire fraud. See H orn, 383 F. Supp. 3d at 128-31. There

is evidence that Defendants advertised in at least three different media—on their website, in
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YouTube videos, and via their customer service representatives—that Dixie X did not contain

THC. See id. at 129-30. There is evidence that these statements were false; “indeed, Defendants’

own testing revealed that the product contained detectible amounts ofTHC.” Id. at 129. Because

Defendants tested Dixie X and found that it contained THC, yet advertised to the contrary, there

is a basis to conclude that these statements were not mere misstatements or puffery, but part of a

scheme to defraud. Furthermore, as the Court previously reasoned, Defendants had a motive to

defraud consumers: “[a] jury could reasonably conclude that, to sell their products, Defendants

needed to distinguish Dixie X from its unlawful counterparts; misrepresenting the THC content in

the product would go a long way to dispelling consumers’ concerns, as it did in Plaintiffs’ case.”

Id. at 130.

        In addition, these predicate acts are related and meet the test for open-ended continuity.

Although the racketeering activity occurred during a circumscribed timeframe in 2012, there is

sufficient evidence to conclude that Defendants’ alleged acts of mail and wire fraud were “the

regular way of operating [the] business” even though the business itself was “primarily lawful.”

R eich , 858 F.3d at 60. This is not a case where a defendant’s scheme targets a particular victim,

sets a specific goal, or is otherwise “inherently terminable.” Cofacredit, S.A. v. Windsor Plum bing

Supply Co., In c ., 187 F.3d 229, 244 (2d Cir. 1999); see also H ow ard v. A m erica Online In c., 208

F.3d 741, 750 (9th Cir. 2000) (no threat of continuing criminal activity where misleading

advertising stemmed from “one-time change in pricing policy”). Rather, Defendants falsely

advertised Dixie X through a variety of media, targeting consumers nationally. Their claim that

that Dixie X contained no THC was not one-off promotional puffery; it was a fundamental selling

point of the product. In other words, Defendants’ false pitch about Dixie X could reasonably be

viewed as their regular way of advertising, promoting, and selling the product, and there was no
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“obvious ending point” to that scheme. Alkhatib v. N.Y. M otor Grp. L LC , No. CV-13-2337, 2015

WL 3507340, at *21 (E.D.N.Y. June 3,2015). The fact that Defendants later updated their website

to reflect Dixie X’s THC content does not undermine this conclusion. This is because “[w]hether

predicate acts pose a threat of future conduct is evaluated as of the time the acts are committed.”

Id. at *20.

        Accordingly, Defendants are not entitled to summaryjudgment on Douglas Horn’s RICO

claim.5 But for the same reasons set forth in the prior order, Douglas Horn is also not entitled to

summary judgment on the RICO claim, and Defendants are entitled to summary judgment on

Cindy Harp-Horn’s RICO claim. See H orn, 383 F. Supp. 3d at 133.

                                           CONCLUSION

        For the reasons discussed above, Defendants’ motions for reconsideration (ECF Nos. 97,

106) are GRANTED IN PART and DENIED IN PART, and Plaintiffs’ cross-motion for

reconsideration (ECF No. 112) is DENIED. The Court’s prior order is modified insofar as Douglas

Horn may now proceed with his RICO claim only to the extent it is premised on predicate acts of

wire and mail fraud. He may not proceed with his claim on the theory that Dixie X is a controlled

substance. By separate order, the Court will schedule a status conference to hear from the parties

on the progress of this action.

        IT IS SO ORDERED.

Dated: November 21, 2019
       Rochester, New York

                                                            l FRANK P. GERACI, JR.
                                                        Chief Judge
                                                        United States District Court


5 As the Court previously noted, Defendants are not precluded from raising issues of authentication and
hearsay in their pretrial motions. See Horn, 383 F. Supp. 3d at 131. To the extent Defendants prevail on
their arguments, the Court may revisit whether the RICO claim may proceed to trial. Id.
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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK

DOUGLAS J. HORN, et al.,

                                               Plaintiffs,
                                                                         Case # 15-CV-701-FPG
v.
                                                                         DECISION AND ORDER

MEDICAL MARIJUANA, INC., et al.,


                                               Defendants.


       On September 15, 2020, Plaintiffs Douglas J. Horn and Cindy Harp-Horn filed a motion

under Federal Rule of Civil Procedure 60(b), asking that the Court reconsider its ruling on one of

their theories of liability under civil RICO. ECF No. 129. Specifically, the Court has held that

“the mere presence of naturally occurring THC in a product does not render [the product] a

controlled substance so long as it is derived from an excepted part of the Cannabis sativa plant.”

ECF No. 124 at 5-6. The Court concluded that, because Plaintiffs did not proffer any evidence “to

show that Dixie X . . . is derived from a non-excepted part of the Cannabis sativa plant,” they

cannot “prove their RICO claim to the extent it is premised on the allegation that Dixie X is a

controlled substance.” Id. at 6. Plaintiffs now seek to relitigate that issue.

       Normally, the Court would issue a briefing schedule to allow Defendants to weigh in on

the matter. But given that the final pretrial conference is approximately two weeks away, further

briefing would only serve to delay the proceedings and is unnecessary, as Plaintiffs’ motion does

not merit relief. Accordingly, Plaintiffs’ motion is DENIED.

       Plaintiffs cite Rule 60(b)(1) as the basis for their motion, arguing that the Court’s rulings

are premised on a “mistake” that entitle them to relief. ECF No. 129-9 at 5; see Fed. R. Civ. P.
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60(b)(1) (“On motion andjust terms, the court may relieve a party ... from a finaljudgment, order,

or proceeding” due to “mistake, inadvertence, surprise, or excusable neglect”). Even if Rule

60(b)(1) were an appropriate vehicle for Plaintiffs’ arguments,1in substance they seek to relitigate

old issues, press new legal and factual theories, and, put simply, take a “second bite at the apple.”

A cao v. H older, No. 13-CV-6351, 2014 WL 6460120, at *1 (W.D.N.Y. Nov. 17, 2014). That is

not the purpose of Rule 60(b). See Wallace Wood Props. v. Wood, No. 14-CV-8597, 2015 WL

7779282, at *2 (S.D.N.Y. Dec. 2, 2015) (“A motion for reconsideration . . . is not intended to be a

vehicle for parties to relitigate cases or advance new theories that they failed to raise in their

underlying motion practice.”).

        This is consistent with this Circuit’s position on waiver/abandonment in the context of

summaryjudgment: where a party could have raised a legal theory or relied on certain facts during

summary-judgment motion practice, it is not entitled to advance such theories or rely on such facts

via a motion for reconsideration. See, e.g., Phoenix S F Lim ited v. U.S. B ank N .A ., No. 14-CV-

10116, 2020 WL 4699043, at *4 (S.D.N.Y. Aug. 12, 2020) (“[A] party that fails to raise an

argument in its opposition papers on a motion for summaryjudgment has waived that argument.”);

Rhee-K arn v. L ask, No. 19-CV-9946, 2020 WL 1435646, at *1 (S.D.N.Y. Mar. 24, 2020)

(declining to reconsider summary judgment order on basis that evidence in the record was

allegedly “overlooked,” where party “did not cite any of the evidence on which she now relies to

argue that reconsideration of the [Court’s] Opinion is warranted”); see also CILP Assocs., L.P. v.

PriceW aterhouse Coopers L LP , 735 L.3d 114, 125 (2d Cir. 2013) (at summaryjudgment, district




1But see Buck v. Libous,^ o . 02-CV-1142,2005 WL 2033491, at *1 n.2 (N.D.N.Y. Aug. 17,2005) (“[S]ince
an order denying summaryjudgment or granting partial summaryjudgment. . . is nonfinal, a party may not
seek relief from such an order pursuant to Rule 60(b).” (internal quotation marks and citations omitted)).
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court is not required “to scour the record on its own in a search for evidence when the plaintiffs

fail to present it” (internal quotation marks omitted)).

        Plaintiffs’ motion runs afoul of this authority. Plaintiffs primarily argue that, as a factual

matter, there is evidence in the record sufficient to support the inference that Dixie X is derived

from a non-excepted part of the Cannabis plant. Specifically, Plaintiffs allege that “[i]t has been

shown scientifically that cannabinoids . . . in the concentration necessary to make a product like

Dixie X[] are not found in the parts of cannabis that are exempted from the CSA definition of

marijuana.” ECF No. 129-9 at 19. Plaintiffs also argue that one can reasonably infer that “Dixie

X is derived from non-exem pt parts of the cannabis plant” from (1) Dixie X’s label, which states

the product contains “hemp whole plant extract”; (2) Dr. Cindy Orser’s testimony about the

manufacturing process; and (3) the fact that Dixie X contains THC far in excess of the amounts

found in legal hemp products. ECF No. 129-9 at 15-16, 20.

        These may be plausible arguments, but Plaintiffs articulate no reason why they did not raise

them earlier.2 In its decision on summary judgment, the Court explicitly stated that Dixie X’s

legality turned on the manner in which, and the part of the plant from which, it was produced. See

H orn v. M edical M arijuana, In c ., 383 F. Supp. 3d 114, 123-24 (W.D.N.Y. 2019). The Court

initially concluded that Dixie X could be found unlawful, as “Defendants do not contend that the

CBD byproduct from the extraction process can be described as anything other than a ‘resin

extracted from’ the Cannabis sativa plant.” Id. at 124; see also 21 U.S.C. § 802(16) (2012)

(defining marijuana to include “the resin extracted from any part” of the Cannabis sativa plant, as

well as “every compound” or “mixture” of the resin). As the Court highlighted in the order, this


2 Plaintiffs seem to suggest that there is new (non-binding) legal authority and helpful regulatory guidance
that excuses the untimeliness of the present motion. The Court disagrees. The materials Plaintiff identify
do not articulate a new or radical legal principle that Plaintiffs could not have previously anticipated; at
best, they support a position that Plaintiffs could have taken from the outset.
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framework for assessing the legality of Dixie X was different than Plaintiffs’ theory—they

maintained that “the presence of any amount of THC” rendered Dixie X “a Schedule 1 controlled

substance.” ECFNo. 69-26 at 12; see also id. at 12-14, 20-21; ECFNo. 69-24 at 6 (“Any material,

compound, mixture or preparation that contains any quantity of THC or marijuana extract

containing one or more cannabinoids derived from any plant of the genus Cannabis is categorized

as a DEA Schedule I controlled substance.”); ECF No. 70-23 at 7 (“Dr. Graham showed that the

Defendants’ final product formulations of the Dixie X Dew Drops Tincture product with the

presence of ‘a n y ’ amount ofTHC rendered it a Schedule 1 controlled substance as described under

21 U.S.C. §1308.11, and not eligible for an exemption to a Schedule I classification under 21

U.S.C. §1308.35 since it was formulated, marketed and distributed for human consumption.”).

        In their motion for reconsideration, Defendants “argue[d] that the Court erred insofar as it

assumed that Dixie X contained resin extract derived from the Cannabis sativa plant and thus

constituted marijuana.” ECFNo. 124 at 5 (internal quotation marks omitted). In ordering briefing

on that motion, the Court expressly stated that if Plaintiffs intended “to challenge the moving

defendants’ factual assertions, they must do so in the manner contemplated by Federal Rule of

Civil Procedure 56(c)(1).” ECF No. 98. Despite having notice of the Court’s framework and of

the need to produce supporting evidence, Plaintiffs did not make the factual argument they now

make,3 and instead argued that the Court’s framework was incorrect. See, e.g., ECF No. 112-1 at

2-3 (affidavit of Plaintiffs’ expert); ECF No. 112-3 at 2 (“[I]t is immaterial whether the plant


3 Plaintiffs did cite Dr. Orser’s testimony and the Dixie X label in their brief on the motions for
reconsideration, but they did so in the context of distinguishing Defendants’ product from those at issue in
two related Ninth Circuit cases. See ECF No. 112-3 at 4-5. Plaintiffs did not develop an argument that
those facts proved that Dixie X was derived from a non-excepted part of the Cannabis plant. To the
contrary, they believed that the issue was “immaterial.” Id. at 2. It was not incumbent on the Court to
further develop these facts on Plaintiffs’ behalf. See United States v. Zannino, 895 F.2d 1, 17 (1st Cir.
1990) (“It is not enough merely to mention a possible argument in the most skeletal way, leaving the court
to do counsel’s work, create the ossature for the argument, and put flesh on its bones.”).
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compound used to describe the formulation basis of the Dixie product was obtained from a resin

extract or a non-resin extract.”); ECF No. 112-3 at 3 (“[A]ny product that contains any amount of

THC was a Schedule I controlled substance in 2012.”).

        Plaintiffs could have asked the Court to draw the factual inferences they now advance, but

they took a different tack and wholly disagreed with the Court’s framework for analyzing the issue.

Plaintiffs have every right to craft their theory of the case, but, by the same token, the Court has

no obligation to “perform an independent review of the record to find proof of a factual dispute,”

A m nesty Am. v. Town o f West H artford, 288 F.3d 467, 470 (2d Cir. 2002), or to develop a theory

on Plaintiffs’ behalf that they quite explicitly did not want to pursue. C f Garcia v. Jackson H urst

Partners L L C , No. 18-CV-3680,2018 WF 4922913, at *2 (E.D.N.Y. Oct. 10,2018) (“The purpose

of the abandonment doctrine is to give effect to a plaintiff s right to control his or her theory of the

case, and to winnow out legal theories that the plaintiff has chosen not to prosecute.”).

Undoubtedly, this was a complex issue, and the Court in no way faults Plaintiffs for advancing a

legal theory at odds with the Court’s view. But Plaintiffs cannot re-cast their own litigation

strategy into a mistake or error on the Court’s part.

        For similar reasons, Plaintiffs err when they argue that Defendants did not provide

sufficient evidence that Dixie X is manufactured from lawful Cannabis derivatives. See ECF No.

129-9 at 13. The quality of Defendants’ evidence is beside the point: it is the plaintiff who bears

the burden of proving a civil RICO claim. See A rons v. Lalim e, 3 F. Supp. 2d 314, 320 (W.D.N.Y.

1998). Where the moving party will not bear the burden of proof at trial, it may “obtain summary

judgment by showing that little or no evidence may be found in support of the nonmoving party’s

case.” Gallo v. Prudential Residential Servs., Ltd. P ’ship, 22 F.3d 1219, 1223-24 (2d Cir. 1994);

see also Ockimey v. Town o f H em pstead, 425 F. App’x 45, 45 (2d Cir. 2011) (summary order)
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(“[A] moving defendant is not required to file affidavits (or other materials) disproving the

plaintiff s claims.”). At summary judgment (and on the motions for reconsideration), Plaintiffs

were required to affirmatively produce evidence sufficient to create a genuine issue as to whether

Dixie X was derived from a non-excepted part of the Cannabis plant. Instead, Plaintiffs deemed

the issue irrelevant and failed to affirmatively identify or articulate the relevance of the evidence

they now cite. Plaintiffs were of course free to advance their theory in lieu of addressing the

Court’s position, but they are not entitled to a “do-over” once that failed.

       Finally, to the extent Plaintiffs dispute the Court’s interpretation of § 802(16) and the CSA,

their motion cannot be used to relitigate that matter, see A cao v. H older, 2014 WL 6460120, at *1,

and, regardless, the Court finds their arguments unpersuasive. The purported legal distinctions

Plaintiffs draw between “non-psychoactive THC” versus “psychoactive THC” and permissible

versus impermissible levels ofTHC find no support in the plain language of the statute. See ECF

No. 129-9 at 8-9, 17-18.

                                          CONCLUSION

       For the reasons discussed above, Plaintiffs’ Rule 60(b) motion (ECFNo. 129) is DENIED.

The pretrial conference will go forward as scheduled, and all associated deadlines remain in place.

       IT IS SO ORDERED.

Dated: September 16, 2020
       Rochester, New York



                                                       ChiefJudge              ^
                                                       United States District Court
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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK
DOUGLASTrHORNandCTNDY"HARP^HORN~

                     Plaintiffs,                         Civil Action No.
                                                         15-cv-00701-FPG
 -against-
                                                         Hon. Magistrate Judge
MEDICAL MARIJUANA, INC., DIXIE                           Jonathan W. Feldman
HOLDINGS, LLC, RED DICE HOLDINGS, LLC,
and DIXIE BOTANICALS,

                     Defendants.




                 Defendant Dixie Holdings’ Motion In Limine to Preclude
                       Testimony of Mark P. Zaporowski, Ph.D.




                                           MAZZOLA LINDSTROM, LLP
                                           Attorneys for defendant Dixie Holdings, LLC
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              Richard E. Lemer
              Hanoch Sheps




Dated: July 22, 2021
       New York, New York
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                                        Preliminary Statement
          Defendant Dixie Holdings, LLC, by its undersigned counsel, hereby moves, in limine, to

preclude the trial testimony of plaintiff s expert economist Mark P. Zaporowski, Ph.D. Plaintiff

claims loss of earnings as a result ofhaving taken an allegedly THC-contaminated product.1

However, loss of earnings is not recoverable in a civil RICO action. As for the sole remaining

state-law claim of fraud, loss of earnings is not recoverable. Moreover, even if tort damages for

loss of earnings were recoverable, such damages are measured by loss of earning capacity, as

opposed to loss of earnings. In other words, without a preliminary finding that plaintiffDouglas

Horn had a loss of earning capacity he cannot recover for loss of earnings.

                                               Argument
Point I:             Because RICO Does Not Contemplate Loss-of-Earnings
                     Damages, Dr. Zaprorowski’s Proposed Testimony Must be
                     Precluded on the Ground That It Is Irrelevant.
          Plaintiff postulates that he suffered damages as a result of exposure to THC. The harm

from which plaintiff s alleged damages flow is thus the THC that was allegedly found in his

system on urinalysis testing. If there is a nexus between the alleged RICO violations and the

damages plaintiff allegedly sustained, that nexus can only be the harm of the THC found in his

system.

          The Eastern District ofNew York held in Gause v. Philip M orris that a claim ofloss of

earnings is not recoverable in RICO:

          Although Plaintiff characterizes her injuries as a "loss of property," ... inan effort
          to create a cognizable injury under RICO, an analysis ofher complaints reveals
          otherwise. Specifically, Plaintiff's asserted "loss of property" is, in essence, a loss
          of income due to an alleged inability to work since becoming afflicted with
          emphysema. . . . A loss of income, however, is not considered a "loss of property"
          as required under RICO. See, e.g., Doe v. R oe, 958 F.2d 763, 770 (7th Cir. 1992)
          ("loss of earnings ... reflect personal injuries which are not compensable under

1Annexed is the Plaintiff s Final Pre-Trial Order Compliance submission (ECF DKT #179)
indicating (at pg. 3) the anticipated scope and substance ofDr. Zaporowski’s testimony.
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          RICO). In Doe v. R o e, the Seventh Circuit provided some insight into how the
          characterization of personal injuries may resemble loss of property, but under the
          statutory requirements of RICO, these injuries are insufficient to establish
          standing.
Gause v. Philip M orris, CV-99-6226 (IS), 2000 U.S. Dist. LEXIS 14268 (E.D.N.Y. Aug. 2,
2000 ).
          Similarly, the Northern District ofNew York held loss-of-eamings damages to have been

unrecoverable under RICO in Gilfus v. Vargason, stating:

          In their Complaint, Plaintiffs' submit as a result of Defendants' alleged RICO
          violation, they "suffered economic loss, including h is [sic] inability to p u rsu e his
          [sic] chosen career, as well as serious physical and emotional injuries . . . A s a
          result of [Defendants' RICO Violations] the Plaintiffs . . . was [sic] made ill,
          suffered extreme physical, mental suffering and distress, [and] was subjected to
          overwhelming humiliation . . . . " . . . As stated above, Section 1964(c) of the RICO
          statute creates a private right of action for "[a]ny person injured in his business or
          property by reason of a violation of section 1962." 18 U.S.C. § 1964 (emphasis
          added).
          A plain reading of the RICO statute reveals that Plaintiffs cannot seek damages
          for physical injury, mental suffering, distress, or humiliation. See 18 U.S.C. §
          1964(c). Although the Second Circuit has not squarely addressed the issue, other
          Circuits have held that economic damages resulting from personal injuries are not
          actionable under RICO. As the Seventh Circuit explained:
                  Most personal injuries-loss of earnings, loss of consortium, loss of
                  guidance, mental anguish, [*27] and pain and suffering, to name a few-
                  will entail some pecuniary consequences. Perhaps the economic aspects of
                  such injuries could, as a theoretical matter, be viewed as injuries to
                  "business or property," b u t engaging in such m etaphysical speculation is
                  a ta sk best left to philosophers, n o t the fe d e ra l ju d icia ry. Rather, we must
                  determine if these injuries fall within the framework of § 1964(c) as
                  understood by Congress . . . They do not.
          Doe v. R o e, 958 F.2d 763, 770 (7th Cir. 1992); see also B ast v. Cohen, Dunn &
          Sinclair, P .C ., 59 F.3d 492, 495 (4th Cir. 1995)(citing Doe and explaining that
          pecuniary losses flowing from extreme mental anguish do not constitute injury to
          property); Schiffels v. K em per Fin. Servs., 978 F.2d 344,353 (7th Cir. 1992)
          (explaining that personal injuries such as embarrassment, humiliation, and
          emotional distress, do not constitute an injury "to business or property" even if
          those injuries resulted in a pecuniary loss); Genty v. Resolution Trust Corp., 937
          F.2d 899, 918-19 (3d Cir. 1991) (holding that physical and emotional injuries
          caused by exposure to toxic waste and [*28] resulting in medical expenses not
          compensable as injury to property under § 1964(c)); Grogan v. P latt, 835 F.2d
          844, 848 (11th Cir. 1988) (holding recovery not available under RICO for
          pecuniary losses best understood as part of a personal injury claim, including loss
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       of income, resulting from murder); Drake v. B.F. Goodrich Co., 782 F.2d 638,
       644 (6th Cir. 1986) (finding RICO inapplicable to wrongful death action);
       Hollander v. Flash Dancers Topless Club, 340 F.Supp.2d 453 (S.D.N.Y. 2004)
       (explaining that damages to plaintiffs "'business reputation and good w ill'. . . and
       ’imperil[ing] his safety, life, liberty and right not to live in fear'. . ., simply are not
       the type of injuries to 'business or property" that are actionable under RICO.").
       Regardless of whether Plaintiffs' damage claim for the "inability to pursue his
       chosen career" might quality as an injury to "business or property," the remaining
       damages sought, serious physical and emotional injuries and humiliation, are not
       actionable under RICO. Defendants are entitled tojudgment on the pleadings as
       against Plaintiffs in their cause of action under RICO.
Gilfus v. Vargason, No. 5:04-CV-1379 (HGM/DEP), 2006 U.S. Dist. LEXIS 74037, at *25-28
(N.D.N.Y. Sep. 30, 2006) (emphasis added).
       Plaintiffhas disclosed Dr. Zaporowski as a trial witness to give expert opinion testimony

about plaintiff s loss of earnings; however, the metaphysical connection between the alleged

RICO violation and the loss of earnings can only be connected, if at all, through the harm of

having been exposed to THC. This is no different than the harm in Gause v. Philip M orris -

inhalation of cigarette smoke - causing an inability to earn a living. As there is no basis for such

recovery in RICO, Dr. Zaporowski’s proposed testimony as to loss of earnings is irrelevant to

this case, and he must therefore be precluded from testifying.

Point II:       Because New York Does Not Allow for Loss-of-Income
                Damages for Fraud, Dr. Zaprorowski’s Proposed Testimony
                Must Be Precluded on the Ground That It Is Irrelevant.
       Under New York law, the measure of damages in an action for fraud is indemnity for the

actual pecuniary loss sustained as a direct result of the wrong; that is, only out-of-pocket losses

are recoverable. Continental Cas. Co. v PricewaterhouseCoopers, L LP , 15 N.Y.3d 264 (2010).

Where an investor or purchaser claims that he was defrauded into making an investment, he may

not recover what he claims would have been his income or profit:

       In a fraud action, a plaintiff may recover only the actual pecuniary loss sustained
       as a direct result of the wrong (Reno v. Bull, 226 NY 546 [1919]). Under this rule,
       the actual loss sustained as a direct result of fraud that induces an investment is
       the “difference between the value of the bargain which a plaintiff was induced by
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        fraud to make and the amount or value of the consideration exacted as the price of
        the bargain” (Sager v Friedm an, 270 NY 472, 481 [1936]). The damages are to
        compensate plaintiffs for what they lost because of the fraud, not for what they
        might have gained (see Lam a H olding Co. v Smith Barney, 88 NY2d 413,421
        [1996]).
Id. at 271.

        i n M ihalakis v. C abriniM ed. C tr., 151 A.D.2d 345 (1st Dep’t 1989), a medical student

claimed that she was defrauded by defendant Cabrini Medical Center into accepting a position as

a medical intern and then being terminated in violation of Cabrini’s policies and procedures. The

plaintiff sued for $345,324,000 in lost earnings caused by the allegedly deficient internship

program, claiming that she gave up an opportunity to complete an internship program having the

characteristics that defendant hospital allegedly represented its program had but did not. She

sought damages “representing plaintiff’s lifetime prospective earnings as a physician.” Id. at 345.

        The Appellate Division reversed the trial court’s determination that the complaint stated a

viable claim for damages for fraud, ruling that such damages were not recoverable in fraud, as

they were entirely speculative. See, also, Gomez-Jimenez v. New York Law School, 36 Misc. 3d

230 (Sup. Ct., NY Co., 2012), aff ’d 103 A.D.3d 13 (1st Dep’t 2012) (“Despite the factual

differences between this case and M ihalakis, the court is of the opinion that the general rule set

forth in M ihalakis is applicable here. Namely, the court there refused to speculate as to both the

‘true value’ of an internship program and the value of an internship program having the

characteristics that defendants allegedly misrepresented.”)

        In the case at bar, while the plaintiff could at most recover his out-of-pocket loss -

perhaps recovery of the money he paid for a bottle of CBD oil - he cannot recover, on a cause of

action for fraud, for his alleged loss of earnings. Accordingly, there is no basis for Dr.
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Zaporowski’s proposed testimony, as it is irrelevant to the damages that may be recovered for

fraud.

Point III:      Loss-of-Income Damages Must be Predicated Upon a Loss of
                Earning Capacity. As Plaintiff Failed to Notice a Vocational
                Expert to Lay a Foundation for Dr. Zaprorowski’s Proposed
                Testimony, Dr. Zaprowski’s Testimony Would Be Lacking a
                Foundation and Must Be Precluded.
         In New York, while there is often loose language referring to claims o f“loss of

earnings,” such damages are only recoverable where there is a loss of earning capacity. So, for

example, if a plaintiffhas lost hisjob, for whatever tortious reason - wrongful termination, slip-

and-fall injury, medical malpractice, etc. - he may only recover if such alleged tort caused a loss

of earning capacity. If he can go out and get ajob earning the same or more pay, then he cannot

recover, regardless whether he does or does not actually go out and accept ajob earning at least

equivalent remuneration, as loss of earning capacity is an element of a claim ofloss of earnings.

See, Clanton v. A goglitta, 206 A.D.2d 497 (2d Dep’t 1994) (“We find, however, that the verdict

as to damages for impairment of earning ability deviates materially from what would be

reasonable compensation. The basic rule is that loss of earnings must be established with

reasonable certainty, focusing, in part, on the plaintiffs earning capacity both before and after the

accident. In this case, the plaintiff's earnings prior to the accident, combined with his failure to

mitigate damages lead to the conclusion that thejury’s award for impairment of earning ability

deviates materially from what would be reasonable compensation and should be reduced to the

extent indicated.”) (Citations and internal quotes omitted).

         Here, there is no foundation for an economist to extrapolate as to the damages resulting

from a loss of earning capacity because there is no evidence that plaintiff Horn sustained a loss

of earning capacity, nor even a loss of earnings, as there was nothing that prevented him from

finding equally remunerative employment. Indeed, he testified that he was able to find work with
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several trucking companies after the claim arose, and even earned comparable amounts of

money. Moreover, as there will be no expert opinion evidence that he is not suited for and

capable of working in another field of endeavor, there can be no basis for Dr. Zaporowski to

opine that plaintiff sustained actual damages as a result ofhaving been (allegedly) exposed to

THC and terminated from hisjob at the trucking company that employed him. The necessary

part of the claim for lost earnings upon which one must focus - viz, the element of loss of

earning capacity - is wholly absent here.


         WHEREFORE, it is respectfully submitted that plaintiff’s expert economist Mark P.

Zaporowski, Ph.D. must be precluded from testifying at trial.

Dated:          July 22, 2021
                New York, New York

                                                     Respectfully submitted,

                                                     MAZZOLA-Ef^DSTROM, LLP


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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK
............................................................................................X
DOUGLAS J. HORN and CINDY HARP-HORN,
                                                                                                Civ Action No: 15-cv-701 FPG/MJR
                                                 Plaintiff,
                                                                                                PLAINTIFF’S FINAL
            -against-                                                                           PRE- TRIAL ORDER
                                                                                                COMPLIANCE

MEDICAL MARIJUANA, INC.,
DIXIE ELIXIRS AND EDIBLES,
RED DICE HOLDINGS, LLC, and
DIXIE BOTANICALS,
                                                  Defendants,
............................................................................................X

            Pursuant to the Pre-Trial Order of Court of April 29, 2021, the Plaintiff makes the

following Statements:

            A. VOIR DIRE INFORMATION

                   1. This case is brought by plaintiff Douglas James Horn pursuant to the Racketeer
                      Influenced and Corrupt Organizations Act “RICO” statute, 18 U.S.C. 1962(c) and
                      New York State common law fraudulent inducement and concealment.

                                 Plaintiffbroughtthis case againstthree parties. Medical Marijuana Inc. as
                        the parent company of Red Dice Holdings, LLC who together sold finished hemp
                        and cannabis based products across the United States. Together, these companies
                        purchased various companies, such as the third Defendant and its brand, Dixie
                        Elixirs, LLC. Dixie was the company that researched, developed, manufactured,
                        and distributed the hemp-based products, specifically the Cannabidiol (“CBD”)
                        product at issue here and the one Plaintiff took: the 500 mg “Dixie X Elixir”
                        which was a liquid taken by the consumer with an eye-dropper squeezed, placed
                        under the tongue and swallowed.

                                In September, 2012, James and his wife Cindy were over-the-road semi
                        truck drivers hauling various materials across the U.S. since 1998. As truck
                        drivers for thirteen years with an impeccable record, the couple had to submit to
                        random drug testing required by the U.S. Department ofTransportation (“DOT”)
                        to insure they would not be driving under the influence of drugs or alcohol.

                               In September, 2012, the couple researched hemp-based products to treat
                        James’ shoulder and back pain that he sustained inatruck accident in early 2012.
                        Normal medications were not helping James’ pain. The couple specifically
                        researched Defendant’s Dixie X liquid Tincture product after seeing an article in a
                        magazine at a truck stop. They first observed aYouTube video with the CEO of
                        the Dixie X; they were then led to website articles and Frequently Asked

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        Questions (“FAQs”) as to the content of the Dixie X Tincture product. They had
        also contacted customer service for the product to inquire as to what they found in
        Defendants’ advertising across the various media.

                In all advertising and statements they found in September, 2012,
        Defendants’ represented that the product contained “no-THC”
        (Tetrahydrocannabidiol Delta-9), had “0% THC”, was “THC-free” and was a
        “non-THC” product. In September, 2012, the Dixie X product was a brand new
        product that was launched that month. THC is the psycho-active component in
        marijuana and in 2012 is a controlled substance under federal law, and was illegal
        in New York. After over 10 years at the same company, Enterprise Transport, and
        after their extensive research, James and Cindy decided that the product was safe
        for James to use to treat his pain, and it would not produce a positive drug test.

                On September 17, 2012, James and Cindy ordered the product. Defendant
        Red Dice Holdings sent James the product to their home in New York from its
        distributor in Colorado. Since they were on the road every day across the country,
        James did not take the Dixie X tincture until around October 1, 2012. He took it
        every day as prescribed through October 9, 2012.

               On October 9, 2012, Plaintiff was called in by his employer Enterprise to
        submit a random urine sample for drug screening. He did so. Two days later, on
        October 11, 2012, James and Cindy were notified that James’ urine contained an
        amount ofTHC and he was immediately fired and told to leave the company.

               Plaintiff s case is for compensation for the substantial loss of wages that
        followed after he was fired on October 11, 2012 due to his taking ofDefendants’
        Dixie X product which produced a positive drug test for THC.

    2. Douglas James Horn
       195 Parker Road
       Lockwood, NY 14859

    3. Plaintiff s Counsel
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        Legal Assistants: Kirsten Anderson and Jennifer Wettlaufer
        Law Clerks: Nicholas Ramirez and Roxanna Herreid




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             4. WITNESSES

               Plaintiff s List ofWitnesses were listed on the Court form and overnighted
               on June 14, 2021 to both Court and counsel pursuant to the Final Pre-Trial
               Order.

   E.   EXPERT TESTIMONY

             Dr. Kenneth Graham, Forensic Toxicologist, Pharmacologist and Pharmacist.

             Dr. Graham is expected to testify consistent with his report and rebuttal
             disclosed in discovery in this case. His ultimate opinions will be that
             Defendants’ falsely represented in advertising in various media, Defendants’
             bottle labelling on the product, and Defendants’ Certificates of Analysis that
             the Dixie X product had no THC.

             Dr. Mark Zaporowski, Economist. Canisius College.

             Dr. Zaporowski is expected to testify consistent with his report, rebuttal and
             Tables in Plaintiff s Exhibit List as to Plaintiff s past lost compensation, future
             lost compensation, value of lost health benefits, lost retirement savings and
             difference in work effort post separation.

        G.     DAMAGES

               Plaintiffs damages of past and future lost compensation, lost health
               benefits, lost retirement savings and difference in work effort mileage
               driven are detailed in Plaintiff s Exhibit 12 on Plaintiff s exhibit list. (The
               Tables of Calculations of expert economist Dr. Mark Zaporowski).

Dated: June 22, 2021
        New York, New York                              THE LINDEN LAW GROUP, P.C.
                                                                   S e n ja m cn
                                                       Jeffrey Benjamin, Esq.,
                                                       Attorney for Plaintiff
                                                       5 Penn Plaza, 23rd Floor
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                                           July 26, 2021

Via ECF

Mag. J. Jonathan W. Feldman
U.S. Magistrate Judge, U.S. Courthouse
100 State Street
Rochester, NY 14614

       Re:     H orn v. M edical M arijuana, Inc., et al.
               Case No: 15-CV-701 (FPG-MJR)

Dear Judge Feldman:

       We represent Plaintiff in this matter.

        As Your Honor is aware, we received the Dixie Defendant’s Motion for Summary
Judgment on damages (though styled a “Motion in Limine”) on Thursday, July 22, 2021, two (2)
days before trial. Then, after the Court conference where I committed to a time for Plaintiff’s
opposition to be filed, I then received Dixie’s counsel’s email just before 5:00 p.m. on Friday,
July 23, 2021, citing three previously absent cases purportedly in further support of their motion.
I will now have to piece together where this further purported support fits in to Dixie’s originally
filed motion.

         I cannot express enough to the Court the substantial prejudice the timing of this motion
has caused to the Plaintiff, his experts, his witnesses and his counsel and co-counsel. Most
respectfully, everyone on our side relied on Your Honor’s Pre-Trial Order stating that trial would
start today, as a “day-certain . . . which will not be adjourned.” The sums of money expended by
the Plaintiff and his team in the last month, but particularly last week, was substantial, and the
Horns as truck drivers to and from the West Coast will now lose more time from work.

        In incurring these expenses, the Plaintiff’s side additionally relied on the unequivocal
directive in the Court’s Order Page 23, Paragraph H:

       “The Court expects the parties to raise any potential issues at the pre-trial
       conference, or as soon as they become evident, so that the Court and the parties
       will have adequate time to consider the issues.”

       The Dixie Defendant’s “eve of trial” motion is clearly inconsistent with those portions of
the Order, and as we will argue in our brief, these issues should have been evident, at a
minimum, at the pre-trial conference on June 29, 2021. Of course, the time for dispositive
motions expired years ago, and Judge Geraci decided all summary judgment motions long ago.
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        The above all said, I respectfully wish to clarify whether we will have the week of
August 16, 2021 to complete the trial. I believe Your Honor indicated at the phone Conference
that thejury would not be held beyond August 15.

       I must respectfully repeat that Plaintiff will not be able to finish the entire case by August
13, 2021 should Plaintiff defeat Dixie’s late-filed motion. If that is the case, I am compelled to
request of the Court an adjournment to an earliest trial date of October 11. 2021. due to
scheduling issues and religious observances through the entire month of September.

       The Horns, their experts and their counsel sustained a substantial loss of money and time,
and loss of work, due to the timing of Dixie’s motion. The Plaintiff and his witnesses made a
complete effort consistent with the Final Pre-Trial Order to start today as ordered, and at great
and lost expense.

      In sum, I must respectfully request further clarification whether the parties will have the
week of August 16 to complete the trial.

       Thanking the Court for consideration of this request.

                                           Very truly yours,


                                           Jeffrey Benjamin, Esq.
cc: All parties via ECF
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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK
..................................................................................... X
DOUGLAS J. HORN and CINDY HARP-HORN,
                                                                                          Civil Action No:

                                              Plaintiffs,                                 15-cv-701 FPG/MJR

                                  -against-

MEDICAL MARIJUANA, INC.,
DIXIE ELIXIRS AND EDIBLES,
RED DICE HOLDINGS, LLC, and
DIXIE BOTANICALS,

                                              Defendants,
                                              ------------------------------X




                    PLAINTIFFS’ MEMORANDUM OF LAW IN OPPOSITION TO
                     DEFENDANT DIXIE’S MOTION I N L IM IN E TO PRECLUDE
                      TESTIMONY OF EXPERT MARK P. ZAPOROWSKI, Ph.D.




                                                   Jeffrey Benjamin, Esq.
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                                                         Attorneys fo r P la in tiff




Dated: New York, New York
       July 29, 2021
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                P R E L IM IN A R Y S T A T E M E N T a n d R E L E V A N T P R O C E D U R A L H IS T O R Y

          On Thursday, July 22, 2021, one (1) business day before a “day-certain” trial1, the Dixie

Holdings, LLC Defendant (“Dixie”) filed a mis-named M otion in Limine but what is, in

actuality, a latent Motion for Summary Judgment on the issue of damages. At the close of

business, Friday, July 23, 2021, Dixie’s counsel then e-mailed three cases omitted from its

motion, purportedly in further support of same.

          Noticeably absent from Dixie’s moving papers is the statutory basis for making this

motion on the eve of trial. Although the moving papers avoid mention of Rule 56, this motion

may also be characterized as a dispositive pleadings motion under FRCP 12(c). For the first

time, Dixie’s motion attacks the Plaintiff’s prayer for relief in his pleadings because it bears

directly upon the threshold issue of standing under Plaintiff s causes of action for RICO and

Fraud. As such, the timing of Dixie’s motion frustrates both this Court’s Pre-Trial Order, and

FRCP 12(c) against the “delay of trial.”

          In addition, the timing of Dixie’s motion runs afoul of the unequivocal directive in the

Court’s Pre-Trial Order Page 23, Paragraph H at Doc #174:

          “The Court expects the parties to raise any potential issues at the pre-trial
          conference, or as soon as they become evident, so that the Court and the parties
          will have adequate time to consider the issues.”

          The issue of Plaintiff s clear and definite damages is, for the first time throughout this

six-year litigation, being challenged on the eve of trial. The subject matter that Dixie now

challenges for the first time, has been evident and part of the record since the disclosure of

Plaintiff s expert Economist’s Report in August, 2017 and, certainly, after his deposition in

December, 2017. His updated 2020 Report is annexed hereto as Exhibit “A.” Dixie’s claim of



1 P u rs u a n t to th e C o u rt’s P re -T ria l O rd e r o f A p ril 29, 20 2 1 , b o tto m o f P a g e 17 a t D o c #174.
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oversight is remarkable as they have had nearly four (4) years to consider the Plaintiff s damages

and move accordingly.

        The Dixie Defendant well knew the specific nature of Plaintiff s claims for damages (i.e.

past and future lost compensation) as far back as the filing of Plaintiff s Complaint, or at least

their Answer dated October 23, 2015, wherein they actually pleaded an Eleventh Affirmative

Defense of “standing” as to Plaintiff s injuries under RICO. (See Doc #9, bottom of Page 11.)

The Court respectfully should not accept this sharp and dilatory practice—particularly since

Dixie’s legal assertions are not supported by the authority they cite, or are otherwise inapplicable

to Mr. Horn’s case.

        The time for dispositive motions expired, by order of Court, years ago. Judge Geraci

decided all summary judgment motions long ago and further established the law of the case in so

ruling. Indeed, Judge Geraci considered each of the elements of Plaintiff s Fraud and RICO

cases before denying summary judgment on those two claims. Additionally, this Court decided

Dixie’s numerous and extensive Motions in Limine in its Pre-Trial Order.

        Setting aside the egregiously prejudicial2 timing of this motion, as will be discussed more

fully below, the moving Defendant somehow missed the Second Circuit precedent of D enney v.

Deutsche B ank AG , 443 F.3d 253, 266 (2d Cir. 2006), and then its progeny which sets out the

controlling standard for RICO damages: “[a] RICO plaintiff ‘only has standing if, and can only

recover to the extent that, he has been injured in his business or property by the conduct

constituting the [RICO] violation[,]’ and only when his or her ‘actual loss becomes clear and



2 The Horns, their experts and their counsel sustained a substantial loss of money and time, and loss of
work, due to the timing of Dixie’s motion. The Plaintiff and his witnesses made a complete effort
consistent with the Final Pre-Trial Order to be ready for July 26, 2021 as ordered, and at great and lost
expense.


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definite.” D enney v. Deutsche B a n k AG , 443 F.3d 253, 266 (2d Cir. 2006) (quoting First

Nationwide B a n k v. Gelt Funding Corp., 27 F.3d 763, 767-69 (2d Cir. 1994)); see also City o f

New York v. FedEx, 175 F. Supp. 3d 351, 369 (S.D.N.Y. 2016). The notable absence and

discussion of this controlling precedent is telling.


                                           ARGUM ENT

   I.      Introduction

   Dixie’s motion is improper both procedurally and substantively. This Defendant’s failure to

raise the Second Circuit case, D enney v. Deutsche B ank AG, 443 F.3d 253 (2d Cir. 2006), was a

fatal substantive flaw. In Denney, the Second Circuit articulated the standard for damages

available pursuant to a RICO Claim confirming that a plaintiff is entitled to recover where “he

has been injured in his business...by the conduct constituting the [RICO] violation.. .when (as

here) h is . actual lost becomes clear and definite. Id. at 266 (citing First Nationwide B ank v.

Gelt F unding Corp., 27 F.3d 763, 767-69 (2d Cir. 1994). In so holding, the D enny Court

recognized a RICO Plaintiff s right to damages once same have been demonstrated to be “clear

and definite.” Plaintiff s expert is being called to establish the extent of the Plaintiff’s heretofore

clear and demonstrated damages.

   Mr. Horn suffered demonstrable and definite economic damages resulting directly from his

loss of employment caused by the Defendant’s malfeasance after urinalysis test results showed

THC in his system, which Mr. Horn was exposed to by Defendants’ product. Mr. Horn, upon

being terminated, lost a lucrative means of employment, and therefore lost past and future wages

from this job. The nexus between the RICO violations and fraud at issue and Mr. Horn’s

resulting economic damages, therefore, is the harm of the THC that was introduced into Mr.

Horn’s system by Defendants’ product. The issue Mr. Horn brings to the jury is that his non-


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speculative economic damages flowed from Defendant’s combined conduct in bringing the

product to market and selling and sending it to Mr. Horn.

         As for Plaintiff s expert, his Economist Dr. Zaporowski’s and his expert report of past

and future lost wages were disclosed to the movant years ago. Dr. Zaporowski’s report is based

on Mr. Horn’s filed and fixed tax returns, and is based upon compensation that was never paid in

cash. Over the years of this case, there has been no secret as to their nature of his damages, their

clarity or their definiteness. In actuality, Mr. Horn mitigated his damages over nine years by

clawing his way back into the trucking industry over that period. Plaintiff’s Economist calculates

the exact past lost compensation had he not been fired over that long period of time, and

calculates the future loss based on widely accepted statistical work-life expectancy tables of the

U.S Bureau of Labor Statistics, a source upon which even the defense expert relied. In Dr.

Zaporowski’s annexed report, he pertinently and competently uses the Employee Cost Index to

calculate Plaintiff s future lost compensation with a growth rate of 2.5% from 2019 onward.

   II.      Mr. Horn’s Loss of Earnings Claim is Compensable in Connection with his
            RICO Claim

         As stated above, the issue of the Plaintiff s claims under his RICO claim has been fully

litigated and ruled upon previously in this action by Judge Geraci and remains the law of the

case. Neither a timely application for reconsideration, or new motion was ever sought by this

movant. Plaintiff should be entitled to proceed to trial in good faith reliance upon the rulings and

prior orders of the Court. The applicable standard is clear that where proximate cause has been

established, a RICO Plaintiff may recover for the “injury flowing from [the RICO]

violation.’necessarily is the harm caused by [the] predicate acts.’” City o fN ew Yorkv. FedEx

Ground Package Sys., 175 F. Supp. 3d 351, 370 (S.D.N.Y. 2016) (citing A nza v. Ideal Steel

Supply Corp., 547 US 451 (2006). Defendant’s challenge in this regard fails substantively, as



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Mr. Horn’s case falls squarely within the parameters of the D enney case and the New York

District Court cases which followed.

       Plaintiff’s claim for past and future lost wages are recoverable damages under RICO.

See, Jerry Kubecka, Inc. v. Avellino, 898 F. Supp. 963, 968 (E.D.N.Y. 1995); Blue Cross & Blue

Shield o f N.J., Inc. v. P hilip M orris, In c., 36 F. Supp. 2d 560, 571 (E.D.N.Y. 1999)

[distinguishing personal injuries from economic injuries which the court deemed compensable].

   Loss of earnings claims have been held to be recoverable under RICO in multiple cases. In

Rodonich v. H ouse Wreckers Union, the Court noted that the plaintiffs suffered a requisite

proprietary-type injury under RICO, holding that as direct injury is not required, “. to the

extent that plaintiffs’ purported injuries consist[ed] of lost wages, sufficient property damage

[was] alleged.” Rodonich v. H ouse Wreckers Union, 627 F. Supp. 176, 180 (S.D.N.Y. 1985).

       As in Blue Cross, the injuries suffered by Mr. Horn in the present case are entirely

economic, and specifically not personal. This line of reasoning has been likewise followed by

the Southern District of New York in Kriss v. B ayrock Group, L L C :

   The TAC adequately alleges injury to Plaintiffs. Subject t o . requirements and the
   proximate cause element discussed below, a plaintiff can adequately plead RICO
   damages by alleging lost contracts or lost wages. See, e.g., Commercial Cleaning
   Servs., L.L.C. v. Colin Serv. Sys., Inc., 271 F.3d 374, 382 (2d Cir. 2001) (finding
   RICO injury satisfied because, “ [i]f plaintiffs can substantiate their claims, the
   plaintiffs may well show that they lost contracts directly because of the cost savings
   defendant realized through its scheme to employ illegal workers”); Apollon
   Waterproofing & Restoration, Inc. v. Bergassi, 87 Fed. Appx. 757, 759 (2d Cir. 2004)
   (summary order) (“Lost contracts that could have been obtained but for racketeering
   activities are cognizable injuries under RICO.”); Tho Dinh Tran, 281 F.3d at 35
   (noting without discussion that the alleged RICO injury was lost wages) . [emphasis
   added].

Kriss v. B ayrock Group LLC, 2016 WL 7046816 (S.D.N.Y. Dec. 2, 2016).




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   III.           The Authority Relied Upon by Movant is Wholly Inapplicable and Readily
                  Distinguishable

          No authority cited by the Defendant in the Second Circuit or its districts supports its

present motion. All of its purported authority is either inapplicable, wholly distinguishable or

misleading.


          (i)        Gause v. Philip M orris, CV-99-6226 (JS), 2000 U.S. Dist. LEXIS 14268

                     (E.D.N.Y. Aug. 2, 2000). Held that personal injury damages from smoking

                     cigarettes is not damage to “business or property” for a RICO claim (wholly

                     distinct from loss of earnings and thus inapplicable to the present dispute);

          (ii)       Gilfus v. Vargason, No. 5:04-CV-1379 (HGM/DEP), 2006 U.S. Dist. LEXIS

                     74037, at *25-28 (N.D.N.Y. Sep. 30, 2006) (“G1”). This is part of a series of

                     cases with pro se litigants. This case must be reviewed in tandem with F ljer v.

                     Cayuga County, No. 5:03-CV-578, 2006 WL 2655698, at *4 (N.D.N.Y. Sept.15,

                     2006) and Gilfus v Adessa, No. 5:03-cv-1368 (N.D.N.Y. Sept 30, 2006) (“G2”).

                     In sum, there were 6-7 pro se plaintiffs, over 100 defendants, and various

                     constitutional, criminal, and civil claims, most of which had no RICO nexus.

                     F ljer was decided first and then, in G2, the court explicitly states that the RICO

                     claim was already dismissed in F ljer and is again dismissed on the same grounds

                     having nothing to do with the injury to plaintiffs “business or property.” Rather,

                     dismissal was due to plaintiff s failure to show causation and for insufficient

                     particularity necessary to survive a FRCP 9(b) motion to dismiss.

          (iii)      M ackin v. Auberger, 59 F. Supp. 3d 528 (W.D.N.Y. 2014). This case involved

                     dismissal of the plaintiff s RICO claim was due solely to the fact that the damages



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           claimed by plaintiff were actually sustained by the City of Greece as a result of

           the alleged predicate and plaintiff s mere allegations of loss of career, livelihood,

           reputation, and ability to gain future employment were “speculative and

           indefinite.” The issue of lost income was neither raised nor disposed of.

   (iv)    Bankers Trust Co. v. Rhoades, 741 F.2d 511 (2d Cir. 1984). This case appears to

           no longer be good law. This case held that an alleged injury must be due to the

           racketeering activity, not a predicate offense. The Supreme Court vacated and

           remanded this case for further consideration in light of the seminal case of

           Sedima, S.P.R.L. v. Im rex Co., 473 U.S. 479, 105 S.Ct. 3275, 87 L.Ed.2d 346

           (1985) and Am erican National B ank v. Haroco, Inc., 473 U.S. 606, 105 S.Ct.

           3291, 87 L.Ed.2d 437 (1985).” Both of these cases state that the injury can be

           based on a predicate offense.

   (v)     Grogan v. P latt, 835 F.2d 844 (11th Cir. 1988), cert den’d 488 U.S. 981 (1988)

           This case focuses on the ancillary relationship between personal and related

           pecuniary damages where such can be litigated together in connection with a

           primary personal injury claim and is wholly inapplicable here.

                  Notably, the EDNY declined to follow this reasoning in N a t'l Asbestos

           Workers Med. F u n d v. Philip Morris, Inc., 74 F. Supp. 2d 221 (E.D.N.Y. 1999):

           “The recovery of pecuniary losses associated with physical injuries directly
           caused by racketeering conduct is consistent with the language of the RICO
           statute. Such claims, furthermore, would materially advance the statute's
           legislative purposes of deterring racketeering, in all its forms, and of remedying,
           as fully as practicable, the economic consequences of racketeering. Finally, the
           recovery of these pecuniary losses is consistent with the expansive scope of
           RICO's civil remedy provisions as consistently interpreted by the Supreme
           Court.” Id., at 229.

The cases that Defendants cite are not controlling, persuasive nor even applicable. The


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authority cited by the movant quite literally “tap dances” around the controlling authority

enunciated in Sedima, S.P.R.L. v. Im rex Co., 473 U.S. 479, 105 S.Ct. 3275, 87 L.Ed.2d 346

(1985) and D enney v. Deutsche B a n k AG , 443 F.3d 253, 266 (2d Cir. 2006) and its progeny, but

never even acknowledged by the movant in relation to a motion within the 2nd Circuit. The

movant’s cases are nearly uniform in their respective focus on factual scenarios that are primarily

personal-injury related. The present case is readily differentiated from these cases since Mr.

Horn’s injuries are economic in nature and recovery under RICO is thereby not precluded, the

movant’s unwarranted protestations notwithstanding.

   IV.      Mr. Horn’s Damages under his Fraud Claim Were Not Speculative, and Are
            Recoverable

         Again, as above, the moving Defendant’s brief has an utter paucity of precedent as to

damages under a New York common law fraud claim, and failed to cite their progeny which hold

the opposite of what Dixie argues. The cases cited do not involve cases that are even remotely

similar or applicable to Mr. Horn’s claim of clear and definite past and future lost wages.

Additionally, Defendant’s reliance on cases that were decided at the pleadings stage, further

belies the impropriety of its instant motion.

         In Cayuga Harvester, Inc. v. Allis-Chalmers Corp., 465 N.Y.S.2d 606 (4th Dept 1983),

the Defendants made the same argument as Dixie makes here, claiming Plaintiff is limited to

only pecuniary loss. The Court held that conceptualization “misapplied” when it reversed

summary judgment on the fraud claim. Id. at p. 618-619:

         “Defendants would have us apply the court’s statement: ‘All elements of profit
         are excluded’ (Reno v Bull, supra, p 553) as an inflexible rule categorically
         precluding damages based on the market value of plaintiff's lost crops because
         such value would include some element of profit. That the rule in Reno v Bull
         (supra) is not to be applied in such arbitrary fashion is explained in H otaling v
         Leach & Co. (247 NY 84, 92, supra): ‘Proximate damages may not be fixed by
         arbitrary rule. Sometimes other damages flow from fraud in inducing a purchase,


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       besides the difference between the price paid and the value of the article received.
       Consequential damages may also be awarded. ’ As stated, plaintiff here does not
       seek profits based on the bargain it was fraudulently induced to make but the loss
       sustained because it made the bargain.’” [Emphasis added]

       “Whether the loss . . . and any other consequential damages established resulted directly

from the alleged wrongs of the defendants are, of course, questions of fact for the jury.” Cayuga

H arvester at p. 619. As long as the loss was a consequence flowing from the of the fraud,

Plaintiff was allowed to prove the element of his damages. That is Mr. Horn’s case.

       New York District Courts have similarly held that fraud damages must compensate for

what was lost, including consequential damages stemming from fraud claims which are not

speculative. See Subramanian v. Lupin Inc., No. 17CV5040RAKHP, 2020 WL 7029273, at *18

(S.D.N.Y. Aug. 21, 2020), report and recommendation adopted sub nom. Subramani an v. Lupin

Inc., No. 17-CV-5040 (RA), 2020 WL 6075523 (S.D.N.Y. Oct. 15, 2020); World W restlingEnt.,

Inc. v. Jakks Pac., Inc., 530 F. Supp. 2d 486, 520 (S.D.N.Y. 2007), aff d, 328 F. App'x 695 (2d

Cir. 2009); H anley v. Sumitomo Bank, L td., 1993 WL 362388, at *3 (S.D.N.Y. 1993).

       Again, with respect to the Fraud claim, as in the RICO claim above, economist Dr.

Zaporowski’s report is based on Mr. Horn’s tax returns. Over the years of this case, there has

been no secret as to the non-speculative nature of his damages. Mr. Horn mitigated his damages

over nine years by clawing his way back into the trucking industry over that period. Plaintiff’s

Economist calculates the exact past lost compensation had he not been fired over that long period

of time, and calculates the future loss based on widely accepted statistical work-life expectancy

tables of the U.S Bureau of Labor Statistics, a source upon which even the defense expert relied.

In Dr. Zaporowski’s annexed report, he pertinently and competently uses the Employee Cost

Index to calculate Plaintiff s future lost compensation with a growth rate of 2.5% from 2019

onward.


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       Polar opposite in fact and law to Mr. Horn’s claims, Dixie cites Continental Gas , where

the court reasoned any damages for expected earnings were too speculative because the plaintiff,

even though he could have, did not provide an evaluation to support his claim. See C ont'l Cas.

Co. v. PricewaterhouseCoopers, LLP, 15 N.Y.3d 264, 271-272 (2010) (citing but distinguishing

H otaling v Leach & Co. 247 NY 84, 87-88 (1928) which recognized an exception when a

measure of damages based on the market value when the value could not be determined and

would have left the plaintiff without any remedy).

       Mr. Horn’s lost compensation claims are based on conditions as they existed prior the

fraud. The case for the trier of fact here is whether Dixie’s multiple statements that there is no

THC in their product cost Mr. Horn the job he held at Enterprise. Mr. Horn was just past his ten-

yea r anniversary at Enterprise when he used Defendant’s product. His demonstrated clear and

definite damages as fully articulated by the expert economist are based upon a long and

impeccable record and an excellent compensation package. Mr. Horn’s lost compensation

damages do not require any great assumptions or speculation by the court or the jury, the citing

by Dixie of certain “cherry-picked” cases—primarily in the personal injury realm— have no

application to the damages issues here.

       In M ihalakis, the court was asked to determine the value of defendant’s internship

compared to a hypothetical internship program, assume how she would have performed in such a

program, and that she would have become a doctor after completing such a program. M ihalakis

v. Cabrini Med. Ctr. (CMC), 151 A.D.2d 345, 346 (1989). Similarly, In Gomez-Jiminez, the

court was asked to compare “a degree where a high paying, full-time, permanent job was highly

likely and . . . [a] degree where full-time, permanent legal employment at any salary, let alone a

high salary, is scarce, as is the case in the legal market.” Gomez-Jimenez v. New YorkL. Sch., 36




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Misc. 3d 230, 231, (Sup. Ct.), aff d, 103 A.D.3d 13 (2012). Mr. Horn’s claim is based on a

defined ten plus year career in his chosen field, where he received a clear and definite salary and

benefits, all of which he lost as a direct result of the Defendants’ misrepresentations as to their

product.

        Neither the jury nor the Court is being asked to consider a hypothetical, i.e. what could

have been, non-existent career that Mr. Horn never had. The jury and the Court are not being

asked to determine the value of defendant’s product with THC compared to defendant’s product

if it lacked THC. Mr. Horn’s damages are measurable and comprised of the difference in

compensation between his established over ten-year career at Enterprise and his attempts to

climb back to the same compensation and benefits.


   V.      There Can Be No Dispute that Plaintiff’s Past Lost Wages Are Not Speculative
           and Are Awardable by A Jury; and Plaintiff’s Claim for Future Lost Wages Are
           Based on the Evidence and Expert Economist Analysis

        Plaintiff has made an ongoing and cumulative claim for lost wages of over $500,000.

(Zaporowski Report annexed as Exhibit “A”). Such damages flow directly from the termination

of his employment on October 11, 2012, nine (9) years ago, resulting from the failed drug test

after he ingested a product promoted, manufactured, tested, marketed, and distributed by the

Defendants and up until he found alternative employment with nine (9) different employers over

that time period.

        In no way can such past lost wages be categorized as “speculative” as the Defendant

suggests. They are, in fact, concrete. The Defendant conflates the concepts of past lost wages

and future lost wages. Lost earning capacity is only relevant in the context of a future lost wage.

        This is the situation Plaintiff finds himself in: the past lost wages have already accrued in

the past. As such, there is nothing speculative about them. Defendants may, if they wish, cross-


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examine the Plaintiff and his expert, as they did in their respective depositions, about his

attempts to find alternative work during the period he is claiming past and future lost wages.

Plaintiff is expected to testify that, during the period of time he claims lost wages, he applied for

over 50 jobs. It was only after years of effort that he was able to rebuild his life where he began

making money again. Defendants have no witnesses to contradict this.

        The Defendant’s reliance solely on Clanton v. Agoglitta, 206 A.D.2d 497 (N.Y. App.

Div. 2d Dep’t 1987) is misplaced. In this negligence action to recover damages for personal

injuries, the defendant appealed from a jury verdict in favor of the plaintiff for both past and

future damages against the defendant “ in the principal amount of $ 495,500 ($ 16,000 for past

medical expenses, $ 247,000 for impairment of earning ability, $ 50,000 for past pain and

suffering, $ 7,500 for future medical expenses, $ 150,000 for future loss of earnings, and $

25,000 for future pain and suffering)”.

        Relevant to the case at bar, the court noted that $150,000 of the total $495,000 verdict

was for “future loss of earnings.” It is this amount that the court took issue with when it ruled:

        “We find, however, that the verdict as to damages for impairment of earning ability

"deviates materially from what would be reasonable compensation" (CPLR 5501[c]). The basic

rule is that loss of earnings must be established with reasonable certainty, focusing, in part, on

the plaintiff's earning plaintiff s earning capacity before and after the accident. In this case, the

plaintiff's earnings prior to the accident, combined with his failure to mitigate damages lead to

the conclusion that the jury’s award for impairment of earning ability deviates materially from

what would be [***5] reasonable compensation and should be reduced to the extent indicated.”

(Citations omitted).




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       Clearly, the Clanton court addressed the issue of the Plaintiff’s damages to earn money

into the future. The court found this specific part of the verdict speculative because it could not

be “established with reasonable certainty” and importantly, was “combined with his failure to

mitigate.”

       The Clanton court was issued a fact-specific ruling that the Plaintiff s “future loss of

earnings” claim was speculative, and that he did not mitigate his damages.

       Defendant points to not one case suggesting that a vocational expert’s testimony is

required for claims of past and future lost wages, and that an economist’s testimony, based upon

widely accepted government sources, is in any way insufficient. However, there are examples of

lay testimony alone sufficient to support a claim for past and future lost wages. Freeman v. Tuan

A nh Nguyen, Not Reported in F.Supp.3d (E.D.N.Y. 2015) (Damages for loss of past earnings

may be awarded “based solely on plaintiff's testimony without supporting documents. 783

N.Y.S.2d 530, 531 (App. Div. 1st Dep’t 2004); accord .S.2d 609, 609 (App. Div. 1st Dep’t 2010);

N orcia v. D ieber's Castle Tavern, Ltd., 980 F.Supp.2d 492 (N.D.N.Y. 2013) (the Court may rely

upon such sworn statements in reaching a damages determination); Ferguson v. City o fN ew

York, 73 A.D.3d 649 (1d Dep’t A.D. 2010) (reinstated lost earnings claim based upon lay

testimony alone); Waring v. Sunrise Yonkers SL, LLC, 134 A.D.3d 488 (1st Dep’t 2015)

(Plaintiff's past lost wages were established with reasonable certainty through the testimony of

only an executive director).

       The case Mr. Horn brings to the jury here is the opposite of the fact-specific ruling in

Clanton. The Court and the jury will be left with no speculation from his and his qualified

economist expert’s proposed testimony. In addition, and Mr. Horn has a nine (9) year track

record of mitigating his damages through nine (9) different attempted employers.




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                                         C O N C L U SIO N

       The controlling, persuasive and applicable case law clearly allow for Mr. Horn’s specific

and limited damages claims under RICO and Fraud. As the Chairman of an Economics

Department and an economist, Dr. Zaporowski’s proposed testimony regarding past and future

lost wages is relevant to the case from a competent witness.


DATED:        New York, New York
              July 29, 2021                          Respectfully,

                                                     THE LINDEN LAW GROUP, P.C.
                                                     J effre y ‘Bw j amut
                                                     By: Jeffrey M. Benjamin, Esq.
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                  ECONOMIC LOSS VALUATION FOR
                        DOUGLAS HORN




Statement of Disinterest
1. The estimates contained herein are based on techniques generally accepted
by the economics profession for the valuation of economic loss.
2. The fees charged for my services are not contingent upon the final award or
outcome of this case.




Mark P. Zaporowski, Ph.D.
Professor of
Economics & Finance
(716) 888-2679


                               August 17, 2020
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INTRODUCTION
This report projects economic losses for Douglas Horn who suffered lost
compensation as a result of alleged deceptive business practices. Mr. Horn is
married to Cindy Harp Horn. Mr. and Mrs. Horn were employed as team over-
the-road commercial truck drivers for the Enterprise Products Company in 2012.
Mr. Horn was terminated as a result of the alleged deceptive business practices
of the defendants. Subsequent to his termination, Mr. Horn suffered lost wages
and fringe benefits.
This report projects Mr. Horn's economic loses under the following alternative
scenarios concerning the income he would have earned had he not been
terminated from the Enterprise Products Company.
       1. Mr. Horn’s lost income as a truckdriver is based on the income he was
          earning at the Enterprise Products Company prior to his termination.
       2. Mr. Horn’s lost income as a truckdriver is based on a wage of
          $120,000 beginning in 2013.


ASSUMPTIONS - Scenario 1 (Table 1A & 2A)
1.      Had it not been for the deceptive business practices of the defendants, Mr.
Horn would have remained employed as an over-the-road commercial truck
driver for the Enterprise Products Company.
2.      Mr. Horn will remain employed as an over-the-road commercial truck
driver through his statistical worklife expectancy. Mr. Horn’s statistical worklife
expectancy on August 1, 2020 was 9.73 years [“The Markov Process Model of
Labor Force Activity: Extended Tables of Central Tendency, Shape, Percentile
Points, and Bootstrap Standard Errors, G.R. Skoog, J.E. Ciecka and K.V.
Krueger, Journal of Forensic Economics, 2011], Mr. Horn exits the labor force 31
percent through the year 2030.
3.      Had he remained employed at the Enterprise Products Company, Mr.
Horn’s income less his business expenses would have amounted to $57,212 and
$69,196, respectively, over the period 2012-2013. Over the period 2014-2019,
Mr. Horn's income less his business expenses would have grown by the rate of
increase in the Employment Cost Index for wages and salaries of transportation
and material moving workers [U.S. Department of Labor, Bureau of Labor
Statistics website, www.bls.aovl. Subsequent to 2019, his income would have
grown by 2.5 percent per year.
4.    Over the period 2012-2019, Mr. Horn’s income less his business
expenses amounted to $38,583, $13,698, $30,344, $64,491, $74,561, $73,433,
$69,537, and $65,258, respectively. Subsequent to 2019, his income less his
business expenses wilt grow by 2.5 percent per year.
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5.     The Enterprise Products Company was providing the Horn’s with family
health insurance coverage valued at $1,800 per month in 2012. The Horn’s were
contributing $2,028 annually towards the cost of this coverage in 2012. Had they
remained employed at the Enterprise Products Company, employer provided
health benefits would have continued in the future. Subsequent to his
termination from the Enterprise Products Company, Mr. Horn has not received
employer provided health benefits. Mr. Horn’s lost health benefits begin in
January 2021 and are valued at $10,275. The replacement cost of health
benefits grows by 5 percent per year subsequent to 2021.
6.     The Enterprise Products Company was contributing 2 percent of Mr.
Horn’s wages into his 401K plan. This benefit would have continued in the future.
Since his termination, Mr. Horn has not received employer provided pension
contributions.
7.    Nominal discount rates on zero coupon U.S. Treasury securities that
match the maturity of the cash flows were used to reduce future lost
compensation to present value [Quandl website, July 31, 2020,
www.auandl.com1.
8.     U.S. Treasury securities yields on the last day of each year from 2012 to
2019 have been selected to compute interest on past losses [U.S. Treasury
website, Daily Treasury Yield Curve Rates, www.treasurv.gov1.


CONCLUSIONS - Scenario 1 (Table 1A & 2A)
Past lost compensation amounts to $186,948.
Interest on past lost compensation amounts to $13,863.
The present value of future lost compensation amounts to $340,889.
The present value of total economic damages amounts to $541,700.
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ASSUMPTIONS - Scenario 2 (Tables 1B & 2B)
1.      Had it not been for the deceptive business practices of the defendants, Mr.
Horn would have remained employed as an over-the-road commercial truck
driver for the Enterprise Products Company. Beginning in 2013, he would have
begun hauling crude oil at an annual salary of $120,000.
2.      Mr. Horn will remain employed as an over-the-road commercial truck
driver through his statistical worklife expectancy. Mr. Horn’s statistical worklife
expectancy on August 1, 2020 was 9.73 years [“The Markov Process Model of
Labor Force Activity: Extended Tables of Central Tendency, Shape, Percentile
Points, and Bootstrap Standard Errors, G.R. Skoog, J.E. Ciecka and K.V.
Krueger, Journal of Forensic Economics, 2011], Mr. Horn exits the labor force 31
percent through the year 2030.
3.     Had he not been terminated from the Enterprise Products Company, Mr.
Horn's income less his business expenses would have amounted to $57,212 in
2012. In 2013, Mr. Horn’s income less his business expenses would have
amounted to $115,296. Over the period 2014-2019, Mr. Horn’s income less his
business expenses would have grown by the rate of increase in the Employment
Cost Index for wages and salaries of transportation and material moving workers
[U.S. Department of Labor, Bureau of Labor Statistics website, www.bls.qov1.
Subsequent to 2019, his income less his business expenses would have grown
by 2.5 percent per year.
4.    Over the period 2012-2019, Mr. Horn's income less his business
expenses amounted to $38,583, $13,698, $30,344, $64,491, $74,561, $73,433,
$69,537, and $65,258, respectively. Subsequent to 2019, his income (ess his
business expenses will grow by 2.5 percent per year.
5.     The Enterprise Products Company was providing the Horn’s with family
health insurance coverage valued at $1,800 per month in 2012. The Horn’s were
contributing $2,028 annually towards the cost of this coverage in 2012. Had they
remained employed at the Enterprise Products Company, employer provided
health benefits would have continued in the future. Subsequent to his
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6.     The Enterprise Products Company was contributing 2 percent of the Mr.
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Since his termination, Mr. Horn has not received employer provided pension
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7.    Nominal discount rates on zero coupon U.S. Treasury securities that
match the maturity of the cash flows were used to reduce future lost
compensation to present value [Quandl website, July 31, 2020,
www.auandl.com1.
8.     U.S. Treasury securities yields on the last day of each year have been
selected to compute interest on past losses [U.S. Treasury website, Daily
Treasury Yield Curve Rates, www.treasurv.aov1.
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CONCLUSIONS - Scenario 2 (Table 1B & 2B)
Past lost compensation amounts to $604,109.
Interest on past lost compensation amounts to $36,851.
The present value offuture lost compensation amounts to $947,938.
The present value of total economic damages amounts to $1,588,898.




To project Mr. Horn’s economic loss, I relied on the following information:
   1.     Mr. and Mrs. Horn’s federal tax returns and W-2 statements 2009­
          2019.
   2.     Mr. and Mrs. Horn’s social security earnings statements.
   3.     Mr. and Mrs. Horn’s paystubs.
   4.     Enterprise 401K statement for Douglas Horn.
   5.     U.S. Department of Labor website, www.bls.gov.
   6.     Quandl website, www.auandl.com .
   7.     “The Markov Process Model of Labor Force Activity: Extended Tables
          ofCentral Tendency, Shape, Percentile Points, and Bootstrap
          Standard Errors, G.R. Skoog, J.E. Ciecka and K.V. Krueger, Journal of
          Forensic Economics, 2011.
   8.     United States Life Tables 2017, U.S. Department of Health and Human
          Services, Centers for Disease Control and Prevention.
   9.     U.S. Treasury website, www.treasurv.gov.


I bill at a rate of $300 per hour for my services.
I reserve the right to revise this report should new information become available.
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            '   TABLE 2

INTEREST ON PAST LOST COMPENSATION


                     PAST
                     LOST
YEAR         COMPENSATION        INTEREST
 2012              $19,001           $1,924
 2013              $56,882          $10,564
 2014              $41,860           $5,426
 2015               $9,373             $921
 2016               $1,519             $134
 2017               $5,386             $382
 2018              $12,277             $779
 2019              $20,074             $504
 2020              $20,877              $12
 2021              $12,483
    TOTAL PAST                     $20,646
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                    UNITED STATES DISTRICT COURT
                    WESTERN DISTRICT OF NEW YORK


                            DOUGLAS J. HORN,

                                  Plaintiff,

                                     vs.

                       MEDICAL MARIJUANA, INC.,
                         DIXIE HOLDINGS, LLC,
                       RED DICE HOLDINGS, LLC,
                          DIXIE BOTANICALS,

                                Defendants.


                         CaseNo. l:15-cv-00701-JWF




  MMI AND RDH’S MEMORANDUM OF LAW IN REPLY TO DEFENDANT DIXIE
HOLDINGS’ MOTION I N L IM IN E TO PRECLUDE TESTIMONY OF EXPERT MARKP.
       ZAPOROWSKI, PH.D. AND PLAINTIFF’S OPPOSITION TO SAME




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                                                           Scott D. Mancuso, Esq.
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                                                         Attorneys fo r Defendants
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                                      PRELIMINARY STATEMENT

                Defendants, Medical Marijuana Inc. and Red Dice Holdings, LLC (“MMI/RDH”),

by their undersigned counsel, submit the following memorandum of law with respect to the

opposition submitted by plaintiff, Douglas J. Horn (“Plaintiff’) to the motion in limine of defendant

Dixie Holdings, LLC (“Dixie”) to preclude the testimony ofMark P. Zaporowski.

                As MMI/RDH did not initiallyjoin Dixie’s motion, we now take the opportunity to

reply to both the initial motion (Doc. 194) and plaintiff s opposition (Doc. 198).

                After reviewing the same, as well as the relevant cases, MMI/RDH agrees with

Dixie’s position set forth in Point I of its motion, that Plaintiff must be precluded from introducing

any evidence with respect to lost income damages with respect to his RICO cause of action, as the

same is not recoverable under RICO where it derives from a personal injury. MMI/RDHjoins Dixie

with respect to this part of their motion. As the Court has noted, this effectively dismisses the

Plaintiff s RICO cause of action against all defendants.

                MMI/RDH further substantively agrees with Dixie’s position set forth in Point II of

its motion, that Plaintiff cannot recover for lost income damages pursuant to his cause of action for

fraudulent inducement, insofar as such damages are entirely speculative.

                MMI/RDH further substantively agrees with Dixie’s position set forth in Point III

of its motion, that Dr. Zaporowski should be precluded from testifying insofar as Plaintiff will,

inevitably, not be able to lay a foundation with respect to his earning capacity both before and after

his failed drug test.1




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                                                 ARGUMENT

                                                     POINT I

   PLAINTIFF CANNOT RECOVER LOST INCOME DAMAGES UNDER HIS RICO
       CAUSE OF ACTION AS THEY DERIVE FROM A PERSONAL INJURY

               As stated in Plaintiff s MOL in Opposition to this motion:

               The nexus between the RICO violations and fraud at issue and Mr. Horn’s
               resulting economic damages, therefore, is the harm of the THC that was
               introduced into Mr. Horn’s system by Defendants’ product.

Doc. 198, p. 7 (emphasis added).

               It is Plaintiff s own position in this case that his “resulting economic damages”

were not caused by damage to any business or property. He acknowledges that they were caused

by the alleged “harm,” or injury, of unwanted “THC” being “introduced into [his] system.”

               The caselaw is clear that any economic damages, such as lost income, which result

from a personal injury, do not amount to damage to “business or property” and, therefore, are not

recoverable under a civil RICO cause of action,

   a. The Plaintiff’s Cases in Opposition

               Plaintiff s counsel states that the case of D enney v. Deutsche B ank A G , 443 F.3d

253, 266 (2d Cir. 2006) “sets out the controlling standard for RICO damages: ‘[a] RICO plaintiff

‘only has standing if, and can only recover to the extent that, he has been injured in his business

or property by the conduct constituting the [RICO] violation[,] ’ and only when his or her ‘actual

loss becomes clear and definite.’” Doc. 198, p. 6.

               This is true. It cannot be argued that the standard for proving damages in a civil

RICO case is whether there has been injury to “business or property.” However, we must go to

the next level of analysis, which is whether damages that stem from personal injuries, even if


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economic in nature, can be considered injuries to business or property for the purposes of RICO.

The D enney court did not address this issue. The words “personal injury” or “personal injuries”

do not even appear in the D enney case.

                This is precisely why we must look to Second Circuit cases such as Gause v.

Philip M orris In c ., 29 F. App'x 761 (2d Cir. 2002), infra, discussed in detail below, as they

directly address the more nuanced question being presented to the Court on this motion - whether

Plaintiff s alleged economic damages derive from a personal injury.

                Plaintiff s counsel seemingly does not appreciate the subtlety of this issue as he

cites to Jerry Kubecka, Inc. v. Avellino, 898 F. Supp. 963, 968 (E.D.N.Y. 1995) and Blue Cross &

Blue Shield o f N.J., Inc. v. Philip M orris, In c., 36 F. Supp. 2d 560, 571 (E.D.N.Y. 1999) and

states, broadly, that they “distinguish[] personal injuries from economic injuries which the court

deemed compensable.” In reality, these cases distinguish between economic injuries that are

derived from personal injuries and, therefore, are not RICO compensable, and economic injuries

that are caused directly to business or property and, therefore, are RICO compensable.

                As stated in Blue Cross & Blue Shield o fN ew Jersey, Inc. v. Philip M orris, In c., 36

F. Supp. 2d 560, 568 (E.D.N.Y. 1999), “[t]he broad scope of the statute’s standingprovision is

not, however, boundless. Only those plaintiffs who have been injured in their ‘business or

property’ may sue. Personal injuries are not cognizable, regardless of whether they were caused

by racketeering.”

                The court in Blue Cross expanded on this by stating that:

                In all the cases where pecuniary damages were not allowed, the gravamen of the
                plaintiffs’ claims was for personal injuries. The plaintiffs’ economic losses were
                interfused with and merely supplemental to their personal injuries. Conceptually,
                as well as practically, the two types of claims werejoined together as a single
                cause of action. See Grogan, 835 F.2d at 846 (“[T]he pecuniary and non-pecuniary

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                aspects of personal injury claims are not so separated as the appellants would have
                us accept; rather, loss of earnings, loss of consortium, loss of guidance, mental
                anguish, and pain and suffering are often to be found, intertwined, in the same
                claim for relief.”).

                Blue Cross & Blue Shield o fN ew Jersey, Inc. v. Philip M orris, Inc., 36 F. Supp. 2d
                560, 571 (E.D.N.Y. 1999).

                The court in Blue Cross found that, “by contrast, the plaintiffs have suffered

entirely economic injuries.” I d . However, the plaintiffs in that case were healthcare insurance

companies. They were not personally injured by the conduct of the defendants. If anything, the

court explicitly drew a distinction between the health insurer plaintiffs and those that were

personally injured by the defendants stating: “Any personal injuries to smokers and to persons

exposed to cigarette smoke caused by the defendants’ alleged racketeering are separate and

distinct from the plaintiffs’ economic injuries suffered by their businesses.” I d .

                Doug Horn is not a health insurance company. He is a person. He is analogous to

the “smokers” and “persons exposed to cigarette smoke,” which the court identified as parties that

would have had personal injuries rather than direct economic injuries to business.

                Plaintiff further cites to Rodonich v. H ouse Wreckers Union, 627 F. Supp. 176, 180

(S.D.N.Y. 1985) when stating that “loss of earnings claims have been held to be recoverable

under RICO in multiple cases.” (Doc. 198, p. 9).

                Again, the words “personal injury” or “personal injuries” do not appear in the

Rodonich case. The case merely notes that “lost wages” can possibly be considered as part of a

RICO injury (seemingly derived from Hobbs Act and Travel Act allegations, I d . at 178), which is

theoretically possible if such injuries resulted from direct damage to business or property and did

not derive from a personal injury.



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                Finally, Plaintiff cites to Kriss v. B ayrock Group L LC , 2016 WL 7046816

(S.D.N.Y. Dec. 2, 2016) because, similarly, it holds that the plaintiff in that case could

“adequately plead RICO damages by alleging lost contracts or lost wages.”

                Again, the Kriss case does not discuss the specific point at issue here - whether

alleged “lost contracts and lost wages” were derived from a personal injury. They were not. The

plaintiffs were “well-credentialed real estate finance professionals” who “passed up lucrative

opportunities at other firms to work for” the defendant based on allegations of fraudulent

concealment. I d . at 19.

                Again, Plaintiff s situation is not analogous. The plaintiffs in K riss allegedly

sustained economic damages, as employees of the defendant, based on the defendant’s alleged

fraudulent activities, which, in turn, decreased the plaintiffs’ earnings’ capacity under their

contracts with the defendant.

                For this to be analogous to Plaintiff, he would have needed to have been an

employee or investor in one of the defendant companies and argue that alleged misrepresentations

regarding the THC content of the products damaged his compensation or return on investment.

Those may, theoretically, be damages to “business or property” for RICO purposes.

                To the contrary, Plaintiff s role in this entire scenario was that of an individual

person. A consumer. Someone who purchased a product and was allegedly harmed by it because

it contained an ingredient that he did not expect it to contain. For him, personally, he alleges that

this resulted in lost income - but this does not make that lost income a loss o f“business or

property” merely because the damages are tangentially economic.

                Unknowingly consuming trace amounts ofTHC when you expect not to (the fraud

that Plaintiff alleges in this matter) does not, and cannot, result in damage to business or property.

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At most, it results in putting unwanted trace amounts ofTHC in someone’s system, which, in and

of itself, does not result in any economic damage. In almost all cases, the only result is an

unexpected chemical in the body that is very likely never even noticed.

                Any additional, consequential, damage is entirely dependent on the circumstances

of the person. For a great many people, the world of possibilities in which they could be

economically damaged by such an alleged fraud is incredibly small. This is because THC does

not affect “business or property” - it affects persons. If those persons so affected, coincidentally,

go on to allegedly sustain some additional damage based on that injury, such damages are clearly

derivative of their personal circumstances - a personal injury.

                We might not instinctively think of this as a personal injury because the physical

harm caused by unexpected trace amounts ofTHC in CBD oil is relatively small and temporary.

But that does not change the nature of the injury - it is one to the person. Any resultant damages,

such as loss of income, are entirely specific to that person. There is no damage to “business” or

“property.” This means that person cannot maintain a cause of action under civil RICO, which

limits standing to those that have sustained damage directly to business or property, and excepts

damages that derive from personal injury, even when economic in nature,

   b. The Cases in Support of Dixie’s Position

                Given the above, the cases cited by Dixie, and opposed by Plaintiff as

“inapplicable, wholly distinguishable or misleading” (Doc. 198, p. 10), are all relevant and

helpful to appreciate this nuanced point regarding the difference between economic damages that

stem from a personal injury and those that are caused directly to business or property.

                First, contrary to plaintiff s assertion, Gause v. Philip M orris, CV-99-6226 (JS),

2000 U.S. Dist. LEXIS 14268 (E.D.N.Y. Aug. 2, 2000) is precisely the type of case that applies to

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Plaintiff. Plaintiff s counsel claims that this case is “wholly distinct from loss of earnings and thus

inapplicable to the present dispute” (Doc. 198, p. 10), but this fails to appreciate the actual

holding in Gause. It is not that “lost earnings,” as a category of damages, are “distinct” from

“personal injury damages,” it is that it depends from where such lost earnings derive.

                Indeed, Gause makes clear the plaintiff s lost earnings damages derived from her

personal injuries: “As a result of these injuries, Plaintiff seeks compensation for loss of

employment, loss of income, loss of spouse, and for forty years ofbuying an allegedly faulty

product.” D ella GAUSE, Plaintiff, v. Philip M ORRIS, D efendant., No. CV99-6226, 2000 WL

34016343 (E.D.N.Y. Aug. 8, 2000), aff d sub nom. Gause v. Philip M orris In c., 29 F. App'x 761

(2d Cir. 2002). The court then held:

                Although Plaintiff characterizes her injuries as a “loss of property,” Cplt. at p. 2, in
                an effort to create a cognizable injury under RICO, an analysis ofher complaints
                reveals otherwise. Specifically, Plaintiff’s asserted “loss of property” is, in essence,
                a loss of income due to an alleged inability to work since becoming afflicted with
                emphysema. Cplt. at pp. 1-2. A loss of income, however, is not considered a “loss
                of property” as required under RICO.

                Plaintiff s alleged injuries are different in cause and severity but are of the same

type. One merely needs to trade the word “emphysema” for “unwanted THC in his system” to

reach the exact same position:

                “Plaintiff s asserted ‘loss of property’ is, in essence, a loss of income due to an
                alleged inability work since becoming afflicted with [unwanted THC in his
                system].”

                Unwanted THC in one’s system is, fundamentally, a type of “personal injury.” The

injury may not be as damaging as emphysema, but this does not change the fact that we are

talking about injuries to a person and loss of income due to an alleged inability to work because




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of those injuries. The Gause court specifically held that such a loss of income claim is not

cognizable under RICO.

               Moreover, the Second Circuit affirmed the same, explicitly holding:

               Personal injuries of smokers are not injuries to “business or property” within the
               meaning of the Racketeer Influenced and Corrupt Organizations Act 18 U.S.C. §§
               1961 et seq. See, e.g., Laborers Local 17 Health and Benefit Fund v. Philip Morris,
               Inc., 191 F.3d 229, 241 (2d Cir.1999), cert, denied, 528 U.S. 1080, 120 S.Ct. 799,
               145 L.Ed.2d 673 (2000).

Gause v. Philip M orris In c ., 29 F. App'x 761 (2d Cir. 2002).

               Again, one mayjust as well replace “smokers” with “CBD oil users” to reach the

exact same holding:

               “Personal injuries of [CBD oil users] are not injuries to ‘business or property’
               within the meaning [RICO].”

               With respect to Gilfus v. Vargason, No. 5:04-CV-1379 (HGM/DEP), 2006 WL

2827658 (N.D.N.Y. Sep. 30, 2006), Plaintiff s counsel’s claim that this case has “nothing to do

with injury to plaintiff s business or property” (Doc. 198, pg. 10). This is erroneous - the court

directly addressed the same issue as Gause, supra, and reached the same conclusion, even citing

to the same Seventh Circuit caselaw:

               Although the Second Circuit has not squarely addressed the issue, other Circuits
               have held that economic damages resulting from personal injuries are not
               actionable under RICO. As the Seventh Circuit explained:

                         Most personal injuries-loss of earnings, loss of consortium, loss of
                         guidance, mental anguish, and pain and suffering, to name a few-will entail
                         some pecuniary consequences. Perhaps the economic aspects of such
                         injuries could, as a theoretical matter, be viewed as injuries to “business or
                         property,” but engaging in such metaphysical speculation is a task best left
                         to philosophers, not the federaljudiciary. Rather, we must determine if
                         these injuries fall within the framework of § 1964(c) as understood by
                         Congress ... They do not.

                         Doe v. Roe, 958 F.2d 763, 770 (7th Cir.1992)

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                Gilfus v. Vargason, No. 5:04CV1379(HGM/DEP), 2006 WL 2827658 (N.D.N.Y.
                Sept. 30, 2006).

                Plaintiff s counsel’s attempt to distinguishMackin v. Auberger, 59 F. Supp. 3d 528

(W.D.N.Y. 2014) is similarly unavailing. There, this Court cited to Gilfus, supra, and held:

                Plaintiff also alleges that he was injured by the loss ofhis career, livelihood,
                reputation, and ability to obtain future employment. (Dkt. 4at 115(a)). The Court
                is uncertain as to what Plaintiff means by “loss of career,” but notes that this
                alleged injury appears speculative and indefinite. Furthermore, the loss of
                Plaintiffs reputation and resulting inability to gain future employment are personal
                injuries and are not compensable under RICO.

M ackin v. A uberger, 59 F. Supp. 3d 528, 558 (W.D.N.Y. 2014).

                If anything, the Gilfus and M ackin cases expand the world of injuries that courts

consider “personal” (and, therefore, not within the realm ofRICO) to include those where one is

not merely physically injured, but where one is allegedly traumatized from a raid performed on

their farm {Gilfus) or where one is unable to obtain future employment due to damage to their

reputation {M ackin).

                In this respect, Plaintiff is similarly situated to the plaintiff in M ackin, supra,

where this Court held that “the loss of Plaintiffs reputation and resulting inability to gain future

employment are personal injuries and are not compensable under RICO.” Plaintiff does not allege

that any fraud by the defendants was directly perpetrated upon any business or property. He

alleges that defendants caused him to unexpectedly ingest trace amounts of THC and that this,

consequently, damaged his reputation to the point that he was not able to gain future employment

as a truck driver. Plaintiff s reputation as a truck driver and his ability to continue working at

Enterprise is not a “business” or “property” under any definition of those words. As stated in

M ackin, these are allegations of damage to the Plaintiff, as a person.



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               Finally, the assertion by Plaintiff s counsel that Grogan v. P latt, 835 F.2d 844

(11th Cir. 1988), cert den’d 488 U.S. 981 (1988) is “wholly inapplicable here,” again, ignores the

nuance of the issue under consideration. The case is relevant because the very issue at hand is

whether economic damages, such as loss of income, are recoverable as damage to “business or

property” where they derive from personal injuries. The Grogan court reached almost the exact

same conclusion as Doe v. R o e, supra:

               Our task, however, is not to decide whether the economic aspects of damages
               resulting directly from personal injuries could, as a theoretical matter, be
               considered injury to “business or property,” but rather to determine whether
               Congress intended the damages that plaintiffs seek in this case to be recoverable
               under civil RICO. Relying on the assumption that Congress intends the ordinary
               meanings of the words it employs, see, e.g., Escondido M utual Water Co. v. La
               Jolla B and o f M ission Indians, 466U.S. 765, 772, 104 S.Ct. 2105, 2110, 80
               L.Ed.2d 753 (1984), appellants argue that a common-sense interpretation of the
               words “business or property” includes the economic damages that result from
               injury to the person. We are not convinced that appellants' contention accurately
               captures the ordinary meaning of those words. In our view, the ordinary meaning
               of the phrase “injured in his business or property” excludes personal injuries,
               including the pecuniary losses therefrom. As a panel of the Second Circuit
               remarked, “[t]he requirement that the injury be to the plaintiff’s business or
               property means that the plaintiff must show a proprietary type of damage. For
               example, a person physically injured in a fire whose origin was arson is not given a
               right to recover for his personal injuries; damage to his business or his building is
               the type of injury for which § 1964(c) permits suit.” Bankers Trust Co. v.
               Rhoades, 741 F.2d 511, 515 (2d Cir.1984) (dictum), vacated on other
               grounds, 473 U.S. 922, 105 S.Ct. 3550, 87 L.Ed.2d 673 (1985)...

Grogan v. P latt, 835 F.2d 844, 846-47 (11th Cir. 1988).

               As stated in both Grogan, supra, and Doe v. R oe, supra, one could theoretically

engage in the metaphysical debate of whether “loss of income” damages can be severed from a

personal injury, placed in a bubble, and considered as damage to “business or property.” But as

both the Seventh and Eleventh Circuits found (and the Second Circuit essentially agreed in

Gause, supra), thejob of the courts is to only consider what types of claims were anticipated by



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Congress to be brought pursuant to the RICO statute. All of the courts cited above have agreed

that economic damages such as loss of income, when derived from “personal injury,” are not

damages to “business or property,” and are not recoverable under RICO.

                Ultimately, the issue here seems to be less with respect to what the caselaw states

on this issue - which seems clear - and more to do with Plaintiff s counsel not conceding that

Plaintiff s injury is “personal.” As he states:

                The movant’s cases are nearly uniform in their respective focus on factual
                scenarios that are primarily personal-injury related. The present case is readily
                differentiated from these cases since Mr. Horn’s injuries are economic in nature
                and recovery under RICO is thereby not precluded, the movant’s unwarranted
                protestations notwithstanding.

Doc. 198 pg. 12 of 18.

                In other words, Plaintiff s counsel does not dispute that the cases state what they

state with respect to personal injuries. He merely believes that Plaintiff s case does not fall under

those rules because his injuries are “economic in nature.” By this he, presumably, means to also

state that Plaintiff sustained no personal injury and that any alleged injury was done directly to his

business or property, taking him out from under the authority of the above cases.

                However, as fully detailed above, this is not true - Plaintiff s alleged lost income

clearly derives from a personal injury.” Moreover, Plaintiff s counsel is aware of the same as,

again, he himself stated:

                The nexus between the RICO violations and fraud at issue and Mr. Horn’s
                resulting economic damages, therefore, is the harm of the THC that was
                introduced into Mr. Horn’s system by Defendants’ product.

Doc. 198, p. 7 of 18.

                From Plaintiff s own pen, his “economic damages” were caused by “the harm of

the THC that was introduced into Mr. Horn’s system by Defendant’s product.” By his own

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allegations, he was personally injured by unwanted THC in his system. Any resulting economic

damages, such as a personal inability to continue working the samejob because of a failed drug

test, directly stems from that personal injury. Plaintiff has not alleged damage to “business or

property,” as is required to maintain his RICO cause of action.

               As such, MMI/RDH agrees with Dixie’s position that Plaintiff be precluded from

introducing evidence related to such damages at trial andjoins in their motion for the same. As

the Court has already noted, this effectively results in the dismissal of Plaintiff s RICO cause of

action against all defendants.

                                                    POINT II

             PLAINTIFF CANNOT RECOVER LOST INCOME DAMAGES
            UNDER HIS FRAUDULENT INDUCEMENT CAUSE OF ACTION
                  WHERE SUCH DAMAGES ARE SPECULATIVE

               Dixie argues that under New York law, the Plaintiff cannot recover for lost income

damages pursuant to his cause of action for fraudulent inducement, insofar as such damages are

entirely speculative (Doc. 194, p. 4).

               In substance, MMI/RDH agrees that New York law holds that speculative damages

are not recoverable and that Plaintiff s claim for lost income damages requires vast speculation

regarding the supposed nature of his future employment and career opportunities after his failed

drug test and whether the same can be causally connected to any alleged fraud.

                                                   POINT III

               PLAINTIFF CANNOT PROVE LOST INCOME DAMAGES
             WHERE HE IS UNABLE TO PROVE A CAUSAL CONNECTION
             BETWEEN THE ALLEGED LOSS AND THE ALLEGED FRAUD




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               Dixie additionally argues that because Plaintiff failed to notice a vocational expert

to lay a foundation with respect to earning capacity for Dr. Zaporowski’s proposed testimony, his

testimony would be lacking a foundation and must be precluded (Doc. 194, p. 6).

               MMI/RDH essentially understands this argument to be that while Dr. Zaporowski

may, theoretically, be capable of testifying as to “how much” income Plaintiff allegedly lost, he is

clearly not being offered to testify with respect to “why” Plaintiff lost that income. In other words,

Plaintiff must prove that any loss of income was causally connected to the alleged fraud.

               In this sense, MMI/RDH agrees with the position that Plaintiff s earning capacity,

both before and after he tested positive for THC, must be proved in order for Dr. Zaporowski’s

testimony, with respect to how much income was lost, to have any relevance.

               As Plaintiff has failed to notice an expert that is capable of testifying with respect to

both Plaintiff s earning capacity prior to the failed drug test, and how the failed drug test changed

that earning capacity, Plaintiff will not be able to reach the question of how much income he

allegedly lost. As this appears to be inevitable, it would be appropriate for the Court to preclude Dr.

Zaporowski from testifying.

                                                CONCLUSION

               Based on the foregoing, it is respectfully requested that the Court grant Defendant

Dixie Holdings’ motion in limine to preclude testimony of Mark P. Zaporowski, Ph.D., together

with such other and further relief to MMI/RDH as this Court deemsjust and proper.

DATED:         Buffalo,New York
               August 2, 2021




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                                              Respectfully submitted,




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 UNITED STATES DISTRICT COURT
 WESTERN DISTRICT OF NEW YORK
DOUGLASlirHORN"and’'CINDY"HARP4HORN”

                    P laintiffs,                       Civil Action No.
                                                       15-cv-00701-FPG
-against-
                                                       Hon. Magistrate Judge
MEDICAL MARIJUANA, INC., DIXIE                         Jonathan W. Feldman
HOLDINGS, LLC, RED DICE HOLDINGS, LLC,
and DIXIE BOTANICALS,

                    Defendants.




              Defendant Dixie Holdings’ Reply Memorandum in Response to
               Plaintiff Douglas Horn’s Opposition to Motion to Preclude
                         Testimony of Mark P. Zaporowski, Ph.D.




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Dated: August 2, 2021
       New York, New York
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     CV-99-6226 (JS), 2000 U.S. Dist. LEXIS 14268 (E.D.N.Y. Aug. 2, 2000),
     aff ’d 29 F. App’x 761 (2d Cir. 2002)........................................................................ 1, 6, 7, 9

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       191 F.3d 229 (2d Cir. 1999), cert. denied, 528 U.S. 1080 (2000)........................................ 6

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                                       Preliminary Statement

         Defendant Dixie Holdings, LLC, by its undersigned counsel, hereby submits this

memorandum in reply to plaintiffDouglas Horn’s opposition to Dixie Holding’s motion in

limine to preclude the trial testimony of plaintiff’s expert economist Mark P. Zaporowski, Ph.D.

With regard to the argument that loss of earnings is not compensable in RICO, plaintiffhas cited

several cases that pre-date the Second Circuit’s affirmance of the district court’s decision in

Gause v. Phillip M orris, In c ., CV-99-6226 (JS), 2000 U.S. Dist. LEXIS 14268 (E.D.N.Y. Aug.

2, 2000), aff d 29 F. App’x 761 (2d Cir. 2002). The Second Circuit’s 2002 affirmance renders

irrelevant the district court cases cited that pre-date the decision, to the extent that they may hold

that loss of earnings is recoverable in RICO. Moreover, while there are indeed cases that hold in

plaintiff s favor, the case law overwhelmingly holds that loss of earnings is not recoverable, as

was recently stated in Geiss v. Weinstein Co. H oldings, 383 F. Supp. 3d 156, 170 (S.D.N.Y.

2019):

         “RICO provides a civil remedy to [a]ny person injured in [her] business or
         property by’ a RICO violation.” \Canosa v. Z iff], 2019 U.S. Dist. LEXIS 13263,
         2019 WL 498865, at *25 (quoting 18 U.S.C. § 1964(c)). “The phrase ‘business or
         property’ . . . exclude[s] personal injuries suffered.” Reiter v. Sonotone Corp., 442
         U.S. 330, 339, 99 S. Ct. 2326, 60 L. Ed. 2d 931 (1979). “The overw helm ing
         w eight of authority interprets Reiter to exclude th e econom ic consequences o f
         p erso n a l injuries .” Zim merman v. Poly Prep Country D ay School, 888 F. Supp.
         2d317 (E.D.N.Y. 2012) (collecting cases and holding that former students’
         diminished career opportunities and lost earning potential flowing from personal
         injuries caused by former coach’s sexual abuse were not compensable RICO
         injuries).
383 F. Supp. 3d at 170 (emphasis added).
         Economic injury deriving from alleged personal injury is not recoverable in RICO

because the predicate acts of mail1and wire2 fraud - upon which plaintiff s RICO claim is based


1As to mail fraud, 18 U.S.C. § 1341 provides, “[w]hoever, having devised or intending to devise
any scheme or artifice to defraud, or for obtaining m oney or property by means of false or
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- prohibit schemes to defraud for the purpose of “obtaining m oney or property ,” and because

RICO law only allows for recovery of injury to business or property. Here, Dr. Zaporowski has

been noticed as an expert to testify as to damages other than “money or property” obtained

through a RICO scheme; therefore, as to RICO, he has no relevant testimony to give, and must

be precluded from testilying at trial. If plaintiffHom’s paycheck had been diverted and the

money stolen as part of RICO scheme, he could surely recovery for the theft of such “wages.”

But he cannot recover for the attenuated loss of wages that results indirectly from having been

fired by his employer, as such damages result from the vicissitudes oflife - his loss of ajob, and

not being hired by another company being the acts of third persons - not from his paycheck

having been obtained by mail or wire fraud as part of a RICO scheme.

        As for the common-law fraud claim, and the claim for loss of earnings, such damages are

as indirect, and unrecoverable, as in RICO. Moreover, such damages would have required

plaintiff to identity a vocational expert to testily as to plaintiff s alleged lost earning capacity.

        While counsel devotes several pages to arguing that this motion is untimely, this was

already addressed, when the court acknowledged that these same arguments could have been

made at the charge conference, and that it is the duty of the court to charge thejury on the

applicable law, such that iflost wages are not recoverable then the jury cannot be charged that

they may award such damages. Furthermore, we note that a denial of a motion to dismiss or a*2


fraudulent pretenses ... for the purpose of executing such scheme or artifice or attempting so to
do, places in any post office ... any matter or thing whatever to be sent or delivered by the Postal
Service ... shall be fined under this title or imprisoned not more than 20 years, or both. ...”
(Emphasis added).
2 As to wire fraud, 18 U.S.C. § 1341 provides, “[wjhoever, having devised or intending to devise
any scheme or artifice to defraud, oxf o r obtaining m oney or property by means of false or
fraudulent pretenses ... transmits or causes to be transmitted by means of wire ... any writings,
signs, signals, pictures, or sounds for the purpose of executing such scheme or artifice, shall be
fined under this title or imprisoned not more than 20 years, or both.” (Emphasis added).

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motion for summaryjudgment is not law of the case. See M iddle Atlantic Utilities Co. v. S.M.W.

D evelopm ent Corp., 392 F.2d 380, 384 (2d Cir. 1968).3 Thus, the mere fact that defendants’

motions for summaryjudgment were previously denied, in part, does not, ipso fa c to , establish

that the plaintiff s case will withstand a motion to dismiss at the close of the case in chief, or a

motion for a directed verdict at the close of all evidence.

                                         Argument in Reply

Point I:        Most of the Cases Plaintiff Cites in Opposition Predate the
                Second Circuit’s 2002 Affirmance of Gause, so Do Not Support
                His Position. And while Kriss v. B a yro ck Post-Dates G ause,
                Plaintiff Misreads the Case. Kriss v. B ayrock Allowed Recovery
                for Converted Partnership Distributions - Money Actually Taken
                from the Kriss Plaintiffs by Fraud - Not Loss of “Wages.”

        A RICO plaintiffhas no injury unless RICO acts caused a deprivation of property; lost

wages from an alleged personal injury do not count, though they would in a different case

without the predecessor bodily injury (for example the K riss case which plaintiff misreads, see

infra). In his opposition papers, plaintiffHom admits that the “RICO injury” from which his

alleged damages flow, the causal nexus between the RICO violations (the fraudulent

inducement) and Horn’s allegedly resulting damages is the constellation consisting of, first, the

injury that allegedly occurred when THC was introduced into his body by defendants’ product,

and, second, defendant’s fraudulent inducement that led him to consume it. (Plaintiff s Opp. at

p.3). Indeed, the parties agree that this is the conduct p la in tiff claims directly and proximately

establishes the causal nexus. Plaintiff might as well complain that defendant fraudulently



3 See also R osenberg v. Am erican B ow ling Congress, 589 F. Supp. 547, 549 (M.D. Fla. 1984);
Shearer v. Hom estake M ining Co., 557 F. Supp. 549, 556 (D.S.D. 1983), af f ’d 727 F.2d 707 (8th
Cir. 1984); Weit v. Continental Illinois N ational B ank and Trust Co., 478 F. Supp. 285, 292 n. 4
(N.D. 111. 1979), aff ’d, 641 F.2d 457 (7th Cir. 1981), cert. d e n ie d 455 U.S. 988, 71 L. Ed. 2d 847,
102 S. Ct. 1610 (1982).

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induced him to eat poison, so is liable, not for the cost of pumping his stomach, but the loss of

income he suffered while it was being pumped. Were he to make that claim his position would

be no different than it is: Unsupportable.4

       In Grogan v. P latt, 835 F.2d 844, 846 (11th Cir. 1988), the families of FBI agents killed

or wounded by members of a criminal organization, sued to recover lost wages. Holding such

damages not recoverable, whether denominated personal injuries, economic loss, or property

damage, the court said:

       [Ajppellants argue that a common-sense interpretation of the words "business or
       property" includes the economic damages that result from injury to the person.
       We are not convinced that...contention accurately captures the ordinary meaning
       of those words. In our view, the ordinary meaning of.. ."injured in his business or
       property" excludes personal injuries, including pecuniary losses therefrom. As a
       Second Circuit panel remarked, "requirement that the injury be to the plaintiff's
       business or property means.. .the plaintiff must show a proprietary type of
       damage.-Bankers Trust Co. v. Rhoades, 741 F.2d 511, 515 (2d Cir. 1984)
       (dictum).
       Moreover, the pecuniary and non-pecuniary aspects of personal injury claims are
       not so separated as the appellants would have us accept; rather, loss of earnings,
       loss of consortium, loss of guidance, mental anguish, and pain and suffering are
       often to be found, intertwined, in the same claim for relief. We agree that "[h]ad
       Congress intended to create a federal treble damages remedy for cases involving
       bodily injury, injury to reputation, mental or emotional anguish, or the like, all of
       which will cause some financial loss, it could have enacted a statute referring to


4 Plaintiff s reliance on D enney v. Deutsche B ank AG, 443 F .3d 253 (2d Cir. 2006), is inapt
because the court limited its discussion ofRICO to drawing a distinction between parties with
standing under RICO versus Article III as it concerned a challenge to class certification. Unlike
in D enney, the case at bar has nothing to do with whether plaintiffHom’s damages are clear and
definite so much as whether he can claim them under RICO at all - he cannot. See Lexm ark Int'l,
Inc. v. Static Control Components, Inc., 572 U.S. 118 (2014) (Supreme Courtrestructured
causation and interests analysis, requiring they be not relegated only back-end damages
considerations but be promoted to statutory standing considerations as well. That is, plaintiff s
RICO claim cannot be heard (so no evidence supporting it can be admitted) for lack ofhis
statutory standing, as his claim falls outside the scope ofRICO protections. This argument, of
course, is reserved for appeal, as it has already been found that Mr. Horn has standing to assert
his claims.


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       injury generally, without any restrictive language." M orrison v. Syntex
       Laboratories, 101 F.R.D. 743, 744 (D.D.C.1984) (emphasis added).

       The Seventh Circuit agrees: Evans v. City o f Chicago, 434 F.3d 916, 927 (7th Cir. 2006),

involved a claim of malicious prosecution and unlawful imprisonment. The Seventh Circuit

rejected plaintiffEvans’ claim that he had been injured in his “business or property”:

       The fact that Grogan was premised on a tort claim of wrongful death and Evans'
       case is premised on false imprisonment and malicious prosecution is of no import.
       The real question is whether Congress intended RICO laws to compensate
       plaintiffs for pecuniary losses, such as loss of income, stemming from what is
       essentially a personal injury like the inability to work or seek employment. We
       are of the opinion that Congress did not intend to do so. See infra p. 926 n. 21.
       This is particularly true given the "restrictive significance" of the RICO standing
       requirement, which was adopted directly from the Clayton Act. ... Indeed, we are
       inclined to agree with the United States District Court for the District of
       Columbia's statement in M orrison v. Syntex Labs, that "[h]ad Congress intended
       to create a federal treble damages remedy for cases involving bodily injury, injury
       to reputation, mental or emotional anguish, or the like, all of which will cause
       some financial loss, it could have enacted a statute referring to injury generally,
       withoutany restrictive language." 101 F.R.D. 743, 744 (D.D.C.1984), cited with
       approval in Grogan, 835 F.2d at 847.

       Thus, RICO does not allow for recovery of lost wages of murder victims or those injured

by other predicate acts. Rather, a plaintiff seeking such damages must do so by bringing a

common-law tort claim (such as for assault and battery, or a statutory claim (such as for

wrongful death), which do allow recovery for personal injuries and the pecuniary losses flowing

therefrom. Plaintiff did bring several such tort-styled actions, all of which have been dismissed.

       The Sixth Circuit concurs. Jackson v. Sedgw ick Claims M anagem ent Svcs., 731 F.3d 556

(6th Cir. 2013) (en banc), involved a Coca-Cola truck driver who alleged that he had suffered

bodily injury that rendered him unable to drive, and that his employer - pursuant to a RICO

scheme of employing “cutoff’ doctors who fraudulently wrote letters denying workers’

compensation claims - was unable to obtain his rightful benefits because of the scheme of

sending those fraudulent letters to the board. The Sixth Circuit held that he could not maintain a

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RICO action against those responsible because the fraudulent deprivation ofhis worker’s

compensation was not an injury to his property. The court stated:

       [Pjlaintiffs claim ... they were... entitled to receive ... benefits mandated by
       statute as a consequence of their personal injuries, and ... received less than they
       were entitled to under that system because of the defendants' racketeering .... But
       the losses they allege are simply a shortcoming in the compensation they believed
       they were entitled to receive for a personal injury. They are not different from the
       losses the plaintiffs would experience if they had to bring a civil action to redress
       their personal injuries and did not obtain the compensation from that action they
       expected to receive .... Accordingly, racketeering ... leading to a loss or
       diminution ofbenefits the plaintiff expects to receive under a workers'
       compensation scheme does not constitute an injury to "business or property"
       under RICO.

       The case at bar is remarkably similar. Plaintiff Horn claims he was fraudulently induced

to take THC by defendants’ failure to warn, or properly label, an over-the-counter analgesic it

sold, and so he has in fact here in this very same action brought suit, sounding in state common-

law fraud fraud (his other state-law claims having been dismissed). In opposition, plaintiffhas

cited several district court cases that appear to support his position that such loss may be

recoverable in RICO, but on closer examination they are easily seen to be of no help to plaintiff,

in no small sense because most of the cases plaintiff cites were Second Circuit district court

decisions predating, their rationes decidendi thus negated by, the Second Circuit’s affirmance in

Gause, 29 F. App’x 761: (emphasis added)

       [Tjhejudgment...is affirmed substantially for the reasons stated in Judge
       Seybert’s Memorandum and Order dated August 2, 2000. P ersonal injuries o f
       sm okers are n o t injuries to “business or property” w ithin the m ea n in g o f the
       R acketeer In flu e n c e d a n d Corrupt Organizations A c t 18 U.S.C. §§ 1961 et seq.
       See, e.g., L a b o rer’s Local 17 H ealth and Benef i t F und v. Philip M orris, Inc., 191
       F.3d 229, 241 (2d Cir. 1999), cert. denied, 528 U.S. 1080 (2000).

       Plaintiff s reliance on Kubecka is of no use, as it was decided before Gause, and failed to

analyze the issues, merely “presuming” there was a viable claim, then noting Grogan constitutes




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contra authority, without explaining why plaintiffs’ claims were viable. The Kubecka court

stated:

          If Kubecka and Barstow had been merely disabled by the attempt on their lives
          but survived, presum ably they would have had a RICO claim for lost earnings
          from their business activities because they had been injured in their “business or
          property.” See, e.g. H unt v. Weatherbee, 626 F.Supp. 1097, 1101 (D.Mass.1986);
          b u t see Grogan v. Platt, 835 F .2d 844 (11th Cir. 1988) (Emphasis added).
          The Blue Cross court5 sinned the same way, accepting district court decisions as

precedent without demonstrating that the Sixth, Seventh and Eleventh circuit courts had

misapprehended RICO.

          Plaintiff s citation to Kriss v. B ayrock Group LLC , SDNY Docket No. 10-cv-3959, is

misplaced: In fact, Kriss proves defendant’s point.6 Plaintiff Kriss alleged that he had been

fraudulently induced to work for Bayrock Group by defendants who had hidden from him that

one, Felix Sater, was a twice-convicted Russian mobster and that they were running the firm

through a pattern of such predicate crimes as would eventually cause hundreds of millions of

damages to third parties. He alleged that had he known the truth, he would have taken another

job, but because he did not, and was subsequently told that he would not be paid as promised

and, ifhe didn’t like it, he could shut up about it or be killed, thus was positioned to have been

defrauded into working for free. That is pure RICO fraud, obtaining his services by fraudulently

promising payment and fraudulently concealing the Bayrock criminality.

          Kriss also alleged that he had membership interests in Bayrock LLCs which the RICO

defendants had no intention ofhonoring, and did not honor, stealing them from him, or at least




5Blue Cross & BlueShield o f N.J., Inc. v. Philip M orris, In c., 36 F. Supp. 2d 560 (E.D.N.Y.
1999).
6 Attorney Richard Lemer represented plaintiffs Kriss and Ejekam, as appellate counsel to trial
counsel Frederick M. Oberlander, and directly in related proceedings, and so is quite familiar
with the fact that they did not sue for lost wages, but only stolen partnership interests.
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stealing his right to distributions pursuant to those interests (under New York law, partnership

interests are property capable ofbeing converted). The third amended complaint (link) alleged:

       1(8. In late May 2007, Defendants participated in a transaction with FL Group that
       brought proceeds of$50 million into Bayrock Group. In substance, the transaction
       sold a majority participation in the greater than $200 million in profits that
       Bayrock Group projected it would earn from 4 of its development projects,
       including the Trump SoHo. Defendants benefited tremendously from this deal,
       which guaranteed them returns on the financial and “sweat” investments they had
       made in Bayrock Group. Defendants refused to share the $50 million in proceeds
       with Plaintiffs who, as equity partners in the 4 projects based on the valuable
       work they performed for Bayrock Group, were entitled to millions in
       distributions. Kriss received only a $500,000 “bonus”; Ejekam received nothing.
                                                ***
       1(168. Under the 2004 Kriss Agreement, Kriss was to receive $10,000 per month
       in taxable wages. The 2004 Kriss Agreement also provided Kriss, as additional
       compensation for his services, with the following membership interests in entities
       in which Bayrock Group was a controlling member: (1) a 10% membership in
       Defendant Ocean Club; (2) a 10% membership interest in Defendant Merrimac;
       and (3) a 5% membership interest in Defendant Camelback. The Agreement states
       that the membership interests in these entities granted to Kriss “will be set forth in
       the operating agreements of the following affiliated entities: Bayrock Ocean Club
       LLC, Bayrock Merrimac LLC, Bayrock Camelback LLC.” The 2004 Kriss
       Agreement further states that once certain conditions were met, Kriss would
       “receive distributions in the aforesaid limited liability companies in the
       proportions set forth in said operating agreements.”

       Kriss involved aggrieved plaintiffs defrauded into investing in a criminal enterprise. That

the form of the investment was sweat equity and not cash is irrelevant to the fact that they were

fraudulently induced into making it and directly harmed financially by the theft of that property

conveyed without the interposition of any personal or bodily injury. These were vested

membership interests that were granted solely in exchange for services or promises thereof.

       That is the key. No one would argue that had a plaintiffbeen defrauded into contributing

property to an LLC in return for membership interests conveying the right to shares of profits to

be earned from the venture which would use his property along with the sweat equity of other

members to make profits that that was not garden-variety RICO. In thejudge’s opinion and order


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in Kriss - as noted in plaintiffHom’s opposition papers - the court stated that lost “wages” are

recoverable in RICO. However, as LLC members (of an LLC taxed as a partnership, as Bayrock

was) the plaintiffs in K riss could not possibly have been suing for “wages” qua wages, as that

would have pled themselves into tax fraud: Because LLCs are treated as partnerships under the

tax law, partners (“members” in LLC parlance) cannot lawfully be paid “wages.” IRS Rev. Rul.

69-184, 1969-1 C.B. 256 (bona fide partner in partnership is not employee and remuneration

received not wages with respect to "employment.") Thus, it was merely loose talk by thejudge,

and not a holding, much less a holding that could override the Second Circuit’s binding

precedent in Gause that loss of earnings is not recoverable. The plaintiffs in RICO were suing for

what was stolen from them, their distributions.

Point II:      Plaintiff’s Loss of Earnings Do Not Directly Flow from the
               Alleged Fraud; Moreover, Plaintiff Has Not Shown the Right
               to Recover for Loss of Earnings Where There has Been no
               Diminishment in Loss of Earning Capacity.

       Plaintiff cites Cayuga Harvester, Inc. v. Allis-Chalm ers Corp., 95 A.D.2d 5 (4th Dep’t

1983), for the proposition that loss of profits (which plaintiff analogizes to loss of earnings) are

recoverable in fraud claims. Plaintiff asserts that consequential damages “may also be awarded”

if they are direct and that the rule barring such recovery is not inflexible. Here, however, the

requisite degree of directness is lacking. In Connaughton v. Chipotle In c ., 29 N.Y.3d 137 (2017),

the Court of Appeals cited Cayuga Harvester for the proposition that lost profits must indeed be

direct, and held that plaintiff Connaughton’s claim that he was fraudulently induced to forego

other business opportunities was indirect, thus holding his lost profits (ergo, lost earnings in the

case at bar) to be unsustainable on the claim of fraud:

       In New York, as in multiple other states, the true measure of damage is indemnity
       for the actual pecuniary loss sustained as the direct result of the wrong or what is
       known as the out-of-pocket rule. Under that rule, damages are to be calculated to

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       compensate plaintiffs for what they lost because of the fraud, not to compensate
       them for what they might have gained. There can be no recovery of profits which
       would have been realized in the absence of fraud. Moreover, this Court has
       consistently refused to allow damages for fraud based on the loss of a contractual
       bargain, the extent, and, indeed, the very existence of which is completely
       undeterminable and speculative.
       Here, plaintiffs pleading is fatally deficient because he did not assert
       compensable damages resulting from defendants' alleged fraud. The complaint
       alleges that in reliance on defendants' fraudulent omissions, plaintiff stopped
       soliciting potential buyers. However, the complaint fails to allege that, in doing
       so, he rejected another prospective buyer's offer to purchase the concept. Instead,
       plaintiff avers that once Ells showed an interest in his ramen restaurant idea,
       plaintiff turned to selling the concept to Chipotle. These are factual assertions of
       the quintessential lost opportunity, which is not a recoverable out-of-pocket loss.
       As this Court has repeatedly stated, such damage is disallowed as too speculative
       arecovery.
29 N.Y.3d at 142-143 (citations and internal quotes omitted, punctuation modified).7

       Here, plaintiff’s alleged economic loss does not directly flow from the alleged fraud;

rather, it takes an attenuated path. Here are the steps: (1) Plaintiff was allegedly fraudulently

induced to purchase CBD oil based upon a representation that it contained no THC; (2) he

allegedly ingested the oil which, as alleged, contained trace amounts ofTHC; (3) he underwent a

random urine test at work; (4) the lab reported the positive test result for trace THC to his

employer; and (5) his employer terminated his employment. His employer’s independent act

renders the claim for damages indirect. Moreover, to the extent that plaintiff was not hired by

other persons, such other persons’ acts were, themselves, independent and non-direct. As there is

no direct claim of damage, Dr. Zaporowski cannot opine as to the alleged loss of earnings that so

indirectly flowed from the alleged fraud.

       Plaintiff also cites several cases for the proposition that a claim oflost wages may be

proved without expert testimony - viz., Freeman v. A nh N guyen, EDNY Docket No. 13-CV-832;

7 Attorney Jean-Claude Mazzola represented the Chipotle defendants, and argued for dismissal of
the case before the Court of Appeals, and so is quite familiar with the fact that plaintiff failed to
articulate direct damages resulting from the alleged fraud.

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980 F. Supp. 2d 492 (SDNY 2013); Ferguson v. City o fN ew York, 73 A.D.3d 649, 901 N.Y.S.2d

609, 611 (2010); and Waring v. Sunrise Yonkers SL, L LC , 134 AD 3d 488 (1st Dep’t 2015).

       N orcia (which cites several of the other cases cited by plaintiff) was a dram-shop act,

wherein the plaintiff sustained actual physical injuries that prevented her from working. Where

there is physical injury, that is objectively verifiable, which manifestly prevents someone from

working, it is uncontroversial to argue that loss of earnings can be established without the need

to call an expert. The N orcia court stated:

       Damages for loss of past earnings may be awarded "based solely on plaintiff's
       testimony without supporting documentation." Kane v. Coundorous, 11 A.D.3d
       304, 783 N.Y.S.2d 530, 531 (2004); see also Ferguson v. City o fN ew York, 73
       A.D.3d 649, 901 N.Y.S.2d 609, 611 (2010) ("[P]roof of past lost earnings mustbe
       established with reasonable certainty1.... Such proof can consist [solely] of
       testimony...."); cf. Butts v. Braun, 204 A.D.2d 1069, 612 N.Y.S.2d 520, 521
       (1994) (basing finding of "highest amount [of damages for loss of future earnings]
       that can bejustified by plaintiff's evidence" on plaintiffs trial testimony).
       However, establishing loss of future earnings is more complicated, and requires
       "computing] ...the monetary value of the diminution in the plaintiff's annual
       earning capacity, multiplying that amount by the number of years the plaintiff
       could have worked—[her] work-life expectancy—and then discounting that
       amount to the present value." Braccia, 2011 WL 2848146, at*5 (internal
       quotation marks omitted).

       K ane v. Coundorous, 11 A.D.3d 304 (1st Dep’t 2004), was a wrongful-death action,

wherein the loss of earnings was unchallenged. In any event, the court stated, “While the lost

earnings award was based solely on plaintiff's testimony without supporting documentation,

defendants expressly declined to challenge such testimony by the use of the W-2 forms in their

possession. The evidence of plaintiff's earnings immediately preceding his accident was

sufficient to support thejury’s modest award of $208,000 for past lost earnings.” In Freem an,



8 Note: Plaintiff cited this case without identifying its name, referring to it by its unofficial cite
783 N.Y.S.2d 530, 531 (App. Div. 1st Dep’t 2004), at page 13 of the opposition papers.
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there was objective evidence of physical injury which prevented plaintiff from working. (See

link to the EDNY decision). So too in Waring and in Ferguson (a wrongful-death action) there

were objective physical injuries.

       Here, however, the plaintiff sustained no physical injuries, and thus, this case falls

squarely within the proposition that establishing loss of earnings is “more complicated,”

requiring the computation of the monetary value of the diminution in his “earning capacity ,”

N orcia, supra. If plaintiff had been poisoned, and been bedridden for a period, his loss of

earnings could have been established by his mere testimony. But he in fact sustained no physical

injury that prevented him from working, and thus he must establish, with competent evidence, a

loss of earning capacity. Dr. Zaporowski is not competent to give such testimony, and has not

been disclosed as having expertise in loss of earning capacity.


       WHEREFORE, it is respectfully submitted that plaintiff’s expert economist Mark P.

Zaporowski Ph.D. must be precluded from testifying at trial.

Dated: New York, New York
       August 2, 2021
                                                 MAZZOLA LINDSTROM, LLP
                                                 By: /s / Richard E. Lem er
                                                        Richard E. Lerner
                                                 Attorneys for defendant Dixie Holdings, LLC
                                                 1350 Avenue of the Americas, 2nd Floor




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                 UNITED STATES DISTRICT COURT
                 WESTERN DISTRICT OF NEW YORK


                         DOUGLAS J. HORN,

                               Plaintiff,

                                  vs.

                    MEDICAL MARIJUANA, INC.,
                      DIXIE HOLDINGS, LLC,
                    RED DICE HOLDINGS, LLC,
                       DIXIE BOTANICALS,

                             Defendants.


                      CaseNo. l:15-cv-00701-JWF




      MEMORANDUM OF LAW OF MEDICAL MARIJUANA, INC.,
 AND RED DICE HOLDINGS, LLC, IN RESPONSE TO COURT’S REQUEST
        FOR BRIEFING ON SUPPLEMENTAL JURISDICTION




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                                       PRELIMINARY STATEMENT

                 Defendants, Medical Marijuana Inc. and Red Dice Holdings, LLC (“MMI/RDH”),

by their undersigned counsel, submit the following memorandum of law in response to the Court’s

Text Order of August 3, 2021 (Doc. 202), in which the Court directed the parties to “brief the issue

of whether the Court should exercise supplemental jurisdiction over Plaintiff's sole remaining

cause of action: a state law claim for fraudulent inducement.” The Court cited to the case of Catzin

v. Thank You and G ood L u ck Corp., 899 F.3d 77 (2d Cir. 2018) and directed that “the parties

simultaneously file briefs onthe supplementaljurisdiction question before August 10, 2021.”

                 As set forth below, respectfully, the Court must first resolve the issue of whether

diversityjurisdiction exists in this case pursuant to 28 U.S.C. §1332. If diversityjurisdiction exists,

the issue of whether to exercise supplemental jurisdiction is moot. However, if diversity

jurisdiction does not exist, the Court must then determine whether to exercise supplemental

jurisdiction.

                 If the Court determines that diversity jurisdiction does not exist and reaches the

question of whether to exercise supplemental jurisdiction, “judicial economy, convenience,

fairness, and comity” strongly support the exercise of supplemental jurisdiction in this case and

strongly agitate against declining to exercise suchjurisdiction under 28 U.S.C. §1367(c)(3).

                                                    ARGUMENT

                                                       POINT I

                THE COURT MUST FIRST DETERMINE WHETHER
          DIVERSITY JURISDICTION EXISTS PURSUANT TO 28 U.S.C. §13321




                                                             1
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                Respectfully, prior to consideration of the supplementaljurisdiction question, the

Court must first determine whether it has diversityjurisdiction, which would render moot

whether the Court should exercise supplementaljurisdiction.

                The plaintiffs in Catzin, supra, “worked at laundromats in New York City owned

by various defendants.” I d . at 80. While it is not explicitly stated in Catzin, it appears that the

plaintiffs were New York residents, and the defendants were New York-based entities.

Moreover, the “three plaintiffs [were] seeking approximately $13,000 in unpaid wages and other

relief available under the wage-and-hour laws.” I d . As such, in Catzin, there was both a lack of

diversity among the parties and the amount sought was under the jurisdictional threshold of

$75,000. There is no discussion of diversityjurisdiction in Catzin, however, it appears that the

plaintiffs’ only path tojurisdiction in that case was through supplementaljurisdiction.

                The same is not necessarily true in the present case. In Plaintiff s initial complaint

(Doc. 1 at |2), he alleged:

                This Court has subject matterjurisdiction over the action pursuant to 28 U.S.C.
                 §1332, because the matter in controversy exceeds the sum of$75,000 and the
                parties are citizens of different states. This Court also has subject matter
                jurisdiction over certain claims herein pursuant to RICO, 18 U.S.C. §1964, and 28
                U.S.C. §1331, because they arise under the laws of the United States, and over
                other claims herein pursuant to supplementaljurisdiction, 28 U.S.C. §1367.

                Plaintiff alleged that there were two separate grounds for originaljurisdiction: 1)

diversityjurisdiction pursuant to 28 U.S.C. §1332; and 2) under RICO, with supplemental

jurisdiction pursuant to 28 U.S.C. §1367.

                As such, any analysis of whether the court should exercise supplemental

jurisdiction under 28 U.S.C. §1367 where Plaintiff’s RICO cause of action has been dismissed is




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potentially obviated by first considering whether diversityjurisdiction exists pursuant to 28

U.S.C. §1332.

                Upon information and belief, there is complete diversity between the plaintiff and

defendant parties. Plaintiff, Doug Horn, is a citizen ofNew York, and the defendants are

California and Colorado-based entities.

                The only remaining question is whether the matter in controversy exceeds the sum

of$75,000. Plaintiff has asserted through the opinion ofDr. Zaporowski (Plaintiff s proposed

Exhibit 12) that he is entitled to lost earnings and interest amounting to over $500,000.

Presumably, Plaintiff will continue to assert entitlement to this amount, even under his lone

remaining cause of action for fraudulent inducement.

                However, as was already broached in Point II of Dixie’s Motion in Limine (Doc.

194), Plaintiff s damages under the fraudulent inducement cause of action must be limited to

“out of pocket” damages under New York State law.

                The First Department in K um iva Group, LLC v. Garda USA In c., 146 AD 3d 504,

506-507 (1st Dept. 2017) held:

                New York courts for over 100 years have differentiated between
                the damages recoverable for a breach of contract action and those
                recoverable for fraudulent inducement. While a plaintiff alleging
                breach of contract is entitled to damages restoring the full benefit
                of the bargain, a plaintiff alleging fraudulent inducement is limited
                to “out of pocket” damages, which consist solely of the actual
                pecuniary loss directly caused by the fraudulent inducement. “Out
                of pocket” damages are calculated in three steps. First, the plaintiff
                must show the actual value of the consideration it received.
                Second, the plaintiff must prove that the defendant's fraudulent
                inducement directly caused the plaintiff to agree to deliver
                consideration that was greater than the value of the received
                consideration. Finally, the difference between the value of the
                received consideration and the delivered consideration constitutes
                “out of pocket” damages (see Lam a H olding Co. v Smith Barney,

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                88 NY2d 413, 421-422 [1996]; Sager v Friedm an, 270 NY 472,
                481 [1936]; Reno v B ull, 226NY546, 552-553 [1919];
                Connaughton v Chipotle M exican Grill, In c., 135 AD3d 535, 538­
                539 [1st Dept 2016]).

                This line of cases was recently recognized by the Southern District in N ew York

Wheel Owner L L C v. M am m oet H olding B Y , 481 F. Supp. 3d216 (SDNY 2020), which held:

                Under New York law, a plaintiff asserting a claim for fraudulent
                inducement can recover only “out of pocket” damages. Kumiva
                Grp., LLC v. Garda USA Inc., 146 A.D.3d 504, 506, 45 N.Y.S.3d
                410 (1st Dep't 2017); see also Lama Holding Co. v. Smith Barney
                Inc., 88 N.Y.2d 413, 646 N.Y.S.2d 76, 668 N.E.2d 1370, 1374
                (1996) ("Even if the claims of fraud were sufficiently alleged,
                plaintiffs would be limited to recovering their losses.")

                The New York Court of Appeals in Lam a H olding v. Smith Barney, In c ., 88

N.Y.2d 413 (1996) further held:

                The true measure of damage is indemnity for the actual pecuniary
                loss sustained as the direct result of the wrong” or what is known
                as the “out-of-pocket” rule (Reno v B ull, 226 N.Y. 546, 553;
                H anlon v M acFadden P ubl., 302 N.Y. 502). Under this rule, the
                loss is computed by ascertaining the “difference between the value
                of the bargain which a plaintiff was induced by fraud to make and
                the amount or value of the consideration exacted as the price of the
                bargain” (Sager v Friedm an, 270 N.Y. 472, 481). Damages are to
                be calculated to compensate plaintiffs for what they lost because of
                the fraud, not to compensate them for what they might have gained
                (see, Cayuga H arvester v Allis-Chalm ers Corp., 95 AD2d 5).
                Under the out-of-pocket rule, there can be no recovery of profits
                which would have been realized in the absence of fraud (Foster v
                D i P aolo, 236 N.Y. 132; AFA Protective Sys. v American Tel. &
                Tel. C o., 57N.Y.2d912).

See also, R evell v. Guido, 124 AD3d 1006 (3rd Dept. 2015) (The Third Department, citing the

foregoing case law, affirmed a New York Supreme Court ruling where testimony in a trial for

fraudulent inducement regarding “lost rents was stricken from the record” and “thejury was

specifically instructed to disregard the accountant’s testimony in this regard and that any mention


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oflost profits was removed from the verdict sheet.” As a result, the court was satisfied that

Supreme Court’s remedial efforts and curative instructions “were sufficient to alleviate the

prejudicial effect of the error” of allowing evidence regarding lost profits to be introduced in

fraudulent inducement case.)

                Following the New York State law on this issue, Plaintiff cannot recover for

alleged lost earnings and interest on the same (his only remaining claimed damages in this suit),

as this is, quintessentially, “recovery of profits which would have been realized in the absence of

fraud.” Plaintiff can only potentially recover what he lost “because of the fraud” and “not to

compensate [him] for what [he] might have gained.”

                When considering the equation of the “difference between the value of the

bargain which a plaintiff was induced by fraud to make” and “the amount or value of the

consideration exacted as the price of the bargain” - one could not possibly plug over $500,000 in

alleged lost earnings into either side of this equation.

                Plaintiff, indisputably, was not even allegedly induced by the defendants to

bargain for anything more than a single bottle of CBD oil, which Plaintiff allegedly believed to

be free ofTHC. The “amount or value of consideration exacted as the price of [that] bargain”

was, at most, $167.95 (Plaintiff s proposed Exhibit 5). Plaintiff does not, and cannot, allege that

the defendants in this action exacted consideration of over $500,000 in alleged lost earnings for a

single bottle of CBD oil. Instead, these alleged lost earnings damages are, quite literally, what

Plaintiff “might have gained” in the absence of the alleged fraud. Such damages are explicitly

not recoverable under New York State law pursuant to fraudulent inducement.

                Given the foregoing, it seems possible that the Court may be prepared to hold that

it does not have diversityjurisdiction over this case, as a matter of law. Where Plaintiff s only

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remaining cause of action is a state court action for fraudulent inducement, and New York State

caselaw makes clear that damages under such a cause of action are limited as set forth above,

diversityjurisdiction would not exist under 28U.S.C. §1332 because the amount in controversy

could not possibly exceed $75,000.

                As such, respectfully, the Court must make this determination prior to proceeding

to a determination with respect to whether it should exercise supplementaljurisdiction:

                1) If the Court finds that Plaintiff can potentially recover more than $75,000

                     under his fraudulent inducement cause of action, then diversity jurisdiction

                     exists and there is no need to evaluate whether the court should exercise

                     supplementaljurisdiction.

                2) If the Court finds that Plaintiff cannot recover more than $75,000 under his

                     fraudulent inducement cause of action, then diversityjurisdiction does not

                     exist and the court must proceed to evaluate whether to exercise supplemental

                     jurisdiction, as set forth below.


                                                      POINT II

  WHERE THE COURT FINDS DIVERSITY JURISDICTION DOES NOT EXIST - IT
           SHOULD EXERCISE SUPPLEMENTAL JURISDICTION

                As set forth above, the Court should only reach this question where it has found

that grounds for diversity jurisdiction no longer exist in this case. In such event, we turn again to

the case cited in the Court’s Text Order (Doc. 202), Catzin v. Thank You and G ood L uck Corp.,

899 F.3d 77 (2d Cir. 2018).

                Catzin involved a case in which, like the present case, the plaintiffs initially

brought causes of action under both federal and New York State law. Also, like the present case,

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at the time of trial, the plaintiffs were no longer proceeding with the federal claims and were only

proceeding with their state claim.

                 In C atzin, the District Court declined to exercise supplementaljurisdiction under

28 U.S.C. § 1367(c)(3), which states that “[t]he district courts may decline to exercise

supplementaljurisdiction over a claim under subsection (a) if,” under subsection (3), “the district

court has dismissed all claims over which it has originaljurisdiction...” Moreover, the Court

noted that it believed the inclusion of the federal claims “had all along been disingenuous and

was a stratagem to manufacture federaljurisdiction.” I d . at 79.

                The Second Circuit’s reversal of this decision largely focused on the District

Court’s failure to give the party’s “notice and an opportunity to be heard” and “impugn[ing]

plaintiffs’ counsel’s motives without affording any notice” or “an opportunity to explain

himself’ - factors are that not relevant in our case. I d . at81. Only then did the Second Circuit

analyze the District Court’s decision with respect to the factors under 28 U.S.C. § 1367.

                The Second Circuit held that even where § 1367(c)(3) arguably applied:

                the district court must still meaningfully balance the supplemental
                jurisdiction factors. The principle that the elimination of federal-
                law claims prior to trial generally points to declining to exercise
                supplementaljurisdiction “in the usual case” clearly does not mean
                that the balance of the factors always points that way. Indeed,
                Cohill stated that this principle “does not establish a mandatory
                rule to be applied inflexibly in all cases.” Cohill, 484 U.S. at 350
                n.7, 108 S.Ct. 614. Nor does the record in this case establish that it
                falls within the ambit of the “usual case,” where judicial economy,
                convenience, fairness, and comity counsel against exercising
                supplementaljurisdictionwhen § 1367(c)(3) applies.

C atzin, 899 F.3d at 86.




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                     As the District Court had failed to take into account considerations of “judicial

economy, convenience, fairness, and comity” in its decision of whether to exercise supplemental

jurisdiction, the Second Circuit vacated and remanded. Specifically, the Second Circuit noted:

                     Supplementaljurisdiction was revoked one day prior to the final
                     pretrial conference and a week before the scheduled trial date. The
                     trial was to be short, roughly three days, and the parties and the
                     District Court were ready for trial. The case presented no issues of
                     special state court expertise nor any novel questions of state law or
                     state-law causes of action that would be better decided in state
                     court. Instead, wage-and-hour cases like this one are quotidian, and
                     federal courts are well experienced in presiding over them, even
                     when they involve claims under the NYLL for which there is no
                     FLSA equivalent, such as for failure to provide wage notices. The
                     District Court did not explain how comity between state and
                     federal courts is advanced by saddling a state court colleague with
                     a wage-and-hour case of the type that is tried in federal court every
                     day. Nor does the record lend itself to an understanding as to how
                     convenience or fairness was served by setting backwards the
                     course of a case the parties had vigorously litigated for nearly two
                     years and causing them to expend who knows how much time,
                     legal fees, and distraction starting over in state court.

I d . at 86.

                     Similar to Catzin, in this matter, the parties were within a week of proceeding

with a scheduled trial, the trial was to be short (not three days but, likely, not much longer), and

the parties and the Court were ready for trial. This case, which is now only a single cause of

action for fraudulent inducement, presents no issues of special state court expertise or any novel

questions of state law that would be better decided by a state court. Similarly, it is not clear how

comity between the courts would be advanced by “saddling” a state court with this action nor

would the interests of convenience or fairness be served by setting backwards the course of this

case, which the parties have litigated for six years, almost to the day. (Plaintiff s Complaint,

Doc.1, was filed on August 6, 2015.)


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                The parties and the Court are fully prepared to go to trial on the remaining cause

of action for fraudulent inducement. If the Court determines that diversityjurisdiction does not

exist in this case, and that the only path forward for subject matterjurisdiction is supplemental

jurisdiction under 28 U.S.C. § 1367, “judicial economy, convenience, fairness, and comity”

certainly suggest declining the option presented by § 1367(c)(3) and retainingjurisdiction over

this matter through, what should be, a swift resolution of the same.

                                                  CONCLUSION

                Based on the foregoing, it is respectfully submitted that the Court should find that

diversity jurisdiction does not exist in this case as the amount in controversy does not exceed

$75,000 and therefore, in the interests of justice, the Court should exercise supplemental

jurisdictionunder28U.S.C. § 1367.

                In the alternative, if the Court finds that the amount in controversy in the case

could potentially still exceed $75,000, then diversity jurisdiction exists and there is no need to

determine supplementaljurisdiction.

DATED:          Buffalo,New York
                August 10, 2021
                                                        Respectfully submitted,




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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK
DOUGLASTrHORNandCTNDY"HARP4HORN~

                     Plaintiffs,                       Civil Action No.
                                                       15-cv-00701-FPG
 -against-
                                                       Hon. Magistrate Judge
MEDICAL MARIJUANA, INC., DIXIE                         Jonathan W. Feldman
HOLDINGS, LLC, RED DICE HOLDINGS, LLC,
and DIXIE BOTANICALS,

                     Defendants.




                     Defendant Dixie Holdings’ Memorandum of Law
                             in Response to Court’s Request
                        for Briefing on Supplemental Jurisdiction




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Dated: August 10, 2021
       New York, New York
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              Adoption of Co-Defendants’ Arguments, and Supplement Thereto
       Defendant Dixie Holdings, LLC, by their undersigned counsel, submit the following

memorandum oflaw in response to the court’s text order of August 3, 2021 (ECF DKT. No.

202), in which the court directed the parties to “brief the issue of whether the Court should

exercise supplementaljurisdiction over Plaintiff's sole remaining cause of action: a state law

claim for fraudulent inducement.” In the interest ofjudicial economy and expediency, we adopt

and incorporate by reference the arguments made in behalf of defendants Medical Marijuana Inc.

and Red Dice Holdings LLC on the issue before the court. However, we add the following.

       In Wolde-Meskel v. Vocational Instruction Project Community Services, 166 F. 3d 59 (2d

Cir. 1999), the Second Circuit noted that, for determining whether the amount-in-controversy

requirement is satisfied, the court must look to the complaint at the time it was filed. Thus, in the

case at bar, the court should focus notjust on whether plaintiff’s fraudulent-inducement claim is

worth more than the $75,000 threshold amount, but instead on whether the original state-law

claims asserted in plaintiff’s complaint satisfied the $75,000 requirement.

       Here, the original complaint did not allege a dollar amount sought in the ad damnum

clause, or within the allegations themselves. However, the plaintiff did specifically allege, with

respect to one the state-law claims, that the damages were in excess of thejurisdictional amount

required for diversityjurisdiction. (See, paragraph 87, with respect to the claim of negligent

infliction of emotional duress). Additionally, the ad damnum requested, as to all causes of action,

as follows: (emphasis added)

       WHEREFORE, Plaintiffs demandjudgment against the defendants, for actual,
       consequential, incidental, statutory and punitive damages as follows:

       i. On all causes o f action, actual and compensatory damages in a sum of money
       having a present value w hich exceeds th e jurisd ictio n a l lim its o f this C ourt,
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        The issue then is whether, to a legal certainty, at the time the complaint was filed, there

was no legal possibility of a recovery on the state-law claims of over $75,000. As the Wolde-

M eskel court stated:

        [T]here has been no argument presented or finding made that the jurisdictional
       allegations of the complaint were made in bad faith in an attempt to feign
       jurisdiction. In any event, to demonstrate a filing in bad faith, "[i]t must appear to
       a legal certainty that the claim is really for less than thejurisdictional amount to
       justify dismissal." St. P aul [M ercury Indem. Co. v. R ed Cab Co., 303 U.S. 283,
       289-90, 58 S.Ct. at 590 (1938)] Legal certainty is analyzed by what appears on
       the face of the complaint; subsequent events - such as a valid defense offered by
       the defendant, or actual recovery in an amount less than the minimum
       jurisdictional amount—"do[] not show [plaintiff's] bad faith or oust the
       jurisdiction." St. P aul, 303 U.S. at 289, 58 S.Ct. at 590.

        The case of Yong Qin Luo v. M ikel, 625 F.3d 772 (2d Cir. 2010), is instructive because

the complaint in that matter, having been removed to federal court from a New York state court,

lacked a specific dollar amount claimed as damages, because New York prohibits stating a dollar

amount in such complaints. After the case was dismissed, the plaintiff argued that removal was

improper because thejurisdictional threshold amount had not been pled. The Second Circuit

noted (a) that the plaintiffhad made a settlement demand of$600,000, and (b) that the plaintiff,

at the initial status conference, declined to limit her damages to less than $75,000. This sufficed

to establish that the claim was worth more than the threshold amount at the time of removal.

        Here, plaintiffs Douglas and Cindy Harp-Horn alleged in their original complaint that “all

causes of action” that had been pled satisfied thejurisdictional threshold; therefore, it does not

appear that plaintiff Douglas Horn can now argue that diversity jurisdiction is lacking; rather,

this case can only be dismissed for lack of diversityjurisdiction if this court were to find, to a

legal certainty, that there was no possible way for the plaintiff to have recovered more than

$75,000 on the state-law causes of action when the suit was brought, such that such claims must

have been asserted in bad faith.


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                                             Conclusion
        Should the court conclude, to a legal certainty, that plaintiffs’ original state-law claims

could not possibly have satisfied thejurisdictional $75,000 threshold for diversityjurisdiction,

defendant Dixie Holdings LLC submits that the court should nonetheless exercise supplemental

jurisdiction, for the reasons stated by co-defense counsel. If, however, the court were to find that

the original state-law claims were not, to a legal certainty, worth less than $75,000, it must retain

diversityjurisdiction.


DATED:         NewYork, NewYork
               August 10, 2021
                                                  Respectfully submitted,

                                                  Mazzola Lindstrom LLP

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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK


DOUGLAS J. HORN, et a l .,
                                                       Decision and Order
                               Plaintiffs,

             v,                                        15-CV-701-JWF
MEDICAL MARIJUANA, INC., et a l .,

                               Defendants.




                          PRELIMINARY STATEMENT

         On July 22, 2021,       defendant Dixie Holdings,      LLC    ("Dixie

LLC”) filed a motion in limine to preclude the testimony of Mark

P. Zaporowski, Ph.D., plaintiff's expert economist.            Docket # 194.

While styled as a motion in limine, in truth Dixie LLC's motion is

of a dispositive nature:        it contends that the kinds of damages

that plaintiff seeks to recover are not recoverable through either

of his remaining claims.        Defendants Medical Marijuana, Inc. and

Red   Dice   Holdings,   LLC    join   in   the   motion.    Docket    #   200.

Plaintiff opposes the motion.          Docket # 198.

         On August 3, 2021, the Court informed the parties that it

intended to dismiss plaintiff's civil RICO claim (with a written

Decision and Order to follow) and requested the parties brief the

issue of the Court's subject matter jurisdiction over the state-

law fraud claim.     Docket ## 203-05.
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          Having reviewed all the briefing submitted,            and for the

reasons set forth below, the Court concludes that plaintiff's civil

RICO claim must be dismissed as a matter of law, that plaintiff's

fraud claim is viable insofar as plaintiff seeks to recover lost

earnings, and that the Court retains subject matter jurisdiction

over the fraud claim.         Accordingly, defendants' motion is GRANTED

IN PART and DENIED IN PART.



                                  DISCUSSION

      Prior to the scheduled jury trial, plaintiff had two remaining

causes of action: a civil RICO claim and a state-law fraudulent

inducement claim.1       In    both claims plaintiff sought to recover

damages for the losses he incurred when his employment as a truck

driver     was   terminated,      including     "past    and    future     lost

compensation,     lost health benefits,       lost retirement savings and

difference in work effort mileage driven."           Docket # 179 at 2.      To

support his damages calculations, plaintiff intended to proffer at

trial the testimony of Dr. Zaporowski, who calculated the value of

plaintiff's total economic damages.           Id.   Defendants contend that

plaintiff cannot recover these kinds of "loss of earnings" damages



1 Plaintiff had other claims that were previously addressed and dismissed by
Judge Geraci. See Horn v. Medical Marijuana, Inc., 383 F. Supp, 3d 114 (W.D.N.Y.
2019) .
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in connection with either a civil RICO or state-law fraud claim.

As will be discussed below, defendants are correct with respect to

the former claim, but not the latter.

      Delay    and   Prejudice    to   Plaintiff;        Before    discussing     the

merits, the Court will address plaintiff's arguments on the timing

of Dixie LLC's motion.           See Docket ## 197,         198.     As the Court

stated on the record at the prior conferences on this motion, the

timing of     the motion and the prejudice           to plaintiff         resulting

therefrom is both concerning and unfortunate.                However, the Court

has already concluded that the Dixie LLC's delay in raising these

potentially dispositive issues was not attributable to bad faith.

Furthermore, once raised, the Court could not avoid deciding the

issue.    If defendants were correct on the damage issue, it would

have made little sense to proceed to trial, as the Court would be

required to instruct the jury on the law as to recoverable damages.

If plaintiff     cannot,   as a matter of         law,     recover the type        of

damages he seeks, the trial would have essentially been a pointless

exercise in futility.      Deciding the issue now, however late it has

been raised,     still ensures that the parties,                the Court and the

jurors do not spend time or energy on claims for which plaintiff

cannot recover the damages he seeks.         While the Court acknowledges

the   costs   plaintiff    has   incurred   due     to    the     delay   of   trial,

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judicial economy and fairness to the parties require resolution of

the damage issues prior to the commencement of trial.

        Plaintiff also makes two threshold arguments that merit only

brief    comment.     First,     plaintiff        cites   Dixie    LLC's    eleventh

affirmative defense in its answer to argue that Dixie LLC has long

known about this issue.         See Docket # 9 at 11; Docket # 198 at 6.

The eleventh affirmative defense is that plaintiff's injuries "do

not arise out of any [RICO] predicate acts" and that plaintiff "is

therefore without standing."          Docket # 9 at 11.             That issue is

different than the one Dixie LLC now raises — that plaintiff's

damages are not recoverable as injuries to "business or property"

under the RICO statute.        Second, plaintiff claims that Judge Geraci

decided this issue at summary judgment, which is incorrect.                       See

generally Horn v. Medical Marijuana,               Inc., 3 83 F. Supp.       3d 114

{W.D.N.Y. 2019).      Accordingly,     the Court turns to the merits of

the pending motion.

     Cognizable Damages in Civil RICO claims:                     Defendants argue

that plaintiff's      requested    "loss     of    earnings"      damages   are   not

recoverable in a civil RICO action because they are predicated on

the bodily invasion plaintiff allegedly sustained when THC was

introduced into his system through the ingestion of Dixie X.                      The

Court agrees.

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        RICO establishes a private right of action to " [a]ny person

injured in his business or property by reason of a violation of

section 1962 of this chapter."            18 U.S.C. § 1964(c).            Defendants'

argument implicates the first clause in this provision: that one

must be injured "in his business or property" in order to recover

under Section 1964 (c) .

        This statutory language has a long history.                Congress modeled

Section 1964(c) and its private right of action on the "the civil-

action provision of the federal antitrust laws, § 4 of the Clayton

Act," Holmes v. Secs.          Inv'r Protection Corp., 503 U.S. 258, 267

(1992), which provides: " [A]ny person who shall be injured in his

business      or    property   by   reason    of   anything     forbidden       in    the

antitrust laws may sue therefor in any district court of the United

States    . . . ."       15 U.S.C.    § 15(a)       (emphasis   added) .        In the

context of the Clayton Act, the Supreme Court has held that the

"business     or property"      clause    encompasses      harm     to    "commercial

interests      or    enterprises,"     Hawaii       v.   Standard        Oil    Co.   of

California, 405 U.S. 251, 264            (1972), but not "personal injuries

suffered."         Reiter v, Sonotone Corp., 442 U.S. 330,                339   (1979).

Compare id. {"[A] consumer . . . acquiring goods or services for

personal use [] is injured in 'property' when the price of those

goods    or   services    is   artificially        inflated   by    reason      of    the

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anticompetitive conduct complained o f .") , with Chadda v . Burcke,

180 F. App'x 370, 371-72 (3d Cir. 2006)         (summary order)    (consumer's

injuries suffered from use of a cosmetic              "at most"    asserted a

"personal injury" that did not support an antitrust claim).

        In interpreting and applying Section 1964(c), courts have

taken the same approach.        "[A] plaintiff only has standing [under

civil RICO]     if, and can only recover to the extent that, he has

been     injured   in   his   business     or   property   by     the   conduct

constituting the violation."2        Sedima, S.P.R.L, v. Imrex Co., 473

U.S. 479, 496 (1985)      (emphasis added).      An injury to "business or

property" under Section 1964 (c) contemplates "a proprietary type

of damage" or "economic injury."            Bascunan v. Elsaca, 874 F.3d

8 06, 817 (2d Cir. 2017) . As a simple example, "a person physically

injured in a fire whose origin was arson is not given a right to

recover for his personal injuries; damage to his business or his




2 Although the issue is sometimes framed as one of "standing," as in Sedima,
the Court notes that this label is "misleading." Lexmark Int11, Inc, v. Static
Control Components, Inc., 572 U.S. 118, 128 n.4 (2014). The Supreme Court has
made clear that “the absence of a valid (as opposed to arguable) cause of action
does not implicate subject-matter jurisdiction, i.e., the court's statutory or
constitutional power to adjudicate the case."     Id. ; see also Am. Psychiatric
Ass'n v. Anthem Health Plans, Inc., 821 F.3d 352, 359 (2d Cir. 2016) (” [W]hat
has been called 'statutory standing' in fact is not a standing issue, but simply
a question of whether the particular plaintiff has a cause of action under the
statute."   (internal quotation marks omitted)); Safe Streets Alliance v.
Hickenlooper, 859 F.3d 865, 887 (10th Cir. 2017) <"[W]hat we once called ’RICO
standing' or ’statutory standing' we now properly characterize as the usual
pleading-stage inquiry: whether the plaintiff has plausibly pled a cause of
action under RICO.").
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building is the type of injury for which § 1964(c) permits suit."

Bankers Trust Co. v. Rhoades, 741 F.2d 511,            515    (2d Cir. 1984),

vacated on other grounds, 473 U.S. 922 (1985).

     The limitation is perhaps easier to state than to apply.                   A

fundamental     difficulty    is that money    "is a   form of property,"

Reiter, 442 U.S. at 338, and "[m]ost personal injuries" will entail

"some pecuniary consequences," including "loss of earnings,                loss

of consortium,     loss of guidance,     mental anguish,          and pain and

suffering."     Poe v. Roe, 958 F .2d 763,      770    (7th Cir.     1992) .   A

litigant could easily recast        damages   for personal         injury as a

financial loss of "property" in order to invoke civil RICO.                See,

e.g., id. (noting that, theoretically, one could view the "economic

aspects    of   [a personal    injury]" as    "injuries      to   'business    or

property'"); Grogan v. Platt, 835 F.2d 844, 846 (11th Cir. 1988)

(discussing plaintiffs' argument that "persons who are killed or

injured by RICO predicate acts suffer real economic consequences

as a result").     As a result, in deciding whether an injury is "to

business or property" — and thus recoverable under civil RICO — or

is personal — and thus not recoverable — courts do not look solely

at whether there is a "financial loss."           Doe, 958 F.3d at 770.

Instead,   they ask whether the plaintiff seeks to recover for a

loss that flows from, or is derivative of, a personal injury.                  If

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it does, then it is not recoverable under civil RICO.                    See Jackson

v. Sedgwick Claims Mgmt. Servs., Inc., 731 F.3d 556, 565-66                         (6th

Cir. 2013)      (''[B]oth personal injuries and pecuniary losses flowing

from    those    personal     injuries   fail    to     confer    relief        under   §

1964(c).");      Grogan, 835     F.2d    at    848    (holding    that    plaintiffs

"cannot recover under RICO for those pecuniary losses that are

most properly understood as part of a personal injury claim").

       In recognition of this distinction,               courts have held that

lost earnings or wages are not recoverable if they flow from a

personal injury.         See Evans v. City of Chicago, 434 F.3d 916, 926­

27 (7th Cir. 2006)       ("The loss of income as a result of being unable

to     pursue    employment     opportunities        while     allegedly         falsely

imprisoned . . . are quintessentially pecuniary losses derivative

of personal injuries arising under tort law."), overruled on other

grounds, Hill       v.    Tangherlini, 724       F.3d    965     {7th    Cir.     2013);

Jackson, 731 F,3d at 565.          Here, plaintiff does not allege that

defendants engaged in a fraudulent scheme that directly caused his

loss of employment.         To the contrary, plaintiff acknowledges that

"[t]he nexus between the RICO violations . . . and [plaintiff's]

resulting economic damages . . . is the harm of the THC that was

introduced into      [his]    system by Defendants'          product."      Docket #

198    at   7   (emphasis    added) .     In    other    words,     what        connects

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defendants'           fraudulent scheme to plaintiff's loss of employment

and     earnings       is    a   personal    injury:       the    bodily    invasion    that

plaintiff suffered when he unwittingly ingested THC.                              Cf. Doe v.

Brown Univ. , 304 F. Supp.              3d 252,      265    (D.R.l.       2018)   (plaintiff

sufficiently alleged tort of battery, where she claimed defendant

"spiked" her drink, which caused her "harmful mental and physical

effects").         Unfortunately for plaintiff, he may not recover lost

earnings arising from that sort of personal injury in connection

with a civil RICO claim.             Accord Laborers Local 17 Health & Benefit

Fund v.        Philip Morris,        Inc., 191 F.3d 229,            241     (2d Cir,   1999)

(noting        that    smokers     cannot   assert     RICO      claims    for    fraudulent

cigarette marketing "because the RICO statute requires an injury

to 'business of property’"); Genty v. Resolution Trust Corp., 937

F.2d 899,         918-19     (3d Cir.    1991)     {"RICO plaintiffs may recover

damages for harm to business and property only, not physical and

emotional injuries due to harmful exposure to toxic waste."); Aston

v. Johnson & Johnson, 248 F. Supp. 3d 43, 49-50 (D.D.C. 2017) (loss

of earnings in connection with pharmaceutical drug); Zimmerman v.

Poly Prep Country Day Sch., 888 F. Supp. 2d 317, 329-30 (E.D.N.Y.

2012}        (plaintiffs could not recover lost wages and out-of-pocket

expenses caused by sexual abuse)                 Bougopoulos v. Altria Grp,, Inc.,

954     F.     Supp.    2d   54,   66   (D.N.H.    2013)         ("lost    income"   due   to

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plaintiff's inability to work from smoking); Got1in v. Lederman,

367 F. Supp. 2d 349, 357 (E.D.N.Y. 2005)              (where plaintiffs alleged

that    defendants      fraudulently    misrepresented       quality      of    cancer

treatment,      dismissing      civil     RICO       claim   and    noting        that

"allegations of a financial loss incidental to a personal injury

such as loss of earnings or pain and suffering are not considered

injury to property or business"), aff'd , 483 F. App'x 583 (2d Cir.

2012)    (summary order);      Gause v.       Philip Morris, No.       99-CV-6226,

2000 WL 34016343, at *4 (E.D.N.Y. Aug. 8, 2000)                 (where plaintiff

alleged    tobacco      companies   fraudulently marketed cigarettes               and

thereby caused her to smoke and develop emphysema, she could not

recover lost income under civil RICO on the theory that she was

unable to work due to her illness),              aff'd , 29 F. App'x 761           (2d

Cir. 2002)     (summary order).

        The cases that plaintiff cites in his opposition memorandum

do not persuade the Court otherwise.              Indeed, many of those cases

demonstrate       the      distinction        that     courts      draw        between

business/property injuries and personal injury,                 as they involve

economic harm flowing directly from RICO predicate acts without

any intervening personal injury.              See Denney v. Deutsche Bank A G ,

443 F.3d 253, 260, 265 (2d Cir. 2006)                (scheme to market unlawful

tax strategies allegedly caused plaintiffs to,                  inter alia, pay

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"excessive fees" for the advice, sustain penalties from the IRS,

and incur costs to remediate their tax s i t u a t i o n s ) City of New

York v. Fedex Ground Package Sys., Inc., 175 F. Supp. 3d 351, 369­

71 (S.D.N.Y. 2016)           (delivery service's circumvention of New York

cigarette taxes caused state and local governments to lose tax

revenue),-    Kriss     v.   Bayrock    Grp,     LLC, No.     1Q-CV-3959,      2016   WL

7046816, at *19 (S.D.N.Y. Dec. 2, 2016)               (real estate organization,

which was engaged in fraudulent activities, enticed "real estate

finance professionals"             to join organization and caused them to

pass up "lucrative opportunities" elsewhere) ,- Rodonich v. House

Wreckers     Union, 627       F.    Supp.   176,   180    (S.D.N.Y.    1985)    (union

unlawfully     disciplined          union   members      in   scheme   to   suppress

dissent, which caused lost wages).

     Plaintiff cites two cases as supporting the view that he may

recover lost earnings resulting from his claimed bodily invasion.

The Court is not convinced by either.                    First is Jerry Kubecka,

Inc, v. Avellino, 898 F. Supp. 963 (E.D.N.Y. 1995).                     In Kubecka,

it was alleged that           the defendants murdered           two executives        in

connection with a dispute over garbage disposal contracts in Long

Island.      Kubecka,    898 F. Supp. at 966.            The plaintiffs included

two corporations that alleged they were "injured in their business

or property . . . [when] their executives were murdered and thereby

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removed as executives."           Id. at 969.            The court agreed, apparently

accepting     that   the    murders      interfered            with    the    corporations'

operations in such a way as to constitute an injury to "business

or property"       under RICO.         Id.         Whatever the soundness of that

rationale with respect to corporate losses,                       it does not support

the    proposition       that   an    individual         who    loses   his    job   due    to

personal injury caused by RICO predicate acts may maintain a RICO

claim.

       The second case is Blue Cross & Blue Shield of New Jersey,

Inc, v. Philip Morris, Inc., 36 F. Supp. 2d 560                         (E.D.N.Y. 1999).

There,     medical       insurers      sued        tobacco      companies      to    recover

"economic     damages      they      incurred       in    the   medical       treatment     of

diseases caused by tobacco use."                    Blue Cross, 36 F. Supp. 2d at

565.      They     claimed        tobacco           companies         had      fraudulently

misrepresented the health consequences of smoking and brought RICO

claims premised on, among other things, mail and wire fraud.                               Id.

at 565-66.       The court held that the insurers' medical expenditures

constituted a loss to business or property and that " [a]ny personal

injuries to smokers . . . caused by                      [tobacco companies'] alleged

racketeering       are    separate      and        distinct     from    the     [insurers']

economic injuries suffered by their businesses."                            Id. at 569-71.



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        Blue    Cross   is   unpersuasive.       As    a   general     matter,    the

reasoning in Blue Cross is inconsistent with the history, logic,

and interpretation of the "business or property" clause that the

Court has described above.             For that reason,        the decision "has

been criticized by numerous courts" and has been acknowledged to

"rest[]    on    tenuous     legal   footing."    Magnum v.        Archdiocese     of

Philadelphia, No. Q6-CV-2589, 2006 WL 3359642, at *4 n.6 {E.D. Pa.

Nov. 17, 2006).         Regardless, even if the Court were to accept the

distinction that Blue Cross drew between insurers and insureds,

that distinction does not help plaintiff: he is not attempting to

recover economic damages that are "separate and distinct" from the

bodily invasion he suffered from unwittingly consuming THC.                       As

plaintiff himself admitted, his "economic damages" resulted from

"the harm of the THC that was             introduced into          [his]   system by

Defendants' product."          Docket # 198 at 7; accord Zimmerman, 888 F.

Supp.    2d at    330    (distinguishing Blue         Cross   on   the basis     that

"Plaintiffs' alleged lost wages and out-of-pocket expenses are, in

their own words,         closely associated with the personal injuries

they incurred as a result of Defendants'                   misconduct"     (internal

quotation marks omitted)).

        In sum, because plaintiff's loss of earnings flows from, and

is derivative of, a personal injury he suffered, his lost earnings

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do not constitute an injury "to business or property"                            that   is

recoverable in a civil RICO action.                 And because plaintiff does

not seek to recover any other damages, his RICO claim fails as a

matter of law and must be dismissed.                See Fed. R. civ. P. 56(f).

      Plaintiff's Fraud Claim:             Noting that New York only permits

recovery for "out-of-pocket" losses in a fraud action, defendants

next assert that a fraud plaintiff is categorically prohibited

from recovering lost earnings.              Docket # 194 at 4-6.             The Court

disagrees.

      In New York, if a plaintiff can prove the elements of a claim

for   fraud,   he    is   entitled to recover          "any proximately           caused

damages."      Carbon Capital       Mgmt., LLC v.           Am.   Express       Co., 932

N.Y.S.2d 488, 494 (2d Dep't 2011); see also Williams v. Goldberg,

109 N.Y.S.     15,   16    (App.   Term.    1908)    ("All manner of            fraud is

abhorrent to the law, and if one person sustains injury through

the   fraud of      another he will        be afforded a proper             remedy."),-

Goldberg v. Mallinckrodt, Inc., 792 F.2d 305, 307                     (2d Cir. 1986)

("Under New      York     law,   damages    for     fraud    must    be   the    direct,

immediate,       and       proximate        result          of      the     fraudulent

misrepresentation."); 60A N.Y.Jur.2d Fraud and Deceit § 190 ("The

injured party is entitled to recover in a tort action for deceit

only such damages as result directly, necessarily, and proximately

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from     the          fraud,"     (footnotes          omitted)).            What      damages       are

recoverable in a given case will necessarily depend on the nature

of the fraud and of the resulting injuries.                             Hotaling v. A.B. Leach

&   Co.,         247    N.Y.     84,    88    (1928)       (''Varying      circumstances           must

logically require variation in the application of th[e] measure of

damages.").

        Where          the     fraud    occurs        in    the     context      of     a    business

transaction,            the     measure       of    damages       will     ordinarily         be    "the

difference between the amount paid and the value of the article

received."              Hotaling, 247              N.Y.    at     87-88.        Where       the    fraud

proximately causes other consequential expenses, such damages may

also be recovered.                See Lama Holding Co. v . Smith Barney Inc., 88

N.Y.2d 413,             423    (1996)     (noting that            consequential         damages     are

recoverable in fraud action so long as they                                 "naturally flow[]"

from the fraud);               see, e.g., Idrees v. Am. Univ. of the Caribbean,

546    F.    Supp.       1342,     1350      (S.D.N.Y.          1982)    {student     fraudulently

induced          to    enroll     in    medical       school       could    recover          "tuition,

inscription fee, application fee and round-trip air fare between

New York and [the school]"); Orbit Holding Corp. v. Anthony Hotel

Corp., 503 N.Y.S.2d 780,                     783    (1st Dep't 1986)            (where seller of

property fraudulently concealed lease, purchaser could recover for

costs       of    settling        dispossess         proceeding          with    tenant); Cayuga

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Harvester,     Inc,    v. Allis-Chalmers Corp., 465 N.Y.S.2d 606,                619

(4th Dep't 1983}           (fraud plaintiff could recover damages for lost

crops that resulted from the purchase of defective machine).

        Finally — and more relevant here — New York courts have long

permitted a fraud plaintiff to recover damages for personal injury

proximately caused by fraud.               See Kuelling v, Roderick Lean Mfg.

Co., 183 N.Y.       78,     89   (1905)    (collecting cases and holding that

"one who sells an article, knowing it to be dangerous by reason of

concealed defects . . .             is liable in damages to any person . . .

who suffers an injury by reason of his willful and fraudulent

deceit and concealment."); Tulloch v. Haselo, 218 N.Y.S. 139, 141

(3d Dep't 1926)        ("[A] cause of action for deceit may arise where,

as   the   result     of    false    representation,   the   damage    results    in

personal injuries."); see, e.g., Simcuski v. Saeli, 44 N.Y.2d 442,

451-53 (1978) (where medical provider fraudulently advised patient

about      treatment,        patient      could   recover    damages     for     the

"depriv[ation]        of the opportunity for        [a] cure"); Kuelling, 183

N.Y. at 88-89         (fraudulent concealment of defect in agricultural

implement, which caused plaintiff "severe injuries," gave rise to

fraud claim and recovery of proximately caused damages); Williams,

109 N.Y.S. at 16 (tenant could recover damages in fraud action for

physical injuries incurred when ceiling collapsed on her, where

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defendant's        agent     fraudulently        misrepresented         ceiling's

condition); Tulloch, 218 N.Y.S. at 142 {positing that if a person

misrepresented the safety of a gun and a recipient were injured

"by reason of the defects in the gun," a "cause of action for

common-law deceit would arise in his favor")                Young v. Robertshaw

Controls Co., 481 N.Y.S.2d 891,          893-94    (3d Dep't 1984)          (finding

that plaintiff stated viable fraud claim, where she alleged that

fraudulent     concealment    of   defective      control    valve    caused      the

explosion of a water heater and the death of her husband, and where

she sought compensatory damages for husband's "conscious pain and

suffering and wrongful death"),- see also City of New York v. Lead

Indus.      Ass'n,    597    N.Y.S.2d    698,      700      (1st   Dep't      1993)

("Misrepresentations of safety to the public at large,                      for the

purpose of influencing the marketing of a product known to be

defective, gives rise to a separate cause of action for fraud.'') .

     The position of New York courts on the scope of recoverable

damages     in a   fraud action mirrors         in large part        that    of   the

Restatement (Second) of Torts:

     The recipient of a fraudulent misrepresentation is
     entitled to recover as damages in an action of deceit
     against the maker the pecuniary loss to him of which the
     misrepresentation is a legal cause, including

     (a)     the difference between the value of what he has
             received in the transaction and its purchase price
             or other value given for it; and
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      (b)     pecuniary loss suffered otherwise as a consequence
              of    the    recipient's   reliance    upon    the
              misrepresentation.

Restatement      (Second}      of Torts     § 549(1)(a)- (b)      (1977);      see also

Clearview Concrete Prods. Corp. v. S. Charles Gheradi,                         Inc., 453

N.Y.S.2d 750, 755 (2d Dep't 1982)             (citing Section 549 favorably).

In   addition     to    those    categories       of   damages,     the    Restatement

provides that " [o]ne who by a fraudulent misrepresentation . . .

causes physical harm to           [a] person . . . who justifiably relies

upon the misrepresentation[] is subject to liability to the other."

Id. § 55 7A     (emphasis added) .          The    "ordinary rules as to legal

cause"    —   i .e ., proximate cause —           govern claims      for fraudulent

misrepresentation causing physical harm.                     Id. § 557A cmt.; see

generally id. § 431 (discussing "legal cause").

      Plaintiff's fraud claim fits within this overall framework.

As   defendants        acknowledge     in     their     briefing,       plaintiff       is

essentially alleging that he suffered a personal injury as a result

of   defendants'       fraud:    he   was    induced    to    consume     Dixie    X    by

defendants'     misrepresentations,          which     caused     him     to   suffer    a

bodily invasion through the ingestion of THC and which,                        in turn,

rendered him ineligible for his employment.                   See Docket # 194 at

2; Docket # 200 at 7-9, 15; Docket # 201 at 7.                      Defendants also

acknowledge     that     the    damages     plaintiff    seeks    are     intended      to
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compensate       for the    losses he     incurred because of his personal

injury.     See Docket # 194 at 4; Docket # 200 at 7-9, 12; Docket #

201    at   7.      Plaintiff's       theory     is,   at        its   core,   a      fairly

conventional one.          A plaintiff claims he was injured by a product

that he was induced to purchase by allegedly fraudulent marketing

practices, and he seeks to recover for the earnings he lost because

of his injury. It would be difficult for defendants to argue that

this    represents    some    novel     theory    of   relief,         as,   again,     they

repeatedly       analogize    plaintiff's        claim      to    commonplace         toxic-

exposure cases.       See Docket # 200 at 7, 10-11; Docket # 201 at 7­

8.

       Thus,     the fundamental      question is not whether plaintiff's

theory of liability or damages fits generally within the framework

of a fraud claim —           it does — but whether he                  can establish a

sufficiently strong causal connection between defendants'                              fraud

and his     claimed injury        (i .e ., the bodily invasion of THC)                   and

alleged     damages    (i .e .,   the    loss    of    wages/benefits          from      his

employment) . Proximate causation is an issue of fact for the jury.

See Benitez v. N.Y.C. Bd. Of Educ., 73 N.Y.2d 650, 659 (1989); 79

N.Y.Jur.2d Negligence § 58.              At trial,       the jury will be tasked

with deciding whether defendants' fraud was "a substantial factor

in bringing about [plaintiff's] injury [and associated damages],"

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in that the fraud "had such an effect in producing the injury [and

associated damages]          . . . that reasonable people would regard it

as a cause of the injury [and associated damages]."                         N.Y. Pattern

Jury Instructions § 2:70                (discussing in negligence context); see

also id. § 2:70 cmt. (noting that " [c] ausation is relevant both to

liability and to damages").                    Regarding the intervening acts of

"independent" actors like plaintiff's former employer,                         the jury

will be tasked with deciding whether "a reasonably prudent person

in the defendant[s'] situation" would have "foreseen that an act

of    the   kind   committed        by    [the      independent    actor]   would be    a

probable result" of their fraud.                     N.Y. Pattern Jury Instructions

§ 2:72      (discussing in the negligence context); see also id. cmt.

("Where      the   acts      of     a    third      person   intervene      between   the

defendant's        conduct        and    the    plaintiff's       injury,    the   causal

connection is not automatically severed.").

       To the extent defendants are inviting the Court to decide, as

a matter of law, whether plaintiff will be able to sufficiently

establish proximate causation at trial, the Court declines to do

so.    To be sure, "where only one conclusion may be drawn from the

established facts[,] the question of legal cause may be decided as

a matter of law."         Benitez, 73 N.Y.2d at 659 {internal quotation

marks and ellipsis omitted).                   But because proximate causation is

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a factual issue,            it necessarily requires careful examination of

the underlying circumstances.               The time and place for that analysis

is not now.        While the Court has permitted defendants to raise a

dispositive issue with respect to the civil RICO claim at this

late juncture, that is because it represents a purely legal issue

that can be resolved on the papers.                     Analyzing whether proximate

causation        can   be    adequately      established        is    a    factual      issue

deserving of fact-finding by a jury.                     Even now, defendants have

not submitted any sort of Rule 56 Statement of Facts or admissible

evidence in connection with their motion and the Court will not

embark on its own sua sponte analysis of the record to resolve the

issue.     See United States v. Zannino, 895 F.2d 1, 17                         (1st Cir.

1990)    ("It is not enough merely to mention a possible argument in

the most skeletal way,            leaving the court to do counsel's work,

create     the    ossature      for   the    argument,      and      put   flesh     on    its

bones.").

        Defendants do raise other purely legal arguments concerning

plaintiff's       fraud      claim,   which       the   Court   can dispose        of     now.

First, defendants assert that "loss of earnings" damages are wholly

unrecoverable in a fraud claim, allegedly due to New York's "out

of pocket" rule.            This argument is unconvincing.



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       New York's   "out-of-pocket"     rule provides the "standard for

measuring" the loss suffered due to fraud.           60A N.Y.Jur.2d Fraud

and Deceit § 281.       It limits recoverable damages to "the actual

pecuniary loss sustained as the direct result of the wrong."                Sw.

Inv'rs Grp., LLC v. JH Portfolio Debt Equities, LLC, 93 N.Y.S.3d

775,    777   (4th Dep't   2019) .    "Damages are to be calculated to

compensate plaintiffs for what they lost because of the fraud, not

to compensate them for what they might have gained" — as a result,

"there can be no recovery of profits which would have been realized

in the absence of fraud."        Lama Holding Co., 88 N.Y.2d at 421; see

also Pine Street Assocs., L.P. v. Hicks, No. 651440-2011, 2012 WL

1946822, at *6 (N.Y. Sup. Ct. May 24, 2012)         ("[F]raud damages are

not intended to provide a victim with            'benefit of the bargain

damages,'     and are limited to indemnifying the injured party for

the actual losses sustained, that is, 'out-of-pocket' damages.").

The rule's rationale       "is   that the value    to the claimant         of a

hypothetical lost bargain is too undeterminable and speculative to

constitute a cognizable basis for damages."           Starr Foundation v.

A m . Int'1 Grp., Inc., 901 N.Y.S.2d 246,           250   (1st Dep't   2010}

{internal quotation marks and citation omitted).

       Relying on this rule. New York courts have sometimes held

that a fraud plaintiff        cannot recover for the      "the loss of an

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alternative bargain overlooked in favor of the fraudulent one."

Geary v. Hunton U Williams, 684 N.Y.S.2d 207, 207 {1st Dep't 1999).

Thus, lost profits which "would have been realized in the absence

of fraud" are not recoverable. Lama Holding C o ., 88 N.Y.2d at 421,

nor    are   earnings   that   might   be     realized   in   connection   with

hypothetical future employment.             See, e.g., Mihalakis v. Cabrini

Med. Ctr.     (CMC), 542 N.Y.S.2d 988, 990 {1st Dep't 1989)            (medical

student could not recover damages for "future earnings as a doctor"

via fraud claim).

       But these cases have no application here.              Plaintiff is not

seeking to obtain hypothetical          lost earnings     for an unrealized

opportunity he could have undertaken absent the fraud; he is asking

for damages to compensate for the actual job he already lost.                In

other words,     we are not dealing with a hypothetical alternative

bargain,     but a realized,    demonstrable loss of employment.            See

Cayuga Harvester, 465 N.Y.S.2d at 619             (stating that a plaintiff

may not recover "profits based on the bargain it was fraudulently

induced to make," but may recover damages for the "loss sustained

because it made the bargain").              As numerous cases demonstrate,

fraud claims premised on actual job loss are viable under New York

law.     See, e.g., Leidl v. Please Hold (UK) Ltd., No. 17-CV-6134,

2018 WL 1089748, at *5 (S.D.N.Y. Feb. 2, 2018)                {where plaintiffs

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were fraudulently induced to quit employment, they were "entitled

to any damages they actually suffered in the form of lost wages"

(emphasis added)); Kwon v. Yun, 606 F. Supp. 2d 344, 361 (S.D.N.Y.

2009)    (collecting cases for the proposition that "loss of benefits

flowing from one's previous employment all are cognizable losses

in employment-related fraudulent inducement cases" ) ,- Laduzinski v.

Alvarez & Marsal Taxand LLC, 16 N.Y.S.3d 229, 232 (1st Dep't 2015)

(where plaintiff alleged he was fraudulently induced to quit job

and accept new employment, concluding plaintiff had viable fraud

claim and damages based on "his loss of employment") ,- Navaretta v.

Grp. Health, 595 N . Y .S .2d 839, 841 (3d Dep't 1993) (plaintiff could

recover "for injuries resulting from her reliance on defendant's

allegedly false statements," including the "loss of benefits and

salary connected with her former employment"           (emphasis omitted)),

        Of course, there is a separate question of how to calculate

the value of lost employment.         Because the fraud plaintiff would

no longer have the job,       any inquiry into compensation for that

loss may entail      "hypothetical"      questions    of what   earnings    the

plaintiff    would   have made,    how     long   the plaintiff   would    have

worked,    etc.   But such hypotheticals are not the target of the

out-of-pocket rule.       The case of Laduzinski v. Alvarez & Marsal

Taxand t.t.c , 16 N.Y.S.3d 229 (1st Dep't 2015) is directly on point.

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There, a fraud plaintiff claimed he was induced to leave his former

employment      by     the    fraudulent        misrepresentations        of     his   new

employer,     Laduzinski, 16 N.Y.S.3d at 230-31.                    Citing the out-of­

pocket    rule,      the    defendants asserted that plaintiff                 could not

recover "alleged loss of wages he claims he would have received

from his prior         [employer]."            Brief    for Defendants-Respondents,

Laduzinski v. Alvarez & Marshal Taxand LLC, 16 N.Y.S.3d 229 (1st

Dep't    2015),      2015    WL     9312574,    at     *38.   The    First     Department

rejected that argument, holding that plaintiff's damages were not

"speculative" and represented "the sum necessary for restoration

to the position occupied before the commission of the                             fraud."

Laduzinski, 16 N.Y.S.3d at 232.

        The Fourth Department articulated similar reasoning in Cayuga

Harvester, where a fraud plaintiff lost a corn crop as a result of

a fraudulent misrepresentation related to a defective machine.

465    N.Y.S.2d      606,     618     (4th     Dep't    1983).       It   rejected     the

defendants' claim that the valuation of the lost crops must exclude

any "element of profit."                  Id. at 619.     Rather, the plaintiff was

entitled to recover the "profits that [it] would normally receive

from    [the] corn crop if sold at market value as a return on its

investment in labor,              seed,    fertilizer and other expenses in the



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crop," since those profits and expenditures                         "were lost when the

corn was destroyed."        Id.

        The distinction between unrealized future opportunities and

actual     lost employment makes             sense    in light       of    the overriding

purpose of damages in the fraud context, which is "to restore a

party to the position occupied before commission of the fraud."

Alpert v. Shea Gould Climenko & Casey, 559 N.Y.S.2d 312, 314 (1st

Dep't    1990).      A   party    is    entitled          to   recover      not     only     the

difference       in value   of    a fraudulent            bargain,    but any and all

"proximately       caused damages."            Carbon Capital Mgmt.,                LLC, 932

N.Y.S.2d at 494; see also Castle & Cooke v. Lincoln Mdse. Corp.,

477     N.Y.S.2d     390,   390        (2d    Dep't        1984)      ("Out       of     Pocket

considerations do not . . . prevent recovery of other consequential

damages       proximately         caused             by        reliance        upon          the

misrepresentation."         (internal         quotation          marks      and        emphasis

omitted));       Kaddo v . King Serv. Inc■, 673 N.Y.S.2d 235,                          237   (3d

Dep't    1998)     (distinguishing       between          "benefit    of      the      bargain"

damages,     which    are   not    recoverable            in    a   fraud     action,        and

"consequential damages           flowing directly from the wrong,"                        which

are).     It would be inconsistent with the fraud plaintiff's right

to be fully indemnified for his losses to hold that lost earnings

associated with actual job loss are never recoverable in a fraud

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action.        Lama Holding C o ., 88 N.Y. 2d at 423.              Plus,    it would

conflict       with   those     cases     that    unequivocally     permit        fraud

plaintiffs       to recover     for personal       injuries,    which necessarily

involve "pecuniary consequences"               like "loss of earnings."               Doe,

958 F.2d at 770.         In short, New York law permits a fraud plaintiff

to     recover    lost    earnings      resulting     from     actual      job    loss.

Accordingly, the Court rejects defendants' first argument.

       Next, defendants argue that one can only recover lost wages

if "[the] alleged tort caused a loss of earning capacity."                       Docket

# 194 at 6.

       Much like their prior argument,             this argument was addressed

by the First Department's decision in Laduzinski.                  16 N.Y.S.3d at

232.      To    reiterate,     the    Laduzinski    plaintiff     alleged        he   was

fraudulently induced to quit his employment and accept a new job

offer, but he was subsequently fired once his new employer secured

his contact list.          Id. at 230-31.         The plaintiff did not allege

any loss of earning capacity but stated that the fraud caused him

to leave "his stable and well compensated employment . . . , which

brought about a setback in his career."                    Id. at 231.     The court

rejected defendants' argument that such damages were unrecoverable

and held that the plaintiff could obtain damages to compensate far

his    lost employment        and    "restor[e]    [him]    to the position           [he]

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occupied before the commission of the fraud."                   Id. at 232.        This

holding cannot be reconciled with defendants'                   assertion,        and I

find the Laduzinski rationale both logical and persuasive.

        Furthermore,   the primary       case       on which defendants       rely —

Clanton v. Agoglitta, 615 N.Y.S.2d 68 (2d Dep't 1994) - does not

stand for the broad proposition defendants ascribe to it.                     Clanton

did not involve a fraud claim, but an automobile negligence action.

Clanton, 615 N.Y.S.2d at          68.         The   issue before        the Appellate

Division was whether a jury verdict "as to damages for impairment

of   earning    ability"   deviated      "materially       from    what     would    be

reasonable compensation" for purposes of N.Y. C.P.L.R. § 5501(c),

and the court noted that the "basic rule is that loss of earnings

must    be   established   with    reasonable         certainty"    and     that    the

analysis must focus "in part" on the plaintiff's "earning capacity

both before and after the accident."                  Id. at 69.    The court did

not purport to make any broad holding regarding the availability

of loss-of-earnings damages in a fraud action.

       In    sum,   defendants    have    not       persuaded     the     Court    that

plaintiff's requested damages are precluded under New York law.3




3 To the extent defendants are merely arguing that plaintiff failed to mitigate
his damages, the Court declines to address that issue.       Like the issue of
causation, that is a fact-sensitive question that would need to be resolved
through a thorough analysis of the record evidence, which cannot be undertaken
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Because the Court has rejected defendants' arguments on the fraud

claim, there is presently no reason why Dr. Zaporowski should be

barred from testifying to the earnings and benefits plaintiff lost

when he was terminated from his employment.              Whether plaintiff can

sufficiently connect those damages to defendants' fraud is an issue

for the jury to decide at trial.

     Subject Matter Jurisdiction:             Because the Court informed the

parties prior to the issuance of this Decision and Order that it

intended to dismiss       the civil RICO claim — the only remaining

federal   cause     of   action   —    it     ordered   supplemental    briefing

concerning    the   Court's   continuing       subject matter    jurisdiction.

The parties have filed their supplemental arguments.                   Docket ##

2 03-05, and they confirm to the Court that it continues to have

subject matter jurisdiction over this matter.

     First,   diversity jurisdiction exists,             insofar as plaintiff

alleged damages exceeding $75,000 in good faith. Docket # 1; Am.

Safety Cas. Ins. Co. v. 385 Onderdonk Ave., LLC, 124 F. Supp, 3d

237, 242 (E.D.N.Y. 2015), and the parties appear to agree there is

complete diversity.        Docket # 203 at 6; Docket # 204 at 2; see

generally 28 U.S.C. § 1332.           Second, even if it did not exist, the




summarily at this juncture,   Defendants may, of course      raise this issue at
trial,
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Court     would   exercise    its    discretion   to     retain   supplemental

jurisdiction over the fraud claim under 28 U.S.C.                 § 1367.   The

relevant      factors     support      the    exercise      of    supplemental

jurisdiction: this case has been pending for more than five years,

it is ready for trial, there are no novel issues of state law, and

it would be unfair to the parties to force them to restart the

litigation in state court.           See generally Catzin v. Thank You &

Good Luck Corp., 899 F.3d 77, 86 {2d Cir. 2018).

        Accordingly,    the Court retains subject matter jurisdiction

over this action.

                                    CONCLUSION

        For the reasons stated above,        the Court GRANTS IN PART and

DENIES IN PART defendants' motion (Docket ## 194, 200).              The civil

RICO claim is dismissed pursuant to the Court's authority under

Rule 56(f), but defendants' motion is otherwise denied.

        By separate order, the Court will set a status conference for

the purpose of rescheduling the trial.

SO ORDERED.




Dated:       Rochester, New York
             September    2 021
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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK
..................................................................................... X
DOUGLAS J. HORN and CINDY HARP-HORN,
                                                                                               Civil Action No: 15-CV701 (JWF)
                                                Plaintiffs,

                                    -against-                                                  N O T IC E O F M O T IO N

MEDICAL MARIJUANA, INC.,
DIXIE ELIXIRS AND EDIBLES,
RED DICE HOLDINGS, LLC, and
DIXIE BOTANICALS,

                                                Defendants,
.......................................................................................... X

           PLEASE TAKE NOTICE that pursuant to FRCP 54(b); and upon the annexed

Memorandum of Law, dated November 18, 2021 and all Exhibits, papers and proceedings

herewith and heretofore had herein, Plaintiff, by his counsel, will move this Court before the Hon.

Jonathan Feldman, United States Magistrate Judge at the U.S. Courthouse, 2 Niagara Square

Buffalo, New York 14202 for an Order pursuant to F.R.C.P. 54(b) granting Plaintiffs’ Motion to

issue a final Order and Judgment by this Court as to the claims of Plaintiff, for purposes of appeal,

along with such other and further relief as this Court deems just proper.

           PLEASE TAKE FURTHER NOTICE that pursuant to Local Court Rules, answering/reply

affidavits, if any, are required served to the undersigned within fourteen (14) days.

Dated: New York, New York                                              Respectfully Submitted,
       November 18, 2021                                               THE LINDEN LAW GROUP, P.C.
                                                                       Jeffrey ‘Benjamin
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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK
__________________________________ X
DOUGLAS HORN AND CINDY HARP-              DocketNo. l:15-cv-00701
HORN,
                  Plaintiffs,

-against-

MEDICAL MARIJUANA, INC.,
               Defendant.
                                     X




       PLAINTIFFS’ MEMORANDUM OF LAW IN SUPPORT OF MOTION
       til TO CERTIFY THE COURT’S SEPTEMBER 14. 2021 DECISION AS
       AN APPEALABLE FINAL JUDGMENT: and tiit FORA STAY OF
       PROCEEDINGS PENDING APPEAL




                                          Respectfully submitted,

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                                          A tto rn eyfo r Plaintiffs
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Dated: New York, New York
       November 19, 2021
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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK
..................................................................................... X
DOUGLAS J. HORN and CINDY HARP-HORN,
                                                                                             Civil ActionNo: 15-CV-701 (JWF)
                                  Plaintiffs,

                                  -against-

MEDICAL MARIJUANA, INC.,
DIXIE ELIXIRS AND EDIBLES,
RED DICE HOLDINGS, LLC, and
DIXIE BOTANICALS,

                                  Defendants,
          ...............................................................................X

           PLAINTIFF’S MEMORANDUM OF LAW IN SUPPORT OF MOTION
           til TO CERTIFY THE COURT’S SEPTEMBER 14. 2021 DECISION AS
           AN APPEALABLE FINAL JUDGMENT; and tiil FORA STAY OF
           PROCEEDINGS PENDING APPEAL

           Plaintiff Douglas Horn, by and through his undersigned counsel, hereby submit this

memorandum of law in support of his motion (i) to certify the Court’s September 14, 2021

Decision and Order [Doc 206] as an appealable finaljudgment; and (ii) for a stay of proceedings

pending decision on appeal.

                                                PRELIMINARY STATEMENT

           Plaintiffs commenced this action on August 6, 2015. [Doc. 1] (Complaint). Along with

certain New York common law claims either withdrawn or dismissed, the crux of Plaintiff s

lawsuit lay in the first three causes of action:

           Count I:               Deceptive Business Practices/False Advertising {Id. at p. 8)
           Count II:              RICO Violations {Id. at p. 9)
           Countlll:              FraudulentInducement(M atp. 11)

           The RICO violations in Count II included two prongs: i) that the THC content in

Defendants’ Dixie X Elixir product made it a “Controlled Substance” violative of the federal


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Controlled Substances Act; and 2) that the sending of the product to Plaintiff across state lines in

interstate commerce was mail and wire fraud also violative of RICO.

        On September 14, 2021 at Doc #206, this Court dismissed Plaintiff s last statutory claim

under RICO, that of mail and wire fraud. In summary, the Court defined Plaintiff s case as one of

personal injury or “bodily invasion” and as such ruled that Plaintiff s sole claim for damages, his

economic loss of earnings as a truck driver, is not recoverable under RICO.

        This motion is Plaintiff s respectful “response” to the Court’s defining away of Plaintiff’s

RICO claim for damages. Plaintiff is master of his own pleading. Not only did he not plead a

personal injury or bodily injury case, but he did also not conduct discovery, testify in Affidavit or

in deposition, or allege damages consistent with a personal injury case. Plaintiff seeks no damages

for pain and suffering; he did not allege negligence leading to bodily injury, but only as to

Defendants’ manufacturing, prom otion and advertising process leading to his loss of earnings. He

has never called a medical doctor expert to testify as to bodily injury or invasion. In sum, he has

never put forward any of the typical, or even prefatory, indicators of a personal injury/bodily

invasion case.

        From his case’s beginning in 2015, Plaintiff has prosecuted this case as a consumer fraud

stemming from false advertising of a product. His damages have always been solely economic. He

has never maintained that the loss of his job came from his physical inability to work, but only

from false representations by Defendants in YouTube, print and internet advertising, and the label

on the product itself.

        Respectfully contrary to the Court’s opinion, the factual and legal issues originally brought

by Plaintiff and that which remain today are indeed novel. In certain proposed questions to thejury

by the Defendants’ herein, they asked this Court to ask thejury if they have “ever heard that eating




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a poppyseed muffin, bagel, or granola bars can result in failing a drug test.” Mr. Horn’s case was

as simple as him eating a product and then testing positive. It was never of him eating a product

and needing continued medical treatment and therapy the next day. The Court’s recent decision

defining the case in a way Plaintiff never intended or conducted, should respectfully be researched,

written upon, and submitted to the Second Circuit before trial.

       It is specifically because these issues are novel in this District and in this Circuit, that

Plaintiff respectfully requests the Second Circuit should consider them before trial. Otherwise,

Plaintiff contends there is a risk that Plaintiff, and indeed the Defendants, will be subject to a

second trial and post-trial appeals.

       Plaintiff for his part, would intend to handle any appeal, if certified by this Court, in the

most expeditious fashion.

                                   PROCEDURAL HISTORY

       A.      On August 30, 2018, Defendant Medical Marijuana, Inc. (Defendant “MMI”)

moved for summaryjudgment. [Doc. 61], After substantial briefing, argument and consideration,

the Court, in its Decision and Order dated April 17, 2019 [Doc. 88] granted the motion in part and

sustained Plaintiff’s claims on Counts II (RICO Violation) and III (Fraud). The balance of this

significant litigation was premised on and relied upon this ruling.

       B.      On August 9, 2019, Plaintiffs moved, per Federal Rule of Civil Procedure

(“FRCP”) 54(b) for an Order certifying the dismissal of all of Cindy’s claims as final, so that she

couldappealpriortofinaljudgmentaftertrial. [Doc. 102],

       C.      On August 14, 2019, Douglas also sought final judgment as to the dismissal of

Count I (New York General Business Law Sections 349 for Deceptive Practice and 350 for False

Advertising) [Doc. 104], Thus, by way of Docs. 102 and 104, Plaintiffs sought “certification under




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FRCP 54(b) and an order of Entry of finaljudgment against both CINDY and DOUGLAS, and an

express determination that there is nojust reason for delay of both Plaintiffs’ appeal.” [Doc. 104],

        D.      By Decision and Order dated October 3, 2019 [Doc. 115], the Court denied

Plaintiffs’ motions, though it recognized the threat Plaintiff contends here: “it would not advance

the interests of soundjudicial administration of efficiency to have piecemeal appeals that require

two . . . three-judge panels to familiarize themselves with [t]he case in successive appeals.” Id. at

p.3 (internal quotation marks and citations omitted).

        E.      By Decision and Order dated November 22, 2019 [Doc. 124], the Court held that

Defendants’ respective motions for reconsideration [Docs. 97 and 106] were granted in part and

denied in part. Its November 22, 2019 Decision modified the Court’s prior order “insofar as

Douglas Horn may now proceed with his RICO claim only to the extent it is premised on predicate

acts of wire and mail fraud. He may not proceed with his claim on the theory that Dixie X is a

controlled substance.” Id. at p. 10. Again, this Court sustained Plaintiffs’ RICO claims, albeit as

modified.

        F.      Then one (1) day before jury selection and trial, the Court entertained a latent

application by the Defendants and, by Decision and Order dated September 14, 2021, dismissed

Douglas’s remaining RICO claim. The Court stated that PlaintifFs loss of earnings damages was

not recoverable under RICO because they are predicated upon the bodily invasion suffered when

Plaintiff ingested Defendant’s THC product (Dixie X). The Court stated, “In other words, what

connects defendants’ fraudulent scheme to plaintiff s loss of employment and earnings is a

personal injury: the bodily invasion that plaintiff suffered when he unwittingly ingested TCH.”

Id. at 8-9 (citations omitted). It is respectfully contended that this ruling was an abuse of discretion,

or erroneous as a matter of law on a novel issue the Second Circuit should consider before trial.




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       It is unclear to Plaintiff why summary dismissals of all of his statutory causes of action

took three (3) separate decisions. The threat to Plaintiff of going to trial under these circumstances

is that he will be effectively deprived of his day in Court on these certain issues. Again, Plaintiff s

only alleged damages are economic and pecuniary and resulted from the Defendants’ improper

manufacturing, advertising, and marketing efforts. While Plaintiff certainly wants to get to trial

one day, there is no real prejudice or emergent need to try the fraud claim before the statutory

claim(s) is at least considered by the Second Circuit. And given what Plaintiff has vehemently

contended to be the prejudicial lateness of Defendants’ motion on the RICO claim, a temporary

pause to allow Plaintiff to take the case up would seem fair and in the interests ofjustice.

                                           ARGUMENT

I.     Requirements of FRCP Rule 54(b)

       FRCP Rule 54(b) states:

       (b) Judgment on Multiple Claims or Involving Multiple Parties. When an action
       presents more than one claim for relief—whether as a claim, counterclaim,
       crossclaim, or third-party claim . . . the court may direct entry of a finaljudgment
       as to one or more, but fewer than all, claims . . . only if the court expressly
       determines that there is nojust reason for delay....

       As the Northern District explained in Bricklayers and A llied Craftworkers Local 2 v.

W ietechaEnterprises, Inc., No. l:15-cv-0582, 2017 WL 5905569 (N.D.N.Y. November 30,2017),

the court may issue a finaljudgment under Rule 54 where, “(1) multiple claims or multiple parties

must be present, (2) at least one claim, or the rights and liabilities of at least one party, must be

finally decided within the meaning of 28 U.S.C. § 1291, and (3) the district court must make ‘an

express determination that there is nojust reason for delay’ and expressly direct the clerk to enter

judgment.” Id. (citing Ginett v. Computer Task Grp., Inc., 962 F.2d 1085, 1091 (2d Cir. 1992)).

Moreover, “[t]o be appropriate, a Rule 54(b) must take account of both the policy against




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piecemeal appeals and the equities between or among the parties... It is therefore proper for the

District Judge to consider such factors as whether the claims under review are separable from the

others remaining to be adjudicated and whether the nature of the claims already determine is such

that no appellate court would have to decide the same issues more than once even if there were

subsequent appeals.” Id. (internal quotation marks and citation omitted).

        In this regard, the Second Circuit has squarely held that “a district court may properly make

a finding that there is nojust reason for delay only when “there exists some danger ofhardship or

injustice through delay which would be alleviated by immediate appeal.” Advanced M agnetics,

Inc. v. B ayfront Partners, Inc., 106 F.3d 11, 16 (2d Cir. 1997) (quoting Cullen v. M argiotta, 811

F.2d 698 (2d Cir. 1987)). One example of such hardship or injustice is “where an expensive and

duplicative trial could be avoided if, without delaying prosecution of the surviving claims, a

dismissed claim was reversed in time to be tried with the other claims [.]” Bricklayers v. Wietecha,

2017 WL 5905569, at *3 (quoting A dvanced M agnetics, 106 F.3d at 16)). There is simply no

reason or prejudice that would arise from permitting an immediate appeal and holding the

fraudulent inducement claim in abeyance pending its outcome.

II.     The RICO Claim Should Be Immediately Appealable

       Under the totality of the circumstances presented here, the Court should direct entry of a

finaljudgment as to the RICO claim, as the Court’s decision that the damages sought via RICO

constituted impermissible personal injury damages is a distinct issue unrelated to the fraud claim.

Akin to the present case, in Cullen v. M argiotta, 811 F.2d 698, 712 (2d Cir. 1987) (re v ’d on other

grounds), the Second Circuit held that “plaintiffs’ RICO claims are sufficiently distinct from their

[Section] 1983 claims that the entry of an early final judgment dismissing the RICO claims was

not precluded.” The Court explained that “[w]hile the two sets of claims arise from the same




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underlying facts, both their elements and the potential recoveries differ.” Id. (holding that “if the

RICO claims are viable,judicial economy will be served by having them reinstated immediately

rather than after a prolonged remedy-determining process that might then have to be repeated).

       In Polycast Technology Corp. v. Uniroyal, Inc., 792 F. Supp. 244 (S.D.N.Y. May 4, 1992),

the Southern District explained why an immediate appeal of a RICO denial was appropriate: “If

myjudgment on the issue is reversed by the court of appeals after what is sure to be a protracted

trial, then the case will have to be tried again with the RICO claim reinstated.” Id. at 278. The

Court thus found “nojust reason for the delay,” and directed the Clerk to enterjudgment dismissing

the claim. The Court relied on Cullen in making its ruling. Id.

        Similarly, in A dvanced M agnetics, Inc. v. Bayfront Partners, Inc., 106 F.3d 11 (2d Cir.

1997)—a case involving alleged violations of the Securities Exchange Act—the Court held that

the district court had properly certified a finaljudgment pursuant to Rule 54(b) thus allowing an

appeal of certain claims. The Court reasoned that plaintiff s (still active) claims and those of certain

shareholders (whose claims had been dismissed) were each based on a single offering of stock by

the defendants. Thus, as discussed, it was efficient case management for plaintiff s and the

shareholders’ claims (if reinstated) to be tried together since only onejury would be employed to

leam the terms of and events of the offering and short sale. The court noted that even though the

Rule 54(b) judgment might have resulted in piecemeal appeals, the Rule 54(b) certification was

appropriate because it would not have resulted in overlapping issues for the appellate court.

       As the Court here is aware, in this case the Plaintiff s claims involve the actions and

misrepresentations of the Defendant resulting in Douglas’s termination from his employment. If

the RICO claim is reversed, Douglas will be forced to try the case twice (once for fraud and again

for RICO). The financial and personal hardship to Douglas, a cross-country truck driver, in




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addition to the delay occasioned by the Defendants’ 12-hour motion, would be untold. Moreover,

ajury should not have to be empaneled twice. Because the RICO issue to be appealed (whether

or not Douglas’s damages are recoverable under RICO) is distinct from other issues that may be

appealed, there is no risk of duplication in the appellate court. For all of the foregoing reasons, an

interlocutory appeal is appropriate herein.

III.     The Court Should Stay the Trial Pending Appeal of the RICO Claim

         Since no true prejudice will ensue, this Court should stay the trial on the fraud claim

pending resolution on appeal of the RICO claim. See Federal Rule of Appellate Procedure

8(a)(1)(A).


                                          CONCLUSION

         For the reasons stated above, it is respectfully requested that the Court issue an Order (i)

granting Plaintiffs’ motion for certification of the RICO dismissal pursuant to Rule 54(b); (ii)

staying further proceedings pending appeal; and (iii) granting such other and further relief as this

Court deemsjust and appropriate.


DATED:          New York, NewYork
                November 19, 2021                     Respectfully,

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                 UNITED STATES DISTRICT COURT
                 WESTERN DISTRICT OF NEW YORK


                        DOUGLAS J. HORN,

                              Plaintiff,

                                 vs.

                    MEDICAL MARIJUANA, INC.,
                      DIXIE HOLDINGS, LLC,
                    RED DICE HOLDINGS, LLC,
                       DIXIE BOTANICALS,

                            Defendants.


                     CaseNo. l:15-cv-00701-JWF




     MEMORANDUM OF LAW OF MEDICAL MARIJUANA, INC.,
   AND RED DICE HOLDINGS, LLC, IN RESPONSE TO PLAINTIFF’S
  MOTION TO CERTIFY THE COURT’S SEPTEMBER 14,2021 DECISION
             AS AN APPEALABLE FINAL JUDGMENT




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                                      PRELIMINARY STATEMENT

                Defendants, Medical Marijuana Inc. and Red Dice Holdings, LLC (“MMI/RDH”),

by their undersigned counsel, submit the following memorandum oflaw in response to Plaintiff s

two-part motion (Doc. 208) asking the Court: 1) to certify the Court’s September 14,2021 decision

as an appealable finaljudgment; and 2) for a stay of proceedings pending appeal.

                First, it is worth pointing out that this is not the first time that Plaintiff has requested

similar relief. On August 9, 2019, Plaintiff filed another motion, also pursuant to FRCP 54(b),

seeking an immediate appeal of the order dismissing Cindy Harp-Horn from this action (Doc. 102).

Judge Geraci denied that motion (Doc. 115)on the grounds that:

                Both the surviving claims and the failed claims arise from the same
                underlying set of facts: Plaintiff s purchase and use of Defendant’s
                product and Douglas’ subsequent failed drug test. Thus, if Plaintiffs
                were permitted to appeal some of their claims, the Second Circuit
                would be “forced to review identical facts” in any subsequent appeal
                after trial.

                Doc. 115 at pp. 2 - 3 .

                Judge Geraci further held that there are “no countervailing equities that would

justify partial judgment notwithstanding the relatedness of the claims at issue. Contrary to

Plaintiffs’ argument, the mere risk that Plaintiffs could incur additional expense if a second trial is

required is not enough to justify partialjudgment under these circumstances.” I d . at 3.

                Additionally, more recently, although Plaintiff did not make a motion pursuant to

FRCP 54(b), he did informally ask for essentially the same relief in a short letter to this Court

dated August 10, 2021, which was in response to the Court’s request for party positions on

jurisdiction (Doc. 205). Plaintiff stated:

                Plaintiff requests herein that pursuant to the provisions of 28 USC
                1367(c), the Court decline supplementaljurisdiction over the fraud1

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                claim leaving Plaintiff to file in state court, or otherwise pursuant
                to FRCP 54(b) the Court certify final judgment as to all prior
                dismissed claims in this matter.

                (Emphasis added.)

                In its September 14, 2021 Decision and Order (Doc. 206 - the very order that

Plaintiff now seeks to convert to a final judgment), the Court did not explicitly respond to

Plaintiff s informal request to “certify finaljudgment as to all prior dismissed claims in this matter”

pursuant to FRCP 54(b).

                As such, although Plaintiff previously requested a final judgment with respect to

Cindy Harp-Horn’s dismissed claim (Doc. 102), and informally requested final judgment with

respect to “all prior dismissed claims” prior to the issuance of the September 14, 2021 order (Doc.

205), it does not appear that Plaintiff has ever requested the specific relief that he seeks on this

motion (Doc. 208) - finaljudgment certification of the order (Doc. 206) that dismissed Plaintiff s

civil RICO claim.

                However, even though this relief was not specifically previously requested,

MMI/RDH submits that Plaintiff certainly could have made the present motion prior to two weeks

before the final pre-trial conference (and the week prior to Thanksgiving). Plaintiff and his counsel,

having already exhibited full understanding of how FRCP Rule 54(b) works, should have been

aware of the grounds for this motion as soon as they read the September 14, 2021 order.

                Regardless of the foregoing, MMI/RDH neither opposes nor supports Plaintiff s

present motion and only submits the following for the Court’s consideration.

                MMI/RDH submits that there may be considerations, specific to the RICO cause of

action and the circumstances of this case, which would warrant the immediate appeal of the

dismissal of the RICO cause of action only. For the reasons stated below, immediate appeal of this

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                                           (716) 855-2800 • FAX (716) 855-2816
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order can be seen as distinct from something like the immediate appeal of Cindy Harp-Horn’s

claims in that it could prevent the potential waste ofjudicial resources and increase the likelihood

of settlement. However, ultimately, MMI/RDH defers to the Court’sjudgment as to what course

of action is most likely to lead to an expeditious resolution of this matter.1


                                                    ARGUMENT

                                                        POINT I

 IMMEDIATE CERTIFICATION MAY BE WARRANTED WITH RESPECT TO THE
       DISMISSAL OF THE CIVIL RICO CAUSE OF ACTION, ALONE

                 As stated above, the parties are already well-briefed on the standard for entering a

final judgment on a separate claim pursuant to FRCP Rule 54(b). Judge Geraci previously

considered a motion on this basis with respect to Cindy Harp-Horn’s claims and denied the same

on two major grounds: 1) that the surviving claims and the failed claims arise from the same

underlying set of facts; and 2) that there were no countervailing equities.

                 While, on the surface, the failed RICO cause of action arises from the same

underlying set of facts as the surviving fraudulent inducement cause of action - there are actually

few common facts on which dismissal of the RICO cause of action would be appealed.

                 This Court’s dismissal of Plaintiff s RICO claim was based on a legal interpretation

of the type of damages that are specifically recoverable in a RICO cause of action, holding that

“because plaintiff s loss of earnings flows from, and is derivative of, a personal injury he suffered,

his lost earnings do not constitute an injury ‘to business or property’ that is recoverable in a civil

RICO action” (Doc. 206 at p. 13 - 14).1*3


1Counsel for co-defendant, Dixie Holdings, LLC, has communicated to us that they join with MMI/RDH with respect
to this submission.

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                   It does not appear that there is much, if any, overlap between this discrete issue and

any other issue that is presently before the Court because this is an issue that is unique to a civil

RICO claim. As such, even though the RICO claim arises from the same set of facts as the

fraudulent inducement claim, those common facts are not strictly necessary to a determination of

whether the September 14, 2021 order was correctly decided under the law.

                   This is distinct from a claim like Cindy Harp-Horn’s, which was entirely derivative

of Plaintiff s claim. As such, Judge Geraci correctly noted that “the Second Circuit would be

‘forced to review identical facts’ in any subsequent appeal after trial” with respect to Cindy’s

claim, but the same is not necessarily applicable with respect to review of the RICO claim.

                   Indeed, Plaintiff has cited to several cases which seem to recognize that RICO

claims are potentially distinct. However, it should be noted that in Cullen v. M argiotta, 811 F.2d

698, 712 (2d Cir. 1987), the court held that even if two sets of claims arise from the same

underlying facts, one claim might be separately appealable where “both their elements and the

potential recoveries differ.” Here, the “elements” of the RICO claims and the fraudulent

inducement claims are similar; however, their “potential recoveries” do differ. Indeed, it is the

difference in these “potential recoveries” that caused the RICO cause of action to be dismissed in

the first place.

                   P olycast Tech. Corp. v. Uniroyal, Inc., 792 F. Supp. 244, 278 (S.D.N.Y. 1992) is

more similar to the present matter in that also involved a common law fraud claim and a RICO

claim that was dismissed because on an issue that is unique to RICO, namely, whether or not

plaintiffs could satisfy the continuity requirement of a RICO claim. In allowing for immediate

appeal, the court recognized that “whether or not trebled damages are available to plaintiffs if they4



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prevail on the merits is a question of considerable importance to all parties” and “an appellate

ruling on the issue in advance of trial may enhance settlement negotiations.”

                With respect to the “countervailing equities” portion of analysis, as Judge Geraci

previously noted, the “mere risk that Plaintiffs could incur additional expense if a second trial is

required is not enough to justify partialjudgmentunder these circumstances” (Doc 115 at 3).

                As such, Plaintiff s protestations that if the “RICO claim is reversed, [he] will be

forced to try the case twice (once for fraud and again for RICO)” does not necessarily meet the

standard of a “countervailing equity” alone. However, MMI/RDH would submit that, similar to

those recognized by the P olycast court, there are additional pragmatic considerations given the

nature of the cause of action sought to be appealed and the specifics of this case which could

provide the necessary “countervailing equities.”

                It does not appear to be any secret that Plaintiff considers the civil RICO cause of

action (and the treble damages that come with it) to be vitally important to his case. The dismissal

of the same is, inevitably, going to be appealed by Plaintiff, whether before or after the trial

presently scheduled for January 2022. Though MMI/RDH is confident in its position with respect

to the dismissal of the RICO claim, which was adopted by this Court in its September 14, 2021

order, MMI/RDH can also recognize that this is an issue that has not been extremely well-

developed at the appellate-level and would not be a garden-variety appeal.

                Rather than have the propriety of the dismissal of the RICO claim hanging over this

case while it proceeds to trial, it may be best to have the Second Circuit weigh in immediately. Not

only would this prevent the potential for multiple trials if the decision is overturned, but it would

also provide the potential for finality if the decision is affirmed. All parties seem to tacitly

understand that the RICO claim is at the heart of Plaintiff s case. If it is affirmed that the RICO

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claim was properly dismissed, Plaintiff may re-evaluate his position in this case and whether he

wishes to proceed to trial at all, knowing that RICO damages are forever off the table.

                 In other words, final resolution with respect to the RICO claim, alone, could

drastically increase the chance of settlement.

                 As an alternative, MMI/RDH also offers the suggestion that if Plaintiff voluntarily

discontinues his fraudulent inducement cause of action, with prejudice, Plaintiff would not only

have the immediate right to appeal the dismissal of the RICO claim, but the right to appeal all other

dismissed claims as well. It is our understanding that this idea has been presented to Plaintiff s

counsel but that he has yet to respond with respect to the same.

                                                   CONCLUSION

                 Based on the foregoing, MMI/RDH respectfully submits that it defers to this

Court’sjudgment in determining the course of action that is most likely to lead to the expeditious

resolution of this action and best administer and conserve the resources of thejudiciary and the

parties.

DATED:           Buffalo,New York
                 November 29, 2021
                                                         Respectfully submitted,




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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK


DOUGLAS J. HORN, et a l .,
                                                       Decision and Order
                                  Plaintiffs,

              v.                                        15-CV-701-JWF

MEDICAL MARIJUANA, INC., et al.,

                                  Defendants.




                             PRELIMINARY STATEMENT

          On July 22, 2021 — four days before trial — defendant Dixie

Holdings,      LLC filed a motion in which it identified potentially

dispositive defects with plaintiff Douglas J. Horn's two remaining

claims:     (1) a civil RICO claim premised on mail and wire fraud,

and (2) a state-law claim for fraudulent inducement.                  See Docket

# 194.    The trial was cancelled.        After motion practice, the Court

dismissed plaintiff's         civil   RICO    claim.    See Horn v . Medical

Marijuana,      Inc., No,    15-CV-701,   2021 WL 4173195       (W.D.N.Y. Sept.

14,   2021}     [hereinafter Horn II] .       Trial on the fraud claim was

rescheduled to January 2022, but on November 19, 2021, plaintiff

moved for entry of judgment on his civil RICO claim, pursuant to

Federal       Rule   of   Civil   Procedure     5 4 (b), with   the   intent   to

immediately appeal the Court's ruling.             Docket # 208.      Defendants

do not oppose Plaintiff's motion.             Docket # 213 at 5-6; Docket #
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214 at 1 n.l.      Because of the unusual procedural history of this

case, the discreteness of the issue to be appealed, and plaintiff's

unique circumstances, the Court GRANTS plaintiff's motion.



                                    DISCUSSION

       Rule 5 4 (b) provides:

       When an action presents more than one claim for relief
       — whether as a claim, counterclaim, crossclaim, or
       third-party claim — or when multiple parties are
       involved, the court may direct entry of a final judgment
       as to one or more, but fewer than all, claims or parties
       only if the court expressly determines that there is no
       just reason for delay. Otherwise, any order or other
       decision, however designated, that adjudicates fewer
       than all the claims or the rights and liabilities of
       fewer than all the parties does not end the action as to
       any of the claims or parties and may be revised at any
       time before the entry of a judgment adjudicating all the
       claims and all the parties' rights and liabilities.

Fed.   R. Civ.    P.   54(b)     (emphasis added).     The Rule creates    "an

exception to the general principle that a final judgment is proper

only after the rights and liabilities of all the parties to the

action have been adjudicated."            Hogan v. Consol. Rail Corp., 961

F.2d 1021, 1024-25 (2d Cir. 1992).             "The determination of whether

to grant Rule 54(b) certification is committed to the discretion

of the district        court."      Id.   at   1025.   While   "sound judicial

administration does not require that Rule 5 4 (b) requests be granted

routinely,"      the   "task of weighing and balancing the contending

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factors is peculiarly one for the trial judge, who can explore all

the facets of the case." Id. at 10, 12.

       "Rule 5 4 (b) authorizes a district court to enter partial final

judgment when three requirements have been satisfied:                (1) there

are multiple claims or parties,           (2) at least one claim or the

rights and liabilities of at least one party has been finally

determined, and (3) the court makes an express determination that

there is no just reason for delay of entry of final judgment as to

fewer than all of the claims or parties involved in the action."

Linde v. Arab Bank,       PLC, 882 F.3d 314,      322-23     (2d Cir.     2018}

(internal quotation marks and brackets omitted).              The first two

requirements are met here.        See Estate of Metzermacher v. Nat'l

R.R.   Passenger Corp., 487      F.   Supp.   2d 24,   27   (D.   Conn.   2007)

(dismissed claims were "finally determined" for purposes of Rule

5 4 (b)) .

        The Court therefore will focus on the third requirement.

"[I]n deciding whether there are no just reasons to delay the

appeal of individual final judgments in [a] setting such as this,

a district court [is to] take into account judicial administrative

interests as well as the equities involved."           Curtiss-Wright Corp.

v. Gen. Elec. Co., 446 U.S. 1, 8 (1980); see also Movick v. AXA

Network, LLC, 642 F.3d 304, 310-11 (2d Cir. 2011).                Both factors

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favor the entry of partial final judgment as to the civil RICO

claim premised on mail and wire fraud.

      On the issue of judicial economy,               a court's assessment of

"judicial administrative interests"                is necessary to "preserve[]

the historic federal policy against piecemeal appeals."                      Novick,

642 F .3d at 310-11        (emphasis omitted).         A court should consider

"such factors as whether the claims [at issue are] separable from

the others remaining to be adjudicated and whether the nature of

the claims already determined [are] such that no appellate court

would have to decide the same issues more than once even if there

were subsequent appeals."           Curtiss-Wright, 446 U.S. at 8.                That

is, "a Rule 54(b) certification of the dismissal of fewer than all

the claims in an action should not be granted if the same or

closely related issues remain to be litigated."                  Harriscom Svenska

AB v. Harris Corp., 947 F.2d 627,              629    (2d Cir.    1991)    (internal

quotation marks omitted).

      The claim to be certified here is "separable or extricable"

from plaintiff's surviving fraud claim and the other claims that

have previously been dismissed.            Ginett v. Comput. Task Grp., Inc.,

962   F .2d   1085,    1096   (2d Cir.     1992)     (internal    quotation marks

omitted).       To    be   sure,   all    of plaintiff's    claims        "stem   from

essentially the same factual allegations," Cullen v. Margiotta,

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618   F .2d 226,    228    {2d Cir.   1980),    but   that    fact alone    is not

dispositive.       See Ginett, 962 F.2d at 1095              ("[I]nterrelatedness

cannot,    in itself,      'inextricably intertwine' the claims so as to

preclude appellate review; otherwise, . . . every multiclaim case []

would elude the entry of a rule 54 (b) judgment,                   and rule 54(b)

would     be     meaningless.").        "Only    those       claims   'inherently

inseparable' from or 'inextricably interrelated' to each other are

inappropriate for rule 5 4 (b) certification."               Id.

        Here, plaintiff seeks to appeal a narrow, dispositive issue

with respect to his civil RICO claim premised on mail and wire

fraud: whether his "requested 'loss of earnings'                   damages are   []

recoverable in a civil RICO action," where the lost earnings are

"predicated on the bodily invasion [he] allegedly sustained when

THC was introduced into his system through the ingestion of Dixie

X."   Horn II, 2021 WL 4173195, at *2.           In other words, the dispute

is whether plaintiff's theory for damages is legally cognizable in

a civil RICO cause of action.                That is a discrete question of

statutory      interpretation,      and neither the previously dismissed

claims nor the remaining fraud claim implicate that question in a

way that would create a risk that the Second Circuit would be

"forced     to    review   .   .   . identical    legal      issues   in   multiple



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appeals."1      Nat'l Asbestos Workers Med,                 Fund v.       Philip Morris,

Inc., 71 F. Supp. 2d 139, 154 (E.D.N.Y. 1999).

      Likewise,      there    is    little       risk   that    successive      appellate

panels would need to retread the same factual ground.                             See id. ;

see also Arlinghaus v. Ritenour, 543 F.2d 461, 464 (2d Cir. 1976)

(certification       inappropriate       where          appellate     court     would     be

required to "review the same conduct twice").                       In this respect,

the present circumstances are unusual.                     Even in cases where the

requested immediate          appeal presents a discrete                  legal question,

Rule 5 4 (b) certification may be properly denied on the basis that

a "fulsome review" of the legal issue requires consideration of

the   same    underlying      factual    record         relevant    to    the   remaining

claims.      In re Trilegiant Corp., No. 12-CV-396, 2015 WL 13901228,

at *5     (D. Conn. Mar. 26,        2015) ; see,         e.g., Novick, 642 F,3d at

313-14; Uni-Rty Corp. v. Guangdong Bldg.,                      Inc., 249 F.R.D.         149,

152     (S.D.N.Y.     2008)        (certification         of    civil      RICO     claims

inappropriate       where    successive      appellate         panels     would need      to




1 To the contrary, resolution of this issue through Rule 54(b) certification
could have the effect of significantly shrinking any subsequent appeal. If the
Second Circuit were to affirm the Court's ruling, plaintiff's other, previously
dismissed RICO claims would likely fail for the same reason, and it would
therefore be unnecessary to address the separate legal grounds on which District
Judge Geraci relied to dismiss them.     See generally Horn v. Med. Marijuana,
Inc., 3E3 F. Supp. 3d 114 (W.D.N.Y. 2019), modified on reconsideration, 2019 WL
11287650 (Nov. 22, 2019).

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"familiarize themselves with th[e] complicated factual history" of

the case in order to address issue of proximate causation).

      By contrast,     an assessment            of the civil   RICO claim which

plaintiff    seeks   to appeal would demand little analysis                 of the

underlying facts.      The parties agree that it is simply a question

of whether, assuming he has sufficient facts to prove his theory,

plaintiff's    requested       "loss   of       earnings"   damages   are   legally

recoverable via a civil RICO action.2                Horn II, 2021 WL 4173195,

at *3    (quoting plaintiff's brief at Docket # 198 at 7) .                    The

underlying factual record is largely irrelevant, as this Court's

Decision & Order on the issue demonstrates.                 See id. at *2-5.     In

addition,   pretrial resolution of the RICO issue via Rule 5 4 (b)

certification will impact the length of the trial,                    the proof at

trial, the arguments of counsel, and the instructions given to the

jury at the close of the case,              further serving the interest of

judicial economy.

      Therefore,     because    "[t]he issue presented here            . . . is a

discrete and straightforward legal issue which the Court of Appeals



2 In his Rule 5 4 (ta) motion, plaintiff now accuses the Court of "defining away"
his claim by framing his damages in terms of "personal injury/bodily invasion."
Docket ft 208-1 at 5.       While plaintiff is clearly critical of the Court's
rationale, the Court does not interpret plaintiff's remarks to mean that he is
retracting his prior acknowledgment that the "nexus between the RICO violations"
and his "resulting economic damages" is the "harm of the THC that was introduced
into [his] system." Docket # 198 at 7.
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can resolve quickly and which will             serve the goal of judicial

economy,"    judicial     administrative       interests      do    not    militate

against certification.        Roebuck v. Guttman, 678 F. Supp, 68, 70

(S.D.N.Y. 1988) .

        The equities also     favor    the   immediate entry of            judgment.

Ordinarily, the most obvious factor weighing against an immediate

appeal is that it "simply delays trial."              Campbell v. Westmoreland

Farm, Inc., 403 F.2d 939, 942 [2d Cir. 1968) . That concern is not

so salient here.     This case has been ready for trial since December

2019.     Docket   # 125.     With    the    COVID-19    pandemic,        scheduling

conflicts among counsel,          and intervening motion practice,              trial

was delayed to January 2022.          On December 2, 2021, the Court held

a   status   conference     and   indicated    that     it   intended      to   grant

plaintiff's Rule 5 4 (b) motion. See Docket # 216.                 At the time of

the status conference, it was far from clear that the trial could

even proceed on schedule:          as the Court previously informed the

parties, there were other trials scheduled for the same timeframe

that could have taken priority over this case, and, unfortunately,

COVID transmission had been extremely high in Western New York in

the preceding weeks.3        Cf. Vaad L'Hafotzas Sichos,            Inc, v. Kehot




3 Indeed, the highly transmissible Omicron variant has since emerged, which may
have necessitated an adjournment of trial regardless of the merits of the Rule
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Pub'n Soc'y, No. 10-CV-4976, 2014 WL 1026592, at *2 (E.D.N.Y. Mar.

20, 2014)     (denying certification where the court was confident it

could try the case "and render a final,             appealable judgment in

less time than it would take to pursue an immediate appeal to

completion"). The potential for further delay due to the pandemic

and possible scheduling conflicts, and the parties' agreement that

an immediate appeal is appropriate, diminish the Court's otherwise

strong intent to give the parties their day in court.            C f . Gidatex,

S.r.L.   v.    Campaniello   Imps.,   Ltd., 73      F.   Supp.   2d   345,   34 8

(S.D.N.Y. 1999) {finding that equities did not favor certification

where nonmoving party "vigorously oppose[d]              postponement of the

trial date").

     More importantly, the potential for "hardship or injustice,"

Harriscom, 947 F.2d at 629, and the interest of "fairness to the

parties," New York v. AMRO Realty Corp., 936 F.2d 1420, 1426 {2d

Cir. 1991), weigh heavily in favor of certification.                  The claim

plaintiff seeks to immediately appeal was dismissed days before

trial and resulted in the cancellation of trial.                 Plaintiff,    a

cross-country truck driver by trade, was thereby forced to incur

"a substantial loss of money and time" due to the sunk costs of




54(b) motion.   In-person court appearances,   including jury trials, have been
significantly reduced in 2022.
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travel and trial preparation.                    Docket # 198 at 6 n.2;          see also

Docket     #    208-1     at   10-11.       The       unique    financial   and personal

hardships that plaintiff has already faced, and may face again if

the Court's ruling on the RICO claim is reversed, render the risk

of duplicative trials more unfair and harsh than in the mine run

of cases.        See In re Gentiva Secs. Litig., 2 F. Supp. 3d 384, 390

(E.D.N.Y. 2014)         {"The mere potential for duplicative trials should

not   by       itself    result     in    5 4 (b)      certification,   except    in    the

infrequent        harsh    case."        (internal      quotation marks       omitted   and

emphasis added)); Bowne of New York City,                        Inc, v. AmBase Corp.,

161 F.R.D. 270, 273            (S.D.N.Y. 1995)           (in deciding whether partial

final    judgment       is appropriate,             a court     "can take   into account

whether delay would cause financial hardship to either party").

Plus, as defendants point out, definitive appellate resolution of

plaintiff's        civil       RICO      claim        could    dramatically    alter    the

potential damages, see 18 U.S.C. § 1964(c), and may therefore help

to facilitate settlement of this matter.                        See Docket # 213 at 9;

see also Curtiss-Wright, 446 U.S. at 8 n.2; Polycast Tech. Corp.

v. Uniroyal, Inc., 792 F. Supp. 244, 278 (S.D.N.Y. 1992)("Whether

or not trebled damages are available to plaintiffs if they prevail

on the merits           is a question of considerable                importance to all



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parties.   An appellate ruling on the issue in advance of trial may

enhance settlement negotiations.").                                  1

     For these reasons, the Court concludes that there is "no just

reason)] to delay the appeal."       Curtiss-Wright Corp., 446 U.S. at

8.   In reaching this conclusion, the Court is mindful that Judge

Geraci previously denied a Rule 54 (b) motion filed by plaintiff

with respect to the claims dismissed at summary judgment.                  See

Horn v.    Med.   Marijuana,   Inc., No.   15-CV-701,    2019   WL   4871499

(W.D.N.Y. Oct. 3, 2019).       However, the certification request that

Judge Geraci considered — entry of partial final judgment as to

all of Cindy Harp-Horn's claims as well as Douglas Horn's claims

under Sections 349 and 350 of New York General Business Law —

stands in stark contrast to the narrow request before this Court.

Given the number of claims and issues, the prior request presented

a greater likelihood of duplicative effort in successive appeals.

Id. at *1.    Furthermore, intervening developments,        including the

pandemic and the unnecessary expenses and hardships plaintiff has

already borne, give rise to "countervailing equities" that did not

exist before Judge Geraci.       Id. at *2.

     As a matter of law,       I determined that plaintiff's primary

cause of action,     his civil RICO claim,     is not cognizable.         Both

parties agree that an immediate appeal of this determination is

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appropriate and justified.         Based on the unique posture of this

case,    I concur.      If my   determination        as   to   the viability   of

plaintiff's RICO claim was erroneous,           absent Rule 54(b)       relief,

this case would have to be tried again with the RICO cause of

action reinstated, an event that would be inefficient and costly.

Accordingly,     the Court concludes that entry of a partial final

judgment pursuant to Rule 5 4 (b) is appropriate with respect to

plaintiff's civil RICO claim predicated on mail and wire fraud.

                                  CONCLUSION

        For the reasons     stated above,      the    Court    GRANTS plaintiff

Douglas J. Horn's Rule 54(b) motion (Docket# 208).                 The Clerk of

Court is directed to enter partial final judgment on Douglas J.

Horn's civil RICO claim predicated on mail and wire fraud, which

the Court dismissed in its September 14, 2021 Decision & Order.

See Docket# 206.

SO ORDERED,




Dated:       Rochester, New York
             January 2k- 2022




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Judgment in a Civil Case________________________________________


                             United States District Court
                         WESTERN DISTRICT OF NEWYORK



DOUGLAS J. HORN, ET AL                                INTERIM
                                                      JUDGMENT IN A CIVIL CASE
                                                      CASE NUMBER: 15-CV-701
      v.

MEDICAL MARIJUANA, INC., ET AL


□ Jury Verdict. This action came before the Court for a trial by jury. The issues have
been tried and thejury has rendered its verdict.

M Decision by Court. This action came to trial or hearing before the Court. The
issues have been tried or heard and a decision has been rendered.

IT IS ORDERED AND ADJUDGED Upon Court Order, the Court grants in part and
denies in part Defendants’ motion (docket #194, 200). The civil RICO claim is dismissed
pursuant to the Court’s authority under Rule 56(f), but Defendants’ motion is otherwise
denied.




Date: January 25, 2022                                MARY C. LOEWENGUTH
                                                      CLERK OF COURT

                                                      By: s/ Colin J.
                                                          Deputy Clerk
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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK
________________________________________                   CivilActionNo.l5-cv-701

DOUGLAS J. HORN, et al.,

                            Plaintiff(s),

               -against-                                   N o tic e o f A p p e a l

MEDICAL MARJUANA, INC., et al.,

                            Defendant(s).



       NOTICE IS HEREBY GIVEN that DOUGLAS J. HORN, hereby appeal(s) to the United

States Court of Appeals for the Second Circuit from the Interim Judgment docketed on January

25, 2022 (ECF DocumentNo. 218) and its underlying decision docketed on January 24, 2022

(ECF Document No. 217)in this action.


Dated: February 16, 2022

                                                    Yours, etc.

                                                    /s/ Jeffrey Benjamin
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To all counsel via E C F
